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                                UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA


IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC


This document relates to:                      SECOND AMENDED CONSOLIDATED
                                               COMPLAINT
ALL ACTIONS
                                               Judge: Hon. Vince Chhabria




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       Plaintiffs Steven Akins, Rafael Amezcua, Jason Ariciu, Samuel Armstrong, Anthony Bell,

Bridgett Burk, Naomi Butler, Peter Christley, Terry Fischer, Shelly Forman, Brandon Herman, Tabielle

Holsinger, Tyler King, William Lloyd, Jordan O’Hara, Kimberly Robertson, Scott Schinder, Cheryl

Senko, Dustin Short, Tonya Smith, Charnae Tutt, Juliana Watson, and Annie Wenz, individually and as

representatives of Classes of similarly situated persons, by their undersigned counsel, allege as follows:

                                         I.      INTRODUCTION
       1.         Just fifteen years after its founding, Facebook, Inc. (“Facebook” or the “Company”) has

become one of the world’s most influential companies. Its reach today is immense. More than 2.2 billion

people around the world use its platform to connect with each other and it is no exaggeration that this
connectivity has transformed the world. For many people, the platform has become an indispensable tool

in keeping up with friends, running a business, advancing in a career, or remaining informed about

current events.

       2.         Facebook’s indispensability and ubiquity are precisely what make its misconduct so

damaging. It sold access to users’ private information—content that users had designated as nonpublic—

without users’ consent. In doing so, Facebook caused users’ privacy to be invaded and inflicted

economic harm on them. This action seeks appropriate remedies for those injuries.

       3.         In 2018, journalists uncovered that Cambridge Analytica, a British political consulting

firm, paid a Facebook application developer1 to collect and analyze the content and information2 of

approximately eighty-seven million Facebook users (the “Cambridge Analytica Scandal” or “Scandal”).
Cambridge Analytica then used this data during the 2016 election season to target voters and lobby

them, both on and off Facebook, with messages about political candidates.


1
  An “Application Developer” is a developer of Facebook applications.
2
  As used here, “content and information” means “content” and “information” as Facebook’s Statements
of Rights and Responsibilities have defined those terms. In brief, Facebook has generally used
“information” to mean facts and other information about Facebook users, including the actions they
take, and “content” to mean anything users post on Facebook that would not be included in the
definition of “information.” In addition, as used in this complaint, the terms include both personally
identifiable content and information and anonymized content and information that is capable of being
de-anonymized.


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          4.     Cambridge Analytica’s abuse of user content and information was neither isolated nor

unusual. Facebook allowed tens of thousands of third-party apps (“Apps”)3 to download user content

and information, and was willfully indifferent to monitoring them.

          5.     Facebook also sold access to users’ information to a wide range of business partners—a

diverse group that included not only device makers but media and entertainment companies like Netflix,

the car service Lyft, the Russian search engine Yandex, the rental service Airbnb, and many more

(“Business Partners”).

          6.     These revelations have shown that Facebook is not just a social media company, but also

a data broker and surveillance firm. Facebook encourages users to share their content so that Facebook
can harvest it, aggregate it, and sell access to it. That content and information has tremendous economic

value, and although Facebook tells users the content is their property, in fact Facebook is keeping all of

its value. Facebook will not even disclose to users what it has amassed and what it makes available to its

Business Partners. That is, Facebook is more transparent with its actual customers than with its users.

          7.     If Facebook wishes to be a data broker and surveillance firm, it must gain users’ consent.

Users could not consent to much of this misconduct because it remained secret until recently. In many

cases, Facebook’s misconduct affirmatively violated the pledges it made to users. Other aspects of its

misconduct were simply never disclosed anywhere—necessarily precluding consent. Even when

Facebook began to disclose some small part of its behavior, it at most notified only new users that it was

engaging in such behavior. It did not notify existing users. And the document in which Facebook began
to disclose some of what it was doing was never part of a contract—and even if it were contractual, was

never prominent or accessible enough to have put a reasonably prudent user on notice.

          8.     Any assessment of users’ consent must also take into account Facebook’s misleading

privacy controls and Facebook’s manipulation of the default settings of those controls.

          9.     To encourage people to join and engage on its platform, Facebook misled users into

believing that they controlled their content and information through certain affirmative “Privacy Settings

and Tools.”

3
    An “Application” is an interactive software application, such as a game, survey, or quiz.

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        10.     Contrary to Facebook’s express promises, these settings did not prevent access by third-

party Apps, websites, and Business Partners to users’ information. Users were not aware, and to a large

extent are still not aware, that if a friend4 interacts on a website with whom Facebook has an undisclosed

business relationship, all of the content and information shared with that friend, even if shared with

nonpublic settings between a few people, falls unrestricted into the hands of those companies.

        11.     In fact, investigation of counsel in this case has revealed that when Facebook allowed

third parties to download user content and information, Facebook stripped users’ privacy settings from

photos and videos before delivering it to the third parties. This means that the parties buying access to

those photos and videos were not informed of users’ privacy restrictions. By doing this, Facebook made
it possible for third parties to use this content without restrictions.

        12.     Facebook also manipulated users’ default privacy settings. In April 2010, Facebook

unilaterally changed users’ default Profile Privacy Settings so that the default settings shared certain

information publicly for new and existing users alike. This change sparked the concerns of privacy

advocates and the Federal Trade Commission (“FTC”). The FTC sued Facebook, alleging that Facebook

“deceived consumers by telling them they could keep their information on Facebook private, and then

repeatedly allowing it to be shared and made public.”5 Following the FTC’s intervention, Facebook and

the FTC negotiated specific remedies, codified in the FTC’s consent decree, which was finalized in

2012.6 Accordingly, in 2014, Facebook changed the default back to “friends only,” but only for new

users. During all these manipulations, users’ expectations of privacy did not change merely because
Facebook altered its default settings without first getting its users’ consent.

        13.     Facebook’s misconduct has inflicted serious tangible and intangible harms on Plaintiffs.

The degree of harm they suffered bears a direct relation to the quantity and quality of the information

4
  A “Friend” is a connection between users on Facebook. To add a user as a Friend on Facebook, one
user sends an invitation to another. Once a user accepts an invitation and becomes a Friend, that Friend
can see content that the inviting user shares with that Friend.
5
  Facebook Settles FTC Charges That It Deceived Consumers By Failing To Keep Privacy Promises,
Federal Trade Commission (Nov. 29, 2011), https://www.ftc.gov/news-events/press-
releases/2011/11/facebook-settles-ftc-charges-it-deceived-consumers-failing-keep.
6
  Decision and Order (“FTC Consent Decree” or “Consent Decree”), In the Matter of Facebook, Inc., at
3-4, No. C-4365 (F.T.C. July 27, 2012).

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Facebook gave to third parties. The content that users shared subject to privacy restrictions is incredibly

intimate. Reasonably believing in Facebook’s privacy controls, the representative plaintiffs all shared

personally identifying information about relationships, whereabouts, moods, daily routines, videos, and

photos with limited groups of Friends. The richness of the private information shared is what makes it so

valuable to corporations and others who wish to personally target them.

       14.     Users are harmed not just by Facebook’s disclosure of their private content and

information to third parties. It is the way that Facebook collects, analyzes, and uses that information that

inflicts a novel and more invasive kind of harm than just a breach of “data.” Facebook’s aggregation of

user information allows de-anonymization of that information so that it can be connected to specific
users, by name—contrary to Facebook’s explicit pledge not to give content and information to

advertisers.

       15.     The fundamental pieces of a Facebook profile—names, profile pictures, phone numbers,

email addresses, and the kind of corroborating personal information used for passwords and security

questions—serve as critical starter kits for identity theft and other malicious online activity. Experts

agree that this aggregated information makes people much more vulnerable to voter fraud, medical

fraud, phishing, and other identity-based harms. The disclosure of such content “allow[s] bad actors to

tie raw data to people’s real identities and build fuller profiles of them.” Two plaintiffs have now found

their information for sale on the dark web. Others have suffered phishing and other breach attempts.

       16.     The harm is not only limited to identity theft. The ability to analyze and de-anonymize
user data allows third parties to personally and psychologically target Facebook users with greater

precision. This is called “psychographic marketing.” For example, Cambridge Analytica exploited users’

information to target individual voters with content tailored to their predicted psychological proclivities.

Facebook and other data brokers compile dossiers on Facebook users based on this aggregated content.

The dossiers make assumptions about users’ health, financial risk, employability, and other factors.

Brokers, like Facebook, then make that information accessible to third parties to target people based on

analyses of their temperament and vulnerabilities. The transparency, however, is one way.
       17.     Even before the revelations that led to this action, Facebook was no stranger to scandal—


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perhaps not surprising given its Class Period mantra, “move fast and break things.” The Company has

bounced from one scandal to another over the years, typically involving its troubled relationship with

user privacy. Facebook weathered these scandals by expressly assuring its users and the public

repeatedly that user privacy is central to its operation, and that whatever mistakes were made in

Facebook’s zeal to “improve the user experience” would not be made again.

          18.     Facebook has repeatedly professed remorse for violating users’ privacy over the past

seven years. Following entry of the 2011 Consent Decree, Chief Executive Officer Mark Zuckerberg

stated, “we’ve made a bunch of mistakes.”7 But he assured users of the Company’s commitment to

providing its users with “complete control over who they share with at all times.”8 For Facebook,
Zuckerberg wrote, “this means we’re making a clear and formal long-term commitment to do the things

we’ve always tried to do and planned to keep doing — giving you tools to control who can see your

information and then making sure only those people you intend can see it.”9

          19.     Since the Cambridge Analytica scandal, Mr. Zuckerberg has continued to apologize. For

example, on April 18, 2018, Zuckerberg admitted, “We didn't focus enough on preventing abuse and

thinking through how people could use these tools to do harm as well. That goes for fake news, foreign

interference in elections, hate speech, in addition to developers and data privacy. We didn't take a broad

enough view of what our responsibility is, and that was a huge mistake. It was my mistake.”10

           20.    The time for pro forma apologies has long since passed. Only the legal process can put

    Plaintiffs back in the position they would occupy had Facebook properly disclosed its activities or not
    engaged in them at all. That is the relief they ask for, and are entitled to, under the law.

                        II.     JURISDICTION, VENUE, AND CHOICE OF LAW
           21.    Pursuant to 28 U.S.C. § 1331, this Court has original subject matter jurisdiction over the


7
  Mark Zuckerberg, Our Commitment to the Facebook Community, Facebook Newsroom (Nov. 29,
2011), https://newsroom.fb.com/news/2011/11/our-commitment-to-the-facebook-community/.
8
  Id.
9
  Id.
10
   Hard Questions: Q&A With Mark Zuckerberg on Protecting People's Information, Facebook
Newsroom (Apr. 4, 2018), https://newsroom.fb.com/news/2018/04/hard-questions-protecting-peoples-
information/.

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claims that arise under the Stored Communications Act, 18 U.S.C. §§ 2701 et seq. and the Video

Privacy Protection Act, 18 U.S.C. § 2710.

        22.   This Court also has supplemental jurisdiction over the state law claims pursuant to 28

U.S.C. § 1367.

        23.   In addition to federal question jurisdiction, this Court also has diversity jurisdiction

pursuant to 28 U.S.C. § 1332(d) under the Class Action Fairness Act (“CAFA”), because the amount in

controversy exceeds $5,000,000, exclusive of interest and costs, and at least one Class Member is a

citizen of a state different from Defendants.

        24.   Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Defendants do
business in and are subject to personal jurisdiction in this District. Venue is also proper because a

substantial part of the events or omissions giving rise to the claim occurred in or emanated from this

District.

        25.   The relevant terms of Plaintiffs’ contracts with Facebook provide that the exclusive

venues for litigating any claim with Facebook are either the United States District Court for the

Northern District of California or a state court located in San Mateo County. These contracts also

provided that all claims that might arise between the user and Facebook would be governed by the laws

of California, without regard to conflict-of-law provisions.

        26.   The venue provision provides an additional reason that venue is proper in this District.

The choice-of-law provision establishes that California law applies to Plaintiffs’ claims.

                                            III.   PARTIES

A.     Plaintiffs

       27.    Plaintiff Steven Akins is a citizen and resident of the State of Tennessee. Plaintiff Akins

created his Facebook account in 2008 via a personal computer and maintains his Facebook account to

the present day. Plaintiff Akins has accessed his Facebook account from mobile phones and personal

computers. Plaintiff Akins also uses Facebook Messenger and/or Facebook Chat. On or through

Facebook, Facebook Messenger, and/or Facebook Chat, Plaintiff Akins has watched videos, “liked”


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videos, “shared” videos, “posted” videos, “liked” pages on Facebook that contain videos, and “shared”

pages on Facebook that contain videos. These videos were hosted on Facebook’s video streaming

services, and included videos that were not posted by Plaintiff Akins or his Friends, videos that were

selected and published by Facebook to Plaintiff Akins’s News Feed, and videos that were posted,

shared, or liked to a non-public audience such as Friends.

        28.     Plaintiff Akins does not recall specific details regarding the account registration process.

Plaintiff Akins does not recall being prompted to read or reading the Terms of Service or the Data Policy

during the registration process. He does not recall seeing updates to the Terms of Service or the Data

Policy since registering for his account. He did not subscribe to, has never visited, and is not aware of

the Facebook Site Governance page.

        29.     On information and belief, Plaintiff Akins’ Privacy Settings for personal information,

including birthday, were set to the default setting of Friends of Friends when he created his account.

Plaintiff Akins later changed those settings to Friends in approximately 2010. On information and belief,

Plaintiff Akins’ Privacy Settings for posts, including status updates, photos, and videos, were set to the

default setting of Friends of Friends when he created his account. On information and belief, Plaintiff

Akins did not change those settings, but started customizing his privacy on a post-by-post, photo-by-

photo, video-by-video basis. On information and belief, Plaintiff Akins’ Privacy Settings for Likes,

including page likes, interests, and favorites, were set to the default setting of Friends of Friends at first.

Plaintiff Akins later changed those settings to Friends in approximately 2010. Until 2018, post-

Cambridge Analytica Scandal, Plaintiff Akins did not know that Facebook allowed advertisers to target

him directly, using information such as his email address or Facebook User ID. Until 2018, post-

Cambridge Analytica Scandal, Plaintiff Akins did not know that there were separate Privacy Settings to

limit the information obtained by Apps used by his Friends. Until 2018, post-Cambridge Analytica



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Scandal, Plaintiff Akins did not know that there were separate Privacy Settings to disable advertisements

targeting him on the basis of data from third parties such as data brokers.

       30.     Plaintiff Akins shared private content and information, including personal information,

posts, and Likes, with a non-public audience such as Friends on Facebook. Plaintiff Akins expected

Facebook to protect and secure that private content and information against access by or disclosure to

unauthorized parties. This information included personal family photographs, personal family videos, as

well as personal perspectives regarding politics, religion, relationships, work, and family that he wanted

to remain private and non-public. Plaintiff Akins also shared private content and information with

Friends through Facebook Messenger and/or Facebook Chat. This information included personal family

photographs, personal family videos, as well as personal perspectives regarding politics, religion,

relationships, work, and family that he wanted to remain private and non-public.

       31.     Plaintiff Akins believed that when he shared private content and information with a non-

public audience such as Friends, by either restricting access to a non-public audience at the time of

posting or through his Privacy Settings, he was preventing third parties from accessing his content and

information. Plaintiff Akins was not aware of and did not understand that, when he shared content and

information with a non-public audience such as Friends, Facebook would disclose such content and

information to: (a) Apps used by his Friends; (b) “Business Partners” such as Apple, Amazon, and

Samsung; and (c) advertisers. Plaintiff Akins was not aware of and did not understand that Facebook

maintained a separate set of Privacy Settings for limiting the disclosure of his content and information to

Apps used by his Facebook Friends. Plaintiff Akins was not aware of and did not understand that he

could not control, with any settings made available by Facebook, the disclosure of his content and

information with Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff Akins was

not aware of and did not understand that Facebook would allow third parties to obtain his content and



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information and use it to construct a psychographic profile of him for the purpose of attempting to

manipulate his voting decisions or other decisions. Plaintiff Akins similarly was not aware of and did

not understand that Facebook would allow third parties to access his content and information and

combine it with content and information from other sources, including sources outside of Facebook, to

create a unique profile of him (as distinct from the individualized profile that he created for his

Facebook account).

       32.     If Plaintiff Akins had learned what he knows now about Facebook’s data sharing policies

before signing up for Facebook, he would not have signed up for Facebook at all. If, after signing up for

Facebook, he learned what he knows now, he would have immediately restricted his profile Privacy

Settings, limited sharing with Apps used by his Friends, and would have disabled Platform Apps

entirely. He also would have altered and reduced his Facebook usage, including being more circumspect

regarding sharing personal information.

       33.     On information and belief, Plaintiff Akins asserts his content and information was

disclosed without his consent to the This Is Your Digital Life App or other third-party Apps Facebook is

investigating for misusing users’ content and information. Plaintiff Akins was not aware of and did not

consent to the sharing of his content and information with the This Is Your Digital Life App or other

third parties. Moreover, Plaintiff Akins did not consent to any third-parties accessing his content and

information through his Facebook Friends and had no knowledge that Facebook had authorized this

disclosure of his content and information without his consent.

       34.     During the 2016 U.S. Presidential election, Plaintiff Akins frequently received political

advertisements while using Facebook. On information and belief, Plaintiff Akins was targeted by some

or all of these advertisements as a result of the Cambridge Analytica Scandal. As a result of the release

of his content and information, Plaintiff Akins has experienced an increase in phone solicitations as well



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as unauthorized access to his bank account. Additionally, as a result of the release of his content and

information, Plaintiff Akins has suffered emotional distress, including anxiety, concern, and unease

about unauthorized parties viewing and using his content and information for improper purposes, such

as identity theft and fraud as well as further intruding upon Plaintiff Akins’s private affairs and

concerns, as detailed herein. Plaintiff Akins fears that he is at risk of identity theft and fraud, and now

spends approximately two hours each month monitoring his credit, bank, and other account statements

for evidence of identity theft and fraud, and anticipates continuing to do so for the foreseeable future.

        35.    Plaintiff Rafael Amezcua is a citizen and resident of California in the United States.

Plaintiff Amezcua created his Facebook account in August 2009 via a personal computer and maintains

his Facebook account to the present day. In August 2009, Plaintiff Amezcua was a minor. Plaintiff

Amezcua has accessed his Facebook account from a mobile phone and a personal computer. Plaintiff

Amezcua also uses Facebook Messenger and/or instant messaging through Facebook. On or through

Facebook, Facebook Messenger, and/or Facebook instant messaging, Plaintiff Amezcua has watched

videos, “liked” videos, “shared” videos, “posted” videos, “liked” pages on Facebook that contain

videos, and “shared” pages on Facebook that contain videos.

        36.    Plaintiff Amezcua does not recall specific details regarding the account registration

process. Plaintiff Amezcua does not recall being prompted to read the Terms of Service or the Data

Policy during the registration process. He does not recall seeing updates to the Terms of Service or the

Data Policy since registering for his account. He did not subscribe to, has never visited, and is not

aware of the Facebook Site Governance page.

        37.    On information and belief, Plaintiff Amezcua’s Privacy Settings for personal information,

including birthday, were set to the default setting of Friends when he created his account. On

information and belief, Plaintiff Amezcua’s Privacy Settings for posts, including status updates, photos,

and videos, were set to the default setting of Friends when he created his account. On information and
belief, Plaintiff Amezcua’s Privacy Settings for Likes, including page likes, interests, and favorites,



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were set to the default setting of Friends when he created his account. Plaintiff Amezcua has since

changed these Like settings to Only Me in approximately 2014. Until 2018, post-Cambridge Analytica

Scandal, Plaintiff Amezcua did not know that Facebook allowed advertisers to target him directly,

using information such as his email address or Facebook ID. Since learning of the Cambridge Analytica

Scandal, Plaintiff Amezcua has changed the Privacy Settings for certain photos and photo albums to

specific Friends and to Only Me.

       38.    Plaintiff Amezcua shared private content and information, including personal

information, posts, and Likes, with a non-public audience such as Friends Only on Facebook or through

Facebook Messenger and/or Facebook instant messaging. Plaintiff Amezcua expected Facebook to
protect and secure that private content and information against access by or disclosure to unauthorized

parties. This information included personal photographs, personal videos, as well as personal

perspectives regarding politics, relationships, and family that he wanted to remain private and non-

public. Plaintiff Amezcua also shared private content and information with Friends through Facebook

Messenger and/or Facebook instant messaging. This information included personal videos, messages,

as well as personal perspectives regarding politics, relationships, and family that he wanted to remain

private and non-public.

       39.    Plaintiff Amezcua believed that when he shared private content and information with a

non-public audience such as Friends Only, by either restricting access to a non-public audience at the

time of posting or through his Privacy Settings, he was preventing third parties from accessing his
content and information. Plaintiff Amezcua was not aware of and did not understand that Facebook

would disclose content and information when he shared content and information with a non-public

audience such as Friends Only to: (a) Apps used by his Friends; (b) “Business Partners” such as Apple,

Amazon, and Samsung; and (c) advertisers. Plaintiff Amezcua was not aware of and did not understand

that Facebook maintained a separate set of Privacy Settings for limiting the disclosure of his content

and information to Apps used by his Facebook Friends. Plaintiff Amezcua was not aware of and did not

understand that he could not control, with any settings made available by Facebook, the disclosure of
his content and information with Business Partners such as Apple, Amazon, and Samsung. Further,


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Plaintiff Amezcua was not aware of and did not understand that Facebook would allow third parties to

obtain his content and information and use it to construct a psychographic profile of him for the

purpose of attempting to manipulate his voting decisions or other decisions. Plaintiff Amezcua

similarly was not aware of and did not understand that Facebook would allow third parties to access his

content and information and combine it with personally identifiable information from other sources,

including sources outside of Facebook, to create a unique profile of him (as distinct from the

individualized profile that he created for his Facebook account).

       40.    If Plaintiff Amezcua had learned what he knows now about Facebook’s data sharing

policies before signing up for Facebook, he believes that he would not have signed up for Facebook at
all. If, after signing up for Facebook, he learned what he knows now, he would have immediately

restricted his profile privacy settings, limited sharing with Apps used by his Friends, and would have

disabled Platform Apps entirely. Plaintiff Amezcua also would have reduced his Facebook usage,

including being more circumspect regarding sharing personal information.

       41.    On information and belief, Plaintiff Amezcua believes that his content and information

may have been “shared” with and “misused” by the This Is Your Digital Life app, because one of

Plaintiff Amezcua’s Facebook Friends downloaded the This Is Your Digital Life app. Plaintiff

Amezcua did not consent to the sharing of his content and information with the This Is Your Digital

Life app.

       42.    During the 2016 U.S. Presidential election, Plaintiff Amezcua frequently received
political advertisements while using Facebook. On information and belief, Plaintiff Amezcua was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal.

       43.    As a result of the release of his content and information, Plaintiff Amezcua has suffered

emotional distress, including anxiety, concern, and unease about unauthorized parties viewing and

using his content and information for improper purposes, such as identity theft and fraud as well as

further intruding upon Plaintiff Amezcua’s private affairs and concerns, as detailed herein. Plaintiff

Amezcua fears that he is at risk of identity theft and fraud, and now spends approximately thirty
minutes each month monitoring his credit, bank, and other account statements for evidence of identity


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 theft and fraud, and anticipates continuing to do so for the foreseeable future.
         44. Plaintiff Jason Ariciu is a citizen and resident of the State of Missouri. Plaintiff Ariciu

 created his Facebook account in 2005 via a personal computer and maintains his Facebook account to

 the present day. Plaintiff Ariciu has accessed his Facebook account from a personal computer, a tablet,

 and a mobile phone. Plaintiff Ariciu also uses Facebook Messenger and/or Facebook Chat. On or

 through Facebook, Facebook Messenger, and/or Facebook Chat, Plaintiff Ariciu has watched videos,

 “liked” videos, “shared” videos, “posted” videos, “liked” pages on Facebook that contain videos, and

 “shared” pages on Facebook that contain videos. These videos were hosted on Facebook’s video

 streaming services, and included videos that were not posted by Plaintiff Ariciu or his Friends, videos

 that were selected and published by Facebook to Plaintiff Ariciu’s News Feed, and videos that were

 posted, shared, or liked to a non-public audience such as Friends. Plaintiff Ariciu has enabled location

 access while using Facebook, Facebook Messenger, and/or Facebook Chat.

       45.     Plaintiff Ariciu does not recall specific details regarding the account registration process.

Plaintiff Ariciu does not recall being prompted to read or reading the Terms of Service or the Data

Policy during the registration process. He does not recall seeing updates to the Terms of Service or the

Data Policy since registering for his account. He did not subscribe to, has never visited, and is not aware

of the Facebook Site Governance page.

       46.     On information and belief, Plaintiff Ariciu’s Privacy Settings for personal information,

including birthday, were set to the default setting of Friends when he created his account. On

information and belief, Plaintiff Ariciu’s Privacy Settings for posts, including status updates, photos, and

videos, were set to the default setting of Friends of Friends when he created his account. Plaintiff Ariciu

later changed those settings to Friends in approximately 2009. On information and belief, Plaintiff

Ariciu’s Privacy Settings for Likes, including page likes, interests, and favorites, were set to the default

setting of Friends of Friends at first. Plaintiff Ariciu later changed those settings to Friends in


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approximately 2009. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Ariciu did not know that

Facebook allowed advertisers to target him directly, using information such as his email address or

Facebook User ID. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Ariciu did not know that

there were separate Privacy Settings to limit the information obtained by Apps used by his Friends. Until

2018, post-Cambridge Analytica Scandal, Plaintiff Ariciu did not know he could disable advertisements

targeting him on the basis of data from third parties such as data brokers.

       47.     Plaintiff Ariciu shared private content and information, including personal information,

posts, and Likes, with a non-public audience such as Friends on Facebook. Plaintiff Ariciu expected

Facebook to protect and secure that private content and information against access by or disclosure to

unauthorized parties. This information included personal family photographs, personal family videos, as

well as personal perspectives regarding politics, religion, relationships, work, and family that he wanted

to remain private and non-public. Plaintiff Ariciu also shared private content and information with

Friends through Facebook Messenger and/or Facebook Chat. This information included personal family

photographs as well as personal perspectives regarding politics, religion, relationships, work, and family

that he wanted to remain private and non-public.

       48.     Plaintiff Ariciu believed that when he shared private content and information with a non-

public audience such as Friends, by either restricting access to a non-public audience at the time of

posting or through his Privacy Settings, he was preventing third parties from accessing his content and

information. Plaintiff Ariciu was not aware of and did not understand that when he shared content and

information with a non-public audience such as Friends, Facebook would disclose such content and

information to: (a) Apps used by his Friends; (b) “Business Partners” such as Apple, Amazon, and

Samsung; and (c) advertisers. Plaintiff Ariciu was not aware of and did not understand that Facebook

maintained a separate set of Privacy Settings for limiting the disclosure of his content and information to



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Apps used by his Facebook Friends. Plaintiff Ariciu was not aware of and did not understand that he

could not control, with any settings made available by Facebook, the disclosure of his content and

information with Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff Ariciu was

not aware of and did not understand that Facebook would allow third parties to obtain his content and

information and use it to construct a psychographic profile of him for the purpose of attempting to

manipulate his voting decisions or other decisions. Plaintiff Ariciu similarly was not aware of and did

not understand that Facebook would allow third parties to access his content and information and

combine it with personally identifiable information from other sources, including sources outside of

Facebook, to create a unique profile of him (as distinct from the individualized profile that he created for

his Facebook account).

       49.     If Plaintiff Ariciu had learned what he knows now about Facebook’s data sharing policies

after signing up for Facebook, he would have immediately restricted his profile Privacy Settings, limited

sharing with Apps used by his Friends, and would have disabled Platform Apps entirely. He also would

have altered and reduced his Facebook usage, including being more circumspect regarding sharing

personal and professional information.

       50.     Plaintiff Ariciu confirmed on Facebook that his content and information may have been

“shared” with and “misused” by the This Is Your Digital Life App, because one of Plaintiff Ariciu’s

Facebook Friends downloaded the This Is Your Digital Life App. Plaintiff Ariciu did not consent to the

sharing of his content and information with the This Is Your Digital Life App. Moreover, Plaintiff

Ariciu did not consent to any third-parties accessing his content and information through his Facebook

Friends and had no knowledge that Facebook had authorized this disclosure of his content and

information without his consent.




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        51.     During the 2016 U.S. Presidential election, Plaintiff Ariciu frequently received political

advertisements while using Facebook. On information and belief, Plaintiff Ariciu was targeted by some

or all of these advertisements as a result of the Cambridge Analytica Scandal. As a result of the release

of his content and information, Plaintiff Ariciu has suffered emotional distress, including anxiety,

concern, and unease about unauthorized parties viewing and using his content and information for

improper purposes, such as identity theft and fraud as well as further intruding upon Plaintiff Ariciu’s

private affairs and concerns, as detailed herein. Plaintiff Ariciu fears that he is at risk of identity theft

and fraud, and now spends approximately one to two hours each month monitoring his credit, bank, and

other account statements for evidence of identity theft and fraud, and anticipates continuing to do so for

the foreseeable future.

        52.     Plaintiff Samuel Armstrong is a citizen and resident of the State of Indiana. Plaintiff

Armstrong created his Facebook account in 2007 via a personal computer and maintains his Facebook

account to the present day. Plaintiff Armstrong has accessed his Facebook account from a personal

computer, a tablet, and a mobile phone. Plaintiff Armstrong also uses Facebook Messenger and/or

Facebook Chat. On or through Facebook, Facebook Messenger, and/or Facebook Chat, Plaintiff

Armstrong has watched videos, “liked” videos, “shared” videos, “posted” videos, “liked” pages on

Facebook that contain videos, and “shared” pages on Facebook that contain videos. These videos were

hosted on Facebook’s video streaming services, and included videos that were not posted by Plaintiff

Armstrong or his Friends, videos that were selected and published by Facebook to Plaintiff Armstrong’s

News Feed, and videos that were posted, shared, or liked to a non-public audience such as Friends.

        53.     Plaintiff Armstrong recalls that during the account registration process he had to provide

his first name, last name, birthday, and email address. Plaintiff Armstrong does not recall being




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prompted to read or reading the Terms of Service or the Data Policy during the registration process. He

did not subscribe to, has never visited, and is not aware of the Facebook Site Governance page.

       54.     On information and belief, Plaintiff Armstrong’s Privacy Settings for personal

information, including birthday, were set to the default setting of Friends of Friends when he created his

account. On information and belief, Plaintiff Armstrong’s Privacy Settings for posts, including status

updates, photos, and videos, were set to the default setting of Friends of Friends when he created his

account. Plaintiff Armstrong later changed those settings to Friends in approximately 2012. On

information and belief, Plaintiff Armstrong’s Privacy Settings for Likes, including page likes, interests,

and favorites, were set to the default setting of Friends of Friends at first. Plaintiff Armstrong later

changed those settings to Friends in approximately 2012. Until 2018, post-Cambridge Analytica

Scandal, Plaintiff Armstrong did not know that Facebook allowed advertisers to target him directly,

using information such as his email address or Facebook User ID. Until 2018, post-Cambridge Analytica

Scandal, Plaintiff Armstrong did not know that there were separate Privacy Settings to limit the

information obtained by Apps used by his Friends. On information and belief, Plaintiff Armstrong

disabled advertisements targeting him on the basis of data from third parties such as data brokers.

       55.     Plaintiff Armstrong shared private content and information, including personal

information, posts, and Likes, with a non-public audience such as Friends on Facebook. Plaintiff

Armstrong expected Facebook to protect and secure that private content and information against access

by or disclosure to unauthorized parties. This information included personal family photographs,

personal family videos, as well as personal perspectives regarding politics, religion, relationships, work,

family, and health that he wanted to remain private and non-public. Plaintiff Armstrong also shared

private content and information with Friends through Facebook Messenger and/or Facebook Chat. This

information included personal family photographs, personal family videos, as well as personal



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perspectives regarding politics, religion, relationships, work, and family that he wanted to remain private

and non-public.

       56.     Plaintiff Armstrong believed that when he shared private content and information with a

non-public audience such as Friends, by either restricting access to a non-public audience at the time of

posting or through his Privacy Settings, he was preventing third parties from accessing his content and

information. Plaintiff Armstrong was not aware of and did not understand that, when he shared content

and information with a non-public audience such as Friends, Facebook would disclose such content and

information to: (a) Apps used by his Friends; (b) “Business Partners” such as Apple, Amazon, and

Samsung; and (c) advertisers. Plaintiff Armstrong was not aware of and did not understand that

Facebook maintained a separate set of Privacy Settings for limiting the disclosure of his content and

information to Apps used by his Facebook Friends. Plaintiff Armstrong was not aware of and did not

understand that he could not control, with any settings made available by Facebook, the disclosure of his

content and information with Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff

Armstrong was not aware of and did not understand that Facebook would allow third parties to obtain

his content and information and use it to construct a psychographic profile of him for the purpose of

attempting to manipulate his voting decisions or other decisions. Plaintiff Armstrong similarly was not

aware of and did not understand that Facebook would allow third parties to access his content and

information and combine it with personally identifiable information from other sources, including

sources outside of Facebook, to create a unique profile of him (as distinct from the individualized profile

that he created for his Facebook account).

       57.     If Plaintiff Armstrong had learned what he knows now about Facebook’s data sharing

policies before signing up for Facebook, particularly with respect to its influence on his voting

decisions, he would not have signed up for Facebook at all. If, after signing up for Facebook, he learned



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what he knows now, he would have immediately restricted his profile Privacy Settings, limited sharing

with Apps used by his Friends, and would have reduced his Facebook usage regarding political subjects.

       58.     Plaintiff Armstrong confirmed on Facebook that his content and information may have

been “shared” with and “misused” by the This Is Your Digital Life App, because one of Plaintiff

Armstrong’s Facebook Friends downloaded the This Is Your Digital Life App. Plaintiff Armstrong did

not consent to the sharing of his content and information with the This Is Your Digital Life App.

Moreover, Plaintiff Armstrong did not consent to any third-parties accessing his content and information

through his Facebook Friends and had no knowledge that Facebook had authorized this disclosure of his

content and information without his consent.

       59.     During the 2016 U.S. Presidential election, Plaintiff Armstrong frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Armstrong was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal. In

particular, Plaintiff Armstrong recalls that he received highly offensive advertisements during the 2016

U.S. Presidential election, and believes that he was targeted with such advertisements because of his

race and gender. He believes that these advertisements were designed to improperly influence his voting

decisions, and recalls that these advertisements did in fact influence his voting decisions. As a result of

the release of his content and information, Plaintiff Armstrong has experienced an increase in phone

solicitations. Additionally, as a result of the release of his content and information, Plaintiff Armstrong

has suffered emotional distress, including anxiety, concern, and unease about unauthorized parties

viewing and using his content and information for improper purposes, such as identity theft and fraud as

well as further intruding upon Plaintiff Armstrong’s private affairs and concerns, as detailed herein.

Plaintiff Armstrong fears that he is at risk of identity theft and fraud, and now spends approximately four




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hours each month monitoring his credit, bank, and other account statements for evidence of identity theft

and fraud, and anticipates continuing to do so for the foreseeable future.

       60.     Plaintiff Anthony Bell is a citizen and resident of the State of California. Plaintiff Bell

created his Facebook account in approximately 2005 via a computer and maintains his Facebook

account to the present day. Plaintiff Bell has accessed his Facebook account from a computer and

mobile phone. Plaintiff Bell also uses Facebook Messenger and/or Facebook Chat. On or through

Facebook, Facebook Messenger, and/or Facebook Chat, Plaintiff Bell has obtained and viewed non-

public videos, “liked” videos, “shared” videos, “posted” videos, “liked” pages on Facebook that contain

videos, and “shared” pages on Facebook that contain videos.” These videos were delivered by

Facebook, and included videos that were not posted by Plaintiff Bell or his Friends, videos that were

selected and delivered by Facebook to Plaintiff Bell’s News Feed, and videos that were posted, shared,

or liked to a non-public audience such as Friends. Plaintiff Bell is a pastor and Facebook has allowed

him to post inspirational and religious videos for his parishioners. In addition, through Facebook Live,

the service that allows users to broadcast live video streams to the News Feed using the Facebook

Mentions App, Plaintiff Bell has broadcast inspirational and religious messages to parishioners. He

believes the Facebook Live video was shared publicly when it was live, but after it ended and was

posted to his page, he changed the video’s Privacy Settings to non-public (either Only Me or Friends).

Via Facebook Chat and Messenger, Plaintiff Bell has also sent his church employees videos containing

very sensitive business information that needed to remain private.

       61.     Plaintiff Bell does not recall specific details regarding the account registration process.

Plaintiff Bell recalls reading parts of the Terms of Service and the Data Policy during the registration

process. Plaintiff Bell recalls that the Terms of Service and the Data Policy were extremely long and

complex and that he did not understand the terms. He does not recall seeing updates to the Terms of



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Service or the Data Policy since registering for his account. He does not subscribe to, has never visited,

and is not aware of the Facebook Site Governance page.

        62.     On information and belief, Plaintiff Bell’s Privacy Settings for personal information,

including birthday, were set to the default setting of Friends when he created his account. Plaintiff Bell

later changed those settings to Friends. On information and belief, Plaintiff Bell’s Privacy Settings for

posts, including status updates, photos, and videos, were set to the default setting of Friends of Friends

when he created his account. On information and belief, Plaintiff Bell’s Privacy Settings for Likes,

including page likes, interests, and favorites, were set to the default setting of Friends of Friends at first.

Plaintiff Bell later changed all of those settings to Friends. Until 2018, post-Cambridge Analytica

Scandal, Plaintiff Bell did not know that Facebook allowed advertisers to target him directly, using

information such as his email address or Facebook User ID. On information and belief, Plaintiff Bell

disabled advertisements targeted on the basis of data from third parties such as data brokers. Until 2018,

post-Cambridge Analytica Scandal, Plaintiff Bell did not know that there were separate Privacy Settings

to limit the information obtained by Apps used by his Friends. Plaintiff Bell later became aware of those

settings and changed those settings to limit information sharing in approximately 2018.

        63.     Plaintiff Bell shared private content and information on Facebook, including personal

information, posts, and Likes, with a non-public audience such as Friends and in private Facebook

Groups. Plaintiff Bell expected Facebook to protect and secure that private content and information

against access by or disclosure to unauthorized parties. This information included personal family

photographs, personal family videos, as well as personal perspectives regarding politics, religion,

relationships, work, and family that he wanted to remain private and non-public. For example, he often

uses Facebook in the course of his work as a pastor to invite people to events—using Facebook’s Events

function—at his church. He also “Friends” his parishioners on Facebook so that they can communicate



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with him easily, such as by posting on his page, and so that he could offer encouragement and support to

parishioners. He expected those communications and related content and information to remain private

and confidential.

       64.     Plaintiff Bell also shared private content and information with Friends through Facebook

Messenger and/or Facebook Chat. This information included personal family photographs, personal

family videos, as well as personal perspectives regarding politics, religion, relationships, work, and

family that he wanted to remain private and non-public. Plaintiff Bell expected Facebook to protect and

secure that private content and information against access by or disclosure to unauthorized parties. As

one example, in trying to solve a family emergency that was endangering the safety and lives of some of

his relatives, Plaintiff Bell shared highly sensitive information to his Facebook page and via Facebook

Messenger that he believed would not be shared with people who were not his Friends. If that

information had reached people other than his Friends, his relatives’ lives would have been endangered.

Facebook was his only option for communicating during this emergency due to poor phone service

overseas. As another example, Plaintiff Bell, in the course of his work as a pastor, often counsels his

parishioners through Facebook Messenger. As a pastor, he has an obligation to keep confidential

information his parishioners share with him. He believes that Facebook’s failure to keep his messages

confidential have violated his duty of confidentiality as a pastor.

       65.     Plaintiff Bell believed that when he shared private content and information with a non-

public audience such as Friends, by either restricting access to a non-public audience at the time of

posting or through his Privacy Settings, he was preventing third parties from accessing his content and

information. Plaintiff Bell was not aware of and did not understand that when he shared content and

information with a non-public audience such as Friends, Facebook would disclose such content and

information to: (a) Apps used by his Friends; (b) “Business Partners” such as Apple, Amazon, and



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Samsung; and (c) advertisers. Plaintiff Bell was not aware of and did not understand that Facebook

maintained a separate set of Privacy Settings for limiting the disclosure of his content and information to

Apps used by his Facebook Friends. Plaintiff Bell was not aware of and did not understand that he could

not control, with any settings made available by Facebook, the disclosure of his content and information

with Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff Bell was not aware of

and did not understand that Facebook would allow third parties to obtain his content and information

and use it to construct a psychographic profile of him for the purpose of attempting to manipulate his

voting decisions or other decisions. Plaintiff Bell similarly was not aware of and did not understand that

Facebook would allow third parties to access his content and information and combine it with personally

identifiable information from other sources, including sources outside of Facebook, to create a unique

profile of him (as distinct from the individualized profile that he created for his Facebook account).

       66.     If Plaintiff Bell had learned what he knows now about Facebook’s data sharing policies

before signing up for Facebook, he would not have signed up for Facebook at all. If, after signing up for

Facebook, he learned what he knows now, he would have immediately restricted his profile Privacy

Settings, limited sharing with Apps used by his Friends, and would have disabled Platform Apps

entirely. He also would have altered and reduced his Facebook usage, including being more circumspect

regarding sharing personal information.

       67.     Plaintiff Bell confirmed on Facebook that his content and information may have been

“shared” with and “misused” by the This Is Your Digital Life App, because one of Plaintiff Bell’s

Facebook Friends downloaded the This Is Your Digital Life App. Plaintiff Bell did not consent to the

sharing of his content and information with the This Is Your Digital Life App. Moreover, Plaintiff Bell

did not consent to any third-parties accessing his content and information through his Facebook Friends




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and had no knowledge that Facebook had authorized this disclosure of his content and information

without his consent.

       68.     During the 2016 U.S. Presidential election, Plaintiff Bell frequently received political

advertisements while using Facebook. On information and belief, Plaintiff Bell was targeted by some or

all of these advertisements as a result of the Cambridge Analytica Scandal. As a result of the release of

his content and information, Plaintiff Bell has experienced hacking of his email account and attempted

unauthorized withdrawals from his bank account. Plaintiff Bell had to delete his email account and

subsequently lost a large amount of information. Additionally, as a result of the release of his content

and information, Plaintiff Bell has suffered emotional distress, including anxiety, concern, and unease

about unauthorized parties viewing and using his content and information for improper purposes, such

as identity theft and fraud as well as further intruding upon Plaintiff Bell’s private affairs and concerns,

as detailed herein. Plaintiff Bell fears that he is at risk of identity theft and fraud, and now spends

approximately five hours each month monitoring his credit, bank, and other account statements for

evidence of identity theft and fraud, and anticipates continuing to do so for the foreseeable future.

Because of his heightened risk of identity theft and fraud, Plaintiff Bell has purchased credit monitoring

and identity theft protection services, and anticipates continuing to pay for such services for the

foreseeable future.

       69.     Plaintiff Bridgett Burk is a citizen and resident of the State of Florida. Plaintiff Burk

created her Facebook account in 2006 via a personal computer and maintains her Facebook account to

the present day. Plaintiff Burk has accessed her Facebook account from a mobile phone, a tablet, and a

personal computer. Plaintiff Burk also uses Facebook Messenger and/or Facebook Chat. On or through

Facebook, Facebook Messenger, and/or Facebook Chat, Plaintiff Burk has watched videos, “liked”

videos, “shared” videos, “posted” videos, “liked” pages on Facebook that contain videos, and “shared”



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pages on Facebook that contain videos. These videos were hosted on Facebook’s video streaming

services, and included videos that were not posted by Plaintiff Burk or her Friends, videos that were

selected and published by Facebook to Plaintiff Burk’s News Feed, and videos that were posted, shared,

or liked to a non-public audience such as Friends. Plaintiff Burk has also purchased and/or sold items in

the Facebook Marketplace.

       70.     Plaintiff Burk does not recall specific details regarding the account registration process.

Plaintiff Burk does not recall being prompted to read or reading the Terms of Service or the Data Policy

during the registration process. She does not recall seeing updates to the Terms of Service or the Data

Policy since registering for her account. She did not subscribe to, has never visited, and is not aware of

the Facebook Site Governance page.

       71.     On information and belief, Plaintiff Burk’s Privacy Settings for personal information,

including birthday, were set to the default setting of Friends when she created her account. Plaintiff Burk

later confirmed that those settings were set to Friends in approximately 2009 or 2010. On information

and belief, Plaintiff Burk’s Privacy Settings for posts, including status updates, photos, and videos, were

set to the default setting of Friends of Friends when she created her account. Plaintiff Burk later changed

those settings to Friends in approximately 2009 or 2010. On information and belief, Plaintiff Burk’s

Privacy Settings for Likes, including page likes, interests, and favorites, were set to the default setting of

Friends of Friends at first. Plaintiff Burk later changed those settings to Friends in approximately 2009

or 2010. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Burk did not know that Facebook

allowed advertisers to target her directly, using information such as her email address or Facebook User

ID. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Burk did not know that there were separate

Privacy Settings to limit the information obtained by Apps used by her Friends. On information and




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belief, Plaintiff Burk disabled advertisements targeting her on the basis of data from third parties such as

data brokers.

       72.      Plaintiff Burk shared private content and information, including personal information,

posts, and Likes, with a non-public audience such as Friends on Facebook. Plaintiff Burk expected

Facebook to protect and secure that private content and information against access by or disclosure to

unauthorized parties. This information included personal family photographs, personal family videos, as

well as personal perspectives regarding politics, religion, relationships, work, and family that she wanted

to remain private and non-public. Plaintiff Burk also shared private content and information with

Friends through Facebook Messenger and/or Facebook Chat. This information included personal family

photographs, as well as personal perspectives regarding politics, religion, relationships, work, and

family that she wanted to remain private and non-public.

       73.      Plaintiff Burk believed that when she shared private content and information with a non-

public audience such as Friends, by either restricting access to a non-public audience at the time of

posting or through her Privacy Settings, she was preventing third parties from accessing her content and

information. Plaintiff Burk was not aware of and did not understand that, when she shared content and

information with a non-public audience such as Friends, Facebook would disclose such content and

information to: (a) Apps used by her Friends; (b) “Business Partners” such as Apple, Amazon, and

Samsung; and (c) advertisers. Plaintiff Burk was not aware of and did not understand that Facebook

maintained a separate set of Privacy Settings for limiting the disclosure of her content and information to

Apps used by her Facebook Friends. Plaintiff Burk was not aware of and did not understand that she

could not control, with any settings made available by Facebook, the disclosure of her content and

information with Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff Burk was

not aware of and did not understand that Facebook would allow third parties to obtain her content and



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information and use it to construct a psychographic profile of her for the purpose of attempting to

manipulate her voting decisions or other decisions. Plaintiff Burk similarly was not aware of and did not

understand that Facebook would allow third parties to access her content and information and combine it

with personally identifiable information from other sources, including sources outside of Facebook, to

create a unique profile of her (as distinct from the individualized profile that she created for her

Facebook account).

       74.     If Plaintiff Burk had learned what she knows now about Facebook’s data sharing policies

before signing up for Facebook, she would not have signed up for Facebook at all. If, after signing up

for Facebook, she learned what she knows now, she would have immediately restricted her profile

Privacy Settings, limited sharing with Apps used by her Friends, and would have disabled Platform

Apps entirely. She also would have altered and reduced her Facebook usage, including being more

circumspect regarding sharing personal information.

       75.     Plaintiff Burk confirmed on Facebook that her content and information may have been

“shared” with and “misused” by the This Is Your Digital Life App, because one of Plaintiff Burk’s

Facebook Friends downloaded the This Is Your Digital Life App. Plaintiff Burk was not aware of and

did not consent to the sharing of her content and information with the This Is Your Digital Life App.

Moreover, Plaintiff Burk did not consent to any third-parties accessing her content and information

through her Facebook Friends and had no knowledge that Facebook had authorized this disclosure of her

content and information without her consent.

       76.     During the 2016 U.S. Presidential election, Plaintiff Burk frequently received political

advertisements while using Facebook. On information and belief, Plaintiff Burk was targeted by some or

all of these advertisements as a result of the Cambridge Analytica Scandal. As a result of the release of

her content and information, Plaintiff Burk has experienced an increase in phone solicitations.



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Additionally, as a result of the release of her content and information, Plaintiff Burk has suffered

emotional distress, including anxiety, concern, and unease about unauthorized parties viewing and using

her content and information for improper purposes, such as identity theft and fraud as well as further

intruding upon Plaintiff Burk’s private affairs and concerns, as detailed herein. Plaintiff Burk fears that

she is at risk of identity theft and fraud, and now spends approximately thirty minutes each month

monitoring her credit, bank, and other account statements for evidence of identity theft and fraud, and

anticipates continuing to do so for the foreseeable future.

        77.    Plaintiff Naomi Butler is a citizen and resident of Liverpool in the United Kingdom.

Plaintiff Butler created her Facebook account in 2009 via a personal computer and maintains her

Facebook account to the present day. Plaintiff Butler has accessed her Facebook account from a mobile

phone and a personal computer. Plaintiff Butler also uses Facebook Messenger and/or instant

messaging through Facebook. On or through Facebook, Facebook Messenger, and/or Facebook instant

messaging, Plaintiff Butler has watched videos, “liked” videos, “shared” videos, “posted” videos,

“liked” pages on Facebook that contain videos, and “shared” pages on Facebook that contain videos.

        78.    Plaintiff Butler does not recall specific details regarding the account registration process.

Plaintiff Butler does not recall being prompted to read the Terms of Service or the Data Policy during

the registration process. She does not recall seeing updates to the Terms of Service or the Data Policy

since registering for her account. She did not subscribe to, has never visited, and is not aware of the

Facebook Site Governance page.

        79.    On information and belief, Plaintiff Butler’s Privacy Settings for personal information,

including birthday, were set to the default setting when she created her account. Plaintiff Butler later

changed those settings to Friends Only. On information and belief, Plaintiff Butler’s Privacy Settings

for posts, including status updates, photos, and videos, were set to the default setting when she created

her account. On information and belief, Plaintiff Butler’s Privacy Settings for Likes, including page
likes, interests, and favorites, were set to the default setting when she created her account. Until 2018,



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post-Cambridge Analytica Scandal and the enactment of the European Union’s General Data Protection

Regulation (“GDPR”), Plaintiff Butler did not know that Facebook allowed advertisers to target her

directly, using information such as her email address or Facebook ID. Until 2020, Plaintiff Butler did

not know that there were separate Privacy Settings to limit the information that Apps used by Friends

could obtain.

       80.      Plaintiff Butler shared private content and information, including personal information,

posts, and Likes, with a non-public audience such as Friends Only on Facebook or through Facebook

Messenger and/or Facebook instant messaging. Plaintiff Butler expected Facebook to protect and

secure that private content and information against access by or disclosure to unauthorized parties. The
information included personal family photographs, personal family videos, as well as personal

perspectives regarding politics, religion, relationships, work, and family that she wanted to remain

private and non-public. Plaintiff Butler also shared private content and information with Friends

through Facebook Messenger and/or Facebook instant messaging. The information included personal

perspectives regarding politics, religion, relationships, work and family that she wanted to remain

private and non-public.

       81.      Plaintiff Butler believed that when she shared private content and information with a non-

public audience such as Friends Only, by either restricting access to a non-public audience at the time

of posting or through her Privacy Settings, she was preventing third parties from accessing her content

and information. Plaintiff Butler was not aware of and did not understand that Facebook would disclose
content and information when she shared content and information with a non-public audience such as

Friends Only to: (a) Apps used by her Friends; (b) “Business Partners” such as Apple, Amazon, and

Samsung; and (c) advertisers. Plaintiff Butler was not aware of and did not understand that Facebook

maintained a separate set of Privacy Settings for limiting the disclosure of her content and information

to Apps used by her Facebook Friends. Plaintiff Butler was not aware of and did not understand that

she could not control, with any settings made available by Facebook, the disclosure of her content and

information with Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff Butler was
not aware of and did not understand that Facebook would allow third parties to obtain her content and


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information and use it to construct a psychographic profile of her for the purpose of attempting to

manipulate her voting decisions or other decisions. Plaintiff Butler similarly was not aware of and did

not understand that Facebook would allow third parties to access her content and information and

combine it with personally identifiable information from other sources, including sources outside of

Facebook, to create a unique profile of her (as distinct from the individualized profile that she created

for her Facebook account).

       82.    If Plaintiff Butler had learned what she knows now about Facebook’s data sharing

policies before signing up for Facebook, she believes that she would not have signed up for Facebook

at all. If, after signing up for Facebook, she learned what she knows now, she would have immediately
restricted her profile privacy settings, limited sharing with Apps used by her Friends, and would have

disabled Platform Apps entirely. She also would have altered and reduced her Facebook usage,

including being more circumspect regarding sharing personal information.

       83.    On information and belief, Plaintiff Butler believes that her content and information may

have been “shared” with and “misused” by the This Is Your Digital Life app, because one of Plaintiff

Butler’s Facebook Friends downloaded the This Is Your Digital Life app. Plaintiff Butler did not

consent to the sharing of her content and information with the This Is Your Digital Life app.

       84.    As a result of the release of her content and information, Plaintiff Butler has suffered

emotional distress, including anxiety, concern, and unease about unauthorized parties viewing and

using her content and information for improper purposes, such as identity theft and fraud as well as
further intruding upon Plaintiff Butler’s private affairs and concerns, as detailed therein. Plaintiff Butler

fears that she is at risk of identity theft and fraud, and now spends approximately one hour each month

monitoring her credit, bank, and other account statements for evidence of identity theft and fraud, and

anticipates continuing to do so for the foreseeable future.

       85.    Plaintiff Peter Christley is a citizen and resident of Rhyl Denbighshire in the United

Kingdom. Plaintiff Christley created his Facebook account in 2008 via a personal computer and

maintains his Facebook account to the present day. Plaintiff Christley has accessed his Facebook
account from a mobile phone and a personal computer. Plaintiff Christley also uses Facebook


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Messenger and/or instant messaging through Facebook. On or through Facebook, Facebook Messenger,

and/or Facebook instant messaging, Plaintiff Christley has watched videos, “liked” videos, “shared”

videos, “posted” videos, “liked” pages on Facebook that contain videos, and “shared” pages on

Facebook that contain videos. Plaintiff Christley has also purchased and/or sold items in the Facebook

Marketplace.

       86.     Plaintiff Christley does not recall specific details regarding the account registration

process. Plaintiff Christley does not recall being prompted to read the Terms of Service or the Data

Policy during the registration process. He does not recall seeing updates to the Terms of Service or the

Data Policy since registering for his account. He did not subscribe to, has never visited, and is not
aware of the Facebook Site Governance page.

       87.     On information and belief, Plaintiff Christley’s Privacy Settings for personal information,

including birthday, were set to the default setting of Friends when he created his account. Plaintiff

Christley later changed those settings to Only Me in approximately 2020. On information and belief,

Plaintiff Christley’s Privacy Settings for posts, including status updates, photos, and videos, were set to

the default setting of Friends when he created his account. On information and belief, Plaintiff

Christley’s Privacy Settings for Likes, including page likes, interests, and favorites, were set to the

default setting of Friends when he created his account. Until 2018, post-Cambridge Analytica Scandal

and the enactment of the European Union’s General Data Protection Regulation (“GDPR”), Plaintiff

Christley did not know that Facebook allowed advertisers to target him directly, using information such
as his email address or Facebook ID. Until 2020, Plaintiff Christley did not know that there were

separate Privacy Settings to limit the information that Apps used by Friends could obtain.

       88.     Plaintiff Christley shared private content and information, including personal

information, posts, and Likes, with a non-public audience such as Friends Only on Facebook or through

Facebook Messenger and/or Facebook instant messaging. Plaintiff Christley expected Facebook to

protect and secure that private content and information against access by or disclosure to unauthorized

parties. This information included personal family photographs, personal family videos, as well as
personal perspectives regarding politics, religion, relationships, work, and family that he wanted to


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remain private and non-public. Plaintiff Christley also shared private content and information with

Friends through Facebook Messenger and/or Facebook instant messaging. This information included

personal family photographs, personal family videos, as well as personal perspectives regarding

politics, religion, relationships, work and family that he wanted to remain private and non-public.

       89.    Plaintiff Christley believed that when he shared private content and information with a

non-public audience such as Friends Only, by either restricting access to a non-public audience at the

time of posting or through his Privacy Settings, he was preventing third parties from accessing his

content and information. Plaintiff Christley was not aware of and did not understand that Facebook

would disclose content and information when he shared content and information with a non-public
audience such as Friends Only to: (a) Apps used by his Friends; (b) “Business Partners” such as Apple,

Amazon, and Samsung; and (c) advertisers. Plaintiff Christley was not aware of and did not understand

that Facebook maintained a separate set of Privacy Settings for limiting the disclosure of his content

and information to Apps used by his Facebook Friends. Plaintiff Christley was not aware of and did not

understand that he could not control, with any settings made available by Facebook, the disclosure of

his content and information with Business Partners such as Apple, Amazon, and Samsung. Further,

Plaintiff Christley was not aware of and did not understand that Facebook would allow third parties to

obtain his content and information and use it to construct a psychographic profile of him for the

purpose of attempting to manipulate his voting decisions or other decisions. Plaintiff Christley similarly

was not aware of and did not understand that Facebook would allow third parties to access his content
and information and combine it with personally identifiable information from other sources, including

sources outside of Facebook, to create a unique profile of him (as distinct from the individualized

profile that he created for his Facebook account).

       90.    If Plaintiff Christley had learned what he knows now about Facebook’s data sharing

policies before signing up for Facebook, he believes that he would not have signed up for Facebook at

all. If, after signing up for Facebook, he learned what he knows now, he would have immediately

restricted his profile privacy settings, limited sharing with Apps used by his Friends, and would have
disabled Platform Apps entirely. He also would have altered and reduced his Facebook usage, including


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being more circumspect regarding sharing personal information.

        91.    On information and belief, Plaintiff Christley believes that his content and information

may have been “shared” with and “misused” by the This Is Your Digital Life app, because one of

Plaintiff Christley’s Facebook Friends downloaded the This Is Your Digital Life app. Plaintiff

Christley did not consent to the sharing of his content and information with the This Is Your Digital

Life app.
       92.     As a result of the release of his content and information, Plaintiff Christley has suffered
emotional distress, including anxiety, concern, and unease about unauthorized parties viewing and
using his content and information for improper purposes, such as identity theft and fraud as well as
further intruding upon Plaintiff Christley’s private affairs and concerns, as detailed herein. Plaintiff
Christley fears that he is at risk of identity theft and fraud, and now spends approximately four hours
each month monitoring his credit, bank, and other account statements for evidence of identity theft and
fraud, and anticipates continuing to do so for the foreseeable future.
       93.     Plaintiff Terry Fischer is a citizen and resident of the State of Washington. Plaintiff
Fischer created her Facebook account in 2013 via a personal computer and maintains her Facebook
account to the present day. Plaintiff Fischer has accessed her Facebook account from a mobile phone
and a personal computer. Plaintiff Fischer also uses Facebook Messenger through Facebook. On or
through Facebook, Facebook Messenger, and/or Facebook Chat, Plaintiff Fischer has watched videos,
“liked” videos, “shared” videos, “posted” videos, “liked” pages on Facebook that contain videos, and
“shared” pages on Facebook that contain videos. These videos were hosted on Facebook’s video
streaming services, and included videos that were not posted by Plaintiff Fischer or her Friends, videos
that were selected and published by Facebook to Plaintiff Fischer’s News Feed, and videos that were
posted, shared, or liked to a non-public audience such as Friends.
       94.     Plaintiff Fischer recalls that during account registration process she entered her name, an

email address, and a confirmation that she met the age requirements. Plaintiff Fischer does not recall

being prompted to read or reading the Terms of Service or the Data Policy during the registration

process. She does not recall seeing updates to the Terms of Service or the Data Policy since registering

for her account. She did not subscribe to, has never visited, and is not aware of the Facebook Site

Governance page.

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       95.     On information and belief, Plaintiff Fischer’s Privacy Settings for personal information,

including birthday, were set to the default setting of Friends of Friends when she created her account.

Plaintiff Fischer later changed those settings to Friends in approximately 2017. On information and

belief, Plaintiff Fischer’s Privacy Settings for posts, including status updates, photos, and videos, were

set to the default setting of Public when she created her account. Plaintiff Fischer later changed those

settings to Friends of Friends in approximately 2013 and then to Friends in approximately 2016. On

information and belief, Plaintiff Fischer’s Privacy Settings for Likes, including page likes, interests, and

favorites, were set to the default setting of Public when she created her account. Plaintiff Fischer later

changed those settings to Friends of Friends in approximately 2013 and then to Friends in approximately

2017. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Fischer did not know that Facebook

allowed advertisers to target her directly, using information such as her email address or Facebook User

ID. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Fischer did not know that there were

separate Privacy Settings to limit the information obtained by Apps used by her Friends. Until 2018,

post-Cambridge Analytica Scandal, Plaintiff Fischer did not know that there were separate Privacy

Settings to disable advertisements targeting her on the basis of data from third parties such as data

brokers.

       96.     Plaintiff Fischer shared private content and information, including personal information,

posts, and Likes, with a non-public audience such as Friends on Facebook. Plaintiff Fischer expected

Facebook to protect and secure that private content and information against access by or disclosure to

unauthorized parties. This information included personal family photographs, personal family videos, as

well as personal perspectives regarding politics, religion, relationships, and family that she wanted to

remain private and non-public. Plaintiff Fischer also shared private content and information with Friends

through Facebook Messenger. This information included personal family photographs, personal family



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videos, as well as personal perspectives regarding politics, religion, relationships, and family that she

wanted to remain private and non-public.

       97.     Plaintiff Fischer believed that when she shared private content and information with a

non-public audience such as Friends, by either restricting access to a non-public audience at the time of

posting or through her Privacy Settings, she was preventing third parties from accessing her content and

information. Plaintiff Fischer was not aware of and did not understand that, when she shared content and

information with a non-public audience such as Friends, Facebook would disclose such content and

information to: (a) Apps used by her Friends; (b) “Business Partners” such as Apple, Amazon, and

Samsung; and (c) advertisers. Plaintiff Fischer was not aware of and did not understand that Facebook

maintained a separate set of Privacy Settings for limiting the disclosure of her content and information to

Apps used by her Facebook Friends. Plaintiff Fischer was not aware of and did not understand that she

could not control, with any settings made available by Facebook, the disclosure of her content and

information with Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff Fischer was

not aware of and did not understand that Facebook would allow third parties to obtain her content and

information and use it to construct a psychographic profile of her for the purpose of attempting to

manipulate her voting decisions or other decisions. Plaintiff Fischer similarly was not aware of and did

not understand that Facebook would allow third parties to access her content and information and

combine it with personally identifiable information from other sources, including sources outside of

Facebook, to create a unique profile of her (as distinct from the individualized profile that she created

for her Facebook account).

       98.     If Plaintiff Fischer had learned what she knows now about Facebook’s data sharing

policies before signing up for Facebook, she would not have signed up for Facebook at all. If, after

signing up for Facebook, she learned what she knows now, she would have immediately restricted her



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profile Privacy Settings, limited sharing with Apps used by Friends, and would have disabled Platform

Apps entirely.

       99.       Plaintiff Fischer confirmed on Facebook that her content and information “was likely

shared” with and may have been “misused” by the This Is Your Digital Life App, because Plaintiff

Fischer downloaded and logged into the This Is Your Digital Life App. Plaintiff Fischer was not aware

of and did not consent to the sharing of her content and information with the This Is Your Digital Life

App. Moreover, Plaintiff Fischer did not consent to any third-parties accessing her content and

information through her Facebook Friends and had no knowledge that Facebook had authorized this

disclosure of her content and information without her consent.

       100.      As a result of the release of her content and information, Plaintiff Fischer has experienced

an increase in phone solicitations, Friends requests from trolls or imposter accounts, and other

interference with her Facebook account. Additionally, as a result of the release of her content and

information, Plaintiff Fischer has suffered emotional distress, including anxiety, concern, and unease

about unauthorized parties viewing and using her content and information for improper purposes, such

as identity theft and fraud as well as further intruding upon Plaintiff Fischer’s private affairs and

concerns, as detailed herein. Plaintiff Fischer fears that she is at risk of identity theft and fraud, and now

spends approximately two to three hours each month monitoring her credit, bank, and other account

statements for evidence of identity theft and fraud, and anticipates continuing to do so for the

foreseeable future. Because of her heightened risk of identity theft and fraud, Plaintiff Fischer has frozen

credit and requested fraud alerts from the various credit monitoring agencies and anticipates continuing

to utilize such services for the foreseeable future.

       101.      Plaintiff Shelly Forman is a citizen and resident of the State of Georgia. Plaintiff

Forman created her Facebook account in 2008 via a computer to keep in touch with her family members.



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She maintains her Facebook account to the present day. Plaintiff Forman has accessed her Facebook

account from a computer and mobile phone. Plaintiff Forman also uses Facebook Messenger and/or

Facebook Chat. On or through Facebook, Facebook Messenger, and/or Facebook Chat, Plaintiff Forman

has obtained and viewed non-public videos, “liked” videos, “shared” videos, “posted” videos, “liked”

pages on Facebook that contain videos, and “shared” pages on Facebook that contain videos.” These

videos were delivered by Facebook, and included videos that were not posted by Plaintiff Forman or her

Friends, videos that were selected and delivered by Facebook to Plaintiff Forman’s News Feed, and

videos that were posted, shared, or liked to a non-public audience such as Friends. These videos

included personal videos, memes, and videos from Vine, Vimeo, YouTube, and other streaming

services. Through Facebook Live, the service that allows users to broadcast live video streams to the

News Feed using the Facebook Mentions App, Plaintiff Forman broadcasted a public service

announcement video to a private group regarding sensitive topics. Plaintiff Forman shared this Facebook

Live video with Friends of Friends. She expected Facebook to protect and secure all of her private video

activity against access by or disclosure to unauthorized parties. Plaintiff Forman has enabled location

access while using Facebook, Facebook Messenger, and/or Facebook Chat. Plaintiff Forman has also

purchased and sold items, including furniture, cars, and car trailers, through Facebook Marketplace. She

shared personal information, including her location and phone number, through Facebook Marketplace.

       102.    Plaintiff Forman does not recall specific details regarding the account registration

process. Plaintiff Forman does not recall being prompted to read or reading the Terms of Service or the

Data Policy during the registration process. She does not recall seeing updates to the Terms of Service or

the Data Policy since registering for her account. Plaintiff Forman does not subscribe to, has never

visited, and is not aware of the Facebook Site Governance page.




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        103.    On information and belief, Plaintiff Forman’s Privacy Settings for personal information,

including birthday, were set to the default setting of Friends of Friends when she created her account.

Plaintiff Forman later changed those settings to Friends. On information and belief, Plaintiff Forman’s

Privacy Settings for posts, including status updates, photos, and videos, were set to the default setting of

Friends of Friends when she created her account. Plaintiff Forman later changed those settings to

Friends. On information and belief, Plaintiff Forman’s Privacy Settings for Likes, including page likes,

interests, and favorites, were set to the default setting of Friends of Friends at first. Plaintiff Forman later

changed those settings to Friends. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Forman did

not know that Facebook allowed advertisers to target her directly, using information such as her email

address or Facebook User ID. On information and belief, Plaintiff Forman disabled advertisements

targeted on the basis of data from third parties such as data brokers. Until 2018, post-Cambridge

Analytica Scandal, Plaintiff Forman did not know that there were separate Privacy Settings to limit the

information obtained by Apps used by her Friends. She changed those settings to Friends in

approximately 2019, when she became aware of those settings.

        104.    Plaintiff Forman shared private content and information, including personal information,

posts, and Likes, with a non-public audience such as Friends on Facebook. Plaintiff Forman expected

Facebook to protect and secure that private content and information against access by or disclosure to

unauthorized parties. This information included personal photographs and videos of family and friends,

as well as personal perspectives regarding politics, religion, relationships, work, and family that she

wanted to remain private and non-public. She would be embarrassed and upset if Facebook had not kept

this information private. Plaintiff Forman also shared private content and information with Friends

through Facebook Messenger and/or Facebook Chat. Plaintiff Forman expected Facebook to protect and

secure that private content and information against access by or disclosure to unauthorized parties. This



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information included personal photographs and videos of family and friends, as well as personal

perspectives regarding politics, religion, relationships, work, and family that she wanted to remain

private and non-public. Via Facebook Messenger, Plaintiff Forman shared highly sensitive information

relating to her family’s health and safety about her husband’s military deployment; his safety depended

on the confidentiality of that information.

       105.    Plaintiff Forman believed that when she shared private content and information with a

non-public audience such as Friends, by either restricting access to a non-public audience at the time of

posting or through her Privacy Settings, she was preventing third parties from accessing her content and

information. Plaintiff Forman was not aware of and did not understand that when she shared content and

information with a non-public audience such as Friends, Facebook would disclose such content and

information to: (a) Apps used by her Friends; (b) “Business Partners” such as Apple, Amazon, and

Samsung; and (c) advertisers. Plaintiff Forman was not aware of and did not understand that Facebook

maintained a separate set of Privacy Settings for limiting the disclosure of her content and information to

Apps used by her Facebook Friends. Plaintiff Forman was not aware of and did not understand that she

could not control, with any settings made available by Facebook, the disclosure of her content and

information with Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff Forman

was not aware of and did not understand that Facebook would allow third parties to obtain her content

and information and use it to construct a psychographic profile of her for the purpose of attempting to

manipulate her voting decisions or other decisions. Plaintiff Forman similarly was not aware of and did

not understand that Facebook would allow third parties to access her content and information and

combine it with personally identifiable information from other sources, including sources outside of

Facebook, to create a unique profile of her (as distinct from the individualized profile that she created

for her Facebook account).



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       106.    If Plaintiff Forman had learned what she knows now about Facebook’s data sharing

policies before signing up for Facebook, she would not have signed up for Facebook at all. If, after

signing up for Facebook, she learned what she knows now, she would have immediately restricted her

profile Privacy Settings, limited sharing with Apps used by her Friends, and would have disabled

Platform Apps entirely. She also would have altered and reduced her Facebook usage, including being

more circumspect regarding sharing personal information.

       107.    Plaintiff Forman confirmed on Facebook that her content and information may have been

“shared” with and “misused” by the This Is Your Digital Life App, because one of Plaintiff Forman’s

Facebook Friends downloaded the This Is Your Digital Life App. Plaintiff Forman did not consent to the

sharing of her content and information with the This Is Your Digital Life App. Moreover, Plaintiff

Forman did not consent to any third-parties accessing her content and information through her Facebook

Friends and had no knowledge that Facebook had authorized this disclosure of her content and

information without her consent.

       108.    During the 2016 U.S. Presidential election, Plaintiff Forman frequently received political

advertisements while using Facebook. On information and belief, Plaintiff Forman was targeted by some

or all of these advertisements as a result of the Cambridge Analytica Scandal. As a result of the release

of her content and information, Plaintiff Forman has suffered emotional distress, including anxiety,

concern, and unease about unauthorized parties viewing and using her content and information for

improper purposes, such as identity theft and fraud as well as further intruding upon Plaintiff Forman’s

private affairs and concerns, as detailed herein. Plaintiff Forman fears that she is at risk of identity theft

and fraud, and now spends approximately one to two hours each month monitoring her credit, bank, and

other account statements for evidence of identity theft and fraud, and anticipates continuing to do so for

the foreseeable future.



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       109. Plaintiff Brandon Herman is a citizen and resident of the State of California. Plaintiff

Herman created his Facebook account in 2007 via a personal computer and maintains his Facebook

account to the present day. Plaintiff Herman has accessed his Facebook account from a mobile phone

and a personal computer. Plaintiff Herman also uses Facebook Messenger and/or instant messaging

through Facebook. On or through Facebook, Facebook Messenger, and/or Facebook instant messaging,

Plaintiff Herman has watched videos, “liked” videos, “shared” videos, “posted” videos, “liked” pages

on Facebook that contain videos, and “shared” pages on Facebook that contain videos.

       110. Plaintiff Herman does not recall specific details regarding the account registration

process. Plaintiff Herman does not recall being prompted to read the Terms of Service or the Data
Policy during the registration process. He does not recall seeing updates to the Terms of Service or the

Data Policy since registering for his account. He did not subscribe to, has never visited, and is not

aware of the Facebook Site Governance page.

       111. On information and belief, Plaintiff Herman’s Privacy Settings for personal information,

including birthday, were set to the default setting when he created his account. Plaintiff Herman later

changed those settings to Friends Only. On information and belief, Plaintiff Herman’s Privacy Settings

for posts, including status updates, photos, and videos, were set to the default setting when he created

his account. On information and belief, Plaintiff Herman’s Privacy Settings for Likes, including page

likes, interests, and favorites, were set to the default setting when he created his account. Until 2018,

post-Cambridge Analytica, Plaintiff Herman did not know that Facebook allowed advertisers to target
him directly, using information such as his email address or Facebook ID. Until 2019, Plaintiff

Herman did not know that there were separate Privacy Settings to limit the information that Apps used

by Friends could obtain.

       112. Plaintiff Herman shared private content and information, including personal information,

posts, and Likes, with a non-public audience such as Friends Only on Facebook or through Facebook

Messenger and/or Facebook instant messaging. Plaintiff Herman expected Facebook to protect and

secure that private content and information against access by or disclosure to unauthorized parties. The
information included personal family photographs, personal family videos, as well as personal


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perspectives regarding politics, religion, relationships, work, and family that he wanted to remain

private and non-public. Plaintiff Herman also shared private content and information with Friends

through Facebook Messenger and/or Facebook instant messaging. The information included personal

perspectives regarding politics, religion, relationships, work and family that he wanted to remain

private and non-public.

       113. Plaintiff Herman believed that when he shared private content and information with a

non-public audience such as Friends Only, by either restricting access to a non-public audience at the

time of posting or through his Privacy Settings, he was preventing third parties from accessing his

content and information. Plaintiff Herman was not aware of and did not understand that Facebook
would disclose content and information when he shared content and information with a non-public

audience such as Friends Only to: (a) Apps used by his Friends; (b) “Business Partners” such as Apple,

Amazon, and Samsung; and (c) advertisers. Plaintiff Herman was not aware of and did not understand

that Facebook maintained a separate set of Privacy Settings for limiting the disclosure of his content

and information to Apps used by his Facebook Friends. Plaintiff Herman was not aware of and did not

understand that he could not control, with any settings made available by Facebook, the disclosure of

his content and information with Business Partners such as Apple, Amazon, and Samsung. Further,

Plaintiff Herman was not aware of and did not understand that Facebook would allow third parties to

obtain his content and information and use it to construct a psychographic profile of his for the purpose

of attempting to manipulate his voting decisions or other decisions. Plaintiff Herman similarly was not
aware of and did not understand that Facebook would allow third parties to access his content and

information and combine it with personally identifiable information from other sources, including

sources outside of Facebook, to create a unique profile of his (as distinct from the individualized profile

that he created for his Facebook account).

       114. If Plaintiff Herman had learned what he knows now about Facebook’s data sharing

policies before signing up for Facebook, he believes that he would not have signed up for Facebook at

all. If, after signing up for Facebook, he learned what he knows now, he would have immediately
restricted his profile privacy settings, limited sharing with Apps used by his Friends, and would have


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disabled Platform Apps entirely. He also would have altered and reduced his Facebook usage, including

being more circumspect regarding sharing personal information.

        115. On information and belief, Plaintiff Herman believes that his content and information

may have been “shared” with and “misused” by the This Is Your Digital Life app, because one of

Plaintiff Herman’s Facebook Friends downloaded the This Is Your Digital Life app. Plaintiff Herman

was not aware of and did not consent to the sharing of his content and information with the This Is

Your Digital Life App or other third parties. Moreover, Plaintiff Herman did not consent to any third

parties accessing his content and information through his Facebook Friends and had no knowledge that

Facebook had authorized this disclosure of his content and information without his consent.
        116. As a result of the release of his content and information, Plaintiff Herman has suffered

emotional distress, including anxiety, concern, and unease about unauthorized parties viewing and

using his content and information for improper purposes, such as identity theft and fraud as well as

further intruding upon Plaintiff Herman’s private affairs and concerns, as detailed herein. Plaintiff

Herman fears that he is at risk of identity theft and fraud, and now spends approximately one and a half

hours each month monitoring his credit, bank, and other account statements for evidence of identity

theft and fraud, and anticipates continuing to do so for the foreseeable future.
       117. Plaintiff Tabielle Holsinger is a citizen and resident of the State of Idaho. Plaintiff

Holsinger created her Facebook account in 2009 via a personal computer and maintains her Facebook

account to the present day. Plaintiff Holsinger has accessed her Facebook account from a computer and

a mobile phone. She also uses Facebook Messenger and/or Facebook Chat. On or through Facebook,

Facebook Messenger, and/or Facebook Chat, Plaintiff Holsinger has obtained and viewed non-public

videos, “liked” videos, “shared” videos, “posted” videos, “liked” pages on Facebook that contain videos,

and “shared” pages on Facebook that contain videos.” These videos were delivered by Facebook, and

included videos that were not posted by Plaintiff Holsinger or her Friends, videos that were selected and

delivered by Facebook to Plaintiff Holsinger’s News Feed, and videos that were posted, shared, or liked




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to a non-public audience such as Friends. Plaintiff Holsinger has enabled location access while using

Facebook, Facebook Messenger, and/or Facebook Chat.

        118.    Plaintiff Holsinger does not recall specific details regarding the account registration

process. Plaintiff Holsinger does not recall being prompted to read or reading the Terms of Service or

the Data Policy during the registration process. She does not recall seeing updates to the Terms of

Service or the Data Policy since registering for her account. Plaintiff Holsinger does not subscribe to,

has never visited, and is not aware of the Facebook Site Governance page.

        119.    On information and belief, Plaintiff Holsinger’s Privacy Settings for personal

information, including birthday, were set to the default setting of Friends of Friends when she created

her account. On information and belief, Plaintiff Holsinger’s Privacy Settings for posts, including status

updates, photos, and videos, were set to the default setting of Friends of Friends when she created her

account. Plaintiff Holsinger later changed those settings to Friends in approximately 2010 or 2011. On

information and belief, Plaintiff Holsinger’s Privacy Settings for Likes, including page likes, interests,

and favorites, were set to the default setting of Friends of Friends at first. Plaintiff Holsinger later

changed those settings to Friends in approximately 2018. Until 2018, post-Cambridge Analytica

Scandal, Plaintiff Holsinger did not know that Facebook allowed advertisers to target her directly, using

information such as her email address or Facebook User ID. Until 2019, post-Cambridge Analytica

Scandal, Plaintiff Holsinger did not know that there were separate Privacy Settings to disable

advertisements targeting her on the basis of data from third parties such as data brokers. Until 2019,

post-Cambridge Analytica Scandal, Plaintiff Holsinger did not know that there were separate Privacy

Settings to limit the information obtained by Apps used by her Friends.

        120.    Plaintiff Holsinger shared private content and information, including personal

information, posts, and Likes, with a non-public audience such as Friends on Facebook. Plaintiff



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Holsinger expected Facebook to protect and secure that private content and information against access

by or disclosure to unauthorized parties. This information included personal photographs and videos of

family and friends, as well as personal perspectives regarding politics, religion, relationships, work,

family, and highly personal messages and photos that she wanted to remain private and non-public.

Plaintiff Holsinger also shared private content and information with Friends through Facebook

Messenger or Facebook Chat. This information included personal photographs and videos of family and

friends, as well as personal perspectives regarding politics, religion, relationships, work, family, and

highly personal messages and photos that she wanted to remain private and non-public.

       121.    Plaintiff Holsinger believed that when she shared private content and information with a

non-public audience such as Friends, by either restricting access to a non-public audience at the time of

posting or through her Privacy Settings, she was preventing third parties from accessing her content and

information. Plaintiff Holsinger was not aware of and did not understand that when she shared content

and information with a non-public audience such as Friends, Facebook would disclose such content and

information to: (a) Apps used by her Friends; (b) “Business Partners” such as Apple, Amazon, and

Samsung; and (c) advertisers. Plaintiff Holsinger was not aware of and did not understand that Facebook

maintained a separate set of Privacy Settings for limiting the disclosure of her content and information to

Apps used by her Facebook Friends. Plaintiff Holsinger was not aware of and did not understand that

she could not control, with any settings made available by Facebook, the disclosure of her content and

information with Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff Holsinger

was not aware of and did not understand that Facebook would allow third parties to obtain her content

and information and use it to construct a psychographic profile of her for the purpose of attempting to

manipulate her voting decisions or other decisions. Plaintiff Holsinger similarly was not aware of and

did not understand that Facebook would allow third parties to access her content and information and



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combine it with personally identifiable information from other sources, including sources outside of

Facebook, to create a unique profile of her (as distinct from the individualized profile that she created

for her Facebook account).

       122.    If, after signing up for Facebook, she learned what she knows now, she would have

immediately restricted her profile Privacy Settings, limited sharing with Apps used by her Friends, and

would have disabled Platform Apps entirely. She also would have altered and reduced her Facebook

usage, including being more circumspect regarding sharing personal information.

       123.    Plaintiff Holsinger confirmed on Facebook that her content and information may have

been “shared” with and “misused” by the This Is Your Digital Life App, because one of Plaintiff

Holsinger’s Facebook Friends downloaded the This Is Your Digital Life App. Plaintiff Holsinger did not

consent to the sharing of her content and information with the This Is Your Digital Life App. Moreover,

Plaintiff Holsinger did not consent to any third-parties accessing her content and information through

her Facebook Friends and had no knowledge that Facebook had authorized this disclosure of her content

and information without her consent.

       124.    During the 2016 U.S. Presidential election, Plaintiff Holsinger frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Holsinger was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal. As a

result of the release of her content and information, Plaintiff Holsinger has suffered emotional distress,

including anxiety, concern, and unease about unauthorized parties viewing and using her content and

information for improper purposes, such as identity theft and fraud as well as further intruding upon

Plaintiff Holsinger’s private affairs and concerns, as detailed herein. Plaintiff Holsinger fears that she is

at risk of identity theft and fraud, and now spends approximately four hours each month monitoring her




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credit, bank, and other account statements for evidence of identity theft and fraud, and anticipates

continuing to do so for the foreseeable future.

       125.    Plaintiff Tyler King is a citizen and resident of the State of Florida. Plaintiff King

created her Facebook account in 2008 via a personal computer and deleted her Facebook account in

approximately 2018, after the Cambridge Analytica Scandal became public. Plaintiff King has accessed

her Facebook account from a personal computer, a tablet, and a mobile phone. Plaintiff King also used

Facebook Messenger and/or Facebook Chat. On or through Facebook, Facebook Messenger, and/or

Facebook Chat, Plaintiff King has watched videos, “liked” videos, “shared” videos, “posted” videos,

“liked” pages on Facebook that contain videos, and “shared” pages on Facebook that contain videos.

These videos were hosted on Facebook’s video streaming services, and included videos that were not

posted by Plaintiff King or her Friends, videos that were selected and published by Facebook to Plaintiff

King’s News Feed, and videos that were posted, shared, or liked to a non-public audience such as

Friends.

       126.    Plaintiff King recalls that during the account registration process she had to enter her first

name, last name, birthday, and email address. Plaintiff King does not recall being prompted to read or

reading the Terms of Service or the Data Policy during the registration process. She does not recall

seeing updates to the Terms of Service or the Data Policy since registering for her account. She did not

subscribe to, has never visited, and is not aware of the Facebook Site Governance page.

       127.    On information and belief, Plaintiff King’s Privacy Settings for personal information,

including birthday, were set to the default setting of Friends of Friends when she created her account.

Plaintiff King later changed those settings to Friends in approximately 2010. On information and belief,

Plaintiff King’s Privacy Settings for posts, including status updates, photos, and videos, were set to the

default setting of Friends of Friends when she created her account. Plaintiff King later changed those



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settings to Friends in approximately 2010. On information and belief, Plaintiff King’s Privacy Settings

for Likes, including page likes, interests, and favorites, were set to the default setting of Friends of

Friends at first. Plaintiff King later changed those settings to Friends in approximately 2014. Until 2018,

post-Cambridge Analytica Scandal, Plaintiff King did not know that Facebook allowed advertisers to

target her directly, using information such as her email address or Facebook User ID. Until 2018, post-

Cambridge Analytica Scandal, Plaintiff King did not know that there were separate Privacy Settings to

limit the information obtained by Apps used by her Friends. On information and belief, Plaintiff King

disabled advertisements targeting her on the basis of data from third parties such as data brokers.

       128.    Plaintiff King shared private content and information, including personal information,

posts, and Likes, with a non-public audience such as Friends on Facebook. Plaintiff King expected

Facebook to protect and secure that private content and information against access by or disclosure to

unauthorized parties. This information included personal family photographs, personal family videos, as

well as personal perspectives regarding politics, religion, relationships, work, and family that she wanted

to remain private and non-public. Plaintiff King also shared private content and information with

Friends through Facebook Messenger and/or Facebook Chat. This information included personal family

photographs, personal family videos, as well as personal perspectives regarding politics, religion,

relationships, work, and family that she wanted to remain private and non-public.

       129.    Plaintiff King believed that when she shared private content and information with a non-

public audience such as Friends, by either restricting access to a non-public audience at the time of

posting or through her Privacy Settings, she was preventing third parties from accessing her content and

information. Plaintiff King was not aware of and did not understand that, when she shared content and

information with a non-public audience such as Friends, Facebook would disclose such content and

information to: (a) Apps used by her Friends; (b) “Business Partners” such as Apple, Amazon, and



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Samsung; and (c) advertisers. Plaintiff King was not aware of and did not understand that Facebook

maintained a separate set of Privacy Settings for limiting the disclosure of her content and information to

Apps used by her Facebook Friends. Plaintiff King was not aware of and did not understand that she

could not control, with any settings made available by Facebook, the disclosure of her content and

information with Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff King was

not aware of and did not understand that Facebook would allow third parties to obtain her content and

information and use it to construct a psychographic profile of her for the purpose of attempting to

manipulate her voting decisions or other decisions. Plaintiff King similarly was not aware of and did not

understand that Facebook would allow third parties to access her content and information and combine it

with personally identifiable information from other sources, including sources outside of Facebook, to

create a unique profile of her (as distinct from the individualized profile that she created for her

Facebook account).

       130.    If Plaintiff King had learned what she knows now about Facebook’s data sharing policies

before signing up for Facebook, she would not have signed up for Facebook at all. If, after signing up

for Facebook, she learned what she knows now, she would have immediately restricted her profile

Privacy Settings, limited sharing with Apps used by Friends, and would have disabled Platform Apps

entirely. She also would have altered and reduced her Facebook usage, including being more

circumspect regarding sharing personal information.

       131.    Plaintiff King confirmed on Facebook that her content and information may have been

“shared” with and “misused” by the This Is Your Digital Life App, because one of Plaintiff King’s

Facebook Friends downloaded the This Is Your Digital Life App. Plaintiff King did not consent to the

sharing of her content and information with the This Is Your Digital Life App. Moreover, Plaintiff King

did not consent to any third-parties accessing her content and information through her Facebook Friends



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and had no knowledge that Facebook had authorized this disclosure of her content and information

without her consent.

       132.    During the 2016 U.S. Presidential election, Plaintiff King frequently received political

advertisements while using Facebook. On information and belief, Plaintiff King was targeted by some or

all of these advertisements as a result of the Cambridge Analytica Scandal. As a result of the release of

her content and information, Plaintiff King has experienced an increase in phone solicitations, phishing

attempts, and compromised credit accounts. Additionally, as a result of the release of her content and

information, Plaintiff King has suffered emotional distress, including anxiety, concern, and unease about

unauthorized parties viewing and using her content and information for improper purposes, such as

identity theft and fraud as well as further intruding upon Plaintiff King’s private affairs and concerns, as

detailed herein. Plaintiff King fears that she is at risk of identity theft and fraud, and now spends

approximately four hours each month monitoring her credit, bank, and other account statements for

evidence of identity theft and fraud, and anticipates continuing to do so for the foreseeable future.

Plaintiff King has access to credit monitoring and identity theft protection services, and because of her

heightened risk of identity theft and fraud, anticipates continuing to monitor such services for the

foreseeable future.

       133.    Plaintiff William Lloyd is a citizen and resident of the State of New York. Plaintiff

Lloyd created his Facebook account in approximately 2014 via a mobile phone and maintains his

Facebook account to the present day. Plaintiff Lloyd has accessed his Facebook account from a mobile

phone and personal computer. Plaintiff Lloyd also uses Facebook Messenger and/or Facebook Chat. He

initially created a Facebook account to promote a book he was writing. On or through Facebook,

Facebook Messenger, and/or Facebook Chat, Plaintiff Lloyd has obtained and viewed non-public

videos, “liked” videos, “shared” videos, “posted” videos, “liked” pages on Facebook that contain videos,



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and “shared” pages on Facebook that contain videos.” These videos were delivered by Facebook, and

included videos that were not posted by Plaintiff Lloyd or her Friends, videos that were selected and

delivered by Facebook to Plaintiff Lloyd’s News Feed, and videos that were posted, shared, or liked to a

non-public audience such as Friends. Plaintiff Lloyd has enabled location access while using Facebook,

Facebook Messenger, and/or Facebook Chat. Plaintiff Lloyd has also purchased and attempted to sell

items through Facebook Marketplace.

       134.    Plaintiff Lloyd does not recall specific details regarding the account registration process.

Plaintiff Lloyd does not recall being prompted to read or reading the Terms of Service and the Data

Policy during the registration process. He does not recall seeing updates to the Terms of Service and the

Data Policy since registering for his account. Plaintiff Lloyd does not subscribe to, has never visited, and

is not aware of the Facebook Site Governance page.

       135.    On information and belief, Plaintiff Lloyd’s Privacy Settings for personal information,

including birthday, were set to the default setting of Friends when he created his account, though he

made certain information, such as his college, was set to Only Me. Plaintiff Lloyd later changed the

settings for personal information to Friends in approximately 2015. On information and belief, Plaintiff

Lloyd’s Privacy Settings for posts, including status updates, were set to the default setting of Friends

when he created his account. Plaintiff Lloyd later changed the settings for anything defaulted to Friends

of Friends or Everyone to Friends, in approximately 2015. On information and belief, Plaintiff Lloyd’s

Privacy Settings for Likes, including page likes, interests, and favorites, were set to the default setting of

Friends of Friends at first. Plaintiff Lloyd later changed those settings to Friends in approximately 2016.

He believed that Facebook was limiting the sharing of that information in accordance with his settings.

Until 2018, post-Cambridge Analytica Scandal, Plaintiff Lloyd did not know that there were separate

Privacy Settings to disable advertisements targeting him on the basis of data from third parties such as



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data brokers. Plaintiff Lloyd later became aware of those settings and disabled advertisements targeted

on the basis of data from third parties. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Lloyd

did not know that there were separate Privacy Settings to limit the information that Apps used by

Friends could obtain. Plaintiff Lloyd later became aware of those settings and changed those settings to

disable Apps.

       136.     Plaintiff Lloyd shared private content and information, including personal information,

posts, and Likes, with a non-public audience such as Friends on Facebook. He shared this information

on his own page, on Friends’ pages, and in private groups. Plaintiff Lloyd expected Facebook to protect

and secure that private content and information against access by or disclosure to unauthorized parties.

This information included personal photographs and videos of friends and family, as well as personal

perspectives regarding politics, religion, relationships, work, and family that he wanted to remain private

and non-public. Plaintiff Lloyd also shared private content and information with Friends through

Facebook Messenger and/or Facebook Chat. This information included personal photographs and videos

of friends and family, as well as personal perspectives regarding politics, religion, relationships, work,

and family that he wanted to remain private and non-public.

       137.     Plaintiff Lloyd believed that when he shared private content and information with a non-

public audience such as Friends, by either restricting access to a non-public audience at the time of

posting or through his Privacy Settings, he was preventing third parties from accessing his content and

information. Plaintiff Lloyd was not aware of and did not understand that when he shared content and

information with non-public audiences such as Friends, Facebook would disclose such content and

information to: (a) Apps used by his Friends; (b) “Business Partners” such as Apple, Amazon, and

Samsung; and (c) advertisers. Plaintiff Lloyd was not aware of and did not understand that Facebook

maintained a separate set of Privacy Settings for limiting the disclosure of his content and information to



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Apps used by his Facebook Friends. Plaintiff Lloyd was not aware of and did not understand that he

could not control, with any settings made available by Facebook, the disclosure of his content and

information with Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff Lloyd was

not aware of and did not understand that Facebook would allow third parties to obtain his content and

information and use it to construct a psychographic profile of him for the purpose of attempting to

manipulate his voting decisions or other decisions. Plaintiff Lloyd similarly was not aware of and did

not understand that Facebook would allow third parties to access his content and information and

combine it with personally identifiable information from other sources, including sources outside of

Facebook, to create a unique profile of him (as distinct from the individualized profile that he created for

his Facebook account).

       138.    If Plaintiff Lloyd had learned what he knows now about Facebook’s data sharing policies

before signing up for Facebook, he would not have signed up for Facebook at all. If, after signing up for

Facebook, he learned what he knows now, he would have immediately restricted his profile Privacy

Settings, limited sharing with Apps used by his Friends, and would have disabled Platform Apps

entirely. He also would have altered and reduced his Facebook usage, including being more circumspect

regarding sharing personal information. Plaintiff Lloyd relied on Facebook’s promises that “privacy

mattered” to the company.

       139.    Plaintiff Lloyd confirmed on Facebook that his content and information “was likely

shared with” and may have been “misused” by the This Is Your Digital Life App, because one of

Plaintiff Lloyd’s Facebook Friends downloaded the This Is Your Digital Life App. Plaintiff Lloyd was

not aware of and did not consent to the sharing of his content and information with the This Is Your

Digital Life App. Moreover, Plaintiff Lloyd did not consent to any third-parties accessing his content




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and information through his Facebook Friends and had no knowledge that Facebook had authorized this

disclosure of his content and information without his consent.

        140.    During the 2016 U.S. Presidential election, Plaintiff Lloyd frequently received political

advertisements while using Facebook. On information and belief, Plaintiff Lloyd was targeted by some

or all of these advertisements as a result of the Cambridge Analytica Scandal. As a result of the release

of his content and information, Plaintiff Lloyd has suffered emotional distress, including anxiety,

concern, and unease about unauthorized parties viewing and using his content and information for

improper purposes, such as identity theft and fraud as well as further intruding upon Plaintiff Lloyd’s

private affairs and concerns, as detailed herein. Plaintiff Lloyd fears that he is at risk of identity theft and

fraud, and now spends approximately two hours each month monitoring his credit, bank, and other

account statements for evidence of identity theft and fraud, and anticipates continuing to do so for the

foreseeable future.

        141.    Plaintiff Jordan O’Hara is a citizen and resident of the State of California. Plaintiff

O’Hara created his Facebook account in 2007 via a personal computer. Plaintiff O’Hara has accessed his

Facebook account from a mobile phone and a personal computer. Plaintiff O’Hara also uses Facebook

Messenger and/or Facebook Chat. On or through Facebook, Facebook Messenger, and/or Facebook

Chat, Plaintiff O’Hara has obtained and viewed non-public videos, “liked” videos, “shared” videos,

“posted” videos, “liked” pages on Facebook that contain videos, and “shared” pages on Facebook that

contain videos.” These videos were delivered by Facebook, and included videos that were not posted by

Plaintiff O’Hara or his Friends, videos that were selected and delivered by Facebook to Plaintiff

O’Hara’s News Feed, and videos that were posted, shared, or liked to a non-public audience such as

Friends.




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       142.    Plaintiff O’Hara does not recall specific details regarding the account registration

process. Plaintiff O’Hara does not recall being prompted to read or reading the Terms of Service or the

Data Policy during the registration process. He does not recall seeing updates to the Terms of Service or

the Data Policy since registering for his account. Plaintiff O’Hara does not subscribe to, has never

visited, and is not aware of the Facebook Site Governance page.

       143.    On information and belief, Plaintiff O’Hara’s Privacy Settings for personal information,

including birthday, were set to the default setting of Friends of Friends when he created his account.

Plaintiff O’Hara later changed these settings to Friends. On information and belief, Plaintiff O’Hara’s

Privacy Settings for posts, including status updates, photos, and videos, were set to the default setting of

Friends of Friends when he created his account. Plaintiff O’Hara later changed these settings to Friends.

On information and belief, Plaintiff O’Hara’s Privacy Settings for Likes, including page likes, interests,

and favorites, were set to the default setting of Friends of Friends at first. Plaintiff O’Hara later changed

these settings to Friends. Until 2018, post-Cambridge Analytica Scandal, Plaintiff O’Hara did not know

that Facebook allowed advertisers to target him directly, using information such as his email address or

Facebook User ID. On information and belief, Plaintiff O’Hara disabled advertisements targeted on the

basis of data from third parties such as data brokers. Until 2019, post-Cambridge Analytica Scandal,

Plaintiff O’Hara did not know that there were separate Privacy Settings to limit the information that

Apps used by Friends could obtain. Plaintiff O’Hara later became aware of those settings and changed

those settings to Friends in approximately 2019.

       144.    Plaintiff O’Hara shared private content and information on Facebook, including personal

information, posts, and Likes, with a non-public audience such as Friends on Facebook. Plaintiff O’Hara

expected Facebook to protect and secure that private content and information against access by or

disclosure to unauthorized parties. This information included personal photographs, personal videos, and



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personal perspectives regarding politics, religion, relationships, work, and family that he wanted to

remain private and non-public. Plaintiff O’Hara also shared private content and information with Friends

through Facebook Messenger and/or Facebook Chat. This information included personal photographs,

personal videos, and personal perspectives regarding politics, religion, relationships, work, and family

that he wanted to remain private and non-public.

       145.    Plaintiff O’Hara believed that when he shared private content and information with a

non-public audience such as Friends, by either restricting access to a non-public audience at the time of

posting or through his Privacy Settings, he was preventing third parties from accessing his content and

information. Until 2018, Plaintiff O’Hara was not aware of and did not understand that when he shared

content and information with a non-public audience such as Friends, Facebook would disclose such

content and information to: (a) Apps used by his Friends; (b) “Business Partners” such as Apple,

Amazon, and Samsung; and (c) advertisers. Plaintiff O’Hara was not aware of and did not understand

that Facebook maintained a separate set of Privacy Settings for limiting the disclosure of his content and

information to Apps used by his Facebook Friends. Plaintiff O’Hara was not aware of and did not

understand that he could not control, with any settings made available by Facebook, the disclosure of his

content and information with Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff

O’Hara was not aware of and did not understand that Facebook would allow third parties to obtain his

content and information and use it to construct a psychographic profile of him to attempt to manipulate

his voting decisions or other decisions. Until 2018, Plaintiff O’Hara similarly was not aware of and did

not understand that Facebook would allow third parties to access his content and information and

combine it with personally identifiable information from other sources, including sources outside of

Facebook, to create a unique profile of him (as distinct from the individualized profile that he created for

his Facebook account).



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        146.    Plaintiff O’Hara confirmed on Facebook that his content and information may have been

“shared” with and “misused” by the This Is Your Digital Life App, because one of Plaintiff O’Hara’s

Facebook Friends downloaded the This Is Your Digital Life App. Plaintiff O’Hara was not aware of and

did not consent to the sharing of his content and information with the This Is Your Digital Life App.

Moreover, Plaintiff O’Hara did not consent to any third-parties accessing his content and information

through his Facebook Friends and had no knowledge that Facebook had authorized this disclosure of his

content and information without his consent.

        147.    During the 2016 U.S. Presidential election, Plaintiff O’Hara frequently received political

advertisements while using Facebook. On information and belief, Plaintiff O’Hara was targeted by some

or all of these advertisements as a result of the Cambridge Analytica Scandal. As a result of the release

of his content and information, Plaintiff O’Hara has suffered emotional distress, including anxiety,

concern, and unease about unauthorized parties viewing and using his content and information for

improper purposes, such as identity theft and fraud as well as further intruding upon Plaintiff O’Hara’s

private affairs and concerns, as detailed herein. Plaintiff O’Hara fears that he is at risk of identity theft

and fraud, and now spends approximately one to two hours each month monitoring his credit, bank, and

other account statements for evidence of identity theft and fraud, and anticipates continuing to do so for

the foreseeable future. Because of his heightened risk of identity theft and fraud, Plaintiff O’Hara has

obtained credit monitoring and identity theft protection services as a result of his status as a former

member of the armed services, and anticipates continuing to use services for the foreseeable future.

        148.    Plaintiff Kimberly Robertson is a citizen and resident of the State of Illinois. Plaintiff

Robertson created her Facebook account in 2009 via a personal computer and maintains her Facebook

account to the present day. Plaintiff Robertson has accessed her Facebook account from a mobile phone

and a personal computer. Plaintiff Robertson also uses Facebook Messenger and/or Facebook Chat. On



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or through Facebook, Facebook Messenger, and/or Facebook Chat, Plaintiff Robertson has watched

videos, “liked” videos, “shared” videos, “posted” videos, “liked” pages on Facebook that contain videos,

and “shared” pages on Facebook that contain videos. These videos were hosted on Facebook’s video

streaming services, and included videos that were not posted by Plaintiff Robertson or her Friends,

videos that were selected and published by Facebook to Plaintiff Robertson’s News Feed, and videos

that were posted, shared, or liked to a non-public audience such as Friends. Plaintiff Robertson has

enabled location access while using Facebook, Facebook Messenger, and/or Facebook Chat.

       149.    Plaintiff Robertson does not recall specific details regarding the account registration

process. Plaintiff Robertson does not recall being prompted to read or reading the Terms of Service or

the Data Policy during the registration process. She does not recall seeing updates to the Terms of

Service or the Data Policy since registering for her account. She did not subscribe to, has never visited,

and is not aware of the Facebook Site Governance page.

       150.    On information and belief, Plaintiff Robertson’s Privacy Settings for personal

information, including birthday, were set to the default setting of Friends of Friends when she created

her account. Plaintiff Robertson later changed those settings to Friends in approximately 2009. On

information and belief, Plaintiff Robertson’s Privacy Settings for posts, including status updates, photos,

and videos, were set to the default setting of Friends of Friends when she created her account. Plaintiff

Robertson later changed those settings to Friends in approximately 2009. On information and belief,

Plaintiff Robertson’s Privacy Settings for Likes, including page likes, interests, and favorites, were set to

the default setting of Friends of Friends at first. Plaintiff Robertson later changed those settings to

Friends in approximately 2009. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Robertson did

not know that Facebook allowed advertisers to target her directly, using information such as her email

address or Facebook User ID. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Robertson did



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not know that there were separate Privacy Settings to limit the information obtained by Apps used by

her Friends. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Robertson did not know that there

were separate Privacy Settings to disable advertisements targeting her on the basis of data from third

parties such as data brokers.

       151.    Plaintiff Robertson shared private content and information, including personal

information, posts, and Likes, with a non-public audience such as Friends on Facebook. Plaintiff

Robertson expected Facebook to protect and secure that private content and information against access

by or disclosure to unauthorized parties. This information included personal family photographs,

personal family videos, as well as personal perspectives regarding politics, religion, relationships, work

and family that she wanted to remain private and non-public. Plaintiff Robertson also shared private

content and information with Friends through Facebook Messenger and/or Facebook Chat. This

information included personal family photographs, personal family videos, as well as personal

perspectives regarding politics, religion, relationships, work, and family that she wanted to remain

private and non-public.

       152.    Plaintiff Robertson believed that when she shared private content and information with a

non-public audience such as Friends, by either restricting access to a non-public audience at the time of

posting or through her Privacy Settings, she was preventing third parties from accessing her content and

information. Plaintiff Robertson was not aware of and did not understand that, when she shared content

and information with a non-public audience such as Friends, Facebook would disclose such content and

information to: (a) Apps used by her Friends; (b) “Business Partners” such as Apple, Amazon, and

Samsung; and (c) advertisers. Plaintiff Robertson was not aware of and did not understand that

Facebook maintained a separate set of Privacy Settings for limiting the disclosure of her content and

information to Apps used by her Facebook Friends. Plaintiff Robertson was not aware of and did not



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understand that she could not control, with any settings made available by Facebook, the disclosure of

her content and information with Business Partners such as Apple, Amazon, and Samsung. Further,

Plaintiff Robertson was not aware of and did not understand that Facebook would allow third parties to

obtain her content and information and use it to construct a psychographic profile of her for the purpose

of attempting to manipulate her voting decisions or other decisions. Plaintiff Robertson similarly was

not aware of and did not understand that Facebook would allow third parties to access her content and

information and combine it with personally identifiable information from other sources, including

sources outside of Facebook, to create a unique profile of her (as distinct from the individualized profile

that she created for her Facebook account).

       153.    If Plaintiff Robertson had learned what she knows now about Facebook’s data sharing

policies before signing up for Facebook, she would not have signed up for Facebook at all. If, after

signing up for Facebook, she learned what she knows now, she would have immediately restricted her

profile Privacy Settings, limited sharing with Apps used by her Friends, and would have disabled

Platform Apps entirely. She also would have altered and reduced her Facebook usage, including being

more circumspect regarding sharing personal information.

       154.    Plaintiff Robertson confirmed on Facebook that her content and information may have

been “shared” with and “misused” by the This Is Your Digital Life App, because one of Plaintiff

Robertson’s Facebook Friends downloaded the This Is Your Digital Life App. Plaintiff Robertson was

not aware of and did not consent to the sharing of her content and information with the This Is Your

Digital Life App. Moreover, Plaintiff Robertson did not consent to any third-parties accessing her

content and information through her Facebook Friends and had no knowledge that Facebook had

authorized this disclosure of her content and information without her consent.




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       155.    As a result of the release of her content and information, Plaintiff Robertson has

experienced an increase in phone solicitations and has had her debit card information stolen.

Additionally, as a result of the release of her content and information, Plaintiff Robertson has suffered

emotional distress, including anxiety, concern, and unease about unauthorized parties viewing and using

her content and information for improper purposes, such as identity theft and fraud as well as further

intruding upon Plaintiff Robertson’s private affairs and concerns, as detailed herein. Plaintiff Robertson

fears that she is at risk of identity theft and fraud, and now spends approximately two hours each month

monitoring her credit, bank, and other account statements for evidence of identity theft and fraud, and

anticipates continuing to do so for the foreseeable future.

       156.    Plaintiff Scott Schinder is a citizen and resident of the State of Texas. Plaintiff Schinder

created his Facebook account in 2007 via a computer and maintains his Facebook account to the present

day. Plaintiff Schinder has accessed his Facebook account from a computer and mobile phone. Plaintiff

Schinder also uses Facebook Messenger and/or Facebook Chat. On or through Facebook, Facebook

Messenger, and/or Facebook Chat, Plaintiff Schinder has obtained and viewed non-public videos,

“liked” videos, “shared” videos, “posted” videos, “liked” pages on Facebook that contain videos, and

“shared” pages on Facebook that contain videos.” These videos were delivered by Facebook, and

included videos that were not posted by Plaintiff Schinder or his Friends, videos that were selected and

delivered by Facebook to Plaintiff Schinder’s News Feed, and videos that were posted, shared, or liked

to a non-public audience such as Friends.

       157.    Plaintiff Schinder does not recall specific details regarding the account registration

process. Plaintiff Schinder does not recall being prompted to read or reading the Terms of Service

during the registration process. He recalls seeing updates to the SRR since registering for his account.




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Plaintiff Schinder recalls reading the Data Policy during the registration process. He does not subscribe

to, has never visited, and is not aware of the Facebook Site Governance page.

        158.    On information and belief, Plaintiff Schinder’s Privacy Settings for personal information,

including birthday, were set to the default setting of Friends of Friends when he created his account. On

information and belief, Plaintiff Schinder’s Privacy Settings for posts, including status updates, photos,

and videos, were set to the default setting of Friends of Friends. On information and belief, Plaintiff

Schinder’s Privacy Settings for Likes, including page likes, interests, and favorites, were set to the

default setting of Friends of Friends at first.

        159.    Until 2018, post-Cambridge Analytica Scandal, Plaintiff Schinder did not know that

Facebook allowed advertisers to target him directly, using information such as his email address or

Facebook User ID. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Schinder did not know that

there were separate Privacy Settings to disable advertisements targeting him on the basis of data from

third parties such as data brokers. Plaintiff Schinder later became aware of those settings and changed

those settings to Custom. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Schinder did not

know that there were separate Privacy Settings to limit the information that Apps used by Friends could

obtain. Plaintiff Schinder later became aware of those settings and changed those settings to Custom.

        160.    Plaintiff Schinder shared private content and information on Facebook, including

personal information, posts, and Likes, with a non-public audience such as Friends. Plaintiff Schinder

expected Facebook to protect and secure that private content and information against access by or

disclosure to unauthorized parties. This information included personal family and friends photographs

and personal perspectives regarding politics, religion, relationships, work, and family that he wanted to

remain private and non-public. Plaintiff Schinder also shared private content and information with

Friends through Facebook Messenger and/or Facebook Chat. This information included personal family



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and friends photographs and personal perspectives regarding politics, religion, relationships, work, and

family that he wanted to remain private and non-public.

       161.    Plaintiff Schinder believed that when he shared private content and information with a

non-public audience such as Friends, by either restricting access to a non-public audience at the time of

posting or through his Privacy Settings, he was preventing third parties from accessing his content and

information. Plaintiff Schinder was not aware of and did not understand that when he shared content and

information with non-public audiences such as Friends, Facebook would disclose such content and

information to: (a) Apps used by his Friends; (b) “Business Partners” such as Apple, Amazon, and

Samsung; and (c) advertisers. Plaintiff Schinder was not aware of and did not understand that Facebook

maintained a separate set of Privacy Settings for limiting the disclosure of his content and information to

Apps used by his Facebook Friends. Plaintiff Schinder was not aware of and did not understand that he

could not control, with any settings made available by Facebook, the disclosure of his content and

information with Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff Schinder

was not aware of and did not understand that Facebook would allow third parties to obtain his content

and information and use it to construct a psychographic profile of him for the purpose of attempting to

manipulate his voting decisions or other decisions. Plaintiff Schinder similarly was not aware of and did

not understand that Facebook would allow third parties to access his content and information and

combine it with personally identifiable information from other sources, including sources outside of

Facebook, to create a unique profile of him (as distinct from the individualized profile that he created for

his Facebook account).

       162.    In approximately April 2018, Plaintiff Schinder received notice from Facebook that his

content and information “may have been obtained” by the This Is Your Digital Life App, because one of

Plaintiff Schinder’s Facebook Friends downloaded the This Is Your Digital Life App. Plaintiff Schinder



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did not consent to the sharing of his content and information with the This Is Your Digital Life App.

Moreover, Plaintiff Schinder did not consent to any third-parties accessing his content and information

through his Facebook Friends and had no knowledge that Facebook had authorized this disclosure of his

content and information without his consent.

       163.    During the 2016 U.S. Presidential election, Plaintiff Schinder frequently received

political advertisements while using Facebook. On information and belief, Plaintiff Schinder was

targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal. As a

result of the release of his content and information, Plaintiff Schinder has suffered emotional distress,

including anxiety, concern, and unease about unauthorized parties viewing and using his content and

information for improper purposes, such as identity theft and fraud as well as further intruding upon

Plaintiff Schinder’s private affairs and concerns, as detailed herein. Plaintiff Schinder fears that he is at

risk of identity theft and fraud, and now spends approximately eight hours each month monitoring his

credit, bank, and other account statements for evidence of identity theft and fraud, and anticipates

continuing to do so for the foreseeable future.

       164.    Plaintiff Cheryl Senko is a citizen and resident of the State of Ohio. Plaintiff Senko

created her Facebook account in 2005 via a personal computer. Plaintiff Senko maintains her Facebook

account to the present day. Plaintiff Senko has accessed her Facebook account from mobile phones,

laptops, personal computers, and a tablet. Plaintiff Senko also uses Facebook Messenger through

Facebook. On or through Facebook, Facebook Messenger, and/or Facebook Chat, Plaintiff Senko has

watched videos, “liked” videos, “shared” videos, “posted” videos, “liked” pages on Facebook that

contain videos, and “shared” pages on Facebook that contain videos. These videos were hosted on

Facebook’s video streaming services, and included videos that were not posted by Plaintiff Senko or her

Friends, videos that were selected and published by Facebook to Plaintiff Senko’s News Feed, and



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videos that were posted, shared, or liked to a non-public audience such as Friends. Plaintiff Senko has

enabled location access while using Facebook, Facebook Messenger, and/or Facebook Chat. Plaintiff

Senko has also purchased and/or sold items in the Facebook Marketplace.

        165.    Plaintiff Senko does not recall specific details regarding the account registration process.

Plaintiff Senko does not recall being prompted to read or reading the Terms of Service or the Data

Policy during the registration process She does not recall seeing updates to the Terms of Service or the

Data Policy since registering for her account. She did not subscribe to, has never visited, and is not

aware of the Facebook Site Governance page.

        166.    On information and belief, Plaintiff Senko’s Privacy Settings for personal information,

including birthday, were set to the default setting of Friends when she created her account. Plaintiff

Senko later changed those settings to Public in approximately 2011. On information and belief, Plaintiff

Senko’s Privacy Settings for posts, including status updates, photos, and videos, were set to the default

setting of Friends of Friends when she created her account. Plaintiff Senko later changed those settings

to Public in approximately 2011. On information and belief, Plaintiff Senko’s Privacy Settings for Likes,

including page likes, interests, and favorites, were set to the default setting of Friends of Friends at first.

Plaintiff Senko later changed those settings to Public in approximately 2011. Until 2018, post-

Cambridge Analytica Scandal, Plaintiff Senko did not know that Facebook allowed advertisers to target

her directly, using information such as her email address or Facebook User ID. Until 2018, post-

Cambridge Analytica Scandal, Plaintiff Senko did not know that there were separate Privacy Settings to

limit the information obtained by Apps used by her Friends. On information and belief, Plaintiff Senko

disabled advertisements targeting her on the basis of data from third parties such as data brokers.

        167.    Plaintiff Senko shared private content and information, including personal information,

posts, and Likes, with a non-public audience such as Friends on Facebook, particularly between 2005



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and 2011. Plaintiff Senko expected Facebook to protect and secure that private content and information

against access by or disclosure to unauthorized parties. This information included personal family

photographs, personal family videos, as well as personal perspectives regarding politics, religion, and

relationships that she wanted to remain private and non-public. Plaintiff Senko also shared private

content and information with Friends through Facebook Messenger, during the entire Class Period. This

information included personal family photographs, personal family videos, as well as personal

perspectives regarding politics, religion, relationships, work, and family that she wanted to remain

private and non-public.

       168.    Plaintiff Senko believed that when she shared private content and information with a non-

public audience such as Friends, by either restricting access to a non-public audience at the time of

posting or through her Privacy Settings, she was preventing third parties from accessing her content and

information. Plaintiff Senko was not aware of and did not understand that, when she shared content and

information with a non-public audience such as Friends, Facebook would disclose such content and

information to: (a) Apps used by her Friends; (b) “Business Partners” such as Apple, Amazon, and

Samsung; and (c) advertisers. Plaintiff Senko was not aware of and did not understand that Facebook

maintained a separate set of Privacy Settings for limiting the disclosure of her content and information to

Apps used by her Facebook Friends. Plaintiff Senko was not aware of and did not understand that she

could not control, with any settings made available by Facebook, the disclosure of her content and

information with Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff Senko was

not aware of and did not understand that Facebook would allow third parties to obtain her content and

information and use it to construct a psychographic profile of her for the purpose of attempting to

manipulate her voting decisions or other decisions. Plaintiff Senko similarly was not aware of and did

not understand that Facebook would allow third parties to access her content and information and



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combine it with personally identifiable information from other sources, including sources outside of

Facebook, to create a unique profile of her (as distinct from the individualized profile that she created

for her Facebook account).

       169.    Plaintiff Senko confirmed on Facebook that her content and information “was likely

shared with” the This Is Your Digital Life App, because one of Plaintiff Senko’s Facebook Friends

downloaded the This Is Your Digital Life App. Plaintiff Senko was not aware of and did not consent to

the sharing of her content and information with the This Is Your Digital Life App. Moreover, Plaintiff

Senko did not consent to any third-parties accessing her content and information through her Facebook

Friends and had no knowledge that Facebook had authorized this disclosure of her content and

information without her consent.

       170.    If, after signing up for Facebook, she learned what she knows now, she would have

immediately restricted her profile Privacy Settings, limited sharing with Apps used by her Friends, and

would have disabled Platform Apps entirely. She also would have altered and reduced her Facebook

usage, including being more circumspect regarding sharing personal information.

       171.    During the 2016 U.S. Presidential election, Plaintiff Senko frequently received political

advertisements while using Facebook. On information and belief, Plaintiff Senko was targeted by some

or all of these advertisements as a result of the Cambridge Analytica Scandal. As a result of the release

of her content and information, Plaintiff Senko has experienced an increase in phishing attempts.

Additionally, as a result of the release of her content and information, Plaintiff Senko has suffered

emotional distress, including anxiety, concern, and unease about unauthorized parties viewing and using

her content and information for improper purposes, such as identity theft and fraud as well as further

intruding upon Plaintiff Senko’s private affairs and concerns, as detailed herein. Plaintiff Senko fears

that she is at risk of identity theft and fraud, and now spends approximately one hour each month



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monitoring her credit, bank, and other account statements for evidence of identity theft and fraud, and

anticipates continuing to do so for the foreseeable future. Because of her heightened risk of identity theft

and fraud, Plaintiff Senko enrolled in the credit monitoring service offered by her auto loan company.

       172.    Plaintiff Dustin Short is a citizen and resident of the State of Kansas. Plaintiff Short

created his Facebook account in 2005 or 2006 on a personal computer and maintains his Facebook

account to the present day. Plaintiff Short has accessed his Facebook account from his personal

computer and a mobile phone. He has used mobile phones with Android and Apple operating systems to

access Facebook. Plaintiff Short has used Facebook Messenger and/or Facebook Chat. On or through

Facebook, Facebook Messenger, and/or Facebook Chat, Plaintiff Short has obtained and viewed non-

public videos, “liked” videos, “shared” videos, “posted” videos, “liked” pages on Facebook that contain

videos, and “shared” pages on Facebook that contain videos.” These videos were delivered by

Facebook, and included videos that were not posted by Plaintiff Short or his Friends, videos that were

selected and delivered by Facebook to Plaintiff Short’s News Feed, and videos that were posted, shared,

or liked to a non-public audience such as Friends.

       173.    Plaintiff Short recalls that during the account registration process, he was required to

verify his identity through his college email address. Plaintiff Short does not recall being prompted to

read or reading Terms of Service or the Data Policy during the registration process. Plaintiff Short does

not recall seeing updates to the Terms of Service or the Data Policy since registering for his account.

Plaintiff Short does not subscribe to, has never visited, and was not aware of the Facebook Site

Governance page until 2019.

       174.    On information and belief, Plaintiff Short’s Privacy Settings for personal information,

including birthday, were set to the default setting of Friends when he created his account. When Plaintiff

Short created his account, Facebook membership was limited to college students and Facebook was



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closed to non-Facebook members, including search engines. Plaintiff Short later changed those settings

to Friends in approximately 2009 for employment-related reasons. On information and belief, Plaintiff

Short’s Privacy Settings for posts, including status updates, photos, and videos, were set to the default

setting of Friends of Friends when he created his account. Plaintiff Short later changed those settings to

Friends in approximately 2009. He later changed those settings again to Only Me in 2018.On

information and belief, Plaintiff Short’s Privacy Settings for Likes, including page likes, interests, and

favorites, were set to the default setting of Friends of Friends at first. There were a number of page likes,

interests, and favorites that he chose, including sports teams, local businesses, local government,

politics, and more. Plaintiff Short later changed those settings to Friends in approximately 2009. He later

changed those settings again to Only Me in 2018. Until 2018, post-Cambridge Analytica Scandal,

Plaintiff Short did not know that Facebook allowed advertisers to target him directly, using information

such as his email address or Facebook User ID. He also did not know that Facebook allowed

demographic advertising. On information and belief, Plaintiff Short disabled advertisements targeted on

the basis of data from third parties such as data brokers. Plaintiff Short was not aware of and did not

understand that Facebook maintained a separate set of Privacy Settings for limiting the disclosure of his

content and information to Apps used by his Facebook Friends. Until 2018, post-Cambridge Analytica

Scandal, Plaintiff Short did not understand that Facebook was allowing his Friends to release his content

and information through apps. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Short did not

know that third parties still had access to his content and information and was surprised to learn this.

After learning this, Plaintiff Short disabled these settings and immediately restricted his profile Privacy

Settings, limited sharing with Apps used by his Friends, and disabled Platform Apps entirely.

       175.    Plaintiff Short shared private content and information, including personal information,

posts, and Likes, with a non-public audience such as Friends on Facebook. Plaintiff Short expected



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Facebook to protect and secure that private content and information against access by or disclosure to

unauthorized parties. This information included personal family photographs, personal family and

friends videos, as well as personal perspectives regarding politics, religion, relationships, and family that

he wanted to remain private and non-public. Plaintiff Short also shared private content and information

with Friends through Facebook Messenger and/or Facebook Chat. This information included personal

photographs, personal videos, and personal perspectives regarding politics, religion, relationships, and

family that he wanted to remain private and non-public.

       176.    Plaintiff Short believed that when he shared private content and information with a non-

public audience such as Friends, by either restricting access to a non-public audience at the time of

posting or through his Privacy Settings, he was preventing third parties from accessing his content and

information. Plaintiff Short was not aware of and did not understand that when he shared content and

information with non-public audiences such as Friends, Facebook would disclose such content and

information to: (a) Apps used by his Friends; (b) “Business Partners” such as Apple, Amazon, and

Samsung; and (c) advertisers. Plaintiff Short was not aware of and did not understand that he could not

control, with any settings made available by Facebook, the disclosure of his content and information

with Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff Short was not aware of

and did not understand that Facebook would allow third parties to obtain his content and information

and use it to construct a psychographic profile of him to attempt to manipulate his voting decisions or

other decisions. Plaintiff Short similarly was not aware of and did not understand that Facebook would

allow third parties to access his content and information and combine it with personally identifiable

information from other sources, including sources outside of Facebook, to create a unique profile of him

(as distinct from the individualized profile that he created for his Facebook account).




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        177.    If Plaintiff Short had learned what he knows now about Facebook’s data sharing policies

before signing up for Facebook, he would not have signed up for Facebook at all. He also would have

altered and reduced his Facebook usage, including being more circumspect regarding sharing personal

information.

        178.    Plaintiff Short confirmed on Facebook that his content and information may have been

“shared” with and “misused” by the This Is Your Digital Life App, because one of Plaintiff Short’s

Facebook Friends downloaded the This Is Your Digital Life App. Plaintiff Short did not consent to the

sharing of his content and information with the This Is Your Digital Life App. Moreover, Plaintiff Short

did not consent to any third-parties accessing his content and information through his Facebook Friends

and had no knowledge that Facebook had authorized this disclosure of his content and information

without his consent.

        179.    During the 2016 U.S. Presidential election, Plaintiff Short frequently received political

advertisements while using Facebook. On information and belief, Plaintiff Short was targeted by some

or all of these advertisements as a result of the Cambridge Analytica Scandal. As a result of the release

of his content and information, Plaintiff Short has suffered emotional distress, including anxiety,

concern, and unease about unauthorized parties viewing and using his content and information for

improper purposes, such as identity theft and fraud as well as further intruding upon Plaintiff Short’s

private affairs and concerns, as detailed herein. Plaintiff Short fears that he is at risk of identity theft and

fraud, and now spends approximately ten hours each week monitoring his credit, bank, and other

account statements for evidence of identity theft and fraud, and anticipates continuing to do so for the

foreseeable future. Because of his heightened risk of identity theft and fraud, Plaintiff Short has

purchased credit monitoring, identity theft protection services, and legal counsel, and anticipates

continuing to pay for such services for the foreseeable future.



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       180.    Plaintiff Tonya Smith is a citizen and resident of the State of Alabama. Plaintiff Smith

created her Facebook account in 2007 via a personal computer and maintains her Facebook account to

the present day. Plaintiff Smith has accessed her Facebook account from a personal computer, a tablet,

and a mobile phone. Plaintiff Smith also uses Facebook Messenger and/or Facebook Chat. On or

through Facebook, Facebook Messenger, and/or Facebook Chat, Plaintiff Smith has watched videos,

“liked” videos, “shared” videos, “posted” videos, “liked” pages on Facebook that contain videos, and

“shared” pages on Facebook that contain videos. These videos were hosted on Facebook’s video

streaming services, and included videos that were not posted by Plaintiff Smith or her Friends, videos

that were selected and published by Facebook to Plaintiff Smith’s News Feed, and videos that were

posted, shared, or liked to a non-public audience such as Friends. Plaintiff Smith has enabled location

access while using Facebook, Facebook Messenger, and/or Facebook Chat. Plaintiff Smith has also

purchased and/or sold items in the Facebook Marketplace.

       181.    Plaintiff Smith does not recall specific details regarding the account registration process.

Plaintiff Smith does not recall being prompted to read or reading the Terms of Service or the Data Policy

during the registration process. She did not subscribe to, has never visited, and is not aware of the

Facebook Site Governance page.

       182.    On information and belief, Plaintiff Smith’s Privacy Settings for personal information,

including birthday, were set to the default setting of Friends of Friends when she created her account.

Plaintiff Smith later changed those settings to Friends in approximately 2007. On information and

belief, Plaintiff Smith’s Privacy Settings for posts, including status updates, photos, and videos, were set

to the default setting of Friends of Friends when she created her account. Plaintiff Smith later changed

those settings to Friends in approximately 2007. On information and belief, Plaintiff Smith’s Privacy

Settings for Likes, including page likes, interests, and favorites, were set to the default setting of Friends



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of Friends at first. Plaintiff Smith later changed those settings to Friends in approximately 2009. Until

2018, post-Cambridge Analytica Scandal, Plaintiff Smith did not know that Facebook allowed

advertisers to target her directly, using information such as her email address or Facebook User ID. Until

2018, post-Cambridge Analytica Scandal, Plaintiff Smith did not know that there were separate Privacy

Settings to limit the information obtained by Apps used by her Friends. Until 2018, post-Cambridge

Analytica Scandal, Plaintiff Smith did not know that there were separate Privacy Settings to disable

advertisements targeting her on the basis of data from third parties such as data brokers.

       183.    Plaintiff Smith shared private content and information, including personal information,

posts, and Likes, with a non-public audience such as Friends on Facebook. Plaintiff Smith expected

Facebook to protect and secure that private content and information against access by or disclosure to

unauthorized parties. This information included personal family photographs, personal family videos, as

well as personal perspectives regarding religion and relationships that she wanted to remain private and

non-public. Plaintiff Smith also shared private content and information with Friends through Facebook

Messenger and/or Facebook Chat. This information included personal family photographs, personal

family videos, as well as personal perspectives that she wanted to remain private and non-public.

       184.    Plaintiff Smith believed that when she shared private content and information with a non-

public audience such as Friends, by either restricting access to a non-public audience at the time of

posting or through her Privacy Settings, she was preventing third parties from accessing her content and

information. Plaintiff Smith was not aware of and did not understand that, when she shared content and

information with a non-public audience such as Friends, Facebook would disclose such content and

information to: (a) Apps used by her Friends; (b) “Business Partners” such as Apple, Amazon, and

Samsung; and (c) advertisers. Plaintiff Smith was not aware of and did not understand that Facebook

maintained a separate set of Privacy Settings for limiting the disclosure of her content and information to



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Apps used by her Facebook Friends. Plaintiff Smith was not aware of and did not understand that she

could not control, with any settings made available by Facebook, the disclosure of her content and

information with Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff Smith was

not aware of and did not understand that Facebook would allow third parties to obtain her content and

information and use it to construct a psychographic profile of her for the purpose of attempting to

manipulate her voting decisions or other decisions. Plaintiff Smith similarly was not aware of and did

not understand that Facebook would allow third parties to access her content and information and

combine it with personally identifiable information from other sources, including sources outside of

Facebook, to create a unique profile of her (as distinct from the individualized profile that she created

for her Facebook account).

       185.    If Plaintiff Smith had learned what she knows now about Facebook’s data sharing

policies after signing up for Facebook, she would have immediately restricted her profile Privacy

Settings and would have limited sharing with Apps used by her Friends. She also would have altered and

reduced her Facebook usage, including being more circumspect regarding sharing personal information.

       186.    Plaintiff Smith confirmed on Facebook that her content and information may have been

“shared” with and “misused” by the This Is Your Digital Life App, because one of Plaintiff Smith’s

Facebook Friends downloaded the This Is Your Digital Life App. Plaintiff Smith did not consent to the

sharing of her content and information with the This Is Your Digital Life App. Moreover, Plaintiff Smith

did not consent to any third-parties accessing her content and information through her Facebook Friends

and had no knowledge that Facebook had authorized this disclosure of her content and information

without her consent.

       187.    During the 2016 U.S. Presidential election, Plaintiff Smith frequently received political

advertisements while using Facebook. On information and belief, Plaintiff Smith was targeted by some



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or all of these advertisements as a result of the Cambridge Analytica Scandal. As a result of the release

of her content and information, Plaintiff Smith has experienced an increase in phone solicitations,

phishing attempts, and has received an alert that her information was located on the Dark Web.

Additionally, as a result of the release of her content and information, Plaintiff Smith has suffered

emotional distress, including anxiety, concern, and unease about unauthorized parties viewing and using

her content and information for improper purposes, such as identity theft and fraud as well as further

intruding upon Plaintiff Smith’s private affairs and concerns, as detailed herein. Plaintiff Smith fears that

she is at risk of identity theft and fraud, and now spends approximately ten hours each month monitoring

her credit, bank, and other account statements for evidence of identity theft and fraud, and anticipates

continuing to do so for the foreseeable future. Because of her heightened risk of identity theft and fraud,

Plaintiff Smith has purchased credit monitoring and identity theft protection services, and anticipates

continuing to pay for such services for the foreseeable future.

       188.    Plaintiff Charnae Tutt is a citizen and resident of the State of Georgia. Plaintiff Tutt

created her Facebook account in 2009 via a personal computer and maintains her Facebook account to

the present day. Plaintiff Tutt has accessed her Facebook account from a personal computer, a tablet,

and a mobile phone. Plaintiff Tutt also uses Facebook Messenger and/or Facebook Chat. On or through

Facebook, Facebook Messenger, and/or Facebook Chat, Plaintiff Tutt has watched videos, “liked”

videos, “shared” videos, “posted” videos, “liked” pages on Facebook that contain videos, and “shared”

pages on Facebook that contain videos. These videos were hosted on Facebook’s video streaming

services, and included videos that were not posted by Plaintiff Tutt or her Friends, videos that were

selected and published by Facebook to Plaintiff Tutt’s News Feed, and videos that were posted, shared,

or liked to a non-public audience such as Friends. Plaintiff Tutt has enabled location access while using




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Facebook, Facebook Messenger, and/or Facebook Chat. Plaintiff Tutt has also purchased and/or sold

items in the Facebook Marketplace.

        189.    Plaintiff Tutt recalls that during the account registration process she had to provide her

first name, last name, birthday, and email address. Plaintiff Tutt does not recall being prompted to read

or reading the Terms of Service or the Data Policy during the registration process. She does not recall

seeing updates to the Terms of Service or the Data Policy since registering for her account. She did not

subscribe to, has never visited, and is not aware of the Facebook Site Governance page.

        190.    On information and belief, Plaintiff Tutt’s Privacy Settings for personal information,

including birthday, were set to the default setting of Friends of Friends when she created her account.

Plaintiff Tutt later changed those settings to Friends. On information and belief, Plaintiff Tutt’s Privacy

Settings for posts, including status updates, photos, and videos, were set to the default setting of Friends

of Friends when she created her account. On information and belief, Plaintiff Tutt changed those settings

to Friends, but also started customizing his privacy on a post-by-post, photo-by-photo, video-by-video

basis. On information and belief, Plaintiff Tutt’s Privacy Settings for Likes, including page likes,

interests, and favorites, were set to the default setting of Friends of Friends at first. Plaintiff Tutt later

changed those settings to Only Me. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Tutt did not

know that Facebook allowed advertisers to target her directly, using information such as her email

address or Facebook User ID. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Tutt did not

know that there were separate Privacy Settings to limit the information obtained by Apps used by her

Friends. On information and belief, Plaintiff Tutt disabled advertisements targeting her on the basis of

data from third parties such as data brokers.

        191.    Plaintiff Tutt shared private content and information, including personal information,

posts, and Likes, with a non-public audience such as Friends on Facebook. Plaintiff Tutt expected



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Facebook to protect and secure that private content and information against access by or disclosure to

unauthorized parties. This information included personal family photographs, personal family videos, as

well as personal perspectives regarding politics, religion, relationships, work, and family that she wanted

to remain private and non-public. Plaintiff Tutt also shared private content and information with Friends

through Facebook Messenger and/or Facebook Chat. This information included personal family

photographs, personal family videos, as well as personal perspectives regarding politics, religion,

relationships, work, and family that she wanted to remain private and non-public.

       192.    Plaintiff Tutt believed that when she shared private content and information with a non-

public audience such as Friends, by either restricting access to a non-public audience at the time of

posting or through her Privacy Settings, she was preventing third parties from accessing her content and

information. Plaintiff Tutt was not aware of and did not understand that, when she shared content and

information with a non-public audience such as Friends, Facebook would disclose such content and

information to: (a) Apps used by her Friends; (b) “Business Partners” such as Apple, Amazon, and

Samsung; and (c) advertisers. Plaintiff Tutt was not aware of and did not understand that Facebook

maintained a separate set of Privacy Settings for limiting the disclosure of her content and information to

Apps used by her Facebook Friends. Plaintiff Tutt was not aware of and did not understand that she

could not control, with any settings made available by Facebook, the disclosure of her content and

information with Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff Tutt was

not aware of and did not understand that Facebook would allow third parties to obtain her content and

information and use it to construct a psychographic profile of her for the purpose of attempting to

manipulate her voting decisions or other decisions. Plaintiff Tutt similarly was not aware of and did not

understand that Facebook would allow third parties to access her content and information and combine it

with personally identifiable information from other sources, including sources outside of Facebook, to



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create a unique profile of her (as distinct from the individualized profile that she created for her

Facebook account).

       193.    If Plaintiff Tutt had learned what she knows now about Facebook’s data sharing policies

before signing up for Facebook, she would not have signed up for Facebook at all. If, after signing up

for Facebook, she learned what she knows now, she would have immediately restricted her profile

Privacy Settings, limited sharing with Apps used by Friends, and would have disabled Platform Apps

entirely. She also would have altered and reduced her Facebook usage, including being more

circumspect regarding sharing personal information.

       194.    Plaintiff Tutt confirmed on Facebook that her content and information may have been

“shared” with and “misused” by the This Is Your Digital Life App, because one of Plaintiff Tutt’s

Facebook Friends downloaded the This Is Your Digital Life App. Plaintiff Tutt did not consent to the

sharing of her content and information with the This Is Your Digital Life App. Moreover, Plaintiff Tutt

did not consent to any third-parties accessing her content and information through her Facebook Friends

and had no knowledge that Facebook had authorized this disclosure of her content and information

without her consent.

       195.    During the 2016 U.S. Presidential election, Plaintiff Tutt frequently received political

advertisements while using Facebook. On information and belief, Plaintiff Tutt was targeted by some or

all of these advertisements as a result of the Cambridge Analytica Scandal. In particular, Plaintiff Tutt

recalls that she received highly offensive advertisements during the 2016 U.S. Presidential election, and

believes that she was targeted with such advertisements because of her race and gender. She believes

that these advertisements were designed to improperly influence her voting decisions. As a result of the

release of her content and information, Plaintiff Tutt has experienced an increase in phone solicitations

as well as unauthorized credit inquiries, starting in approximately 2016. Additionally, as a result of the



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release of her content and information, Plaintiff Tutt has suffered emotional distress, including anxiety,

concern, and unease about unauthorized parties viewing and using her content and information for

improper purposes, such as identity theft and fraud as well as further intruding upon Plaintiff Tutt’s

private affairs and concerns, as detailed herein. Plaintiff Tutt fears that she is at risk of identity theft and

fraud, and now spends approximately four to five hours each month monitoring her credit, bank, and

other account statements for evidence of identity theft and fraud, and anticipates continuing to do so for

the foreseeable future. Because of her heightened risk of identity theft and fraud, Plaintiff Tutt has

obtained credit monitoring and identity theft protection services, and anticipates continuing to use and

monitor such services for the foreseeable future.

        196.    Plaintiff Juliana Watson is a citizen and resident of the State of California. Plaintiff

Watson created her Facebook account in 2009 via a computer and maintains her Facebook account to

the present day. Plaintiff Watson has accessed her Facebook account from a computer and mobile

phones using both Apple and Android operating systems. Plaintiff Watson has used Facebook

Messenger and/or Facebook Chat. On or through Facebook, Facebook Messenger, and/or Facebook

Chat, Plaintiff Watson has obtained and viewed non-public videos, “liked” videos, “shared” videos,

“posted” videos, “liked” pages on Facebook that contain videos, and “shared” pages on Facebook that

contain videos.” These videos were delivered by Facebook, and included videos that were not posted by

Plaintiff Watson or her Friends, videos that were selected and delivered by Facebook to Plaintiff

Watson’s News Feed, and videos that were posted, shared, or liked to a non-public audience such as

Friends.

        197.    Plaintiff Watson does not recall specific details regarding the account registration

process. Plaintiff Watson does not recall being prompted to read or reading the Terms of Service or the

Data Policy during the registration process. She does not recall seeing updates to the Data Policy since



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registering for her account. Plaintiff Watson does not subscribe to, has never visited, and is not aware of

the Facebook Site Governance page.

       198.     On information and belief, Plaintiff Watson’s Privacy Settings for personal information,

including birthday, were set to the default setting of Friends of Friends when she created her account.

Plaintiff Watson later changed those settings to Friends in approximately 2013. On information and

belief, Plaintiff Watson’s Privacy Settings for posts, including status updates, photos, and videos, were

set to the default setting of Friends of Friends when she created her account. Plaintiff Watson later

changed those settings to Friends in approximately 2013. On information and belief, Plaintiff Watson’s

Privacy Settings for Likes, including page likes, interests, and favorites, were set to the default setting of

Friends of Friends at first. Plaintiff Watson later changed those settings to Friends in approximately

2013. She believed that Facebook was limiting the sharing of that information in accordance with her

settings. Until 2018, post-Cambridge Analytica Scandal, Plaintiff Watson did not know that Facebook

allowed advertisers to target her directly, using information such as her email address or Facebook User

ID. Plaintiff Watson did not know that Facebook allowed advertisers to target her based on data from

third parties such as data brokers. Until 2019, post-Cambridge Analytica Scandal, Plaintiff Watson did

not know that there were separate Privacy Settings to limit the information that Apps used by Friends

could obtain.

       199.     Plaintiff Watson shared private content and information on Facebook, including personal

information, posts, and Likes, with a non-public audience such as Friends on Facebook. Plaintiff Watson

expected Facebook to protect and secure that private content and information against access by or

disclosure to unauthorized parties. This information included personal photographs, personal videos

recorded by herself or a friend, and personal perspectives regarding politics, religion, relationships,

work, and family that she wanted to remain private and non-public. Plaintiff Watson also shared private



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content and information with Friends through Facebook Messenger and/or Facebook Chat. This

information included personal photographs, personal videos, and personal perspectives regarding

politics, religion, relationships, work, and family that she wanted to remain private and non-public.

       200.    Plaintiff Watson believed that when she shared private content and information with a

non-public audience such as Friends, by either restricting access to a non-public audience at the time of

posting or through her Privacy Settings, she was preventing third parties from accessing her content and

information. Plaintiff Watson was not aware of and did not understand that when she shared content and

information with non-public audiences such as Friends, Facebook would disclose such content and

information to: (a) Apps used by her Friends; (b) “Business Partners” such as Apple, Amazon, and

Samsung; and (c) advertisers. Plaintiff Watson was not aware of and did not understand that Facebook

maintained a separate set of Privacy Settings for limiting the disclosure of her content and information to

Apps used by her Facebook Friends. Plaintiff Watson was not aware of and did not understand that she

could not control, with any settings made available by Facebook, the disclosure of her content and

information with Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff Watson

was not aware of and did not understand that Facebook would allow third parties to obtain her content

and information and use it to construct a psychographic profile of her for the purpose of attempting to

manipulate her voting decisions or other decisions. Plaintiff Watson similarly was not aware of and did

not understand that Facebook would allow third parties to access her content and information and

combine it with personally identifiable information from other sources, including sources outside of

Facebook, to create a unique profile of her (as distinct from the individualized profile that she created

for her Facebook account).

       201.    If Plaintiff Watson had learned what she knows now about Facebook’s data sharing

policies before signing up for Facebook, she would have immediately restricted her profile Privacy



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Settings and limited sharing with Apps used by her Friends. She also would have altered and reduced

her Facebook usage, including being more circumspect regarding sharing personal information.

       202.    Plaintiff Watson confirmed on Facebook that her content and information “was likely

shared with” the This Is Your Digital Life App, because one of Plaintiff Watson’s Facebook Friends

downloaded the This Is Your Digital Life App. Plaintiff Watson did not consent to the sharing of her

content and information with the This Is Your Digital Life App. Moreover, Plaintiff Watson did not

consent to any third-parties accessing her content and information through her Facebook Friends and

had no knowledge that Facebook had authorized this disclosure of her content and information without

her consent.

       203.    During the 2016 U.S. Presidential election, Plaintiff Watson frequently received political

advertisements while using Facebook. On information and belief, Plaintiff Watson was targeted by some

or all of these advertisements as a result of the Cambridge Analytica Scandal. As a result of the release

of her content and information, Plaintiff Watson has suffered emotional distress, including anxiety,

concern, and unease about unauthorized parties viewing and using her content and information for

improper purposes, such as identity theft and fraud as well as further intruding upon Plaintiff Watson’s

private affairs and concerns, as detailed herein. Plaintiff Watson fears that she is at risk of identity theft

and fraud.

         204. Plaintiff Annie Wenz is a citizen and resident of the State of Florida. Plaintiff Wenz

 created her Facebook account in 2009 via a personal computer and maintains her Facebook account to

 the present day. Plaintiff Wenz has accessed her Facebook account from a mobile phone and a personal

 computer. Plaintiff Wenz also uses Facebook Messenger and/or instant messaging through Facebook.

 On or through Facebook, Facebook Messenger, and/or Facebook instant messaging, Plaintiff Wenz has

 watched videos, “liked” videos, “shared” videos, “posted” videos, “liked” pages on Facebook that
 contain videos, and “shared” pages on Facebook that contain videos.


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          205. Plaintiff Wenz does not recall specific details regarding the account registration process.

Plaintiff Wenz does not recall being prompted to read the Terms of Service or the Data Policy during

the registration process. She does not recall seeing updates to the Terms of Service or the Data Policy

since registering for her account. She did not subscribe to, has never visited, and is not aware of the

Facebook Site Governance page.

          206. On information and belief, Plaintiff Wenz’s Privacy Settings for personal information,

including birthday, were set to the default setting when she created her account. Plaintiff Wenz later

changed those settings to Friends of Friends. On information and belief, Plaintiff Wenz’s Privacy

Settings for posts, including status updates, photos, and videos, were set to the default setting when she
created her account. On information and belief, Plaintiff Wenz’s Privacy Settings for Likes, including

page likes, interests, and favorites, were set to the default setting when she created her account. Until

2018, post-Cambridge Analytica Scandal Plaintiff Wenz did not know that Facebook allowed

advertisers to target her directly, using information such as her email address or Facebook ID. Until

2019, Plaintiff Wenz did not know that there were separate Privacy Settings to limit the information

that Apps used by Friends could obtain.

          207. Plaintiff Wenz shared private content and information, including personal information,

posts, and Likes, with a non-public audience including Friends Only and Friends of Friends on

Facebook or through Facebook Messenger and/or Facebook instant messaging. Plaintiff Wenz expected

Facebook to protect and secure that private content and information against access by or disclosure to
unauthorized parties. The information included personal family photographs, videos of family and

friends, as well as personal perspectives regarding politics, religion, relationships, work, and family that

she wanted to remain private and non-public. Plaintiff Wenz also shared private content and

information with Friends through Facebook Messenger and/or Facebook instant messaging. The

information included personal photographs, videos of family and friends, personal perspectives

regarding politics, religion, relationships, work, and family that she wanted to remain private and non-

public.
          208. Plaintiff Wenz believed that when she shared private content and information with a non-


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public audience such as Friends Only, by either restricting access to a non-public audience at the time

of posting or through her Privacy Settings, she was preventing third parties from accessing her content

and information. Plaintiff Wenz was not aware of and did not understand that Facebook would disclose

content and information when she shared content and information with a non-public audience such as

Friends Only to: (a) Apps used by her Friends; (b) “Business Partners” such as Apple, Amazon, and

Samsung; and (c) advertisers. Plaintiff Wenz was not aware of and did not understand that Facebook

maintained a separate set of Privacy Settings for limiting the disclosure of her content and information

to Apps used by her Facebook Friends. Plaintiff Wenz was not aware of and did not understand that she

could not control, with any settings made available by Facebook, the disclosure of her content and
information with Business Partners such as Apple, Amazon, and Samsung. Further, Plaintiff Wenz was

not aware of and did not understand that Facebook would allow third parties to obtain her content and

information and use it to construct a psychographic profile of her for the purpose of attempting to

manipulate her voting decisions or other decisions. Plaintiff Wenz similarly was not aware of and did

not understand that Facebook would allow third parties to access her content and information and

combine it with personally identifiable information from other sources, including sources outside of

Facebook, to create a unique profile of her (as distinct from the individualized profile that she created

for her Facebook account).

       209. If Plaintiff Wenz had learned what she knows now about Facebook’s data sharing

policies before signing up for Facebook, she believes that she would not have signed up for Facebook
at all. If, after signing up for Facebook, she learned what she knows now, she would have immediately

restricted her profile privacy settings, limited sharing with Apps used by her Friends, and would have

disabled Platform Apps entirely. She also would have altered and reduced her Facebook usage,

including being more circumspect regarding sharing personal information.

       210. Plaintiff Wenz confirmed on Facebook that her content and information may have been

“shared” with and “misused” by the This Is Your Digital Life app, because one of Plaintiff Wenz’s

Facebook Friends downloaded the This Is Your Digital Life app. Plaintiff Wenz did not consent to the
sharing of her content and information with the This Is Your Digital Life app. Moreover, Plaintiff


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Wenz did not consent to any third-parties accessing her content and information through her Facebook

Friends and had no knowledge that Facebook had authorized this disclosure of her content and

information without her consent.

       211. During the 2016 U.S. Presidential election, Plaintiff Wenz frequently received political

advertisements while using Facebook. On information and belief, Plaintiff Wenz was targeted by some

or all of these advertisements as a result of the Cambridge Analytica Scandal. As a result of the release

of her content and information, Plaintiff Wenz has suffered emotional distress, including anxiety,

concern, and unease about unauthorized parties viewing and using her content and information for

improper purposes, such as identity theft and fraud as well as further intruding upon Plaintiff Wenz’s
private affairs and concerns, as detailed therein.

B.    Defendants and Co-Conspirators

      1.      Prioritized Defendant and Doe Defendants:
       212. Facebook, Inc. (“Facebook”), a publicly traded company, is incorporated in the State of

Delaware, with its executive offices located at 1601 Willow Road, Menlo Park, California 94025 and

its headquarters located at 1 Hacker Way, Menlo Park, California 94025. Facebook is an online social

media and social networking service company founded in 2004. In 2004 Facebook started as a social

networking website enabling users to connect, share, and communicate with each other through text,

photographs, and videos as well as to interact with third party Apps such as games and quizzes on

mobile devices and personal computers. Over time, Facebook has evolved into its own platform that
allows users to connect with each other while also acting as a data broker, harvesting user content and

information and selling access to the data via targeted messaging to third parties such as advertisers,

political action groups and others. Facebook’s market value is currently estimated at more than $473

billion, with annual revenues of $40 billion from advertising.

       213. Doe Defendants 1-100: Plaintiffs do not know the true names of Doe Defendants 1-100,

inclusive, and therefore sue them by those fictitious names. Plaintiffs are informed and believe, and on

the basis of that information and belief, allege that each of those defendants were proximately
responsible for the events and happenings alleged in this Complaint and for Plaintiffs’ injuries and


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damages.

      2.      Non-Prioritized Defendants (Individual Defendants Named in Actions Consolidated
              in this MDL as to Whom Co-Lead Counsel Seek a Stay)
       214. Stephen Kevin Bannon is a resident of the District of Columbia. At all relevant times,

Bannon was a part owner, Vice President, and Secretary of Cambridge Analytica until he resigned from

those positions to act as the chief executive of Donald Trump’s presidential campaign. At all relevant

times, Bannon had decision-making authority at Cambridge Analytica and directed and approved the

actions taken by Cambridge Analytica alleged herein.

       215. Aleksandr Kogan, a/k/a Aleksandr Spectre, is a resident of the state of California and
Cambridge, England. Dr. Kogan was a founder of GSR. At all relevant times, Dr. Kogan had decision-

making authority at GSR and directed, approved, or otherwise ratified the actions taken by GSR as

alleged herein.

C.    Interested Parties
       216. Sheryl Kara Sandberg is an individual residing in Menlo Park, California. Ms.

Sandberg is the chief operating officer (“COO”) of Facebook. Ms. Sandberg has served as Facebook’s

COO since 2008, and has been a member of Facebook’s Board since 2012. As Facebook’s COO, Ms.

Sandberg is responsible for Facebook’s day-to-day operations and reports directly to Mr. Zuckerberg.

Ms. Sandberg oversees Facebook’s business operations, including sales, marketing, business

development, human resources, public policy, and communications. Ms. Sandberg was instrumental in

developing Facebook’s online advertising programs, and was the “architect” of Facebook’s
transformation “into a global advertising juggernaut.”

       217. Mark Elliot Zuckerberg is an individual residing in Palo Alto, California. Mr.

Zuckerberg is the founder of Facebook and has served as Facebook’s CEO and as a member of the

Board since July 2004, and as Chairman of the Board since January 2012. Mr. Zuckerberg is

responsible for Facebook’s day-to-day operations, as well as the overall direction and product strategy

of Facebook. He is also Facebook’s controlling stockholder with ownership of stock and proxies for
stock representing more than 53.3% of Facebook’s voting power as of April 13, 2018, though he owns



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 only 16% of Facebook’s total equity.

D.     Unnamed Co-Conspirators: Cambridge-Analytica-Related Entities11
        218. Cambridge Analytica LLC (“Cambridge Analytica”) is a privately held limited liability

 company organized under the laws of the State of Delaware, incorporated on December 31, 2013, with

 its principal offices located at 597 5th Avenue, 7th Floor, New York, New York 10017. Cambridge

 Analytica does business throughout the United States, including in this District. Cambridge Analytica

 maintains offices in London, New York, and Washington, D.C. Its registered agent for service of

 summons is The Corporation Trust Company, 1209 Orange Street, Corporation Trust Center,

 Wilmington, Delaware 19801. Cambridge Analytica is a political consulting and “behavioral
 microtargeting” firm that combines data mining, data brokerage, and data analysis with strategic

 communication for the electoral process. It was founded in 2013 as a subsidiary of its parent company

 SCL Group, to participate in American politics. In 2014, Cambridge Analytica was involved in 44 U.S.

 political races. Cambridge Analytica was also active in the Brexit campaign. According to the Business

 Insider, Defendant Stephen Bannon was Vice President of Cambridge Analytica from June 2014 until

 August 2016.

        219. Cambridge Analytica Commercial LLC (“CA Commercial”) is a privately held limited

 liability company organized under the laws of the State of Delaware, incorporated on January 21, 2015,

 and is a division of Cambridge Analytica. CA Commercial’s registered agent for service of summons is

 The Corporation Trust Company, 1209 Orange Street, Corporation Trust Center, Wilmington,
 Delaware 19801. Cambridge Analytica is owned in part (19%) by SCL Elections Ltd, a British

 company owned by SCL Analytics Limited, which is owned in part by SCL Group. During the relevant

 time, Alexander Nix was CEO of both SCL Elections Ltd and Cambridge Analytica UK.

        220. Cambridge Analytica Holdings LLC is a privately held limited liability company



11
  These entities were named in prior complaints consolidated into this docket. These entities are not
named here pursuant to Title 11, § 362 of the United States Bankruptcy Code in addition to this court’s
order staying claims. See Pretrial Order No. 5: Scheduling at 1, ECF No. 103 (“The case is stayed as to
the Cambridge Analytica defendants pending the outcome of the parties’ request of the bankruptcy court
for relief from the automatic stay.”).

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 organized under the laws of the State of Delaware, incorporated on May 9, 2014. Cambridge Analytica

 Holdings, LLC’s registered agent for service of summons is The Corporation Trust Company, 1209

 Orange Street, Corporation Trust Center, Wilmington, Delaware 19801. According to the Guardian,

 hedge fund billionaire Robert Mercer funded CA Holdings, which created and initially ran Cambridge

 Analytica.12

          221. Cambridge Analytica Limited is a British-registered company headquartered in

 London, England with U.S. offices located in New York, New York and Washington, D.C.

          222. Cambridge Analytica (UK) Limited is a British-registered company headquartered in

 London, England with U.S. offices located in New York, New York and Washington, D.C. Prior to
 changing its name, Cambridge Analytica (UK) Limited was formerly registered as SCL USA Limited.

          223. Cambridge Analytica Political LLC (“CA Political”) is a privately held limited liability

 company organized under the laws of the State of Delaware, incorporated on January 21, 2015, and is a

 division of Cambridge Analytica. CA Political’s registered agent for service of summons is The

 Corporation Trust Company, 1209 Orange Street, Corporation Trust Center, Wilmington, Delaware

 19801.

          224. Cambridge Analytica, CA Political and CA Commercial all share the same website:

 https://cambridgeanalytica.org. According to Cambridge Analytica’s website, CA Political and CA

 Commercial are Divisions of Cambridge Analytica LLC. Upon information and belief, CA Holdings is

 a shell holding company for shares of Cambridge Analytica, CA Political and CA Commercial.
          225. SCL Elections Limited is a British company incorporated on October 17, 2012. Its

 address is listed as c/o PFK Littlejohn, chartered accountants located at 1 Westferry Circus, Canary

 Wharf, London, E14 4HD, United Kingdom. Alexander Nix is listed as a director of SCL Elections and

 the ultimate controlling party as of the end of 2015.

          226. SCL Group Limited, formerly known as Strategic Communications Laboratories Ltd, is

 a British company registered with the UK Companies House in 2005. Its headquarters are located at 55

12
   Carole Cadwalladr & Emma Graham-Harrison, Revealed: 50 Million Facebook Profiles Harvested for
Cambridge Analytica in Major Data Breach, Guardian (Mar. 17, 2018),
https://www.theguardian.com/news/2018/mar/17/cambridge-analytica-facebook-influence-us-election.

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New Oxford Street, London, WC1A 1BS. SCL Group Limited also has multiple U.S. affiliates,

including SCL Group Inc. with offices in New York located at 597 5th Avenue, 7th Floor, New York,

New York, 10036, and SCL USA Inc. with offices in Washington, D.C. located at 1901 Pennsylvania

Avenue, N.W., Washington, D.C. 20006.

       227. SCL USA Inc. is a privately held company incorporated under the laws of the State of

Delaware, incorporated on April 22, 2104, and is a wholly owned subsidiary of SCL Elections. Its

address is 597 5th Avenue, 7th Floor, New York, New York 10017 and its registered agent for service

of summons is Erisedentagent, Inc., 1013 Centre Road, Suite 403S, Wilmington, Delaware 19805.

Alexander Nix is SCL USA Inc.’s CEO. SCL USA is the alter ego of SCL Group.

E.    Other Non-Defendant Co-Conspirator
       228. Global Science Research Limited was a United Kingdom company that harvested and

sold the private information of social media users for profit. On information and belief, Global Science

Research Limited (“GSR”) did significant business in California, but has since dissolved. Its successors

in interest are unknown at this time.

                                 IV.    FACTUAL BACKGROUND

A.    Facebook’s Transition from Social Media Company to Data Broker
       229. Facebook started as a user-driven experience. Users were comfortable sharing

information about themselves on the social media platform in part because they believed they were

sharing their content and information with the connections they selected, and that they controlled how
their content and information was shared.

       230. Indeed, millions of Facebook users joined Facebook before 2007, when Facebook

launched the Facebook Platform—which allowed Apps on the user interface—and opened the website

to search-engine indexing. Even after Facebook began allowing Apps to access user information and

search engines to index user profiles, Facebook promoted the site as a place where users could connect

with friends and family. Facebook recognizes this in its mission statement: “People use Facebook to

stay connected with friends and family, to discover what’s going on in the world, and to share and




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 express what matters to them.”13

        231. Since its inception, Facebook has faced a profound conflict of interest. In order to

 generate revenue, the Company has opted to monetize its platform and incorporate advertising.

 Facebook’s revenue thus comes principally from entities wishing to target Facebook’s users. To better

 target users, advertisers want access to as much information about users as Facebook will provide them.

        232.    Yet it is clear that users would not engage on the platform without protection of their

 privacy. For this reason, Facebook represents to users that they control their content and information,

 and that it will not give advertisers access to users’ content and information without users’ consent.

 Facebook expressly promises users they possess “the power to control exactly who can see the
 information and content they share.”14

        233. At the same time, Facebook continually tested the limits of what user content and

 information can be shared publicly in order to attract advertisers who will pay to target users. On many

 occasions over the years, when Facebook unilaterally instituted changes which diminished user privacy,

 users and privacy watchdogs resisted. For example, in 2006, Facebook introduced a feature called

 “News Feed” without notice or consent to users. That feature revealed some of users’ information in a

 daily feed to Friends. In reaction more than a million users joined protest groups. Others protested

 outside Facebook’s Silicon Valley headquarters. “We did a bad job of explaining what the new features

 were and an even worse job of giving you control over them,” Zuckerberg conceded at the time. 15 Thus

 Facebook searched for a way to make user content and information available to advertisers without
 letting users see how it was happening.


13
   Mission Statement, Facebook Newsroom, https://newsroom.fb.com/company-info/ (last visited Feb.
19, 2019).
14
   E.g., Facebook Redesigns Privacy, Facebook Newsroom (May, 26, 2010)
https://newsroom.fb.com/news/2010/05/facebook-redesigns-privacy/; see Ryan Nakashima, Promises,
promises: Facebook's history with privacy, Phys.Org (Mar. 30, 2018), https://phys.org/news/2018-03-
facebook-history-privacy.html.
15
   Jessica Guynn, Facebook's Mark Zuckerberg has promised to protect user privacy before. Will this
time be different?, USA Today (April 10, 2018),
https://www.usatoday.com/story/tech/2018/04/10/facebooks-mark-zuckerberg-has-promised-protect-
user-privacy-before-time-different/502603002/.


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       1.      Facebook Encouraged User Engagement to Drive Advertising Revenues.
        234. User engagement is a key financial metric for Facebook. User presence alone is not the

 compelling driver of revenue; it is also how actively users engage on the Facebook user platform, and

 in what forums. “Engagement” or “user engagement” on Facebook is calculated by counting users’

 actions relating to content posted on Facebook’s platform. For example, users may “Like” a Post, click

 on a link or comment on an image. Analysts predict Facebook’s future revenues based on user

 engagement rates and other key metrics, and this drives Facebook’s share price.16

       235.    Because of its importance to Facebook’ financial performance, Facebook precisely tracks

user engagement both on and off Facebook’s platform, reporting monthly active users (“MAUs”),17

daily active users (“DAUs”)18 and mobile MAUs (“Mobile MAUs”).19 Facebook’s efforts to increase

user engagement have been remarkably successful.20 In 2012, ahead of its public offering, Facebook

stated that it had 901 million MAUs, 526 million DAUs, and 500 million Mobile MAUs.21




16
   See Paige Cooper, 41 Facebook Stats That Matter to Marketers in 2019, Hootsuite (Nov. 13, 2018),
https://blog.hootsuite.com/facebook-statistics/ (“Facebook’s focus on meaningful connection has driven
rising user engagement, which in turn drives monetization for the platform.”); Adam Levy, The 4 Pillars
of Facebook's Growing Ad Revenue, The Motley Fool (May 9, 2017),
https://www.fool.com/investing/2017/05/09/the-4-pillars-of-facebooks-growing-ad-revenue.aspx (noting
that “growing engagement is a sign Facebook will continue to see ad revenue growth even as it faces ad
load saturation.”).
17
   Facebook Inc., Amended Registration Statement (Form S-1/A), at 88 (May 16, 2012),
https://www.sec.gov/Archives/edgar/data/1326801/000119312512235588/d287954ds1a.htm [hereinafter
Facebook Form S-1/A] (defining a MAU as “a registered Facebook user who logged in and visited
Facebook through our website or a mobile device, or took an action to share content or activity with his
or her Facebook friends or connections via a third-party website that is integrated with Facebook, in the
last 30 days as of the date of measurement.”).
18
   Id. at 49 (defining DAU as “a registered Facebook user who logged in and visited Facebook through
our website or a mobile device, or took an action to share content or activity with his or her Facebook
friends or connections via a third-party website that is integrated with Facebook, on a given day.”)
19
   Id. at 50 (defining a Mobile MAU as “a user who accessed Facebook via a mobile app or via mobile-
optimized versions of our website such as m.facebook.com, whether on a mobile phone or tablet such as
the iPad, during the period of measurement.”).
20
   Phil Simon, Facebook: The New King of Data Brokers, Wired,
https://www.wired.com/insights/2014/10/facebook-king-data-brokers/ (last visited Feb. 20, 2019).
21
   Facebook Form S-1/A, supra note 17, at 88.

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       236.    Facebook also tracks user engagement more minutely and reports it to investors. For

example, in the first quarter of 2012, ahead of its Initial Public Offering (“IPO”), Facebook tracked 3.2

billion Likes and Comments by users each day, reporting that users were uploading 300 million photos

each day.22 These numbers have greatly increased over time.23 To calculate these numbers, Facebook

engages in extensive analysis of user activity on its user platform, reporting it to advertisers in market

analytic reports.24 Facebook even provides “real-time analytics” which allows advertisers to view live
users engagement with advertisements.25 These real-time analytics are marketed by Facebook as tools


22
   Id.
23
   Brittany Darwell, Facebook platform supports more than 42 million pages and 9 million apps,
Adweek (Apr. 27, 2012), https://www.adweek.com/digital/facebook-platform-supports-more-than-42-
million-pages-and-9-million-apps.
24
   Marketing Analytics - Success Through Analysis, WordStream,
https://www.wordstream.com/marketing-analytics (last visited Feb. 20, 2019).
25
   Matthew Creamer, Facebook Explains Its New Real-Time Insights, AdAge (Mar. 15, 2012),
https://adage.com/article/digital/facebook-explains-real-time-insights/233320/; Greg Finn, PageLever
Now’ Launches Real-time Facebook Post Analytics & Management Tool, Marketing Land (Nov. 1,
2012), https://marketingland.com/pagelever-now-launches-real-time-facebook-post-analytics-
management-tool-25576.


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for advertisers to increase sales.

        237.    In May 2015, Facebook stated to investors: “Our financial performance has been and will

continue to be significantly determined by our success in adding, retaining, and engaging active users. . .

. If people do not perceive our products to be useful, reliable, and trustworthy, we may not be able to

attract or retain users or otherwise maintain or increase the frequency and duration of their

engagement.”26

        2.      User Engagement Increased When Facebook Gave App Developers Users’ Content
                and Information
         238. A key driver of user engagement for Facebook was the addition of Apps to its platform.
 Starting in 2007, Facebook gave App Developers access to user content and information, encouraging

 them to build Apps to stimulate user engagement.27

         239. To incentivize App Developers to develop Apps, Facebook paid App Developers not

 with cash, but in kind. This payment came in the form of users’ content and data, including content that

 was marked private. As the U.K. House of Commons Digital, Culture, Media and Sport Committee

 (“DCMS Committee”) explained in its Final Report, dated February 14, 2019 (“DCMS Report”):

        “Data reciprocity” is the exchange of data between Facebook and apps, and then allowing
        the apps’ users to share their data with Facebook. As Ashkan Soltani told us, Facebook’s
        business model is “to monetise data” which evolved into Facebook paying app
        developers to build apps, using the personal information of Facebook’s users. To Mr
        Soltani, Facebook was and is still making the following invitation: “Developers, please
        come and spend your engineering hours and time in exchange for access to user data.”28

         240. Facebook users’ content and information, including associated metadata, is highly

 valuable to both Facebook and the third parties—including Apps, Whitelisted Apps, Business Partners,

 and advertisers—with whom Facebook unlawfully shared this content and information. As Cambridge


26
   Facebook Form S-1/A, supra note 17, at 12.
27
   Platform is here, Facebook (Jun 1, 2007), https://www.facebook.com/notes/facebook/platform-is-
here/2437282130/.
28
   U.K. House of Commons, Digital, Culture, Media and Sport Committee, Disinformation and ‘Fake
News’: Final Report, 2017-19, HC 1791, (“DCMS Report”) (Feb. 14, 2019), at ¶ 103,
https://publications.parliament.uk/pa/cm201719/cmselect/cmcumeds/1791/1791.pdf.


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 Analytica whistleblower Brittany Kaiser stated, “[c]orporations like Google, Facebook, Amazon, all of

 these large companies, are making tens or hundreds of billions of dollars off of monetising people’s

 data.”29 Kaiser noted that because “data is probably your most valuable asset,” “[i]ndividuals should be

 able to monetise their own data—that’s their human value—not to be exploited.”30

        241. The value of such data, including Facebook users’ content and information, is not

 hypothetical. Facebook itself demonstrated that with its “Facebook Research” App, through which

 “Facebook secretly paid users, aged between 13 and 25, up to $20 in gift cards per month to sell their

 phone and website activity.”31

        242. In an internal Facebook email, Mark Zuckerberg roughly calculated the value of allowing
 Apps to read user content at ten cents per user per year.32

        243. Moreover, sharing user content and information with third parties was enormously

 valuable to Facebook. In fact, “sharing private user data with third parties was one of the core tactics

 that contributed to Facebook’s success.”33 In 2009—notably, one year after Sandberg was hired as

 COO and the first year in which Facebook turned a profit—Facebook introduced third-party games

 such as Zynga’s FarmVille, and enabled the games to “leverag[e] friends lists to boost the population of

 players.”34 This was highly profitable to Facebook, in that “30 percent of Zynga’s in-game advertising

 and purchase revenues went to Facebook” and, in the year before its IPO, “Zynga alone accounted for

 twelve percent of Facebook’s revenue.”35 Consequently, “Zynga’s ability to leverage friends lists

 contributed to an insight: giving third-party developers access to friends lists would be a huge positive
 for Facebook’s business.”36




29
   McNamee, supra note 302, at 197.
30
   Id.
31
   DCMS Report, supra note 28, ¶ 115.
32
   Id. ¶ 97.
33
   McNamee, supra note 302 at 184.
34
   Id.
35
   Id.
36
   Id.

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        244. Facebook’s sharing of user content and information with third parties—including Apps,

 Business Partners, Whitelisted Apps, and advertisers—has resulted in “explosive revenue growth,” as

 shown in the chart below.37




        245. Facebook’s sharing of user content and information has resulted in explosive user growth

 as well. As demonstrated in the below diagram, Facebook’s user growth was relatively flat until 2007,

 when Facebook launched its platform and started secretly sharing user content and information with its
 Business Partners. User growth then skyrocketed.38




37
   Facebook’s annual revenue from 2009 to 2018 (in million U.S. dollars), Statista,
https://www.statista.com/statistics/268604/annual-revenue-of-facebook/ (last visited Feb. 22, 2019).
38
   Josh Constine, Facebook now has 2 billion monthly users … and responsibility, TechCrunch,
https://techcrunch.com/2017/06/27/facebook-2-billion-users/ (last visited Feb. 22, 2019); Gabriel J.X.
Dance, Nicholas Confessore, and Michael LaForgia, Facebook Gave Device Makers Deep Access to
Data on Users and Friends, N.Y. Times (June 3, 2018),
https://www.nytimes.com/interactive/2018/06/03/technology/facebook-device-partners-users-friends-
data.html.

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        246. Facebook’s partnership with Apps was effective in building the platform at minimal out-

 of-pocket cost to Facebook. With a more developed User Platform, Facebook’s active user numbers

 steadily increased, as did users’ activity on Facebook. “I would expect that next year, people will share

 twice as much information as they share this year, and next year, they will be sharing twice as much as

 they did the year before,” Zuckerberg predicted in 2008.39

        247. Apps like the wildly popular FarmVille were remarkably successful and attracted

 millions of users. At its peak in March 2010, FarmVille had 83.76 million monthly active users.40 Daily

 active users of the App alone peaked at 34.5 million a year later.41
        248. By April 2012, there were more than 9 million Apps on Facebook and 42 million



39
   Anita Balakrishnan, Sara Salinas, & Matt Hunter, Mark Zuckerberg has been talking about privacy
for 15 years — here's almost everything he's said, Cnbc (Mar. 21, 2018),
https://www.cnbc.com/2018/03/21/facebook-ceo-mark-zuckerbergs-statements-on-privacy-2003-
2018.html.
40
   Dean Takahashi, Zynga’s CityVille becomes the biggest-ever app on Facebook, VentureBeat (Jan. 3,
2011), https://venturebeat.com/2011/01/03/zyngas-cityville-becomes-the-biggest-ever-app-on-
facebook/.
41
   Id.


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 “Pages.”42 Facebook publicly reported that between January 1 and March 31, 2012, more than 300

 million photos were uploaded to the site each day. Users also generated an average 3.2 billion Likes 43

 and comments each day in the first quarter of 2012—up from 2.7 billion per day in Q4 2011. By this

 time, Facebook boasted more than 125 billion Friend connections between its 901 million monthly

 active users.44 However, Facebook still was not capturing revenue at a level that satisfied investors.

          249. In 2012, Facebook took the company public.45 Following its IPO which, at the time, was

 the biggest Internet- based technology IPO in history, Facebook’s share price plummeted. While there

 were some technical difficulties on the day of the IPO, most analysts viewed Facebook’s anemic

 average revenue per user (“ARPU”) as the problem.46 This disastrous experience encouraged Facebook
 to accelerate changes to its business model to further favor advertisers, not its users. Facebook

 concluded that its initial “social networking” business model needed to change, and quickly, if the

 Company were to survive.

         250.   Zuckerberg decided it was time to choose between users’ privacy and the Company’s

revenues. In an internal email written by Zuckerberg to his senior executive team in 2012, Zuckerberg

debated this conflict of interest, and firmly picked a winner – Facebook. As Zuckerberg wrote in the

email:

         We’re trying to enable people to share everything they want, and to do it on Facebook.
         Sometimes the best way to enable people to share something is to have a developer build
         a special purpose app or network for that type of content and to make that app social by
         having Facebook plug into it. However, that may be good for the world but it’s not good


42
   A “Page” is a Facebook profile, often public, that anyone, including artists, fan-generated community
pages, public figures, businesses, and entertainers can set up, and which other users can Like. A Page is
distinct from a user profile. Brittany Darwell, Facebook platform supports more than 42 million pages
and 9 million apps, Adweek (Apr. 27, 2012), https://www.adweek.com/digital/facebook-platform-
supports-more-than-42-million-pages-and-9-million-apps/.
43
   Facebook Form S-1/A, supra note 17, at 97 (discussing “Likes” as electronic indications that a user
approved, or at least reacted to, a post, photo, experience, article or other content on Facebook).
44
   Id. at 1.
45
   Emil Protalinski, Facebook’s IPO by the numbers, ZDNet (Feb. 1, 2010),
https://www.zdnet.com/article/facebooks-ipo-by-the-numbers/.
46
   See, e.g., Paul La Monica, 5 reasons to not 'like' Facebook's IPO, CNN Money (May 4, 2012),
https://money.cnn.com/2012/05/04/markets/thebuzz/index.htm?iid=EL.


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       for us unless people also share back to Facebook and that content increases the value
       of our network. So ultimately, I think the purpose of platform—even the read side—is
       to increase sharing back into Facebook.’47

        251. Facebook launched an all-out offensive to monetize user engagement by sharing what

 users shared with third parties. The problem with these initiatives is that Facebook did not clearly

 explain to users the changes it was making to its platform and how users’ content and information

 would be funneled to third parties paying Facebook for access to it.

        252. What Zuckerberg refers to in this email as the “read side” is actually the part of the

 platform accessible to Facebook’s Business Partners and App Developers. This was different than the
 platform users experienced. The fact that he refers to “read side” as differing from the user platform

 reflects the two sides of the Facebook experience. One side was the platform on which users engaged

 (the “User Platform”); the back end of the platform, the “read side,” funneled users’ content to

 Facebook’s Business Partners and App Developers.

        253. First, the Company turned Likes into product endorsements; next, it launched a

 marketplace for content and information about the people on its platform.48 Users may have still

 believed that Facebook was a social network where they could connect with people they knew, but

 Facebook’s true focus was to sell the information Facebook was collecting about its users. These

 initiatives greatly increased users’ deanonymization and violated their privacy settings.

        254. For example, starting in 2012, Facebook released its “Custom Audiences” feature to

 advertisers, which allows advertisers to directly target specific Facebook users with advertisements.49
 Using this feature, advertisers could upload a spreadsheet with user identifying information, including

 email, phone number, Mobile Advertiser ID, first name, last name, zip/postal code, city, state/province,

 country, date of birth, year of birth, gender, age, Facebook App User ID, and Facebook Page User IDs.


47
   DCMS Report, supra note 28, ¶ 105.
48
   Rebecca Greenfield, 2012: The Year Facebook Finally Tried to Make Some Money, The Atlantic
(Dec. 14, 2012), https://www.theatlantic.com/technology/archive/2012/12/2012-year-facebook-finally-
tried-make-some-money/320493/.
49
   Brittany Darwell, The Year in Facebook Advertising 2012, Adweek (Dec. 31, 2012),
https://www.adweek.com/digital/the-year-in-facebook-advertising-2012/.

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        255.    Another key initiative of value to advertisers was the ability to surveil users’ reactions in

real time to content. For example, Facebook promotes an auto-play video function for all mobile and

desktop users. This function causes videos to play automatically as users scroll through their News

Feeds. Thus, as videos play automatically, Facebook increases users’ engagement with video

advertisements, which Facebook then reports to advertisers.50

        256.    In May 2014, Facebook announced new video marketing analytics that allowed

advertisers to see “video views, unique video views, the average duration of the video view and

audience retention.”51 “Average Duration of Video Viewed [w]as the total time spent watching a video

divided by the total number of people who have played the video.”52 As recent reporting has shown,
Facebook has the ability to see precisely how long each user is watching each video, and can report it to

third parties in real time.53

        257.    Video views data provide rich information to advertisers about users, including what they

like, dislike, and how long content can hold their interest. Videos are also wildly popular with Facebook

users. In November 2015, Zuckerberg boasted on an earnings call with investors that Facebook users

watched 8 billion videos per day.54


50
   Justin Lafferty, Facebook announces international launch of auto-play video ads, Adweek (May 20,
2014), https://www.adweek.com/digital/facebook-announces-international-launch-of-auto-play-video-
ads/.
51
   Facebook Business, Introducing Video Metrics, Facebook (May 5, 2014),
https://www.facebook.com/business/news/Coming-Soon-Video-Metrics.
52
   How is the “Average Duration of Video Viewed” calculated?, Facebook,
https://web.archive.org/web/20161001014809/https://www.facebook.com/business/help/community/que
stion/?id=10104227902985423 (last visited Feb. 21, 2019).
53
   Suzanne Vranica, Advertisers Allege Facebook Failed to Disclose Key Metric Error for More Than a
Year, Wall St. J. (Oct. 16, 2018), https://www.wsj.com/articles/advertisers-allege-facebook-failed-to-
disclose-key-metric-error-for-more-than-a-year-1539720524?mod=e2tw; see also, Letizia et al. v.
Facebook , Inc., No. 16-cv-06232-JSW, Dkt. 165 at 10 (N.D. Cal. Filed Oct. 27, 2016) (Order denying
in part Facebook’s motion to dismiss and discussing allegations that Facebook inflated average time
spent watching videos between 60-80 percent).
54
   Josh Constine, Facebook Hits 8 Billion Daily Video Views, Doubling From 4 Billion In April,
TechCrunch (Nov. 4, 2015), https://techcrunch.com/2015/11/04/facebook-video-
views/?_ga=2.184710381.511973801.1549821477-1625503738.1539793011 (last visited Feb. 21,
2019).


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       258.    These are not the only tools Facebook employs to surveil users with the goal of

monetizing that information. Facebook also tracks users through Social Plugins, such as the Facebook

“like” or “Share” buttons. Only following the Cambridge Analytica scandal have users begun to learn

the extent of this surveillance: “If those buttons are on the page, regardless of whether you touch them or

not, Facebook is collecting data.”55

        259. In addition to the Plugins, Facebook also uses Facebook Analytics such as Facebook

 Pixel (“Pixel”) in order “better understand how people use their services.” Pixel is a transparent image

 embedded into the webpage that collects data and transmits it to Facebook.56 Facebook has promoted

 Pixel as an “analytics tool that allows you to measure the effectiveness of your advertising by
 understanding the actions people take on your website.”57 Facebook reported that from April 9–16,

 2018, “the Facebook Like button appeared on 8.4 million websites, the Share button appeared on 931k

 websites, and there were 2.2 million Facebook Pixels installed on websites.”58

        260. Facebook also collects sensitive information on many App users regardless of whether

 App users log in through their Facebook accounts or whether they have a Facebook account. Facebook

 gathers this information through its Software Development Kits (“SDK”), which are available for

 mobile operating systems, including Apple and Android.59 SDK is a software development tool that



55
   Allen St. John, How Facebook Tracks You, Even When You're Not on Facebook, Consumer Reports
(Apr. 11, 2018), https://www.consumerreports.org/privacy/how-facebook-tracks-you-even-when-youre-
not-on-facebook/.
56
   Id.
57
   About Facebook Pixel, Facebook Business,
https://www.facebook.com/business/help/553691765029382 (last visited Feb. 21, 2019).
58
   DCMS Report, supra note 28, ¶ 185.
59
   See, e.g., with respect to Android, “Facebook's SDK for Android allows app developers to integrate
their apps with Facebook’s platform and contains a number of core components: Analytics, Ads, Login,
Account Kit, Share, Graph API, App Events and App Links. . . . Facebook's SDK also offers Analytics
(data, trends, and aggregated audience insights about the people interacting with the app), as well as Ads
and reading and writing to Facebook's Graph API.” How Apps on Android Share Data with Facebook
(even if you don’t have a Facebook account), Privacy International (Dec. 2018),
https://privacyinternational.org/sites/default/files/2018-
12/How%20Apps%20on%20Android%20Share%20Data%20with%20Facebook%20-
%20Privacy%20International%202018.pdf.


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 helps App Developers build Apps for specific operating systems.60 Facebook collects this information

 the moment App Users begin sharing information with the App.

        261.    A study conducted between August and December 2018 by Privacy International found

 that 61 percent of the Apps it tested shared App users’ information with Facebook. The Wall Street

 Journal has since found “11 popular Apps” available on both Apple and Google phones “have also been

 sharing sensitive data entered by users.”61 This includes six of the top 15 health and fitness Apps

 available in Apple’s iOS store. For example, “Flo Health Inc.’s Flo Period & Ovulation Tracker, which

 claims 25 million active users, told Facebook when a user was having her period or informed the App

 of an intention to get pregnant, the tests showed.”62 In the case of Flo Health, the sensitive information
 sent to Facebook included a “unique advertising identifier” that can be matched to a device or profile.63

       262.     Facebook uses information collected through its SDKs to target users with Facebook ads.

Facebook does not provide users with the option to stop the company from collecting their information

through SDKs.

       3.       Facebook’s Partnerships with Data Brokers Resulted in Aggregated, Deanonymized
                User Information
        263. At the same time that Facebook was working with App Developers to expand the

 Facebook platform, Facebook instituted a more sophisticated method for third parties to target users.

 By combining users’ content and information on Facebook with data Facebook acquired from data

 brokers, Facebook was able to offer its advertisers and Business Partners a way to pinpoint their user

 audience. This significantly exposed users to deanonymization.
        264. For example, in April 2013, Facebook partnered with data brokerage firm Datalogix to

 assess the impact of Facebook advertisements on users’ purchases outside of Facebook. Datalogix

 provided Facebook with datasets that it ultimately associated with specific Facebook users. By


60
   Id.
61
   Sam Schechner, You Give Apps Sensitive Personal Information. Then They Tell Facebook, The Wall
Street Journal (Feb. 22, 2019) https://www.wsj.com/articles/you-give-apps-sensitive-personal-
information-then-they-tell-facebook.
62
   Id.
63
   Id.

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 matching the information provided by data brokers with the content and information that Facebook

 curates on its platforms, Facebook was able to create digital dossiers containing information about

 millions of individuals—users and nonusers alike. These dossiers include names, addresses, health

 information, information about your neighbors, inclinations and proclivities. All of these are used to

 predict future behavior, as described below. Facebook did not tell users about these dossiers.

         265. As Facebook has continued to build its digital dossiers, it has forged relationships with

 the many data brokers who provide data about individuals from across the world, including:

        •   Acxiom (data from Australia, France, Germany, the U.K. and the U.S.);
        •   Acxiom Japan;
        •   CCC Marketing (data from Japan);
        •   Epsilon (data from the U.S.);
        •   Experian (data from Australia, Brazil, U.K. and U.S.);
        •   Oracle Data Cloud (formerly Datalogix) (data from U.K. and U.S.); and
        •   Quantium (data from Australia)
         266. Facebook has worked with these data brokers to collect information about consumers

 through public records, loyalty card programs, surveys, and independent data providers to be

 incorporated into its digital dossiers.

         267. Facebook has then used these dossiers as filters through which advertisers could more

 precisely target users.64

         268. As of 2016, Facebook was collecting more than 52,000 unique data points to classify

 users and providing at least 29,000 targeted categories for advertisers to choose from. Nearly 600 of
 these categories were provided by third-party data brokers.65 This “data” is not only clinical

 information like date of birth; it is rich in personal information that taken together describes individuals

 and provides support for Facebook and advertisers to draw inferences about future behavior. It is this

 supposedly predictive quality of the aggregated data that is so valuable to Facebook’s advertisers.


64
   Tim Peterson, Facebook Will Remove Advertisers’ Other Third-Party Data Option, But Loopholes,
Questions Remain, DigiDay (Apr. 6, 2018), https://digiday.com/marketing/facebook-will-remove-
advertisers-third-party-data-option-loopholes-questions-remain/.
65
   Julia Angwin, Surya Mattu, & Terry Parris Jr., Facebook Doesn’t Tell Users Everything It Really
Knows About Them, ProPublica (Dec. 27, 2016), https://www.propublica.org/article/facebook-doesnt-
tell-users-everything-it-really-knows-about-them.

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 Through App partnerships, it now includes information like users’ ovulation.

        269. Facebook does not disclose to users that it matches content and information users reveal

 on the Facebook platform with information provided through data brokers collected from a myriad of

 sources to build digital profiles of them. Indeed, a March 2018 study shows 74% of Facebook users did

 not think their data was being collected when they were not logged into Facebook.66

       4.       The Wealth of Data About Users Enabled Highly Invasive Forms of Psychographic
                Marketing
        270. The availability of thousands of highly personal data points about individuals has

 facilitated invasive and targeted marketing called “psychographic marketing.” Psychographic
 marketing exploits a user’s fears, feelings, and values by appealing to a person’s motives and instincts

 in order to influence a person’s emotions, mood, and behavior.

        271. To be effective, psychographic marketing requires a de-anonymized target audience

 through which the marketer can pinpoint personality traits for manipulation, exploiting deeply

 ingrained values and beliefs gleaned from an information-rich dossier such as those compiled by

 Facebook.

        272. And although Facebook promised its users it would not allow advertisers to target them

 personally, Facebook’s financial motivations prevailed. By granting access to user data to third parties

 and permitting those third parties to analyze and plug in the results of their analysis, Facebook exposed

 its users to a level of manipulation far beyond mere targeted marketing.

        273. Recognizing the importance of anonymity for the privacy and security of users who
 trusted Facebook with an unprecedented amount of personal content and information, Facebook

 expressly promised users that it would remove identifying information from content delivered to

 advertisers:

       When we deliver ads, we do not share your information (information that personally
       identifies you, such as your name or contact information) with advertisers unless you give
       us permission. We may provide advertisers with information when we have removed

66
  Paul Hitlin & Lee Rainie, Facebook Algorithms and Personal Data, Pew Research Center (Jan. 16,
2019), http://www.pewinternet.org/2019/01/16/facebook-algorithms-and-personal-data/.


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       your name and other personally identifiable information, or combined it with other
       information so that it no longer personally identifies you.”67

           274. To the contrary, Facebook collection of users’ content and information combined with

 other data sources enabled personalized psychographic marketing. Facebook’s drive to increase user

 engagement and the lure of psychographic marketing campaigns collide with the Cambridge Analytical

 Scandal in which Kogan’s App administered a test which was designed to determine users’ OCEAN

 scores.

           275. OCEAN refers to a measure of five basic personality traits: Openness, Conscientiousness,

 Extroversion, Agreeableness, and Neuroticism.68 From the data Kogan collected about these traits,
 Cambridge Analytica was able to extrapolate tendencies, interests and vulnerabilities that drove

 manipulative messaging of a much more invasive and private sort than typical commercial targeting

 seeking to drive consumer behavior through, for example, an interest in shoes.

           276. Investigations triggered by the Cambridge Analytica Scandal have revealed that it was

 not just Kogan and Cambridge Analytica that purchased Facebook user content and information with

 the goal of using these manipulative marketing tactics. The DCMS Report revealed that thousands of

 other Apps mined Facebook for such user information.69 Politicians, advertisers and even foreign

 nations all engaged in psychographic marketing on Facebook using Facebook user content and

 information that had been disclosed to third parties without users’ authorization.

           277. As Wired stated: “One minute you’re filling out an App survey; the next, your answers

 are informing the psychographically targeted ads of a political campaign. No one signed up for that.”70

           278. These changes in Facebook’s business model have turned the Company into one of the


67
   Data Use Policy, Facebook, , https://www.facebook.com/about/privacy (last updated Nov. 15, 2013)
[https://web.archive.org/web/20131113201958/https://www.facebook.com/about/privacy].
68
   Erin Brodwin, Here’s the personality test Cambridge Analytica had Facebook users take, Business
Insider (Mar. 19, 2018), https://www.businessinsider.com/facebook-personality-test-cambridge-
analytica-data-trump-election-2018-3.
69
   DCMS Report, supra note 28, ¶ 123.
70
   Brian Barrett, Facebook Owes You More Than This, Wired (Mar. 19, 2018),
https://www.wired.com/story/facebook-privacy-transparency-cambridge-analytica/.


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 most powerful entities in the world. Facebook reported 2.32 billion MAUs and 1.52 billion DAUs in

 the fourth quarter of 2018. Although Facebook’s revenues were over $16.9 billion for that quarter.71

       279.    These numbers are broken down by Facebook in metrics called Average Revenue Per

User, or ARPU. ARPU is calculated in part by an assessment of the “quality” of those users. More

engaged users are more valuable to Facebook and higher quality than less engaged ones, because of the

amount of information they provide and make available to advertisers.

       280.    In 2018, ARPU for users in Canada and the United States was $34 per user:72




       281.    This extraordinary growth rests upon Facebook’s annual revenues of $55 billion year.73

71
   Facebook Q4 2018 Results, Facebook (Jan. 30, 2019),
https://s21.q4cdn.com/399680738/files/doc_financials/2018/Q4/Q4-2018-Earnings-Presentation.pdf.
72
   Id.
73
   Facebook - Statistics & Facts, Statista, https://www.statista.com/topics/751/facebook/ (last visited
Feb. 21, 2019) (containing metrics relating to Facebook’s astronomical growth).

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       282.    Corresponding with Facebook’s increased ARPU, Facebook’s share prices also grew

exponentially.74 Before the Cambridge Analytica Scandal, increasing revenues drove the stock to a share
price as high as $242:




74
  Benjamin Rains, User Growth, ARPU & Other Key Q3 Facebook (FB) Estimates, Nasdaq (Oct.
29,2018), https://www.nasdaq.com/article/user-growth-arpu-other-key-q3-facebook-fb-estimates-
cm1045438.

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B.     Facebook Made It Difficult and Sometimes Impossible for Users to Prevent Facebook from
       Publishing Their Content and Information to Third-Party Applications.

       1.       Overview of the Facebook User Platform
        283. As discussed above, Facebook began as a user-driven experience. To induce users to feel

 comfortable sharing on its platform, Facebook created a series of tools to create the illusion that users,

 not Facebook, controlled what content was shared with third parties.

        284. Users could interact on the Facebook user platform in a myriad of ways. After a user

 registered for Facebook, she would create a profile, which included the information Facebook required
 a user to submit at registration (Name, Gender, Email Address, and Birthday). If users wished, they

 could augment their profile with other optional information, such as Profile Picture; Hometown;

 Interested in (i.e., dating partners’ gender or sex); Looking for (i.e., friends, dating, networking);

 Relationships (e.g., relationship status or family relationships); Political and Religious Views; Likes

 and Interests (e.g., music, sports, hobbies); and Education and Work (e.g., high school, college,

 employer).75

        285. After creating a profile, users could reach out to people to seek mutual status as


75
   FTC Complaint, In the Matter of Facebook, Inc., No. C-4365 (F.T.C. July 2012),
https://www.ftc.gov/sites/default/files/documents/cases/2012/08/120810facebookcmpt.pdf.

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“Friends,” and could see other users to connect with through their networks or through their Friends’

connections on Facebook. By featuring connections with Friends as an organizing principle of the User

Platform, users developed the sense that Facebook was a place of safety and familiar people. Users

could “Post” content on their Facebook homepage, and interact with content posted by other users.

Postings could be set to public or a variety of private settings, as described below. Finally, users could

privately message each other using Facebook Chat (which became “Facebook Messenger”), a private

messaging system between the user and other Facebook members. The record of a user’s interactions

with the Facebook User Platform become a part of a user’s Profile, and was accessible to other

Facebook users as described elsewhere in this Complaint.

      2.      Facebook Falsely Promised Users That Their Privacy Controls Limited Sharing of
              Their Content and Information to the Audiences They Selected
       286. Throughout the Class Period, Facebook told users they could limit who viewed their

content through three different types of privacy-related tools (“Privacy Controls”). The Privacy

Controls applied to individual posting of content and overrode any Default Privacy Settings which

Facebook unilaterally established (as discussed elsewhere in this Complaint).

       287. Describing the Privacy Controls in a general sense is somewhat challenging because the

Privacy Controls changed in material ways over time at Facebook’s prerogative. However, in every

iteration, the Privacy Controls limited sharing of content and information to the limited audiences users

selected. Users who engaged in setting these restrictions did so because they believed those restrictions

would be honored.
       288. The three types of Privacy Controls were:

       A. Profile Privacy Settings, which limited who could see the content displayed on a user’s

       profile or shared by a user. There were at least 12 separate Profile Privacy Settings, each

       applying to different kinds of content.

       B. Profile Privacy Controls, which allowed a user to control who could see information about

       the user himself or herself, including the types of Pages they liked or followed, the user’s
       photos, hometown, etc., information designated as publicly available information (“PAI”),



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        however was not controlled by Profile Privacy Control Tools.76

        C. Publisher Privacy Control, which allowed users to define who can see the content they

        were posting, but allowed users to change the audience for individual posts.77 It overrides any

        other default settings. This tool appears next to or as part of the Publisher Window, which is the

        portion of the User Platform where a user posts content.

        289. Each of these Privacy Controls was located in a different section of the Facebook User

 Platform. Each of these Privacy Controls promised users they could make affirmative privacy choices

 for the categories of user content and information displayed on the user’s profile or shared by the user

 for which users had Privacy Controls.

       3.      Facebook’s “Privacy Controls” Misled Users About How to Control the Information
               and Content That They Shared with Applications.
        290. Critically, Facebook’s Privacy Controls purported to give users control over who could

 see their content and information on the Facebook user platform. That is, they controlled the content

 and information that other users could see.

        291. The revelation of the Cambridge Analytica scandal was that these “Privacy Controls” did

 not control what third-party applications or Business Partners could see. For that, users had to go to

 another part of Facebook, to a fourth tool, the “App Settings” page. What’s more, it is apparent only

 now that even the App Settings did not control the information available to 5,200 “Whitelisted Apps,”

 and no setting prevented Facebook sharing users’ content and information with Business Partners.78

 That is, thousands of Apps had access to all user content and information, regardless of users’ Privacy
 Controls or App Settings.


76
   Facebook, Facebook Redesigns Privacy, supra note 14 (introducing privacy controls for pages);
Making it Easier to Share With Who You Want, Facebook (Aug. 23, 2011),
https://www.facebook.com/notes/facebook/making-it-easier-to-share-with-who-you-
want/10150251867797131 (introducing inline privacy controls for profile information and posts).
77
   See, e.g., Facebook Asks More Than 350 Million Users Around the World To Personalize Their
Privacy, Facebook Newsroom (Dec. 9, 2009), https://newsroom.fb.com/news/2009/12/facebook-asks-
more-than-350-million-users-around-the-world-to-personalize-their-privacy/ (introducing Publisher
Privacy Control); Facebook, Making it Easier to Share, supra note 76.
78
   DCMS Report, supra note 28, ¶ 81.


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            292. Facebook shared information with Whitelisted Apps and Business Partners secretly and

 at its own discretion, driven by its business interests, not users’ privacy interests.79 Thus, the Privacy

 Controls described herein were a fig leaf insofar as sharing with Facebook’s Whitelisted Apps and

 Business Partners were concerned.

            293. However, the Privacy Controls, along with Facebook’s other statements regarding users’

 control of their content and information, created an expectation of privacy for reasonable users who

 believed that the Privacy Controls actually operated as Facebook said they did. The Privacy Controls

 are described below. Users who understood they needed to do more to protect their privacy spent

 significant time adjusting these controls. See ¶¶ 29, 38, 45, 52, 63, 71, 81, 88, 96, 107, 115, 123, 131,
 144, 163, 171, 191, 213, 220.

            294. The Profile Privacy Settings tool was available during the entire Class Period through

 the Profile Privacy Settings screen. Though the Profile Privacy Settings screen changed throughout the

 Class Period, at all relevant times the Profile Privacy Settings purported to give Facebook users the

 ability to control who could see their content and information. To access the Profile Privacy Settlings

 from the Facebook home page, a user clicked on Account and selected Privacy Settings to access the

 Privacy Page. From there, a user selected a privacy hyperlink and then Profile, which would take the

 user to a Profile Privacy Settings screen. The Profile Privacy Settings screen allowed users to set her

 own default audience for the content and information the user shared with other Facebook users. Users

 could accept Facebook’s default Profile Privacy settings (which changed throughout the Class Period)
 or could modify them. Users who changed their profile Privacy Settings to limit the audience for their

 profile or posts relied on Facebook’s assertions of choice and control over who could view the content

 they posted.

            295. For example, the below screenshot of this “Privacy Settings” screen from 2010 offered a

 list of the categories of information. From this menu, the user could seemingly choose a specific

 audience to share this information with. Clicking the dropdown arrow next to each category allowed

 users to specify whether the information is shared with “Everyone,” “Friends,” “Friends of Friends,” or

79
     Id.

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 to choose their own customized audience list.80




        296. This screen changed slightly, to the display below, around 2010 to 2011.81 Like the

 previous screen, this webpage seemingly allowed users to choose who can see their content and

 information.




80
   Aarpwi, FB Privacy Settings, YouTube (Apr. 6, 2010),
https://www.youtube.com/watch?v=HRhB3R9DTNo (last visited Feb. 22, 2019).
81
   Kvchosting, How to Manage Your Privacy Settings on Facebook, YouTube (Mar. 25, 2013),
https://www.youtube.com/watch?v=O378rrYcjlc (last visited Feb. 22, 2019).

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       297. At some time in 2012 to 2013, the display changed again to the display below. This




screen stayed substantially the same until April 2018.




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          298. As with the prior iterations of the Profile Privacy Control screens, during the period

 leading up to 2018, users could select the edit button next to each category of information. This would

 then allow the user to choose the exact audience that could view the user’s posts. For each “Privacy

 Setting” depicted above, users could click a dropdown menu and restrict access to specified users, e.g.,

 “Only Friends,” or “Friends of Friends.”

          299. Second, the Profile Privacy Controls, introduced for Pages on May 26, 2010, and for

 other profile content on August 23, 2011, controlled the audience for the categories of information
 displayed on a user’s Profile, e.g., the Pages they interacted with on Facebook, their photo albums, or

 other basic information such as hometown.82 Users could control who could see the books, movies, or

 sports teams they liked by locating the “Favorites” section of their Profile Page, and selecting the

 audience for each category of Page Likes from a drop-down menu. Similarly, a user could select the

 audience for her hometown, or photo albums.

          300. Users also had Profile Privacy Controls that could limit the audience for each individual

 category of information displayed on their Facebook profile (e.g., books and movies). For example, a

82
     Facebook, Making it Easier to Share, supra note 76.

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 user who wanted to hide her likes could locate the “likes” category on their public profile and select an

 audience dropdown menu next to each “likes” category.83 This menu gave users the following options

 for whom the information could be shared with: “Public,” “Friends,” “Only Me,” and “Custom.”

            301. Facebook also seemingly offered users’ Profile Privacy Controls over their photos. Users

 could set entire photo albums as well as individual photos to a specific audience. An example is shown




 below:




83
     Id.

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          302. Just like the Profile Privacy Settings page, each of these Profile Privacy Controls

 purported to give a user control over who could see her content and information. In actuality, only the

 “Only Me” selection would have limited third-party applications from accessing the user’s information

 through her Friends. This was not clear in the controls.

         303.   Third, after December 9, 2009, users could use the Publisher Privacy Control Tool to

control the audience for specific content shared by a user, called a “Post.” Posts are some of the most

commonly created user content on Facebook.84 Posts include videos, media, photos, and other content

accompanied by anything a user wishes to express on the platform. Photos and other content users post

also contain geolocation data, relationship data, information about people’s moods and proclivities.

Posts are the heart of the user experience on Facebook. The privacy settings for them are the backbone

of users’ expectations of privacy on the platform.


84
     Facebook, Facebook Asks More, supra note 77.

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           304. Regardless of any profile Privacy Setting a user might have in place, a user could select

 an audience for any content he wished to post. That is, the Publisher Privacy Control overrode any

 default settings for that particular Post. Put differently, even if the default settings were public, users

 could—and frequently did—select limited audiences for the content they shared.85 Users invested time

 and effort in making those selections and reasonably expected that they would limit audiences for the

 content

           305. As the below example from 2011 shows, a user could set the audience for a specific

 status update, photo, or video at the time that the user shared the content. Users could also retroactively

 restrict audiences by category (such as photo album) or content on the user’s Profile Page.86
           306. The Profile Privacy Control and Publisher Privacy Control tools were the primary




 controls available to Facebook users as they navigated the Facebook user platform, meaning that users

 could interact with them to choose the audience for their content in the process of sharing content,

 rather than having to go to a separate part of Facebook like the Profile Privacy Settings screen. Given

 the relative accessibility and prominence of the Profile Privacy Control and Publisher Privacy Control

 tools, users expected that the audiences they selected to view content they shared would actually be

 limited to their designated audiences.


85
   Facebook, Making It Easier to Share, supra note 76; see also Facebook, Improving User Control on
Facebook (Dec. 9. 2009), https://www.eff.org/files/press_presentation_wednesday.pdf.
86
   Facebook, Making It Easier to Share, supra note 76.

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       307. Most of Facebook’s Privacy Settings, including the default privacy settings Facebook

selected for new users, appeared to users only if they visited the Profile Privacy Settings screen, or

sought out specific parts of the user’s Profile. Because the Publisher Privacy Control tool in particular

was available in real time as a user shared information, interacted with Friends, or otherwise used the

Platform, it was the Publisher Privacy Control tool that shaped a user’s expectations for how one’s

content would be shared. Even new users whose Profile Privacy Settings were defaulted by Facebook

to public for much of their content and information during that 2010-2014 time period had the ability to

designate specific posts, photos, and videos as private, and to send private content and information to

specific recipients via Facebook Messenger. Many Plaintiffs used the Publisher Privacy Control to set
the privacy for specific posts, limiting their audiences during this time. Individual decisions to limit

audiences were not overridden by default settings. But Facebook gave third parties access to this

private content regardless.

       308. Facebook repeatedly promised users that its Privacy Controls would allow users “choice”

of audience and “control” over who viewed their content and information on Facebook. Users who

changed their Privacy Settings to limit the audience for their profile or Posts reasonably relied on

Facebook’s assertions as to users’ choice and control.

      4.      To Control Sharing with Applications, Facebook Required Users to Hunt for, Find,
              and Change the Default Preferences of Their App Settings.
       309. To prevent their information from being shared with applications through their Friends,

users needed to access their App Settings, not their Privacy Controls.
       310. App Settings. In 2010, Facebook created a completely separate set of privacy settings to

control what content and information applications could access. App Settings were buried within

Facebook’s website so effectively that all but the most sophisticated or intrepid users would know they

existed and controlled users’ privacy. The App Settings were set by default to share all content with

third-party applications, not to prevent sharing. By hiding the App Settings and establishing sharing by




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 default, Facebook published users’ content and information without their knowing consent.87

        311. To access App Settings, a user would first need to access the Settings webpage. On that

 webpage, a user would need to click a hyperlink to “Apps” (during the Class Period, this link has also

 been labeled “Applications” and “Applications and Websites”).

        312. After accessing the App Settings webpage, a user would then need to click the “Edit

 Settings” link next to the subheading “Apps others use.”88 This subheading is described with these

 words: “People who can see your info can bring it with them when they use Apps. Use this setting to

 control the categories of information people can bring with them.”89




87
   See Brief for Appellants at 42-43, Six4Three, LLC v. Facebook, Inc., et al., No. A154890/155334
(Cal. Ct. App. Feb. 6, 2019) (noting that counsel for Facebook has recently taken the legal position that
Facebook “depublished” users’ content and information by turning off access to certain Apps). The
conclusion then is that Facebook must have been publishing users’ content before it made the decision to
depublish it.
88
   See Leonie Smith, Advanced Privacy Settings for Facebook 2013-2014, YouTube (Jan. 17, 2013),
https://www.youtube.com/watch?v=OPRFQyGq-yM (last visited Feb. 22, 2019).
89
   Id.

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         313. A user would be able to alter their application-related privacy settings only after clicking
 the “edit” link.

         314. In December 2009, Facebook changed the “Apps others use” control. Under original

 settings, users had a one-click option to prevent the disclosure of personal information to third party

 App Developers through the Facebook Application Programming Interface (“API”)90, as the screenshot

 below indicates91:

90
   “Application Programming Interface” or “API” is a collection of commands that an application can
run on Facebook, including authorization commands, data retrieval commands, and data publishing
commands.
91
   Kevin Bankston, Facebook's New Privacy Changes: The Good, The Bad, and The Ugly, Electronic
Frontier Foundation (Dec. 9, 2009), https://www.eff.org/deeplinks/2009/12/facebooks-new-privacy-
changes-good-bad-and-ugly.

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       315. Facebook changed this control in December 2009, to eliminate the universal one-click

option and replace it with a complex control panel. This further prevented users from being able to limit

their information from being shared.

       316. After December 2009, default “Apps others use” controls allowed the sharing of over

fifteen categories of information. The default settings for every user allowed third parties access to the

following categories of information: Bio; Birthday; Family and relationships; My website; If I’m

online; My status updates; My photos; My videos; My links; My notes; Hometown; Current city;

Education and work; Activities, interests, things I like; and My app activity. These default settings are

shown below:




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       317. Each of these controls corresponds to a category of content and information that App

Developers could access using Graph API v1.0.

       318. To change her settings, a user would have to click each individual box and click “Save

Changes.” In total, the user would have had to make twenty separate clicks to prevent Facebook from
sharing these categories of content and information with third parties.

       319. Even if a user un-checked each of these boxes, Facebook would still share that user’s

friend list, gender, and other information that the user had made public. The only way to turn access off

to third parties entirely was to turn off access to all applications. Yet, by default, applications were

turned on. Thus, a user who had never accessed or signed up for an application still would have shared

over fifteen categories of their information to third parties.

       320. To turn off applications entirely, a user would need to go to the App Settings page, go to

the “Apps you use” subheading, and click the “edit” link next to that subheading. This would bring up
the following disclosure:


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       321. Only by clicking “Turn Off Platform” could the user prevent all access to her information

by third-party App Developers. This would have taken five affirmative clicks from the user.

       322. Moreover, if a user set her profile privacy settings to “public” but set her App Settings to

prevent sharing with third-party Apps, Facebook would override users’ App Settings. Rather than

abiding by a user’s express desire to prevent Apps from accessing her content and information,

Facebook allowed Friends to authorize third-party access to a user’s content and information. However,

the reverse was not true. If users set their profile privacy settings for information to a non-public setting

like Friends or Friends of Friends, Facebook would not limit the information third parties could access

through Friends’ App usage.

       323. The “Apps others use” control panel no longer was effective after Graph API v1.0 was

deprecated in May 2015. Regarding this control panel, Facebook stated: “This feature is a legacy

control. It does not reflect the information apps can get on the version of our platform implemented




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 from 2014.”92 Yet, even after this control panel was deprecated, Facebook continued to give users’

 content and information to Whitelisted Apps Developers and Business Partners.

        324. Overall, this process defies the reasonable expectations of a user. Users who chose to

 limit their Privacy Settings to “Friends,” “Friends of Friends,” and “Public” would still have potentially

 shared their information with their Friends’ Apps Developers.

        325. Notably, App Developers had access to more information they were collecting about

 users than users had options to control. The App control panel facing users did not identify the same

 categories of content that App Developers could access.

        326. The disconnect meant that App Developers could download information that users had
 not had the option of excluding from availability to them. For example, even if a user deselected all

 content displayed in this panel, App Developers could still gain access to user’s information, such as

 messages and posts on the App User’s timeline.

        327. Moreover, when an App User granted permission to App Developers, the user’s Friends

 were not given any contemporaneous notice identifying the categories of their information being shared

 to the App Developer. Thus, users had no way to view what content and information Apps were

 accessing through users’ Friends.

        328. What’s more, while Facebook provided App Users with a list of Apps users themselves

 authorized, Friends received no notice of all of the Apps downloading their content. That meant that

 Friends had no way to modulate their behavior or remove that access. A real time example is that the
 App Pikinis, developed by App Developer Six4Three, collected photos of women in bikinis, curating

 them for users to rate and review. If a woman sent a photo attached to a private message to just one

 person, that photo was still published to Six4Three by Facebook when that “Friend” downloaded its

 App. Women in those photos had no notice that their content was downloaded and no way to retrieve it.

        329. Indeed, an FTC complaint from 2011 (“FTC Complaint”) filed against Facebook outlines

 many of the same issues that persisted:

92
  James Titcomb, A Facebook privacy setting to manage what data you share does not do anything, The
Telegraph (Mar. 22, 2018), https://www.telegraph.co.uk/technology/2018/03/22/facebook-privacy-
setting-manage-data-share-does-not-do-anything/.

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         14. None of the pages . . . have disclosed that a user’s choice to restrict profile
         information to “Only Friends” or “Friends of Friends” would be ineffective as to certain
         third parties. Despite this fact, in many instances, Facebook has made profile information
         that a user chose to restrict to “Only Friends” or “Friends of Friends” accessible to any
         Platform Applications that the user’s Friends have used (hereinafter “Friends’ Apps”).
         Information shared with such Friends’ Apps has included, among other things, a user’s
         birthday, hometown, activities, interests, status updates, marital status, education (e.g.,
         schools attended), place of employment, photos, and videos.

         15. Facebook’s Central Privacy Page and Profile Privacy Page have included links to
         “Applications,” “Apps,” or “Applications and Websites” that, when clicked, have taken
         users to a page containing “Friends’ App Settings,” which would allow users to restrict
         the information that their Friends’ Apps could access.

         16. However, in many instances, the links to “Applications,” “Apps,” or “Applications
         and Websites” have failed to disclose that a user’s choices made through profile privacy
         settings have been ineffective against Friends’ Apps. For example, the language
         alongside the Applications link . . . has stated, “[c]ontrol what information is available to
         applications you use on Facebook.” (Emphasis added). Thus, users who did not
         themselves use applications would have had no reason to click on this link, and would
         have concluded that their choices to restrict profile information through their Profile
         Privacy Settings were complete and effective.93

          330. Moreover, this process required users to navigate through multiple webpages and privacy

 setting controls. By hiding the controls and establishing privacy settings that allowed sharing, Facebook

 sought to manufacture users’ consent.

          331. Perhaps most egregiously, Facebook provided users with no tools to control whether and

 how their content and information could be accessed by Business Partners. Neither the Privacy nor the
 App Settings had any effect on Business Partners’ access to their content and information.

         5.     Facebook Changed the Default Privacy Settings from 2010-2014 to Make More
                Content Public, Prompting FTC Action.
          332. Users who signed up before November 2009 were assured that in general their content

 was nonpublic because Facebook’s default Privacy Settings made most user content available only to

 Friends and Networks.94 For example, Friends had access to a user’s Contact Information, Birthday,

 and other Profile Information, while Friends and Networks had access to Wall Posts, Photos, and


93
     FTC Complaint, supra note 75 (emphasis added).
94
     Id. at ¶ 19.

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 Friends Lists. Only a user’s name and network were designated as public information by Facebook.

 Users could control access to other content and information including Name, Profile Picture, Gender,

 Friend List, Pages, Networks, and Posts through Privacy Controls, as described in more detail

 elsewhere in this Complaint.95

           333. In December 2009, however, Facebook changed its Privacy Policy to designate additional

 items of user information as public.96 With these changes, Facebook unilaterally made users’ name,

 profile picture, gender, current city, Friend List and Page Likes public, regardless of a users’ prior

 Privacy Settings.97 This meant that users could not prevent other users or third-party Apps from seeing

 this content, including content that they had designated private. For users who had signed up and built a
 community on Facebook, their only choice was to leave Facebook or surrender their preferred privacy

 restrictions on some of their content and information. This was a breach of Facebook’s promise to users

 that they controlled their content and information.

           334. At the same time, Facebook changed the default Privacy Settings for most other types of

 information, including for “About Me” information, Family and Relationships, Work and Education,

 and Posts, to “Everyone,” changing the default of Photos and Videos, Birthday, and Religious and

 Political Views to Friends of Friends, and keeping access to user Contact Information to Friends

 Only.98

           335. However, even during this time period, users could privately message one another,

 reasonably expecting that content shared through Facebook Messenger would remain between those
 limited audiences. Users could also post and designate their post content private.




95
   Id. at ¶ 20-22; Opsahl, Kurt, Facebook's Eroding Privacy Policy: A Timeline, Electronic Frontier
Foundation (Apr. 28, 2010), https://www.eff.org/deeplinks/2010/04/facebook-timeline.
96
   FTC Complaint, supra note 75, ¶20-22.
97
   Facebook, Facebook Asks More, supra note 77.


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        336.   While the 2009 default Privacy Setting remained in place for new users until 2014,

 Facebook responded to the public outcry about the unilateral changes to public in May 2010, by

 designating less user information as public. After May 26, 2010, a user’s name, profile picture (should

 a user choose to have one), gender (though this could be hidden on the profile), and networks (should

 the user join any) were designated as PAI, and while current city, Friend List and Page Likes were

 defaulted to public, they could be changed by a user to a more private setting.99

        337. In May 2014, after years of controversy, Facebook restored the default Privacy Setting of




 “Friends Only” for Posts for new users, but did not change settings for existing users.100 Rather,

 Facebook offered existing users “Privacy Check-ups” that continued to recommend public disclosure of

 nearly all user content and information.101 Facebook also made the setting for posts “sticky,” meaning

 that new posts defaulted to whatever setting was selected for the previous post. These user-content

 default settings have largely remained in place since 2014, though Facebook has made adjustments to

99
   Facebook, Facebook Redesigns Privacy, supra note 14.
100
    Josh Constine, Facebook Stops Irresponsibly Defaulting Privacy of New Users’ Posts to “Public,”
Changes to “Friends,” TechCrunch (May 22, 2014), https://techcrunch.com/2014/05/22/sometimes-
less-open-is-more.
101
    Id.


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 the location and availability of privacy settings and controls.102

C.     Facebook Allowed Third Parties to Access Facebook Users’ Content and Information
       Without or Beyond the Scope of Users’ Consent.
        338. Through its use of various API technology, Facebook allowed App Developers, device

 makers, and other Business Partners to access its platform and interact with Facebook users.

        339. For example, Facebook used an “Events API” to allows users to grant an App permission

 to get information about events the user is hosting or attending, including private events. Additionally,

 Facebook used a “Groups API” to make it easier for users to post and respond to content in their

 groups. Likewise, Facebook offered a “Pages API” to help App Developers create tools for Page
 owners to schedule posts and reply to comments or messages.

        340. In April 2018, following the Cambridge Analytica Scandal and resulting inquiries,

 Facebook acknowledged that all three of these APIs could provide access to a great deal of user content

 and information and, thus, Facebook opted to impose more requirements for App Developers before

 they could gain access to user data through any of these APIs.

        341. Facebook’s Graph API, is the “primary way to get data into and out of the Facebook

 platform.”103 The first version of Graph API, Graph API v1.0, available from April 2010 to May 2015,

 was very permissive.104 It was ultimately through this platform that Cambridge Analytica purchased the

 data of as many as 87 million Facebook users.

       1.      Facebook Developed an Interface That Allowed App Developers to Access a
               Facebook User’s Content and Information Via That User’s Friend.
        342. Facebook announced its Graph API v1.0 in April 2010 at Facebook’s annual App

 Developer conference. In unveiling Graph API v1.0, Mr. Zuckerberg laid out his plan to turn the Web


102
    Daniel Terdiman, Facebook Just Announced These Changes To Try To Ease Your Mind On Privacy
And Data, Fast Company (Mar. 28, 2018) https://www.fastcompany.com/40550689/how-facebook-is-
striving-to-ease-userss-minds-on-privacy-and-data.
103
    Overview—Graph API, Facebook for Developers, https://developers.facebook.com/docs/graph-
api/overview (last visited Feb. 20, 2019).
104
    Changelog—Graph API, Facebook for Developers,
https://web.archive.org/web/20141208030452/https://developers.facebook.com/docs/apps/changelog#
(last visited on Feb. 20, 2019).


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 into what he called “instantly social experiences.”105

        343. Graph API v1.0 enabled App Developers to access and store the App User’s name,

 gender, birthdate, location, photos, and Page likes. App Developers could also collect this information

 from the App User’s Friends. Device makers and Business Partners had similar access.

        344. Facebook organizes users’ content and information on Graph API as “objects”106 (e.g.,

 people, photos, events, and pages), “connections”107 between users (e.g., Friend relationships, shared

 content, and photo tags), and fields which is the metadata associated with an object.108

        345. Metadata, or “data about data,” are additional pieces of data associated with each Post,

 message, or other content. Metadata provide context to data. For example, the metadata of a video
 includes the timestamp of when the video was created, the profile of the user who created the video,

 and the title and description of the video. Facebook metadata also include users’ privacy restrictions.

 When Facebook made certain user content, such as photos and videos, available on Graph API v1.0, the

 metadata reflecting user’s privacy designations associated with this content was not provided to third

 parties, although other metadata was.

        346. In order to read, publish, and delete non-public content and information on Graph API

 v1.0, App Developers needed to request permission from the user that downloaded and logged into the

 application.

        347. For every permission that is granted, Facebook grants a corresponding “access token,”

 that the App Developer can then use to query information though the Graph API.




105
    Erick Schonfeld, Zuckerberg: “We are Building a Web Where the Default is Social”, TechCrunch
(Apr. 21, 2010), https://techcrunch.com/2010/04/21/zuckerbergs-buildin-web-default-social/.
106
    Also referred to as “nodes.” Overview—Graph API, supra note 103.
107
    Also referred to as “edges.” Id.
108
    Id.

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       348. After the App Developer submits the query, Graph API returns that object as well as a set

of metadata and connections associated for that object.




       349. Third parties using the Graph API v1.0 could access user-data in two ways: server-based

and browser-based.

       350. Through the server-based method, a user installs the App, which then allows the App to

get an “access token” from Facebook. Once the App receives an access token, it may use it to issue a

request for certain user data (or Friend data) to Facebook’s server. Facebook will respond by

transmitting the requested data to the App server. The data contained in Facebook’s response is then

received and stored by the App server.

       351. The browser-based method is slightly different. A user installs the App, which then

resides in the user’s web browser. After installation, the App obtains an “access token” and, using the

access token, may issue a request for certain user data (or Friend data) to Facebook’s server. Facebook

will respond by transmitting the requested data to the user’s browser. The App sends this data from the
user’s browser to the App server, which stores it.


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       352. In the browser-based method, Facebook’s server sends data to the user’s browser.

Unknown to Facebook or the user, the App code, which resides in the user’s browser, captures this data

before it reaches the user and sends it to the App’s own server. Thus, it is plausible to consider it an

interception. In the server-based method, on the other hand, Facebook’s server sends data to the App’s

server, so that an App residing in the user’s browser cannot intercept it.

       353. In both server-based and browser-based methods, third parties were able to store users’

content and information.

       354. Under Graph API v1.0, App Developers could access different categories of users’

content and information. The graph below displays all categories of information available under Graph
API v1.0:




       355. Under Graph API v1.0, App Developers, by default gained access to users’ “Basic Info,”

which included their User ID, name, gender, their current city, age, Friend lists, and any other



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 information that the App User had made publicly available.109

        356. In order to gain access to nonpublic content and information, App Developers needed to

 request permission from the App User. Through this process, App Developers gained access to the App

 User’s content and information and the user’s Friends’ content and information.

        357. Under Graph API v1.0, App Developers could request three types of permissions: User

 permission, Friends permission, and Extended Permissions.110

        358.    Graph API v1.0 categorized both the User and Friends permissions as “Extended Profile

 Properties.” Extended Profile Properties included: about me; activities; birthdays; check ins; education

 history; events; groups; hometown; interests; likes; location; notice; photos; questions; relationships;
 relationship details; religion and politics; status; subscriptions; videos; websites; and work history. A

 chart from Facebook’s App Developer page defining these permissions follows below111:




109
    Permissions Reference, Facebook Developers, (Sept. 23, 2012),
https://web.archive.org/web/20120923065901/https://developers.facebook.com/docs/authentication/per
missions/ (last visited Feb. 20, 2019).
110
    Id.
111
    Extended Profile Properties, Facebook Developers (Sept. 11, 2013),
https://developers.facebook.com/docs/reference/login/extended-profile-properties/
[https://web.archive.org/web/20130911191323/https://developers.facebook.com/docs/reference/login/ext
ended-profile-properties/].

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       359. In addition, App Developers could request “Extended Permissions” from the App User.

These permissions gave access to the content and information of both the App Users and the users’




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 Friends. These permissions are defined below:112

        360. Through these permissions, App Developers gained access to the content and information

 about the App User’s Friends. For example, “Read_mailbox” permission allowed the App Developer to

 read the private messages of users. This access would include messages sent to and from the App

 User’s Friends.

        361. Also, read_stream allowed the App Developer to read the nonpublic posts on the App

 User’s timeline. This access would include content posted by the App User’s Friends on the user’s

 timeline even if that content was meant only for Friends. It also included any content that the App

 User’s Friends had been tagged in. Tagging is a metadata field that refers to the process by which users
 can link other users to objects on Facebook.

        362. App Developers sought all permissions, including the permissions that gave access to

 Friends’ content and information, from the App User when she downloaded or logged into the App.

 Facebook did not send any notification to Friends when third party App developers gained these

 permissions.

        363. Regarding Facebook’s sharing of content and information with App Developers, Ashkan

 Soltani, independent researcher and consultant and former Chief Technologist at the Federal Trade

 Commission, stated that he “found that time and time again Facebook allows App Developers to access

 personal information of users and their Friends, in contrast to their privacy settings and their policy

 statements,” and consequently “there is very little the user can do to prevent their information from
 being accessed.”113

       2.       Graph API Allows App Developers to Access Users’ Video Information.
        364. A key element of Apps, for users, was the ability to watch and share video content on

 Facebook’s platform. Facebook has developed considerable resources into collecting, curating and

112
    Extended Permissions, Facebook Developers (Sept. 11, 2013),
https://developers.facebook.com/docs/reference/login/extended-permissions/
[https://web.archive.org/web/20130911191422/https://developers.facebook.com/docs/reference/login/ext
ended-permissions/].
113
    DCMS Report, supra note 28 ¶ 89,
https://publications.parliament.uk/pa/cm201719/cmselect/cmcumeds/1791/1791.pdf.

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 enabling users to watch videos on its platform.

        365. To provide this functionality, Facebook stores video information in its data centers, and

 further stores copies of videos in secondary distribution centers known as "edge caches" located

 throughout the World. There are ten such distribution centers in the United States alone. When a user

 attempts to access videos on the Platform, Facebook sends out the copy of the video from the nearest

 distribution center. The viewer is then able to watch the video on Facebook.

        366. Facebook has successfully encouraged users to watch videos on the platform and video

 viewing is a substantial component of user activity on Facebook. For example, in 2007, Facebook

 announced a partnership with Ziddio.com that would “allow Facebook users to create and share user-
 generated videos and give them the chance to become part of a new television series titled ‘Facebook

 Diaries.’”114 As part of that partnership, Facebook “encouraged [users] to upload, view, share and rate

 videos.”115 In 2013, Facebook announced that it was “starting to test an easier way to watch videos on

 Facebook.”116 A 2016 Facebook Newsroom post stated, “[w]e’re focused on creating video experiences

 that people want, and we’ve heard that people want different options for how and where they watch

 videos that they discover on Facebook.”117 Facebook Watch, a feature released in 2017, touted

 Facebook’s expanded video platform for “[o]riginal shows and popular videos.”118

        367. Facebook, in turn, passed information about how users watched video content onto third

 parties. For example, video information was available to App Developers through at least seven

 different categories of data. These categories included: “users_videos”, “friends_video”;
 “users_subscriptions”; “friends_subscriptions”; “users_likes”; “friends_likes”; and “read_stream.”


114
    Facebook and Comcast’s Ziddio Partner to Create User-Generated TV, Facebook Newsroom (Feb.
7, 2007), https://newsroom.fb.com/news/2007/02/facebook-and-comcasts-ziddio-partner-to-create-user-
generated-tv/.
115
    Id.
116
    Kelly Mayes, An Easier Way to Watch Video, Facebook Newsroom (Sept. 12, 2013),
https://newsroom.fb.com/news/2013/09/an-easier-way-to-watch-video/.
117
    Brent Ayrey, A New Way to Watch Videos from Facebook on Your TV, Facebook Newsroom (Oct.
13, 2016), https://newsroom.fb.com/news/2016/10/a-new-way-to-watch-videos-from-facebook-on-your-
tv/.
118
    Facebook Newsroom, Introducing Watch, a New Platform for Shows on Facebook (Aug. 9, 2017),
https://newsroom.fb.com/news/2017/08/introducing-watch-a-new-platform-for-shows-on-facebook.

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Facebook set users’ default App settings to allow sharing of six out of the seven of these categories.

        368. According to Facebook’s definition, the data queries “users_videos” and “friends_video”

permissions allowed App Developers to obtain “the videos the user has uploaded, and videos the user

has been tagged in.” Facebook set users’ default “App settings” to allow all of this information to be

shared with App Developers through a user’s Friend. Thus, any App Developer who requested these

permissions could have received video information from all users who had not changed the default

settings.

        369. The “users_likes” and “friends_likes” data categories allowed access “to the list of all of

the pages the user [had] liked.” Facebook defines “Facebook Pages” as “a public profile that allows
anyone including artists, public figures, businesses, brands, organizations, and charities to create a

presence on Facebook and engage with the Facebook community.”

        370. According to Facebook’s S-1 filing in April 2012, “Examples of popular Pages on

Facebook include Lady Gaga, Disney, and Manchester United, each of which has more than 20 million

Likes.” By March 31, 2012, “there were more than 42 million Pages with ten or more likes.”

Accordingly, users’ likes would have included the Facebook pages for any movies, television shows,

actors, production studios, etc., that the user had liked. Facebook set users’ default “App settings” to

allow this information to be shared to App Developers through a users’ Friend.

        371. Facebook allowed App Developers access to video information through the

“read_stream” query. Facebook’s Developer webpage defined this category as providing “access to all
the posts in the user’s News Feed and enables your application to perform searches against the user's

News Feed.” This information would include any videos uploaded by the user as well as any videos or

video hyperlinks shared with a user. It would also include any and all posts by that user and any and all

posts shared with that user about videos. For instance, an App Developer using this permission setting

could see a user’s posted critique of a specific movie.

        372. Facebook also allowed access through “read_mailbox” category of information, which

allowed Developers were able to read the private messages between the App User and her Friends.
Thus, if users shared videos through messenger, the App Developer would gain access to users’ video


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 information. This permission was removed from Facebook’s APIs in October 2015.119

        373. Information made available to Apps and third parties about what video users viewed and

 what they posted about the videos, is a rich source of content and information for Facebook with

 tremendous value.

       3.      To Allow Third Parties Unfettered Access to Users’ Content and Information,
               Facebook Stripped Users’ Privacy Designations for Certain Content Available on
               Graph API.
        374. The investigations following the Cambridge Analytica scandal have revealed that

 Facebook’s platform actually removed user privacy designations from some of the content provided to

 third parties. This is significant in light of Facebook’s strenuous representations, in this court and
 around the world, that users’ privacy settings were honored. Investigation of counsel in this action has

 further revealed violations of users’ privacy settings not previously publicly described as a finding of

 any other investigation.

        375. Facebook provided users tools to limit the audiences who could view the content they

 shared on a per-post basis. These post-based privacy selections were available regardless of default

 settings. For example, a user with “public” default settings could still elect to post something and limit

 the audience to something more private such as “Friends.” Alternatively, that user might send a photo

 in a private message via Facebook Messenger. Facebook promised users unequivocally that those

 settings would be honored.

        376. Both the default and per-post-based privacy designations are metadata associated with
 content on Facebook. For example, when a video is posted, the video metadata includes the timestamp

 of when the video was created, the profile of who created the video, and any comment associated with

 that video. However, during at least part of the Class Period, when Facebook made certain content –

 including Photos, Videos, Checkins, and Status –available on Graph API v1.0, the metadata reflecting

 user’s privacy designations associated with this content was not provided to third parties, even though

 other metadata was.


119
   Id.; Changelog, Facebook for Developers, https://developers.facebook.com/docs/graph-
api/changelog/archive (last visited Feb. 21, 2019).

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        377. Because Facebook stripped privacy designation metadata from the associated content,

 third parties were unable to verify that a user’s privacy settings allowed for this content to be shared

 and, therefore, could not confirm that they were adhering to users’ privacy designations as required by

 Facebook’s SRR.120

        378. From at least 2010 to present, Facebook has maintained a Developer Webpage that

 provides an overview of Graph API. The Developer Webpage includes the permission required to

 access an object, the metadata fields of that object, and the connections associated with that object. For

 example, in 2012, the top of the Photo webpage demonstrated the following permissions that may be

 required to view the photo:121




        379. As shown above, certain permissions were required when App Developers sought access

 to non-public information on Graph API.

        380. The Webpage also displays the metadata fields associated with each object. In 2012, for

 example, the fields for photographs included: ID, From, Tags, Name, Name_tags, Icon, Picture, Source,

 Height, Width images, Link, Place, Created_time, Updated_time, Position.122

        381. However, from at least 2010 to 2013, Facebook did not include the privacy restriction

 metadata in the fields listed for certain objects, such as photos and videos.




120
    Statement of Rights and Responsibilities, Facebook (June 8, 2012), www.facebook.com/legal/terms,
[https://web.archive.org/web/20121205191915/https://www.facebook.com/legal/terms]
121
    Photo, Facebook Developers (Oct. 18, 2012), http://developers.facebook.com/docs/reference/
api/photo/ [https://web.archive.org/web/20121018125458/http://developers.facebook.com/
docs/reference/api/photo/].
122
    Id.


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        382. Yet, conspicuously, Facebook included privacy restriction metadata for other objects,

 such as Events, Groups, and Posts. For example, the Facebook webpage for Posts includes the privacy

 restriction metadata under fields. A screenshot follows below:123




        383. Notably, Facebook included the privacy metadata on some objects following the shift to

 Graph API v2.0 in May 2015. For example, Videos did not include the privacy restriction metadata in

 2010 to 2013; however, in 2015, Facebook’s Developer Webpage began including the privacy metadata

 for Videos.

        384. From September 18, 2013, the Developer Webpage displayed the following fields

 available for Video objects, which does not include privacy restriction metadata:124




123
    Post, Facebook Developers (Nov. 9, 2013), https://developers.facebook.com/docs/reference/api/post/
[https://web.archive.org/web/20131109050811/https://developers.facebook.com/docs/reference/api/post/
].
124
    Video, Facebook Developers (May 29, 2013), http://developers.facebook.com/docs/reference/
api/video/ [https://web.archive.org/web/20130529165931/http://developers.facebook.com/docs/
reference/api/video/].

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        385. Yet, by November 5, 2015, the Developer Webpage included Privacy setting in its list of

 fields associated with Video objects:125




        386. Because Facebook stripped privacy restrictions metadata from the associated content,

 third parties were unable to verify that a user’s privacy settings allowed for this content to be shared

125
   Video, Facebook Developers (Nov. 5, 2015), http://developers.facebook.com/docs/reference/
api/video/ [https://web.archive.org/web/20151105092521/https://developers.facebook.com/docs/graph-
api/reference/video].

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 and, therefore, could not confirm that they were adhering to users’ privacy settings as required by

 Facebook’s Platform Policy.

        387. Upon information and belief, Facebook alone was responsible for determining what

 content was loaded into Graph API v1.0. The removal of users’ privacy metadata from certain content

 including photos and videos, persisted from at least 2010-2013.

        388. Facebook’s stripping of the privacy metadata was a deliberate act that thwarted users’

 affirmative privacy designations as to photos and videos by allowing third parties to access users’

 content without providing users’ corresponding privacy settings. Thus, Facebook failed to provide third

 parties with the crucial information that would have allowed third-party Apps to verify that they were
 accessing users’ photos in compliance with users’ privacy settings.

        389. With regard to Apps, these actions violated Facebook’s agreement with users. Namely,

 “[w]e require applications to respect your privacy….”126 Upon information and belief, Facebook was

 notified by at least one App Developer, of the missing metadata associated with photos and the

 subsequent inability of the App Developer to verify that it was adhering to users’ privacy designations

 as early as 2012.

        390. Upon information and belief, Facebook deliberately allowed App Developers to access

 users’ photos and videos, without regard to their privacy settings, in order to maximize the amount of

 user content and information available to third parties. Indeed, if the metadata containing privacy

 designations had been made available through Graph API v1.0, it would have greatly diminished App
 Developers’ ability to use this content. The failure to provide this metadata served Facebook’s plan for

 growth-at-all-costs. That is, here as elsewhere, Facebook’s actual practice undermined the policy to

 which it paid lip service, egregiously harming users and greatly benefiting Facebook.

       4.      Cambridge Analytica Used Facebook’s Graph API Interface to Take Users’ Content
               and Information.
        391. In 2007, psychologists Michal Kosinski and David Stillwell from Cambridge

 University’s Psychometrics Centre began using a Facebook quiz they developed called

126
   Statement of Rights and Responsibilities, Facebook (June 8, 2012), https://www.facebook.com/
legal/terms [https://web.archive.org/web/20121205191915/https://www.facebook.com/legal/terms].

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 “myPersonality” to study personality traits of consenting users. The App determined gender, age and

 sex, opening doors for psychologists to consider different ways to connect “likes” with personality

 traits. Their research received notice from the U.S. Defense Advanced Research Projects Agency (

 “DARPA”). Kosinski and Stillwell published their findings in the Proceedings of the National

 Academy of Sciences in 2013.127

         392. Researchers from Cambridge University used the myPersonality quiz to create a database

 “with profile information for over six million Facebook users. It has those users’ psychological profiles,

 their likes, their music listening, their religious and political views, and their locations, among other

 information. It says it can predict users’ leadership potential, personality, and ‘satisfaction with
 life.’”128

         393. In 2013, Cambridge Analytica approached the myPersonality App team to get access to

 the App’s data but was turned down because of its political ambitions.129

         394. In 2013, Aleksandr Kogan and his company Global Science Research (“GSR”) created an

 application called “MyDigitalLife” (also known as “thisisyourdigitallife”). Facebook had begun

 collaborating with Kogan concerning Facebook data in 2012. The agreement that Kogan struck with

 Facebook in 2013 allowed Kogan to launch the MyDigitalLife App on the Facebook platform.130

         395. Facebook’s ties with GSR run deep. One of GSR’s two co-founders, Joseph Chancellor,

 is an employee at Facebook, but was placed on administrative leave after the Cambridge Analytica

127
    Eric Killelea, Cambridge Analytica: What We Know About the Facebook Data Scandal, Rolling
Stone (Mar. 20, 2018) https://www.rollingstone.com/culture/culture-news/cambridge-analytica-what-
we-know-about-the-facebook-data-scandal-202308/.
128
    Kashmir Hill, The Other Cambridge Personality Test Has Its Own Database with Millions of
Facebook Profiles, Gizmodo (Mar. 22, 2018), https://gizmodo.com/the-other-cambridge-personality-
test-has-its-own-databa-1823997062.
129
    Only after the Cambridge Analytica Scandal did Facebook reveal that data from myPersonality had
been publicly available for years. Phee Waterfield & Timothy Revell, Huge new Facebook data leak
exposed intimate details of 3M users, New Scientist (May 15, 2018),
https://www.newscientist.com/article/2168713-huge-new-facebook-data-leak-exposed-intimate-details-
of-3m-users/.
130
    On August 22, 2018, Facebook notified four million users that their data was misused when
myPersonality refused Facebook’s request for an audit. Ime Archibong, An Update on Our App
Investigation, Facebook Newsroom (Aug. 22, 2018), https://newsroom.fb.com/news/2018/08/update-on-
app-investigation/.

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Scandal was publicized in 2018.

       396. MyDigitalLife marketed itself to Facebook users as a tool that would help them have a

better understanding of their own personalities, and that would supply data for use by academic

psychologists. The App prompted users to answer questions for a psychological profile. Questions

focused on the so-called “Big Five” personality traits: extraversion, agreeableness, openness,

conscientiousness, and neuroticism.

       397. Through MyDigitalLife, Kogan gained access to the personal data of the approximately

300,000 Facebook users that downloaded the App. In spring 2014, Kogan was approached by an SCL-

affiliated contractor and was asked to provide consulting services. Kogan set up GSR to carry out the
work. The project was intended to deliver to SCL personality scores matched to the voter registration

file for several million people. Kogan authorized GSR’s Facebook App to collect data from App users

about not just the user, but also the user’s Friends. This data was then used to predict personality and

then provided back to SCL.

       398. GSR made no secret of the blatantly commercial nature of its use of Facebook data. It

states in its “End User Terms and Conditions” that it intended to “sell” and “license (by whatever

means and on whatever terms)” the personal content it obtained through the YDL App. Facebook was

provided with GSR’s terms of service and thus was given constructive if not actual notice that GSR

was selling user content and information. Kogan has stated that he “never heard a word” from

Facebook concerning his intent to “sell” data even though he had publicly posted his intention for a
year and a half.

       399. Kogan and GSR actively began their relationship with Cambridge Analytica in 2014 and

2015. During this time, Kogan and GSR provided Cambridge Analytica with much more than the

personal content and information of the Facebook users who had downloaded the MyDigitalLife App.

Graph API v1.0, which Facebook was still using, allowed the App to access the data that users’ Friends

had shared with them. Through this platform, Facebook gave Kogan and GSR, and thus Cambridge

Analytica and other third parties like the University of Toronto and the University of British Columbia,
the content and information of more than 50 million additional people who, according to Facebook,


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 “had their privacy settings set to allow it.”

        400. Facebook now estimates that of the up to 87 million Facebook users affected by this

 scheme, only approximately 300,000 of them had downloaded the MyDigitalLife App—and those users

 had agreed to share only their own content and information for the limited purposes associated with the

 App. Facebook admits, however, that historical logs of users’ privacy settings are scant. Upon

 information and belief, at least the photos shared with Cambridge Analytica were stripped of

 identifying information that would have communicated the privacy restrictions of users’ Friends. About

 1,500 people also gave the App access to their private messages, and people who sent or received

 messages with those people potentially had their private messages accessed as well.
        401. In addition to supplying Cambridge Analytica with fresh Facebook user data on an

 ongoing basis, Kogan and GSR, at Cambridge Analytica’s request, also performed modelling work on

 the data. Communications disclosed by Cambridge Analytica personnel demonstrate Kogan’s active

 role in this modeling.

        402. CEO Zuckerberg has admitted that Facebook became aware that Kogan and GSR had

 misused data in 2015 and conducted an investigation. 131 Defendant Facebook states that it contacted

 Kogan following the publication of the Guardian article in 2015. In its “End User Terms and

 Conditions,” GSR informed users that UK law governed the rights concerning the MyDigitalLife App:

       Your Statutory Rights: Depending on the server location, your data may be stored
       within the United States or in the United Kingdom. If your data is stored in the United
       States, American laws will regulate your rights. If your data is stored within the United
       Kingdom (UK), British and European Union laws will regulate how the data is processed,
       even if you live in the United States. Specifically, data protection and processing falls
       under a law called the Data Protection Act 1998. Under British and European Union law,
       you are considered to be a ‘Data Subject’, which means you have certain legal rights.
       These rights include the ability to see what data is stored about you.132



131
    Facebook’s Use and Protection of User Data: Hearing Before the H. Energy and Commerce Comm.,
2018 WL 1757479, at 22-23 (Apr. 11, 2018) (Statement of Mark Zuckerberg).
132
    At least part of the personal content stored by GSR was located in the U.K. and administered by
Facebook Ireland, Inc. GSR represented to Facebook users that it was a “research organization” with a
“registered office based at Magdalene College, Cambridge.” Publicized emails between Kogan and
researchers at Cambridge demonstrate that Kogan used Cambridge’s U.K.-based servers for GSR.

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 The 2015 report from the Guardian was thus focused on U.K. citizens and did not receive any

 meaningful attention in the United States.

        403. At minimum, Facebook became aware that GSR sold Facebook data containing personal

 content by March 2016, when, while negotiating a settlement of claims with Kogan, Facebook was

 informed that Kogan had made roughly $800,000 re-selling Facebook user data. Facebook failed to

 determine at that time the scope and extent of the content and information GSR had obtained. Indeed,

 Facebook waited over two years to make any type of public disclosure.

        404. Kogan initially used the Facebook data that he had obtained in 2012 and subsequently to

 co-author a number of papers that had obvious commercial purposes and applications. Kogan co-
 authored papers entitled “Tracing Cultural Similarities and Differences in Emotional Expression

 through Digital Records of Emotions,” “Happiness Predicts Larger Online Social Networks for Nations

 and Individuals Low, but not High, in Consumeristic Attitudes and Behaviors,” “Silk Road to

 Friendships: Economic Cooperation is Associated with International Friendships around the World,”

 “Big Data Public Health: Online Friendships can Identify Populations At-Risk of Physical Health

 Problems and All-Causes Morbidity,” and “Donations Predict Social Capital Gains for Low SES, But

 Not High SES Individuals and Countries.”133

        405. Christopher Wylie, a former Cambridge Analytica contractor, has recently revealed how

 the data mining process at Cambridge Analytica worked: By getting access to Facebook users’

 “profiles, likes, even private messages, [Cambridge Analytica] could build a personality profile on each
 person and know how best to target them with messages.”134 Facebook users’ profiles “contained

 enough information, including places of residence, that [Cambridge Analytica] could match users to

 other records and build psychographic profiles.”135 Mr. Wylie has said: “We exploited Facebook to

133
    Def. Facebook, Inc.’s Resps. & Objs. to Pls.’ First Set of Interrogs. at pp. 7-8 (Sept. 7, 2018).
134
    Parmy Olson, Face-To-Face With Cambridge Analytica’s Elusive Alexander Nix, Forbes (Mar. 20,
2018), https://www.forbes.com/sites/parmyolson/2018/03/20/face-to-face-with-cambridge-analytica-
alexander-nix-facebook-trump/#54972c48535f.
135
    Matthew Rosenberg, et al., How Trump Consultants Exploited the Facebook Data of Millions, N.Y.
Times (Mar. 17, 2018), https://www.nytimes.com/2018/03/17/us/politics/cambridge-analytica-trump-
campaign.html.


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 harvest millions of people’s profiles. And built models to exploit what we knew about them and target

 their inner demons. That was the basis the entire company was built on.”136

         406. The figure below was created by the United Kingdom Information Commissioner’s

 Office (“ICO”), which is a government agency set up to uphold information rights in the public interest,

 and to promote openness by public bodies and data privacy for individuals. The figure describes how

 Cambridge Analytica accessed and harvested the content and information of millions of Facebook

 users:137




136
    Carole Cadwalladr & Emma Graham-Harrison, Revealed: 50 million Facebook profiles harvested for
Cambridge Analytica in major data breach, The Guardian (Mar. 17, 2018),
https://www.theguardian.com/news/2018/mar/17/cambridge-analytica-facebook-influence-us-election.
137
    Investigation Into the Use of Data Analytics in Political Campaigns – Investigation Update, (July 11,
2018), Information Commissioner’s Office, (“ICO Report”) at 17, https://ico.org.uk/media/action-weve-
taken/2259371/investigation-into-data-analytics-for-political-purposes-update.pdf.

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        407. As outlined above, the ICO has found that GSR obtained the following information from

 users who downloaded the MyDigitalLife App:

       Public Facebook profile, including their name and gender; Birth date; Current city, if the
       user had chosen to add this information to their profile; Photographs in which the users
       were tagged; Pages that the users had liked Posts on the users’ timelines; News feed
       posts; Friends lists; Email addresses; and Facebook messages.138

        408. The ICO reports that GSR obtained the following information from the App Users’

 Friends: “Public profile data, including their name and gender; Birth date; Current city if the friends

 had chosen to add this information to their profile; Photographs in which the friends were tagged; and
 Pages that the friends had liked.”139

        409. GSR obtained access to users’ and users’ Friends likes.140 This information would

 include specific video information about these users. GSR shared this like information with Cambridge

 Analytica.141 Thus, Facebook allowed GSR to access and share the specific video preferences of its

 users through this “likes” information.

        410. GSR obtained access to the “posts on the users’ timelines” for users who installed the

 MyDigitalLife App.142 This access would have been available under the “read_stream” query.

 Facebook claims that they denied Aleksandr Kogan’s request to access this query.143 But this claim

 contradicts the U.K.’s ICO’s published report on this matter. Through this query, GSR obtained

 additional access to any information about a user’s video preferences posted on that user’s timeline.

        411. Only after the Cambridge Analytica Scandal became public in March 2018, did Facebook

138
    ICO Report, supra note 137 at 19-20.
139
    Id. at 20.
140
    Id. at 19-20.
141
    Id.; see also U.K. House of Commons, Digital, Culture, Media and Sport Committee, Testimony of
Dr. Aleksandr Kogan (Apr. 24, 2018), at Q1930,
http://data.parliament.uk/writtenevidence/committeeevidence.svc/evidencedocument/digital-culture-
media-and-sport-committee/fake-news/oral/81931.html.
142
    ICO Report, supra note 137 at 19-20.
143
    Def. Facebook, Inc.’s Resps. & Objs. to Pls.’ First Set of Interrogs. at pp. 6-7 (“Dr. Kogan’s App
Review application sought extended permissions for the App . . . Facebook rejected Dr. Kogan’s
application the next day, stating that the App would not be using the data requested to enhance the user’s
in-app experience.”).


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 announce that it was suspending Cambridge Analytica and its parent company, Strategic

 Communication Laboratories (“SCL”), from Facebook. It stated that, in 2015, it learned it had been lied

 to by Dr. Kogan and that Kogan had violated Facebook’s Platform Policies—contracts between

 Facebook and third-party Apps—“by passing data from an app that was using Facebook Login to

 SCL/Cambridge Analytica . . . .”144 Seeking to avoid liability, SCL and its related entities, like

 Cambridge Analytica, have all filed for bankruptcy, as has GSR.

        412. On April 4, 2018, Facebook released the following statement: “In total, we believe the

 Facebook information of up to 87 million people—mostly in the United States—may have been

 improperly shared with Cambridge Analytica.” Facebook also released a country-by-country
 breakdown of the millions of users affected by the GSR App, pictured below:145




144
    Paul Grewal, Suspending Cambridge Analytica and SCL Group From Facebook, Facebook
Newsroom (Mar. 16, 2018), https://newsroom.fb.com/news/2018/03/suspending-cambridge-analytica/.
145
    Mike Schroepfer, An Update on Our Plans to Restrict Data Access on Facebook, Facebook
Newsroom (Apr. 4, 2018), https://newsroom.fb.com/news/2018/04/restricting-data-access/.


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             413. On May 1, 2018, Facebook updated this blog post to include a state-by-state breakdown

 of the millions of users who may have had their information shared with Cambridge Analytica, shown

 below:146




146
      Id.

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       414. In his April 2018 testimony to the U.K. House of Commons, Facebook Chief Technology



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 Officer Mike Schroepfer testified that Facebook did not read terms and conditions of any Developer’s

 Apps that were put on Facebook.147 In this litigation, in its interrogatory responses, Facebook has

 averred that it could not possibly have read the terms and conditions of these Apps, because there were

 millions of them.148 This is one more indication that Facebook did not protect user content and

 information once it gave access to App Developers.

         415. On April 9, 2018, with a notification at the top of News Feeds, Facebook began notifying

 individual users if their data had been shared with Cambridge Analytica. For example, Plaintiff Fischer

 received a notification from Facebook in April 2018 that she had logged into “This is Your Digital

 Life” and her public profile, page likes, friend list, birthday, current city, friend’s public profiles,
 friends’ page likes, friends’ birthdays, and friends’ current cities were likely shared with “This is Your

 Digital Life.” The notification also explained that a small number of people also shared their News

 feed, timeline, posts, messages, and friends’ hometowns with “This is Your Digital Life.”

         416. The notification that Plaintiff Fischer received looked like this:




147
    U.K. House of Commons, Digital, Culture, Media and Sport Committee, Testimony of Mike
Schroepfer (Apr. 26, 2018), at Q2141, http://data.parliament.uk/writtenevidence/committeeevidence.svc/
evidencedocument/digital-culture-media-and-sport-committee/disinformation-and-fake-
news/oral/82114.pdf.
148
    Def. Facebook, Inc.’s Resps. & Objs. to Pls.’ First Set of Interrogs. at p. 20.

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          417. On April 22, 2018, Dr. Kogan finally broke his silence in an interview with CBS News

Correspondent Lesley Stahl on 60 Minutes. Kogan stated he had terms of service up on his application

for a year and a half—terms providing that he could sell the data he obtained through the App—and yet

Facebook never enforced its agreement with Kogan or its rules against selling data during this time.

Kogan also explained that the ability to gather people’s Facebook Friends’ data without their

permission was a Facebook core feature, available to anyone who was a Developer. He explained that

there are likely tens of thousands of applications that did what he did, as this was not a bug, but a

feature of which Facebook was aware.

          418. Among scores of other regulators, the Justice Department and FBI are now investigating
Cambridge Analytica, which filed for Chapter 7 bankruptcy on May 17, 2018.

         5.     The Cambridge Analytica Scandal Has Triggered Additional Revelations of Apps’
                Misuse of User Content and Information.
          419. Following the Cambridge Analytica Scandal, Facebook conducted its own internal audit

into other App Developers, but has not made the details public, with scant exception. Audit reports

prepared by PricewaterhouseCoopers have been heavily redacted. Nonetheless, it is known that

millions of Apps had access to users’ data prior to Facebook’s 2014 platform changes. Facebook has

now admitted that it has suspended 400 of them “due to concerns around the Developers who built

them or how the information people chose to share with the app may have been used.” Facebook’s

review appears to have been limited to Apps that had access to user content and information prior to

2014, when Facebook changed its platform policies. However, reports continue to emerge regarding
abuse of user content and information even after this platform change.

          420. Facebook has admitted that the conduct at the heart of the Cambridge Analytica

Scandal—Kogan’s brazen and expansive access to user content and information for commercial

purposes in the guise of research—constituted a breach of Facebook’s promises and agreements with its

users.

          421. On March 21, 2018, Mr. Zuckerberg took to Facebook to acknowledge Facebook’s
breach of trust, while Ms. Sandberg acknowledged that Facebook allowed Apps to access more user



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 content and information than necessary.

        422. In a March 21, 2018 Facebook post, Mr. Zuckerberg acknowledged a “breach of trust

 between Facebook and the people who share their data with us and expect us to protect it” and said,

 “We need to fix that.”149 His post stated that in addition to investigating Cambridge Analytica,

 Facebook was also investigating “all Apps that had access to large amounts of information.”150

        423. Mr. Zuckerberg repeated the same sentiment in full-page ads in several British and

 American newspapers a few days later.

        424. Also on March 21, 2018, Sheryl Sandberg posted to her Facebook account that Facebook

 is “taking steps to reduce the data [Facebook users] give an app” when they use their Facebook
 account, and the Company intends to “make it easier” for users to have a better understanding of which

 Apps they have “allowed to access [their] data.”151

        425. However, it appears that Facebook made these conciliatory statements only to assuage

 public outcry and prevent users from leaving the platform and to placate regulators until attention died

 down. Facebook’s attempts to distance itself from these statements when called to account in this

 lawsuit should not be countenanced.

        426. Further, in the wake of the Cambridge Analytica Scandal, Facebook suspended two other

 companies from its platform in April 2018 for improper data collection: Canadian consulting firm

 AggregateIQ and CubeYou.

        427. On or about April 6, 2018, Facebook suspended AggregateIQ, who played a pivotal role
 in the Brexit campaign, from the platform, following reports it may be connected to Cambridge

 Analytica’s parent company, SCL. This was nearly three years after Facebook learned of Cambridge

 Analytica’s psychographic marketing.

        428. On or about April 8, 2018, Facebook suspended the CubeYou App from the platform

149
    Mark Zuckerberg, Facebook (Mar. 21, 2018),
https://www.facebook.com/zuck/posts/10104712037900071.
150
    Id.
151
    Lila MacLellan, Sheryl Sandberg wants you to know she regrets Cambridge Analytica, Quartz at
Work (Mar. 21, 2018), https://qz.com/work/1234977/facebook-coo-sheryl-sandberg-is-finally-speaking-
out-about-cambridge-analytica/.

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after CNBC notified them that CubeYou had misled users by collecting data from quizzes inaccurately

labeled “non-profit academic research” and then selling the findings to marketers, and had business ties

to Cambridge Analytica.

       429. Facebook announced the suspension of hundreds of other Apps, but has not provided

additional detail on those suspensions, including the sale and misuse of user content and information.

      6.      Facebook Also Enabled Device Makers and Other Business Partners to Access
              Users’ Content and Information Through Friends.
       430. Facebook partnered with a diverse set of companies, including Business Partners, to

develop and integrate Facebook’s User Platform on multiple devices and operating systems. As part of
these agreements, Facebook gave Business Partners access to users’ content and information. Facebook

created private APIs to transfer users’ content and information to these Business Partners.

       431. Facebook has identified 53 Business Partners. These companies include:

              •      Accedo
              •      Acer
              •      Airtel
              •      Alcatel / TCL
              •      Alibaba
              •      Amazon
              •      Apply
              •      AT&T
              •      Blackberry
              •      Dell
              •      DNP
              •      Docomo
              •      Garmin
              •      Gemalto
              •      HP / Palm
              •      HTC
              •      Huawei
              •      INQ
              •      Kodak
              •      LG
              •      MediaTek / Mstar
              •      Microsoft
              •      Miyowa / Hape Esia
              •      Motorola / Lenovo
              •      Mozilla

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               •       Myriad
               •       Nexian
               •       Nokia
               •       Nuance
               •       O2
               •       Opentech ENG
               •       Opera Software
               •       OPPO
               •       Orange
               •       Pantech
               •       PocketNet
               •       Qualcomm
               •       Samsung
               •       Sony
               •       Sprint
               •       T-Mobile
               •       TIM
               •       Tobii
               •       U2topia
               •       Verisign
               •       Verizon
               •       Virgin Mobile
               •       Vodafone
               •       Warner Bros.
               •       Western Digital
               •       Yahoo
               •       Yandex152
               •       Zing Mobile
        432. Facebook notes that this list is “comprehensive to the best of our ability.” However, it
 further stated that “[i]t is possible we have not been able to identify some integrations, particularly

 those made during the early days of our company when our records were not centralized. It is also

 possible that early records may have been deleted from our system.”153

        433. Facebook formed Business Partnerships as early as 2007. These deals allowed Facebook

152
    After providing the original list to Congress in June 2018, Facebook has since added Russian search
engine, Yandex, to its list of Business Partners.
153
    Letter from Facebook, Inc. to Chairman Greg Walden, Ranking Member Frank Pallone, Energy &
Commerce Committee, and U.S. House of Representatives, Facebook’s Response to House Energy and
Commerce Questions for the Record at 22 (June 29, 2018)
https://docs.house.gov/meetings/IF/IF00/20180411/108090/HHRG-115-IF00-Wstate-ZuckerbergM-
20180411.pdf.

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 to expand its reach by outsourcing to Business Partners the time, labor and money required to build

 Facebook’s Platform on different devices and operating systems. In exchange, Facebook allowed these

 Business Partners to access users’ content and information. Facebook partnered with a diverse set of

 companies including device makers, such as Blackberry and Huawei, and other types of internet

 companies, such as Alibaba, Yahoo, and Yandex. Facebook allowed users’ content and information to

 be accessed by “tens of millions of mobile devices, game consoles, televisions and other systems” that

 were not in Facebook’s direct control.154

        434. These partnerships were built in part on “data reciprocity.” Facebook and its partners

 agreed to exchange information about users’ activities with each other. This was not disclosed to users.
        435. Like Apps, the content and information that the Business Partners accessed varied. As on

 Graph API, Business Partners gained access not only TO the content and information of the user who

 downloaded or used the Facebook service that the Business Partner provided, but also to the content

 and information of the user’s Friends.155 Sandy Parakilas, a whistleblower and a former operations

 manager at Facebook, asserts that the same “feature” is behind both the Cambridge Analytica Scandal

 and Facebook’s data sharing with device makers. In both cases, “developers had access” to a user’s

 Friend data.156 Indeed, Parakilas equated device makers to “apps.”

        436. For instance, Blackberry, had access to the App User’s messages and other personal

 information of the App User’s Friends, such as their political and religious preferences, education and

 work history, events they plan to attend, and whether they were currently online.157 Some Business
 Partners, like Yahoo, were able to read the streams of users’ and users’ Friends posts, while others, like




154
    Gabriel J.X. Dance, et al., Facebook Gave Device Makers Deep Access to Data on Users and
Friends, N.Y. Times (June 3, 2018),
https://www.nytimes.com/interactive/2018/06/03/technology/facebook-device-partners-users-friends-
data.html.
155
    Id.
156
    Sandy Parakilas (@mixblendr), Twitter (June 4, 2018, 12:44 AM),
https://twitter.com/mixblendr/status/1003542895507501057.
157
    Dance, et al., Facebook Gave Device Makers Deep Access, supra note 154.


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 Sony, Microsoft and Amazon, were able to obtain the users’ and users’ Friends emails.158

        437. Facebook also gave Business Partners access to the unique Facebook identifiers of users,

 (“Facebook ID”) including the user’s Friends, and the user’s Friends’ Friends (“Friends of Friends”).

 For instance, Blackberry had access as recently as 2017 to the unique Facebook identifiers of

 Blackberry users’, users’ Friends, and users’ Friends of Friends. The Wall Street Journal reported on

 the dangers associated with providing third parties Facebook users’ unique ID in October 2010.159 In

 that same article, the Journal reported that Facebook would stop giving this information to third parties

 due to privacy concerns:

                “A Facebook user ID may be inadvertently shared by a user's Internet browser or by an
                application,” the [Facebook] spokesman said. Knowledge of an ID “does not permit
                access to anyone's private information on Facebook,” he said, adding that the company
                would introduce new technology to contain the problem identified by the Journal.160

        438. In May 2015, Facebook recognized the need for an even more secure way to process IDs,

 and switched to “unique App IDs” whereby each App is now given a unique App ID.161

        439. Despite the acknowledged risks of providing users’ Facebook ID to third parties,

 Facebook continued giving Business Partners, such as BlackBerry and Yandex, access to this

 information.

        440. Some Business Partners were able to download and store users’ content and information

 directly to their servers much like App Developers.162 Other Partners claimed to have kept the

 information on the device itself. However, in this instance, users’ content and information could have


158
    Gabriel J.X. Dance, Michael LaForgia, and Nicholas Confessore, As Facebook Raised a Privacy
Wall, It Carved an Opening for Tech Giants, N.Y. Times (Dec. 18, 2018),
https://www.nytimes.com/2018/12/18/technology/facebook-privacy.html.
159
    Emily Steel and Geoffrey A. Fowler, Facebook in Privacy Breach, Wall Street Journal (Oct. 18,
2010), https://www.wsj.com/articles/SB10001424052702304772804575558484075236968 (“The apps
reviewed by the Journal were sending Facebook ID numbers to at least 25 advertising and data firms,
several of which build profiles of Internet users by tracking their online activities.”).
160
    Id.
161
    Facebook Application Development FAQ, Facebook for Developers,
https://developers.facebook.com/docs/apps/faq/ (last visited February 21, 2019).
162
    Steel and Fowler, supra note 159.


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 left the device when it was synced or backed up to the Partner’s servers.

       7.      Facebook Extended Certain “Whitelisted” Companies Access to Friends’
               Information Despite Facebook’s Contrary Representations to Users.
        441. Following the FTC inquiry, at Facebook’s f8 Developers’ conference in April 2014,

 Facebook informed the public that it was restricting access to user content and information by cutting

 off third parties’ ability to download information via Graph API v1.0 and stated it would give App

 Developers one year, or until May 2015, to continue accessing Friends’ information.163 Mark

 Zuckerberg announced “we are going to make it so now everyone has to choose to share their own data

 with an app themselves.”164 Facebook unveiled its new theme “putting people first” and stated, “We are
 giving people more control over these experiences so they can be confident pressing the blue

 button.”165

        442. Likewise, on April 28, 2015, Facebook’s Simon Cross commented on the transition to a

 more restrictive Graph API stating, “[I]f people don’t feel comfortable using Facebook and specifically

 logging in [to] Facebook and using Facebook in apps, we don’t have a platform, we don’t have

 developers.”166 Cross further told reports that the privacy changes were the result of Facebook’s

 “People First” goal.167

        443. However, Facebook did not disclose that, while restricting Graph API v1.0 for general

 third parties, Facebook allowed certain companies to continue accessing content and information of

 users and users’ Friends. This special access, termed “whitelisting,” allowed Apps to “access user data

 without permission” and “to circumvent users’ privacy [or] platform settings and access Friends’



163
    f8 2014: Stability for Developers & More Control for People, Facebook Newsroom (Apr. 30, 2018),
https://newsroom.fb.com/news/2014/04/f8-2014-stability-for-developers-and-more-control-for-people-
in-apps/.
164
    Larry Magid, Zuckerberg Pledges More User Control of Facebook App Privacy –Unveils Anonymous
Log-In, Forbes (Apr. 30, 2014), https://www.forbes.com/sites/larrymagid/2014/04/30/zuckerberg-
pledges-more-user-control-of-app-privacy-unveils-anonymous-log-in/#7bea50036de7.
165
    f8 2014: Stability for Developers, supra note 163.
166
    Josh Constinue, Facebook Is Shutting Down Its API for Giving Your Friends’ Data to Apps,
TechCrunch (Apr. 28, 2015), https://techcrunch.com/2015/04/28/facebook-api-shut-down/.
167
    Id.


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 information, even when the user disabled the Platform.”168 To facilitate whitelisting, Facebook

 developed and promulgated “Private Extended APIs,” which enabled App Developers to access content

 and information, including the content and information of users’ Friends, beyond that available to non-

 whitelisted applications. According to Facebook’s “Private Extended API Addendum,” Whitelisted

 Apps could “retrieve data or functionality relating to Facebook that is not generally available under

 Platform, which may include persistent authentication, photo upload, video upload, messaging and

 phonebook connectivity.”169

        444. Such whitelisting extended to thousands of companies. According to the DCMS

 Committee, Facebook’s whitelisting “resulted in a large number of companies striking special deals,”
 and “[a] November 2013 email discussion reveals that Facebook was managing 5,200 Whitelisted

 Apps, including Lyft, AirBnB, and Netflix.”170 Facebook granted these whitelisted companies special

 access in exchange for value provided by those companies to Facebook. The level of access varied by

 agreement based on Facebook’s relationship with the particular company and the purpose of the

 company’s App. The Whitelisted Apps all entered into lucrative agreements with Facebook to purchase

 advertising. Facebook began forming these agreements as early as 2013 and still allows some

 companies special access today.171 These agreements conflict with Facebook’s statements regarding

 Graph API and its disclosures to users, in that Facebook stated Apps would no longer have access to

 users’ Friends’ data after May 2015.172

        445. According to the DCMS Committee, “increasing revenues from major App developers
 was one of the key drivers behind the policy changes made by Facebook,” and “[t]he idea of linking


168
    DCMS Report, supra note 28 ¶ 83.
169
    Id. ¶ 85 (emphasis added).
170
    Id. ¶ 84.
171
    U.K. House of Commons, Note by Damian Collins MP, Chair of the DCMS Committee: Summary of
Key Issues from the Six4Three files (Dec. 5, 2018), https://www.parliament.uk/documents/commons-
committees/culture-media-and-sport/Note-by-Chair-and-selected-documents-ordered-from-
Six4Three.pdf; Dance, et al, As Facebook Raised a Privacy Wall, supra note 158.
172
    Changelog—Graph API, Facebook for Developers,
https://web.archive.org/web/20141208030452/https://developers.facebook.com/docs/apps/changelog#
(last visited on Feb. 20, 2019).


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 access to Friends’ data to the financial value of the developers’ relationship with Facebook was a

 recurring feature of the documents” considered by the DCMS Committee.173

        446. Facebook hid these whitelist agreements from users even after the Cambridge Analytica

 Scandal. In testimony to U.K. House of Commons, on April 26, 2018, Facebook’s Chief Technical

 Officer Mike Schroepfer, responding to questions regarding the one-year transition period from Graph

 API v.1.0 to 2.0 during 2014 to 2015, failed to state that tens of companies were given special whitelist

 access beyond May 2015.174 This was a material omission.

        447. A day later, Facebook provided a response to questions from German Congressional

 Committees regarding Cambridge Analytica. In its response, Facebook stated:175

           In addition to public APIs, Facebook also has some APIs that are available only to certain
           partners for specific uses. Generally these APIs provide access to public information, such as
           to enable news and media organizations to follow breaking news. . . .
        448. This statement fails to materially describe any of the whitelisted companies or what

 access they had. Furthermore, contrary to this statement, Facebook granted tens of whitelisted

 companies access to users’ non-public information.

        449. Finally, the truth began to come to light on June 8, 2018, when the Wall Street Journal

 reported that Facebook struck whitelist deals allowing certain companies special access through

 APIs.176 The report made clear that these agreements were separate from the custom deals Facebook

 entered into with Business Partners. The report also stated that Facebook struck these deals with

 “companies including Royal Bank of Canada and Nissan Motor Co., who advertised on Facebook or

 were valuable for other reasons.”177 The report identified Nuance Communications as getting whitelist

173
    DCMS Report, supra note 28, ¶ 87.
174
    Mike Schroepfer Testimony to U.K. House of Commons, supra note 147, at Q2202.
175
    Facebook responses to open questions from the ‘Committee on Legal Affairs and Consumer
Protection’ and the ‘Committee on Digital Agenda’, Facebook Newsroom (Apr. 27, 2018),
https://fbnewsroomde.files.wordpress.com/2018/05/final-responses-to-german-committees.pdf.
176
    Deepa Seetharaman and Kristen Grind, Facebook Gave Some Companies Special Access to
Additional Data About Users’ Friends, The Wall Street Journal (June 8, 2018),
https://www.wsj.com/articles/facebook-gave-some-companies-access-to-additional-data-about-users-
friends-1528490406.
177
    Id.


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 access until November 2015 for a “special news feed it had built” for Fiat Chrysler Automobiles.178

 The report further stated:179

       Early on, Facebook brokered special deals with certain companies, some people with
       knowledge of the deals said. “Ninety-nine percent of developers were treated the same,
       but 1% got special treatment because they accounted for all the value of the platform,”
       one former Facebook employee said, referring to popular apps and services that attracted
       users.

        450. Clearly, Facebook granted special access to users’ information based on the value a

 company brought to Facebook. In short, Facebook traded access to its users’ information – without

 users’ knowledge or consent – in exchange for whitelist companies’ significant expenditures on
 Facebook advertising.

        451. Facebook responded to this report, stating that a “small number” of partners had access to

 users’ Friends after May 2015. But Facebook did not identify any further whitelisted companies, or

 state what information these Developers had access to.

        452. Then, in response to questions posed by the U.S. House of Representative on June 29,

 2018, Facebook stated that 60 companies were “given a one-time extension of less than six months

 beyond May 2015 to come into compliance” with Facebook’s new API.180

        453. The list of companies includes:

               •   ABCSocial, ABC Television Network
               •   Actiance
               •   Adium
               •   Anschutz Entertainment Group
               •   AOL
               •   Arktan / Janrain
               •   Audi
               •   biNu
               •   Cerulean Studios
               •   Coffee Meets Bagel
               •   DataSift

178
    Id.
179
    Id.
180
    Facebook’s Response to House Energy and Commerce Questions for the Record, supra note 153, at
Pallone, Jr. § 4 ¶ 6.

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             •   Dingtone
             •   Double Down Interactive
             •   Endomondo
             •   Flowics, Zauber Labs
             •   Garena
             •   Global Relay Communications
             •   Hearsay Systems
             •   Hinge
             •   HiQ International AB
             •   Hootsuite
             •   Krush Technologies
             •   LiveFyre / Adobe Systems
             •   Mail.ru
             •   MiggoChat
             •   Monterosa Productions Limited
             •   never.no AS
             •   NIKE
             •   Nimbuzz
             •   Nissan Motor Co. / Airbiquity Inc.
             •   Oracle
             •   Panasonic
             •   Playtika
             •   Postano, TigerLogic Corporation
             •   Raidcall
             •   RealNetworks, Inc.
             •   RegED / Stoneriver RegED
             •   Reliance / Saavn
             •   Rovi
             •   Salesforce / Radian6
             •   SeaChange International
             •   Serotek Corp.
             •   Shape Services
             •   Smarsh
             •   Snap
             •   Social SafeGuard
             •   Socialeyes LLC
             •   SocialNewsdesk
             •   Socialware / Proofpoint
             •   SoundayMusic
             •   Spotify
             •   Spredfast
             •   Sprinklr / Sprinklr Japan
             •   Storyful Limited / News Corp
             •   Tagboard

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               •   Telescope
               •   Tradable Bits, TradableBits Media Inc.
               •   UPS
               •   Vidpresso
               •   Vizrt Group AS
               •   Wayin
        454. According to Facebook, during this six-month extension, these companies continued to

 have access to the content and information of users and users’ Friends. Facebook did not clarify why

 this group of companies were given special access to this content and information. Furthermore,

 subsequent reporting has revealed that some companies listed above were given access beyond the six

 months, while additional companies should have been included on this list to Congress.181

        455. In its congressional testimony, Facebook also listed five additional companies that “could

 have accessed limited friends’ data as a result of API access that they received in the context of a beta

 test.”182 These companies include:
                •     Activision / Bizarre Creations
                •     Fun2Shoot
                •     Golden Union Co.
                •     IQ Zone / PicDial
                •     PeekSocial
        456. Facebook has not provided an explanation for why these five companies received this

 special access.

        457. Next, on December 5, 2018, the UK Parliament released a cache of documents internal to
 Facebook.183 These documents consist of internal emails shared between Facebook employees; emails

 with outside Developers and Business Partners; and internal presentation materials. These documents

 showed a further series of undisclosed companies that Facebook traded whitelist access to. They

 include:

               •       Airbnb
               •       Badoo
181
    Dance, et al, As Facebook Raised a Privacy Wall, supra note 158.
182
    Facebook’s Response to House Energy and Commerce Questions for the Record, supra note 153, at
Pallone, Jr. § 4 ¶ 7.
183
    Note by Damian Collins MP, Chair of the DCMS Committee: Summary of Key Issues from the
Six4Three files, supra note 171.

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                 •       Bumble
                 •       Hot or Not
                 •       Lyft
                 •       Netflix
          458. The released documents reveal that Facebook granted these companies varying levels of

 access depending on the App’s needs and on Facebook’s relationship with the App. Several of the Apps

 listed above had access to non-App Friend lists. Others also had access to the private messages of App

 users.

          459. Facebook responded:

          We changed our platform policies in 2014/15 to prevent apps from requesting permission
          to access friends’ information. The history of Cambridge Analytica shows this was the
          right thing to do. For most developers, we also limited their ability to request a list of
          who someone’s friends were, unless those friends were also using the developer’s app. In
          some situations, when necessary, we allowed developers to access a list of the users’
          friends. This was not friends’ private information but a list of your friends (name
          and profile pic).

          ...

          In addition, white lists are also common practice when testing new features and
          functionality with a limited set of partners before rolling out the feature more broadly
          (aka beta testing). Similarly, it’s common to help partners transition their apps during
          platform changes to prevent their apps from crashing or causing disruptive experiences
          for users.184

          460. Facebook’s statement is false because Facebook’s internal emails and subsequent news
 articles have revealed that Hootsuite, Netflix, Royal Bank of Canada and Spotify also had access to

 users’ messenger mailbox, which would include messages sent from users’ Friends.

          461. The statement is also misleading. Since May 2010, users could set a non-public privacy

 designation for their Friends list at any time. Thus, even where the App User and her Friends set their

 Friends list to private, Whitelisted Apps who gained access to the App User’s Friends list would still be

 able to see all of the Friends of that user. For Friends seeking to limit who could view their social

 connections, this was a violation of privacy.

184
   Mark Zuckerberg, Facebook (Dec. 5, 2018), https://newsroom.fb.com/news/2018/12/response-to-
six4three-documents/ (emphasis added).

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           462. On December 18, 2018, the New York Times reported that Facebook had entered into

 over 150 previously undisclosed data sharing agreements with a variety of organizations. The report

 stated:

           Facebook shared data with more than 150 companies — not only tech businesses but
           automakers and media organizations — through apps on its platform even if users
           disabled sharing. Apps from many of these “integration partners” never even showed up
           in user application settings, with the company considering them an extension of its own
           network. The deals dated back as far as 2010 and were all active in 2017, with some still
           in effect this year.”185

           463. The Times identified Spotify, Netflix and the Royal Bank of Canada as being able to
 “read, write and delete Facebook users’ private message, and to see everyone on a message thread.”186

 The report stated that Facebook’s own internal documents show that these companies had access to

 users’ messages beyond the time that the companies needed to integrate Facebook into their systems.

 For instance, “Spotify, which could view messages of more than 70 million users a month, still offers

 the option to share music through Facebook Messenger.”187 Yet, Facebook had previously identified

 Spotify in its list to Congress as only having access for six months beyond May 2015.

           464. Facebook also had purportedly removed access to users’ mailboxes in Graph API v2.4,

 released on July 8, 2015, and had purportedly removed this permission for all APIs on October 6,

 2015.188 Thus, users reasonably expected App Developers to no longer have access to any Facebook

 messages after October 2015 at the latest. However, as stated above, Facebook continued allowing

 many companies to access messages beyond this date.

D.         Facebook Failed to Monitor and to Protect User Content and Information from Third
           Parties’ Unauthorized Use.
           465. While Facebook allowed third-party App Developers, whitelisted companies and

 Business Partners to access incredible amounts of users’ content and information, Facebook failed to

 implement reasonable security measures, such as conducting regular audits and monitoring third


185
    Dance, et al, As Facebook Raised a Privacy Wall, supra note 158.
186
    Id.
187
    Id.
188
    Changelog, supra note 104.

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 parties’ access and use of users’ content and information. Facebook also failed to ensure that third

 parties complied with its Platform and Privacy policies. Facebook’s failure to act was a direct result of

 its reckless quest for growth at the expense of users’ privacy.

       1.      Facebook Has a History of Discarding Its Promises to Protect User Privacy in
               Reckless Pursuit of Growth.
        466. Throughout its history, Facebook has repeatedly ignored users’ privacy interests and its

 own promises to protect user content and information in a reckless quest to maximize its growth and

 maximize its profits. In light of the company’s history of privacy abuses, it is apparent that the

 company’s motto to “move fast and break things” applies even to users’ privacy.
        467. In 2006, Facebook launched its News Feed feature to display users’ posts on their

 Friends’ and networks’ pages. This feature was immediately controversial because users’ posts were

 automatically revealed regardless of users’ intention to keep these posts private. Zuckerberg’s response

 to this controversy was that “we did a bad job of explaining what the new features were and an even

 worse job of giving you control of them.”189

        468. In 2007, Facebook launched Beacon, a feature that automatically shared users’ website

 and App history with advertisers, who in turn shared users’ activity with other Facebook users on the

 third-party sites. Users were not given the opportunity to opt-out of this feature, and were shocked to

 discover their formerly inaccessible activities had been repackaged and revealed by Facebook in order

 to attract Business Partners and hone its advertising program. Third-party participants in the Beacon

 program not only received user content and information, the sites also gave Facebook ad-targeting data.
 After myriad privacy complaints and a class action lawsuit, Beacon was shut down. In response,

 Zuckerberg stated, “We’ve made a lot of mistakes building this feature, but we’ve made even more

 with how we’ve handled them. We simply did a bad job with this release, and I apologize for it.”190

 Yet, Facebook continued to violate users’ expectation of privacy.

        469. In May 2008, the Canadian Internet Policy and Public Interest Clinic (“CIPPIC”) filed a

189
    Mark Zuckerberg, An Open Letter From Mark Zuckerberg, Facebook (Sept. 8, 2006),
https://www.facebook.com/notes/facebook/an-open-letter-from-mark-zuckerberg/2208562130/.
190
    Mark Zuckerberg, Thoughts on Beacon, Facebook (Dec. 5, 2007),
https://www.facebook.com/notes/facebook/thoughts-on-beacon/7584397130/.

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 complaint against Facebook with the Canadian Privacy Commissioner (“CPC”) over a number of user

 privacy concerns, including the user content and information shared by Facebook with third party App

 Developers without express consent by users. The CPC launched an investigation in response to

 CIPPIC’s complaint, which resulted in Facebook agreeing to user consent-centered reform in August

 2009. The CPC’s announcement indicated the following:

       Facebook has agreed to retrofit its application platform in a way that will prevent any application
       from accessing information until it obtains express consent for each category of personal
       information it wishes to access. Under this new permissions model, users adding an application
       will be advised that the application wants access to specific categories of information. The user
       will be able to control which categories of information an application is permitted to access.
       There will also be a link to a statement by the developer to explain how it will use the data.191
        470. Despite users’ and regulators’ repeated efforts to get Facebook to rein in its privacy

 abuses, including private litigation and the CPC settlement, Facebook continued to exploit users’

 content and information for commercial gain without consent.

        471. In November 2009, Facebook changed its Terms of Service to greatly expand the amount

 of personal information categorized as available to the public. See supra at IV.B. In response to the

 change in privacy settings, ten privacy organizations, including the Electronic Privacy Information

 Center (“EPIC”), filed complaints to the FTC alleging that Facebook had changed users’ privacy

 settings and disclosed personal content and information to third parties without consent. EPIC warned

 “[t]he Facebook Platform transfers Facebook users’ personal data to application developers without

 users’ knowledge or consent.”192

        472. Zuckerberg responded with an apology to users, stating that, “[s]ometimes we move too

 fast—and after listening to recent concerns, we’re responding.”193 Zuckerberg vowed to add privacy


191
    News Release, Facebook Agrees to Address Privacy Commissioner’s Concerns, Office of the Privacy
Commissioner of Canada (Aug. 27, 2009), https://www.priv.gc.ca/en/opc-news/news-and-
announcements/2009/nr-c_090827/.
192
    Facebook Privacy, Electronic Privacy Information Center (last accessed on February 11, 2019),
https://www.epic.org/privacy/facebook/.
193
    Mark Zuckerberg, From Facebook, Answering Privacy Concerns with New Settings, The Wash. Post
(May 24, 2010), http://www.washingtonpost.com/wp-
dyn/content/article/2010/05/23/AR2010052303828.html.


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 controls that are simpler to use, stating, “Many people choose to make some of their information visible

 to everyone so people they know can find them on Facebook. We already offer controls to limit the

 visibility of that information and we intend to make them even stronger.”194

         473. In October 2010, the Wall Street Journal reported that Facebook had been sending users’

 names and Facebook identification numbers to its advertisers without users’ knowledge and consent.195

         474. Despite continuous and consistent feedback from users, privacy advocates, and

 regulators, in July 2010, while giving a speech at a technology awards show in San Francisco,

 Zuckerberg announced that privacy is no longer a “social norm.”196 Zuckerberg stated, “People have

 really gotten comfortable not only sharing more information and different kinds, but more openly and
 with more people. That social norm is just something that has evolved over time.”197 Zuckerberg’s

 proclamation that social norms have changed serves as a thin veil to Facebook’s continued violations of

 users’ trust.

         475. On November 29, 2011, Facebook agreed to settle the FTC charges that it had deceived

 users by telling them they could keep their information on Facebook private and then repeatedly

 allowed it to be shared and made public without their consent. The FTC adopted the final Consent

 Order on August 10, 2012. The order requires Facebook to take steps including, “giving consumers

 clear and prominent notice and obtaining their express consent before sharing their information beyond

 their privacy settings, by maintaining a comprehensive privacy program to protect consumers’

 information, and by obtaining biennial privacy audits from an independent third party.”198
         476. Facebook has also failed to implement features that would help users secure their

 information on Facebook. For example, in April 2014, at the f8 Developer Conference, Zuckerberg

 announced a new anonymous login feature for users. This feature would allow users to try an App

194
    Id.
195
    Steel and Fowler, supra note 159.
196
    Bobbie Johnson, Privacy no longer a social norm, says Facebook founder, The Guardian (Jan. 10,
2010), https://www.theguardian.com/technology/2010/jan/11/facebook-privacy.
197
    Id.
198
    FTC approves Final Settlement With Facebook, Federal Trade Commission (Aug. 10, 2012),
https://www.ftc.gov/news-events/press-releases/2012/08/ftc-approves-final-settlement-facebook.


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 without sharing any content and information.199 Mark Zuckerberg made this announcement in order to

 reassure users’ that Facebook valued their privacy, stating that this will allow users to “try apps without

 fear.”200 Despite this announcement, the anonymous login feature was never taken out of development.

        477. In May 2018, at Facebook’s f8 conference, Zuckerberg announced plans to add a “Clear

 History” feature that would enable users to see the websites and Apps that send their information to

 Facebook when they use them. Zuckerberg promised that this feature would allow users to “clear this

 information from their accounts, and turn off [Facebook’s] ability to store it . . . going forward.” 201

        478. Zuckerberg made this announcement in the wake of the Cambridge Analytica Scandal

 and claimed Facebook would release this feature “in the coming months,” but has not as of this
 filing.202 Reporting suggests that Zuckerberg made this announcement for the optics without any plan

 on how it would actually work.203 As of the date of this filing, Facebook has not implemented a Clear

 History feature.

        479. While Facebook promised users privacy and security, in reality, Facebook has continued

 to follow its relentless quest for growth.

        480. For example, in 2016, Andrew Bosworth, a vice president at Facebook, defended the

 company’s growth tactics in an internal memo. Bosworth’s memo explains that despite any

 ramifications, Facebook’s growth is “*de facto* good”:




199
    Id.
200
    Facebook’s Mark Zuckerberg Introduces Anonymous Login, YouTube, at 01:10 (Apr. 30, 2014),
https://www.youtube.com/watch?v=rOCcYRlZUGU.
201
    Letter from Facebook, Inc. to Chairman Greg Walden, Ranking Member Frank Pallone, Energy &
Commerce Committee, and U.S. House of Representatives, Facebook’s Response to House Energy and
Commerce Questions for the Record, at Walden § 2(b) ¶ 7 (June 29, 2018)
https://docs.house.gov/meetings/IF/IF00/20180411/108090/HHRG-115-IF00-Wstate-ZuckerbergM-
20180411.pdf.
202
    Chris Welch, Facebook to introduce clear history privacy tool in coming months, Verge (May 1,
2018), https://www.theverge.com/2018/5/1/17307346/facebook-clear-history-new-privacy-feature.
203
    Ben King, Mark Zuckerberg Promised A Clear History Tool Almost A Year Ago. Where Is It?,
BuzzFeed.News (Feb. 22, 2019), https://www.buzzfeednews.com/article/ryanmac/facebook-privacy-
optics-clear-history-zuckerberg.


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       The ugly truth is that we believe in connecting people so deeply that anything that allows
       us to connect more people more often is *de facto* good. It’s perhaps the only area
       where the metrics do tell the true story as far as we are concerned.

       ...

       [M]ake no mistake, growth tactics are how we got here. If you joined the company
       because it is doing great work, that’s why we get to do that great work. We do have great
       products but we still wouldn’t be half our size without pushing the envelope on growth.
       Nothing makes Facebook as valuable as having your friend on it, and no product
       decisions have gotten as many friends on as the ones made in growth.204

           481. The reason that “growth was good” is that it fueled Facebook’s business model as data

 broker.
           482. While growth was good for Facebook’s business model, it left users’ susceptible to

 unfettered access by third parties.

       2.        Facebook Ignored Internal Warnings Regarding Risks Posed by Third Parties’
                 Access to Users’ Content and Information.
           483. Numerous Facebook employees and investors voiced concerns regarding the privacy

 risks posed by third party access to Facebook users’ content and information, including directly to Mr.

 Zuckerberg and others in Facebook leadership.

           484. For instance, during the lead up to Facebook’s 2012 initial public offering, Facebook’s

 operations manager, Sandy Parakilas, raised concerns about Facebook’s handling of misuse of user data

 by App Developers accessing user content and information from Graph API v1.0. Parakilas described

 concerns including that as of 2010, Facebook had never audited any App Developers using Facebook’s

 Graph API v1.0, and he also raised concerns about data vulnerabilities on Facebook Platform to

 Facebook executives.205 Parakilas was also concerned that when Developers violated Facebook’s Data

204
    Ryan Mac, Charlie Warzel, and Alex Kantrowitz, Growth At Any Cost: Top Facebook Executive
Defended Data Collection in 2016 Memo – And Warned That Facebook Could Get People Killed,
Buzzfeed News (Mar. 29, 2018, 6:36pm), https://www.buzzfeednews.com/article/ryanmac/growth-at-
any-cost-top-facebook-executive-defended-data#.lbeaWaPKk4.
205
    U.K. House of Commons, Digital, Culture, Media and Sport Committee, Testimony of Sandy
Parakilas (Mar. 21, 2018), at Q1191-194,
http://data.parliament.uk/writtenevidence/committeeevidence.svc/evidencedocument/digital-culture-
media-and-sport-committee/fake-news/oral/80809.html.


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 Use Policy, Facebook users were (to the best of his knowledge) never notified that Developers had

 inappropriately accessed their data.206

         485. In a November 2017 op-ed in the New York Times, Parakilas wrote of the reaction he

 received from Facebook personnel after he raised concerns about App Developers misusing user

 content and information obtained through Graph API v1.0:

        [W]hen I was at Facebook, the typical reaction I recall looked like this: try to put any
        negative press coverage to bed as quickly as possible, with no sincere efforts to put
        safeguards in place or to identify and stop abusive developers. When I proposed a deeper
        audit of developers’ use of Facebook’s data, one executive asked me, “Do you really
        want to see what you’ll find?” The message was clear: The company just wanted negative
        stories to stop. It didn’t really care how the data was used.207

         486. Following the Cambridge Analytica Scandal, The Guardian reported in March 2018 on

 Parakilas’ concerns. Parakilas “always assumed there was something of a black market” for Facebook

 data that had been passed to external developers; yet, when he told other executives the company

 should proactively “audit developers directly and see what’s going on with the data” they were not

 receptive. One executive at Facebook “advised [Parakilas] against looking too deeply at how the data

 was being used.” Facebook, Parakilas said, “felt that it was better not to know.”208

         487. On March 21, 2018, Parakilas testified to the U.K. House of Commons, stating that

 Facebook had few ways of discovering abuse or enforcing on abuse once it was discovered. Parakilas

 stated:209

        [Facebook] could do one of four things: it could call up the developer and demand to
        know what they were doing with the data; it could demand an audit of the developer’s
        application, their data storage, and that was a right that was granted to Facebook in [their]
        policies, the platform policies; it could delete the app and potentially ban the developer


206
    Id. at Q1200-201.
207
    Sandy Parakilas, We Can’t Trust Facebook to Regulate Itself, N.Y. Times (Nov. 19, 2017),
https://www.nytimes.com/2017/11/19/opinion/facebook-regulation-incentive.html.
208
    Paul Lewis, ‘Utterly horrifying’: ex-Facebook insider says covert data harvesting was routine, The
Guardian (Mar. 20, 2018), https://www.theguardian.com/news/2018/mar/20/facebook-data-cambridge-
analytica-sandy-parakilas.
209
    U.K. House of Commons, Digital, Culture, Media and Sport Committee, Testimony of Sandy
Parakilas, supra note 205, at Q1188.

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        from using Facebook Platform or even using other Facebook products such as
        advertising; or it could sue the developer and pursue that app.

        ...

        In terms of the frequency of the use of those four means, I can tell you that in my
        experience, during my 16 months in that role at Facebook, I do not remember a single
        physical audit of a developer’s storage. I do not remember that happening once. There
        were only a handful of lawsuits and bans. Those were both quite rare. Mostly what I did
        was call developers and threaten to do other things, basically saying that they needed to
        follow the policies. That was effectively the main enforcing mechanism during my time.

        The other thing to note is that Facebook had relatively low detection of policy violations
        and most of the reports that it got about policy violations were either from the press or
        from other developers who were competitors of a particular company and they would call
        up or talk to someone at Facebook and say, ‘I think this person is doing X, Y and Z,” and
        they were doing that largely for competitive reasons.

         488. Parakilas raised concerns that these four options were all insufficient enforcement

 mechanisms.

         489. Also, when asked whether the data could be used to target advertising, Parakilas

 responded that while there were rules “attempting to prevent developers from using the data targeting

 advertising . . . there was very little detection, or enforcement and it is very difficult to tell how an ad is

 being targeted . . . .”210 Parakilas noted that he and others raised multiple concerns to executives that

 users’ information could wind up in the hands of data brokers but, Parakilas said, Facebook found that

 was a “risk that they were willing to take.”211

         490. Parakilas further testified that he raised concerns about the lack of oversight into the flow

 of users’ data. In a PowerPoint presentation Parakilas mapped out data vulnerabilities of the Facebook

 platform and showed that presentation to senior executives at the company. Some of those executives

 are still at Facebook today.

         491. Parakilas also testified that Facebook’s business model depended on this open and

 unfettered access to users’ data. Parakilas stated:212


210
    Id. at Q1210.
211
    Id. at Q1215.
212
    Id. at Q1209.

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       [T]he ability to access a tremendous amount of data was a selling point to developers and
       Facebook wanted a lot of developers to build a lot of applications because they would
       draw more people to use Facebook more and more. Developers would for free build
       features that Facebook did not have itself, and the way that it got developers to want to go
       through Facebook was, first, they would give the huge audience of Facebook to the
       developer so you could get a lot of users very quickly and, secondly, you could get a ton
       of data from Facebook to build your application and understand those users.

        492. Indeed, Parakilas states that Facebook’s model was to “grow the platform as quickly as

 possible, and data was one of the key ways to do that.” 213

        493. Likewise, in October 2016, Roger McNamee (an early investor in Facebook) attempted to

 engage with Facebook’s leadership regarding the risks posed by Facebook’s failure to protect its users.
 McNamee sent a draft of an op-ed outlining security risks of election interference on Facebook to Mr.

 Zuckerberg and Ms. Sandberg ahead of publishing. According to Mr. McNamee:214

       They each responded the next day. The gist of their messages was the same: We
       appreciate you reaching out; we think you’re misinterpreting the news; we’re doing great
       things that you can’t see. Then they connected me to Dan Rose, a longtime Facebook
       executive with whom I had an excellent relationship. Dan is a great listener and a patient
       man, but he was unwilling to accept that there might be a systemic issue. Instead, he
       asserted that Facebook was not a media company, and therefore was not responsible for
       the actions of third parties.

        494. And in July 2017, Alex Stamos, Facebook’s then-Chief of Security, raised similar

 security and privacy concerns, stating, “We have made intentional decisions to give access to data and

 systems to engineers to make them ‘move fast’ but that creates other issues for us.”215 Stamos raised

 these concerns in the context of having authored a white paper that was later scrubbed for mentions of

 Russia. Facebook now admits that it was too slow to act on this issue.

        495. Moreover, internal emails released by the DCMS Committee reveal that the highest

213
    Id. at Q1214./
214
    Roger McNamee, How to Fix Facebook – Before It Fixes Us, Wash. Monthly, (Jan. 2018)
https://washingtonmonthly.com/magazine/january-february-march-2018/how-to-fix-facebook-before-it-
fixes-us/.
215
    Zack Whittaker, Leaked: Facebook security boss says its corporate network is run “like a college
campus”, ZDNet (Oct. 19, 2017), https://www.zdnet.com/article/leaked-audio-facebook-security-boss-
says-network-is-like-a-college-campus/.


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 levels of Facebook’s leadership were aware of the risk of sharing user information with App

 Developers, but disregarded that risk because it did not present a direct threat to Facebook’s business

 interests. For example, Zuckerberg stated in an internal email dated October 27, 2012 that “I’m

 generally sceptical [sic] that there is as much data leak strategic risk as you [Sam Lessin] think.”216

 Further, Zuckerberg stated that “I agree there is clear risk on the advertiser side,” and “I think we leak

 info to developers, but I just can’t think if [sic] instances where that data has leaked from developer to

 developer and caused a real issue for us.”217 As the DCMS Committee noted, this is, “of course, exactly

 what happened during the Cambridge Analytica scandal.”218

        496. Despite numerous warnings regarding misuse of user content and information by third
 parties, including potential harm to national security and election integrity in the United States, year

 after year, Facebook allowed third parties unmonitored access to users’ content and information.

       3.      Facebook Failed to Monitor Business Partners’ and Whitelisted Companies’ Use of
               Users’ Content and Information.
        497. On November 12, 2018, the New York Times reported on another area in which Facebook

 failed to protect users’ content and information against misuse: Facebook’s failure to monitor Business

 Partners’ access to and use of users’ content and information.219 Facebook had agreed under the FTC

 Consent Decree to have PricewaterhouseCoopers (“PwC”) periodically assess its oversight of Business

 Partners. The article described Facebook’s disclosure to Senator Ron Wyden’s office that in its 2013

 initial assessment report, PwC identified a problem with how Facebook was monitoring certain

 Business Partners. The Times published a copy of the letter, which stated that “[t]here is limited
 evidence retained to demonstrate that Facebook monitored or assessed the service provider’s

 compliance with Facebook’s Data Use Policies,” and “[l]ack of comprehensive monitoring makes it

 more difficult to detect inappropriately implemented privacy settings within these third-party developed

216
    DCMS Report, supra note 28, ¶ 98.
217
    Id. ¶ 98 (emphases added).
218
    Id.
219
    Nicholas Confessore, et al., Facebook Failed to Police How Its Partners Handled User Data, N.Y.
Times (Nov. 12, 2018), https://www.nytimes.com/2018/11/12/technology/facebook-data-privacy-
users.html.


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 applications.”220

        498. Wyden’s aide, based on a review of unredacted versions of PwC’s later 2015 and 2017

 assessment reports, told the Times that while PwC did not identify the same problem in the later

 reports, there was “no evidence that Facebook had ever addressed the original problem.”221 Rather, it

 appeared that Facebook had simply changed the assessment methodology that PwC applied, making it

 easier for Facebook to “comply.”

        499. Sandberg appeared for questioning before the United States Senate on September 4,

 2018. At that hearing, Wyden pressed Sandberg to release the unredacted PwC assessments, calling

 parts of the reports “very troubling.”222 Sandberg and Facebook did not release unredacted reports, and
 to date, have refused to produce them to Plaintiffs in this litigation.223

        500. Senator Wyden’s comments as well as reporting by The New York Times reveal

 Facebook’s failure to adequately monitor Business Partners’ access to and subsequent use of users’

 content and information.

        501. Similarly, in its 2011 Complaint, the FTC “found that Facebook misrepresented its claims

 regarding their app oversight programme, specifically the ‘verified apps programme’, which was a

 review allegedly designed to give users additional assurances and help them identify trustworthy

 applications.”224 Contrary to Facebook’s claims, “[t]he review was non-existent and there was no

 oversight of those apps,” and consequently some Apps, such as Yelp and Rotten Tomatoes, “were able

 to circumvent users’ privacy settings or platform settings, and to access friends’ information as well as
 users’ information, such as birthdays and political affiliation, even when the user disabled the


220
    Kevin Martin, Letter to Senator Ron Wyden, Oct. 10, 2018, available at
https://int.nyt.com/data/documenthelper/480-facebook-wyden-letter-data-
privacy/078dfb39ba0b2fa70867/optimized/full.pdf#page=1.
221
    Confessore, et al., Facebook Failed to Police, supra note 219.
222
    Mary Clare Jalonick and Barbara Ortutay, WATCH: Twitter’s Jack Dorsey, Facebook’s Sheryl
Sandberg testify to Congress on foreign election interference at 58:30, PBS (Sept. 5, 2018, 5:42pm) ;
https://www.pbs.org/newshour/nation/watch-live-twitters-jack-dorsey-facebooks-sheryl-sandberg-
testify-to-congress-on-foreign-election-interference.
223
    Id. at 58:50.
224
    DCMS Report, supra note 28, ¶ 88.


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 platform.”225

        502. Likewise, the DCMS Report found that Facebook not only failed to audit or monitor

 Apps for evidence of malfeasance relating to user content and information, but also willfully turned a

 blind eye to Apps that it knew were misusing user content and information. Thus, the DCMS

 Committee stated that “Facebook has not provided us with one example of a business excluded from its

 platform because of serious data breaches,”226 and “Facebook acts only when serious breaches become

 public.”227 Further, “[f]ar from Facebook acting against ‘sketchy’ or ‘abusive’ apps, of which action it

 has produced no evidence at all, it, in fact, worked with such apps as an intrinsic part of its business

 model.”228

       4.        Facebook Failed to Limit Business Partners’ and Whitelisted Companies’ Access to
                 Users’ Content and Information.
        503. Facebook also allowed its Business Partners and other whitelisted companies to access

 users’ information beyond what was necessary for the specific purpose for which Facebook has

 asserted access was granted. For example, where third parties were granted access to support a specific

 function and that function was discontinued, Facebook failed to cut off access.

        504. On December 18, 2018, the New York Times published another article detailing

 Facebook’s data sharing deals with Business Partners and whitelisted companies.229 The article

 highlighted several companies that had discontinued their Facebook partnerships but, as late as 2017,

 still had access to users’ personal information. For example, the Royal Bank of Canada and Netflix had

 access to users’ Facebook messages after they had deactivated the related feature that incorporated it.230
 Up to 2017, Yahoo had access to users’ newsfeed—including posts from users’ Friends—for 100,000




225
    Id.
226
    Id. ¶ 134.
227
    Id. ¶ 133.
228
    Id. (emphasis added).
229
    Dance, et al, As Facebook Raised a Privacy Wall, supra note 158.
230
    Id.


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 users per month for a feature that Yahoo had discontinued in 2012.231

        505. The New York Times itself was one of nine media companies that in 2017, still “had

 access [to] users’ friend lists for an article-sharing application it had discontinued in 2011.”232

        506. In addition, Facebook continued allowing Microsoft’s Bing, Pandora and Rotten

 Tomatoes to access users’ content and information as late as 2017.233 Facebook represented that it

 shared user content and information to allow these companies to implement Facebook’s instant

 personalization feature. Though Facebook ended its instant personalization feature in 2014, it continued

 allowing these three companies to access users’ content and information as late as 2017.

        507. Likewise, Yandex, a Russian search engine and Business Partner to Facebook, still had
 access as late as 2017 to “Facebook’s unique user IDs even after the social network stopped sharing

 them with other applications, citing privacy risks.”234 Facebook continued allowing this access even

 though the company “has long been suspected of having special ties to the Kremlin.”235

        508. Facebook’s failure to shut down access to users’ content and information when the basis

 for doing so had become obsolete speaks to Facebook’s cavalier attitude toward users’ privacy.

        509. At least two of Facebook’s Business Partners have confirmed that Facebook did not audit

 their access to users’ information. When asked by the New York Times, neither BlackBerry nor Yandex

 could find evidence that Facebook ever audited them or their access to user data.236

       5.      Facebook Allowed Business Partners and Whitelisted Companies to Deceive Users
               About Their Access to Users’ Content and Information.
        510. Facebook purposefully allowed its Business Partners to hide their access from users and
 to share information even where users expressly attempted to prevent this access:237

231
    Nicholas Confessore, et. al, Facebook’s Data Sharing and Privacy Rules: 5 Takeaways From Our
Investigation, N.Y. Times (Dec. 18, 2018), https://www.nytimes.com/2018/12/18/us/politics/facebook-
data-sharing-deals.html.
232
    Dance, et al, As Facebook Raised a Privacy Wall, supra note 158.
233
    Id.
234
    Id.
235
    Fred Vogelstein, Why Should Anyone Believe Facebook Anymore?, Wired (Dec. 19, 2018),
https://www.wired.com/story/facebook-data-sharing-privacy-investigation/
236
    Dance, et al, As Facebook Raised a Privacy Wall, supra note 158.
237
    Id.


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          Facebook empowered Apple to hide from Facebook users all indicators that its devices
          were asking for [Facebook user] data. Apple devices also had access to the contact
          numbers and calendar entries of people who had changed their account settings to disable
          all sharing, the records show.

           511. Facebook’s “comprehensive privacy program,” which the Company implemented

 following the FTC Consent Decree in 2012, had significant limitations that were not disclosed to

 users:238

          [T]he privacy program faced some internal resistance from the start, according to four
          former Facebook employees with direct knowledge of the company’s efforts. Some
          engineers and executives, they said, considered the privacy reviews an impediment to
          quick innovation and growth. And the core team responsible for coordinating the reviews
          — numbering about a dozen people by 2016 — was moved around within Facebook’s
          sprawling organization, sending mixed signals about how seriously the company took it,
          the ex-employees said.

          Critically, many of Facebook’s special sharing partnerships were not subject to extensive
          privacy program reviews, two of the former employees said. Executives believed that
          because the partnerships were governed by business contracts requiring them to follow
          Facebook data policies, they did not require the same level of scrutiny. The privacy team
          had limited ability to review or suggest changes to some of those data-sharing
          agreements, which had been negotiated by more senior officials at the company.

          Facebook officials said that members of the privacy team had been consulted on the
          sharing agreements, but that the level of review “depended on the specific partnership
          and the time it was created.”

           512. Thus, even where Facebook did implement its privacy program, it exempted certain third
 parties from review. Facebook has admitted that certain partnerships are “high-touch relationships” and

 that they rarely managed them closely.239

           513. Moreover, internal documents show that Facebook may not have maintained adequate

 records of its own agreements with third parties. In December 2014, DNP, a Facebook Business Partner

 that allows Walgreens customers to access their Facebook photos at kiosks in Walgreens retail


238
      Id. (emphasis added)
239
      Id.


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 locations, contacted Facebook about changes to their platform access on Graph API v2.0.240 The email

 was then shared internally between Eddie O’Neil, Konstantinos Papamiltiadis and Simon Cross.

         514. In the email chain, the Facebook employees note that they are unable to locate the

 original contract between Facebook and Walgreens/DNP.241 Facebook’s failure to locate its contractual

 agreement with DNP speaks to Facebook’s larger failure to adequately monitor whether third parties

 were accessing users’ information in compliance with their agreements.

         515. In sum, Facebook failed to protect users’ content and information in numerous ways

 despite its obligations under the FTC Consent Order to do so. Facebook failed to implement an

 effective independent review of its privacy protections by excluding its Business Partners from the
 review and manipulating testing rather than addressing exceptions detected by PwC. Additionally,

 Facebook failed to audit the access it granted to third parties to ensure that third party access to user

 content and information was limited to the purpose for which it was granted; and Facebook failed to

 ensure its partners complied with Facebook’s policies or even the contract between Facebook and the

 third party.

        6.      Facebook Also Took No Action to Ensure App Developers Followed Its Platform
                and Privacy Policies.
         516. Facebook’s Platform Policy, which governed its relationship with third-party App

 Developers, like GSR, and their operation on the Facebook Platform, prohibited the transfer and sale of

 consumer data accessed from Facebook. And during 2010-2015, Facebook’s user Privacy Policy stated

 that applications would be allowed to use App users’ Friends’ information “only in connection with the
 person that gave the permission and no one else.” Yet, Facebook did not take any meaningful action to

 enforce compliance with either its Platform Policy with third parties or its Privacy Policy with users;

 instead, Facebook permitted App Developers, like GSR, to harvest and sell users’ information without

 oversight.

         517. In the case of Cambridge Analytica, GSR’s “End User Terms and Conditions” were


240
    Note by Damian Collins MP, Chair of the DCMS Committee: Summary of Key Issues from the
Six4Three files, supra note 171.
241
    Id.

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 posted publicly and were provided to Facebook. These terms expressly state that GSR intended to

 “sell” and “license (by whatever means and on whatever terms)” the personal content it obtained

 through the MyDigitalLife App. Kogan has stated that he “never heard a word” from Facebook

 concerning his intent to “sell” data even though he had publicly posted his intention to do so for a year

 and a half before Facebook discontinued his access.

        518. Facebook has admitted that it did not monitor the policies of Apps operating on its

 Platform.242

        519. In May 2014, in advance of Facebook’s switch to Graph API v2.0, Kogan requested

 extended permissions. Facebook denied this request, but continued to allow Kogan’s App to access
 users’ information on Graph API v1.0 until May 1, 2015. Zuckerberg himself has admitted that if

 Facebook had acted to disable Graph API v1.0 one year earlier it could have prevented the Cambridge

 Analytica Scandal:

       We’ve focused on preventing abusive apps for years, and that was the main purpose of
       this major platform change starting in 2014. In fact, this was the change required to
       prevent the situation with Cambridge Analytica. While we made this change several
       years ago, if we had only done it a year sooner we could have prevented that situation
       completely.243

        520. Moreover, as the DCMS Committee found, had Facebook simply complied with its

 settlement with the FTC, the Cambridge Analytica Scandal likewise would not have happened.244

        521. Facebook’s failure to monitor and enforce its own Platform and Privacy Policies allowed

 third parties, like Cambridge Analytica, to abuse users’ content and information.

       7.       Facebook Failed to Adequately Mitigate Harm Caused by Kogan and Cambridge
                Analytica or to Prevent Further Risk of Harm.
        522. A December 2015 Guardian article described Kogan’s and Cambridge Analytica’s

 conduct in connection with the Ted Cruz campaign. Though Facebook conducted an internal

242
    Def. Facebook, Inc.’s Resps. & Objs. to Pls.’ First Set of Interrogs. at p. 20 (Sept. 7, 2018)
(“Facebook is not able to review the content of apps’ terms of service or privacy policies as part of its
Platform enforcement efforts or during the App Review process.”).
243
    Mark Zuckerberg, Facebook (Dec. 5, 2018), https://newsroom.fb.com/news/2018/12/response-to-
six4three-documents/.
244
    DCMS Report, supra note 28, ¶ 76.

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 investigation in reaction to the article, it did not warn users at the time that their content and

 information had been accessed by unauthorized entities. Instead, in March 2016, Facebook began

 negotiating with Kogan to settle related claims. Facebook ignored its duty to protect its users at this

 time when it failed to take adequate steps to determine the scope and impact of the content and

 information that Cambridge Analytica had obtained and to ensure its deletion.

         523. Elizabeth Denham, head of the U.K. Information Commissioner’s Office, which is

 investigating the Cambridge Analytica Scandal, has stated that Facebook did not take the appropriate

 steps to ensure that Cambridge Analytica had deleted Facebook users’ data. Denham described

 Facebook’s follow up with Cambridge Analytica as “less than robust:”245




         524. Denham further confirmed that Facebook’s only follow up with Cambridge Analytica




245
   U.K. House of Commons, Digital, Culture, Media and Sport Committee, Testimony of Elizabeth
Denham, (Nov. 8, 2018), at Q3957,
http://data.parliament.uk/writtenevidence/committeeevidence.svc/evidencedocument/digital-culture-
media-and-sport-committee/disinformation-and-fake-news/oral/92327.pdf.


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 was to ask whether it had deleted the data and to accept Cambridge Analytica’s representation that it

 had without further due diligence:246

 As it turned out, this failure proved detrimental to users, as Cambridge Analytica had not deleted all of

 the user data in its possession, nor had it destroyed work that had relied on the data.

        525. So even after Facebook discovered that its Platform Policy had been abused and that an

 unauthorized third party had and was making use of users’ content and information, Facebook failed to

 take steps to ensure that users’ content and information was deleted.

        526. Instead, Facebook’s priority was to enter into an agreement with GSR and Kogan binding

 Kogan to a confidentiality clause in exchange for the release and waiver of all claims related to the
 misappropriated data.247

        527. Facebook then waited over two years to make any type of public disclosure.

        528. Facebook’s failure to take timely and appropriate remedial measures harmed users by

 leaving them exposed to manipulative psychographic messaging and their users’ sensitive personal

 information irretrievably beyond the users’ control promised by Facebook. Facebook’s failures show

 that Facebook did not take seriously its promises to protect users’ content and information.

       8.      Facebook’s Failure to Notify Plaintiffs of the Misuse of Their Data Hindered User’s
               Ability to Take Remedial Measures.
        529. At least by the end of 2015, Facebook had actual knowledge that Plaintiffs’ content and

 information had been accessed, downloaded by third parties, and misused without users’ authorization.

 Further, Facebook was aware that such misuse of Plaintiffs’ data presented substantial risk of further
 misuse, fraud, and identity theft to Plaintiffs. Despite this knowledge, and in contravention of its

 repeated assurances to users that privacy and trust were important parts of Facebook’s service,

 Facebook failed to provide notification to Plaintiffs of the misuse of their content and information

 without and/or in excess of users’ authorization, until March 2018—more than two years after it was


246
   Id. at Q3960-61.
247
   FB-CA-MDL-00000306; see also U.K. House of Commons, Digital, Culture, Media and Sport
Committee, Testimony of Mike Schroepfer (Apr. 24, 2018), at Q2164,
http://data.parliament.uk/writtenevidence/committeeevidence.svc/evidencedocument/digital-culture-
media-and-sport-committee/disinformation-and-fake-news/oral/82114.pdf.

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informed of the Cambridge Analytica Scandal.

        530. In the intervening years between 2015 and 2018, Facebook failed to inform Plaintiffs that

their sensitive content and information had been used without and/or in excess of their authorization

and, as a result of this failure, denied users the opportunity to take steps to protect themselves and

mitigate their heightened risk of identity theft and other harms.

        531. Plaintiffs were therefore blindsided when they learned that Facebook had permitted

unauthorized third parties to access and retain user content and information without and/or in excess of

users’ authorization, and that their content and information was allegedly used by Cambridge Analytica

to create targeted psychographic messaging and advertising on behalf of now-President Donald J.
Trump’s 2016 Presidential campaign.

E.     Plaintiffs Did Not Consent to Facebook’s Misconduct.
       532.    Facebook points to certain documents on its website to try to show that users consented

to its misconduct. Yet those documents necessarily could not have created consent to conduct that

affirmatively violated those documents, as much of Facebook's conduct did. Moreover, when the

documents simply failed to disclose certain practices, those documents could not have created consent.

And when Facebook began to disclose certain kinds of practices well into the Class Period, it failed to

inform existing users that it had updated its disclosures—thereby keeping them ignorant. Finally,

Facebook relies on certain disclosures that appeared in a document that was neither contractually

binding (thus failing to create express consent) nor sufficiently prominent and accessible (thus failing to
create implied consent).

       533.    Nor did anything else in Facebook’s website tip users off to the misconduct. Facebook is

thus left with documents that for a number of independent reasons were simply inadequate to create

express or implied consent to its misconduct.

       1.      Facebook’s SRR and Data Policy Did Not Create Consent.
       534.    For most of the Class Period, Facebook’s terms of service were referred to as the




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Statement of Rights and Responsibilities (SRR).248 A second document was referred to as the Privacy

Policy initially and then the Data Policy.249 The names of these documents, and their material terms,

were changed at Facebook’s discretion and without meaningful notice to users.

       535.    Facebook relies on these documents to argue that users consented to its misconduct. But

these documents do not establish—and certainly do not establish as a matter of law—that Plaintiffs

expressly or impliedly consented. In fact, numerous regulators who have reviewed Facebook’s policies

and conducted extensive investigations of its conduct have found that Facebook did not obtain users’

consent for the conduct described in this Complaint. The ICO, for example, recently stated: “We fined

Facebook [the maximum amount] because it allowed applications and application developers to harvest
the personal information of its customers who had not given their informed consent—think of Friends,

and Friends of Friends— and then Facebook failed to keep the information safe.” That conclusion was

correct.

               a.     Facebook’s SRR and Data Policy Did Not Create Consent with Respect to the
                      VPPA.
       536.    Facebook relies upon statements in the SRR and Data Policy to argue that users

consented to some of Facebook’s conduct.

       537.    Even before the January 10, 2013 amendment of the VPPA, the VPPA required a

consumer’s affirmative, contemporaneous consent to disclosure of personally identifiable information

by a video tape service provider. See Video Privacy Protection Act of 1988, Pub. L. 100-618, § 2, 102

Stat. 3195, 3195 (requiring “informed, written consent of the consumer given at the time the disclosure
is sought”). No Facebook document was sufficient to provide such consent.

       538.    The current version of the VPPA, effective January 10, 2013, is even more stringent. It

requires the “informed, written consent” to be “in a form distinct and separate from any form setting

forth other legal or financial obligations of the consumer.” 18 U.S.C. § 2710(b)(2)(B). No Facebook


248
    Before 2009, the SRR was called the “Terms of Service.” For clarity and consistency, this Complaint
uses SRR to refer to the Terms of Service and the Statement of Rights and Responsibilities.
249
    Before September 7, 2011, the Data Policy was called the “Privacy Policy.” Between September 7,
2011 and January 30, 2015, it was called the “Data Use Policy.” For the sake of clarity and consistency,
this Complaint uses “Data Policy” to refer to the Privacy Policy and the Data Use Policy.

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document complied with this requirement.

                b.         Facebook’s SRR and Data Policy Did Not Create Consent to Conduct that
                           Violated the SRR and Data Policy.
        539.    The documents could not have obtained consent for practices that affirmatively violated

the terms of the documents.

                           (i)    By Allowing Users No Control over Sharing with Business Partners,
                                  Facebook Violated Its Pledge That Users Would Have Control over
                                  How Their Content and Information Was Shared.
        540.    At all relevant times, the SRR told users, “You own all of the content and information

you post on Facebook, and you can control how it is shared through your privacy [hyperlinked] and
application [hyperlinked] settings.”

        541.    The Data Policy did not contradict this statement in the SRR. Rather, it discussed in more

detail how users could use the Privacy Settings and App Settings to control whether and how other users

or other entities could access one’s own content and information.

        542.    Despite Facebook’s pledge that users would have control over how their content and

information was shared, users had no control over whether and how their content and information was

shared with Business Partners. This lack of control directly contradicted Facebook’s disclosures.

                           (ii)   Facebook Violated Its Pledge That Apps and Websites Would Use
                                  Users’ Content and Information Merely “in Connection with” Their
                                  Friends.
        543.    Even in its most expansive versions, the Data Policy said that if a user’s Friend allowed a

third-party application or website to access the user’s content and information, the application or website
could use that content and information only “in connection with” the Friend that granted permission.

Even giving this language its broadest possible reading, Facebook allowed the conduct to occur that was

directly contrary to it.

        544.    From April 22, 2010 to January 30, 2015, the Data Policy said that if a user’s “friend

grants specific permission to [an] application or website,” the application or website “will only be

allowed to use that content and information in connection with that friend” (April 22, 2010 to September
23, 2011) or could use the information “only in connection with the person that gave the permission and



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no one else” (September 23, 2011 to January 30, 2015).

       545.    The truth, however, was that Apps and websites used Facebook users’ information far

more broadly than merely “in connection with” their Friends. Rather, as the Cambridge Analytica

Scandal shows, Apps and websites were able to use Facebook users’ data in ways that were not even

connected with the App through which the data was gathered, let alone the Friend that had granted

permission to the App. When GSR passed along Facebook users’ content and information to Cambridge

Analytica, it was not using that content and information merely “in connection with” the Friend that had

used the MyDigitalLife App and through whom GSR had gathered data. And when Cambridge

Analytica targeted individual Facebook users with specially crafted messages about political candidates,
that targeting was specific to the individual user, and was not done “in connection with” the Friend that

had granted permission to the MyDigitalLife App.

                       (iii)   By Continuing to Allow Whitelisted Apps and Business Partners’
                               Apps to Have Access Even to Users That Had Turned off All App
                               Access, Facebook Violated Its Pledge That Users Could Bar Apps
                               from Accessing Their Data.
       546.    Facebook told users that by using their App settings, they could prevent an App from

accessing their data via a Friend that used the App. This was true at all relevant times. In one version of

the Data Policy, for example, Facebook said that users could “use [their] application settings to limit

which of your information your Friends can make available to applications and websites.”250 In a later

version of the Data Policy, it stated that if users turned off “all Platform applications”—that is, by

disabling their own ability to use Facebook-integrated games, applications, or websites—users could
“completely block applications from getting [their] information when [their] friends and others use” the

applications.251

       547.    Contrary to this pledge, Facebook allowed Apps that had been “whitelisted”—i.e., those


250
    Facebook’s Privacy Policy, Facebook (Feb. 12, 2010), www. facebook.com/policy
[http://web.archive.org/web/20100212024707/facebook.com/policy.php].
251
    Other websites and applications, Facebook (Apr. 16, 2014), www.facebook.com/about/privacy/your-
info-on-other [http://web.archive.org/web/20140416060858/.facebook.com/about/privacy/your-info-on-
other].


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that had paid Facebook money directly for privileged access to content and information—to continue to

access Friends’ data even after users attempted to disable this feature.252

       548.    Recent reports count 5,200 such Whitelisted Apps.253 These documents also did not

inform users that some Apps could obtain their content and information even in violation of the

restrictions that users had set to prevent Apps obtaining content.254

       549.    Further, Apps of certain Business Partners (for more on which, see below) had access to

user content and information as well, but users’ App settings simply did not control these Apps’ ability

access user content and information. Indeed, even if users declined any App access, these Business

Partners’ Apps still could access users’ content and information through their Friends that used the
Business Partners’ Apps.

                       (iv)    Facebook Violated Its Pledge Not to Give Content and Information to
                               Advertisers by Permitting Access by Apps, Websites, and Business
                               Partners That Were Also Advertisers.
       550.    During the Class Period, the SRR promised users, “We do not give your content or

information to advertisers without your consent.”255

       551.    The Data Policy confirmed these terms throughout the Class Period, telling users that

their information would be provided to advertisers only after users’ content was removed from it. For

example:

       When we deliver ads, we do not share your information (information that personally
       identifies you, such as your name or contact information) with advertisers unless you give
       us permission. We may provide advertisers with information when we have removed
       your name and other personally identifying information from it or combined it with other
       information so that it no longer personally identifies you.256

       552.    Despite this promise, Facebook allowed third-party Apps and websites to access users’

content, even if the Apps or websites were also advertisers. Nothing in the Data Policy—not even the


252
    DCMS Report, supra note 28, ¶ 81-83.
253
    DCMS Report, supra note 28, ¶ 84.
254
    Id. ¶ 83.
255
    Before August 28, 2009, this portion of the SRR read, “We do not give your content to advertisers.”
256
    Data Use Policy, Facebook (July 10, 2014), https://www.facebook.com/full_data_use_policy
[http://web.archive.org/web/20140710224014/https:/www.facebook.com/full_data_use_policy].

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portion of the Data Policy discussing how an App could access users’ information via a Friend who used

the App or website—disclosed that Apps or websites that advertised on Facebook could access users’

nonpublic content and information. The problem, to put it in graphic terms, was this:




       553.    Facebook also allowed Business Partners to access users’ content even if the Business

Partners were also advertisers, like Amazon and Netflix. Nothing in the Data Policy, not even the

portion of the Data Policy discussing “vendors” or “service providers,” disclosed that Business Partners

that advertised on Facebook could access users’ nonpublic content and information. The problem, once

again, was this:




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                       (v)     By Stripping Metadata from Content and Information, Facebook
                               Violated Its Pledge That Apps Would Respect Users’ Privacy.
       554.    When photos and videos from users passed through Facebook’s Graph API v1.0, the

interface stripped privacy metadata from the photos and videos.

       555.     To understand what it means to strip metadata, one must first understand what metadata

is: it is data about data. The data in a Microsoft Word file, for example, include the characters in the file,

their order, font, size, layout on the page, and so on. Metadata, by contrast, provides context to the data

itself—for example, when the file was created, the user who created it, or the title of the file.

       556.    The data in Facebook had privacy-related metadata, indicating the privacy restrictions

that the user who created the data put on it.

       557.    But when Facebook made photos and videos available to Apps and websites via the

Graph API v1.0, the metadata reflecting the user’s privacy designations associated with the photos and

videos was “stripped” out—even though other metadata remained.

       558.    This means that when a Facebook user used an App, it was impossible for that App to

know, and to abide by, the privacy restrictions that the user had placed on his or her photos and videos.

       559.    This created situations that were directly contrary to what Facebook told users at all

relevant times. It told users, “We require applications to respect your privacy, and your agreement with

that application will control how the application can use, store, and transfer that content and

information.”257 Many (if not most) applications did not affirmatively tell users that their privacy
settings would simply be ignored. Thus, when users used these applications and their privacy settings for

their photos and videos were not obeyed because those settings had been stripped from the data,

Facebook violated its pledge to these users.

               c.      Users Did Not Consent to Misconduct That the Documents Wholly Failed to
                       Disclose.
       560.    The documents wholly failed to disclose large parts of Facebook’s misconduct. Plaintiffs

therefore neither contractually agreed to the misconduct (no express consent) nor had actual notice of


257
    Statement of Rights and Responsibilities, Facebook (June 18, 2010), http://www.facebook.com/terms
[https://web.archive.org/web/20100618224059/http://www.facebook.com/terms.php].

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the misconduct (no implied consent).

                         (i)   Facebook Failed to Disclose Its Data Sharing with Business Partners
       561.    The documents failed to clearly and prominently communicate to users that Facebook

shared users’ non-public content and information with Facebook’s Business Partners at Facebook’s sole

discretion and without any notice.

       562.    Facebook gave users’ content and information to roughly 150 Business Partners,

including Acer, Alibaba, Amazon, Apple, AT&T, Dell, Garmin, Huawei, Microsoft, Qualcomm,

Samsung, Sony, and Warner Brothers.258 Facebook never disclosed this practice. It came to light only

after the Cambridge Analytica scandal as a result of investigative journalism and the subsequent
congressional inquiry.

       563.    To defend its sharing of data with Business Partners, Facebook has pointed to certain

language in its Data Policy. The most expansive pre-2015 version of this language stated that Facebook

might give users’ information to “the people and companies that help us provide, understand and

improve the services we offer,” including “outside vendors” who “help host our website, serve photos

and videos, process payments, analyze data, conduct and publish research, measure the effectiveness of

ads, or provide search results.” Beginning on January 30, 2015, Facebook changed this language

slightly to say that it might send users’ content and information to “[v]endors, service providers, and

other partners who globally support our business.”

       564.    This vague language did not disclose that Facebook gave users’ content and information
to an extraordinarily wide range of entities, such as media and entertainment companies (e.g., Netflix,

Sony, Warner Brothers); software makers (e.g., Microsoft, Opera); companies that make eye-tracking

software (Tobii) and speech-recognition software (Nuance); security firms (Gemalto); digital-commerce


258
   The list that Facebook provided Congress named the following companies: Accedo, Acer, Airtel,
Alcatel/TCL, Alibaba, Amazon, Apple, AT&T, Blackberry, Dell, DNP, Docomo, Garmin, Gemalto,
HP/Palm, HTC, Huawei, INQ, Kodak, LG, MediaTek/Mstar, Microsoft, Miyowa/Hape Esia,
Motorola/Lenovo, Mozilla, Myriad, Nexian, Nokia, Nuance, O2, Opentech ENG, Opera Software,
OPPO, Orange, Pantech, PocketNet, Qualcomm, Samsung, Sony, Sprint, T-Mobile, TIM, Tobii,
U2topia, Verisign, Verizon, Virgin Mobile, Vodafone, Warner Brothers, Western Digital, Yahoo, and
Zing Mobile.

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companies (Alibaba, Amazon); the chip designer Qualcomm; and even the Russian company Yandex

and the Chinese company Huawei. Both Yandex and Huawei are suspected of anti-American espionage.

       565.    Furthermore, Facebook has provided no information whatsoever regarding how these

Business Partners can use users’ content and information.

                      (ii)    Facebook Failed to Disclose Psychographic Profiling.
        566. No language in the SRR or in the Data Policy even hinted that once Facebook had

allowed third parties to access users’ content and information, that content and information could be

aggregated with other information to build psychographic profiles on Facebook users.

        567. As explained in more detail elsewhere in this complaint, these psychographic profiles can
then be used for intrusive psychographic marketing.

                      (iii)   Facebook Failed to Disclose That When Apps and Websites Accessed
                              Data from the Friends of Users, Those Friends’ Privacy Metadata
                              Was Stripped.
       568.    No language in the SRR or in the Data Policy discloses that when Apps or websites

accessed Facebook users’ content and information via a Friend that used the Apps or websites, privacy

metadata was stripped from that content and information.

       569.    Thus, when an App or website accessed a Facebook user’s photos or videos through a

Friend that used the App or website, the metadata striping meant that the App or website could no longer

know the privacy restrictions that the user had placed on the data. Sensitive data meant to be shared with

just a few Friends could thus be made entirely public.

               d.     Users Who Were Not Notified of New Disclosures After Initiating Their
                      Accounts Did Not Provide Consent to the Newly Disclosed Conduct.

                      (i)     Facebook did not notify users of updates to the Data Policy or SRR.
       570.    When the Data Policy or SRR was changed in the three material ways discussed below so

as to make new disclosures, users did not receive notice that the Policy or SRR had been changed,

beyond a revised Policy or SRR being posted to Facebook.

       571.    Because users did not receive notice of these changes, they did not expressly agree to
them. To the extent Facebook claims a contractual power to unilaterally change the SRR or Data Policy



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without notice (beyond posting a revised SRR or Data Policy to the Facebook website), that power is

unenforceable under California law.

       572.    Since the Plaintiffs who signed up before the changes did not receive notice of the

changes, they had no reason to consult, and did not consult, the changed SRR or Data Policy. They

therefore did not impliedly agree to the changes.

                       (ii)   Users who signed up before December 9, 2009 did not consent to
                              allowing third-party Apps and websites to access their content and
                              information via their Friends.
       573.    Before December 9, 2009, the Data Policy at most stated that if a user’s Friends used

third-party applications, those applications “may access and share certain information about you with
others in accordance with your privacy settings. You may opt-out of any sharing of certain or all

information through Platform Applications on the Privacy Settings [hyperlink] page.”259

       574.    The vague statement that the applications could access “certain information about you”

failed to disclose the extraordinarily broad range of information that applications and websites were able

to access using Graph API v1.0, including content that was shared non-publicly like videos, photos and

their metadata which included geolocation information, activities, birthdays, education history,

hometown, interests, likes, habits, medical information, relationships and relationship details.

       575.    In addition, once App Settings became the sole tool that Facebook users had to control

whether and how applications and websites could access their content and information via their Friends,

it became false that users could “opt-out of any sharing” with Apps and websites using their “Privacy
Settings.” And this was always false with regard to Business Partner Apps.

       576.    The SRR also omitted these facts to users who signed up before December 9, 2009. That

is because, before June 8, 2012, the SRR did not contain any language about how applications and

websites could access a user’s content and information via that user’s Friends. When the SRR was

changed on June 8, 2012 to include such language, users were not notified of the change beyond the

mere fact that a revised SRR was posted to the Facebook website. The significance of this change—that


259
    Facebook Principles, Facebook (Jan. 16, 2009), www.facebook.com/policy
[http://web.archive.org/web/20090116032231/facebook.com/policy.php].

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Friends could hand over nonpublic content to any entity they connected with—merited direct, clear

disclosure and express consent from users. Facebook did the opposite, seeking to hide this change

through complex and confusing partial disclosures.

                       (iii)   Users who signed up from December 9, 2009 to April 22, 2010 did not
                               consent to the broad access that applications and websites had to
                               users’ content and information via their Friends.
       577.    From December 9, 2009 to April 22, 2010, the Data Policy had only the following two

things to say about access that third-party Apps and websites had to users’ content and information via

their Friends. First, it said that users could “limit how your friends share your information with

applications through your privacy settings [hyperlink].”260 Second, further along in the Policy, it said,
“You can use your application settings [hyperlink] to limit which of your information your friends can

make available to applications and websites.”261 (There was no disclosure that users could turn off

Friends sharing entirely, for the reason that Facebook did not want users to turn off this back door way

to funnel user content and information to its Business Partners.)

       578.    This language utterly failed to disclose what kind of information Apps could access via a

user’s Friends. At most, it disclosed the bare fact that Apps could access a user’s information via that

user’s Friends. Even then, it did so only by implication—that is, only by noting that users could limit the

information their Friends could share with applications. And of course it was untrue that users could turn

off App sharing with Business Partners.

       579.    Note, moreover, that the Data Policy is internally inconsistent. It first says that a user can
control App sharing using Privacy Settings; it then says that a user can control App sharing using

Application Settings. This internal inconsistency negates consent, because it fails to meaningfully

disclose how App sharing could be controlled.

       580.    The SRR also failed to disclose these facts to users who signed up from December 9,

2009 to April 22, 2010. That is because, before June 8, 2012, the SRR did not contain any language at

all about how applications and websites could access a user’s content and information via that user’s

260
    Facebook’s Privacy Policy, Facebook (Feb. 12, 2010), www. facebook.com/policy
[http://web.archive.org/web/20100212024707/facebook.com/policy.php].
261
    Id.

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Friends. When the SRR was changed on June 8, 2012 to include such language, users were not notified

of the change (beyond the mere fact that a revised SRR was posted to the Facebook website).

                        (iv)    Users who signed up before September 7, 2011 did not consent to any
                                sharing with Business Partners.
          581.   As discussed above, Facebook wholly failed to disclose that Business Partners could

access users’ content and information during the entire Class Period.

          582.   The SRR never contained any language on which Facebook has relied to argue that it

disclosed data sharing with Business Partners. Rather, Facebook has relied only on the Data Policy.

          583.   But even if one were to agree arguendo that the Data Policy disclosed data sharing with
Business Partners at some point and in some form during the Class Period, it wholly failed to disclose

any data sharing with Business Partners before September 7, 2011.

          584.   That is because the Data Policy before September 7, 2011, even at its most expansive,

stated that the “service providers” that Facebook allowed access to user information could “have access

to your personal information for use for a limited time.”262

          585.   If this “limited time” language was ever true, it became totally false once Facebook

allowed Business Partners to have long-term access to users’ content and information.

                 e.     Because the Data Policy Was Not Part of a Contract and Was Not
                        Reasonably Prominent or Accessible, Users Did Not Consent to Two Matters
                        That the Data Policy, but Not the SRR, Disclosed.
          586.   There are two important matters that the SRR never disclosed at any time during the

Class Period.
          587.   First, the SRR never disclosed that users had to use App Settings, not Privacy Settings, to

control whether and how third-party Apps and websites could access their content and information via

their Friends. Even when the SRR could be read to disclose the bare fact that third-party Apps and

websites could access users’ content and information via their Friends, it left users with the impression

that users could control that access using their Privacy Settings. Thus, for example, the SRR stated that

an application could ask for a user’s permission to access “content and information that others have

262
      Id. (emphasis added).


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shared with you.”263 But the SRR failed to specify how that access could be controlled. It simply told

users: “To learn more about Platform, including how you can control what information other people may

share with applications, read our Data Use Policy and Platform Page.”264

       588.    Second, before June 8, 2012, the SRR wholly failed to disclose that third-party

applications could access a user’s content and information via a Friend. Instead, at its most expansive,

the pre-June 8, 2012 version of the SRR simply said, “When you use an application, your content and

information is shared with the application. We require applications to respect your privacy, and your

agreement with that application will control how the application can use, store, and transfer that content

and information. (To learn more about Platform, read our Privacy Policy [hyperlink] and About
Platform [hyperlink] page.)”265 This language discloses that an application will access the content and

information of a Facebook user who uses the application. It does not disclose that an application may

access the content and information of the Friend of a Facebook user who uses the application.

       589.    Facebook argues that these two matters were disclosed; however, in so doing, it has relied

on language in the Data Policy, not the SRR. Facebook’s reliance on the language in the Data Policy is

unavailing, as the Data Policy was never part of a binding contract between users and Facebook, and

hence could not manufacture express consent. Nor was the Data Policy sufficiently noticeable or

accessible that users were on actual notice of it; for that reason, the Data Policy could not manufacture

implied consent either.

                       (i)    Users Did Not Expressly Consent to Sharing with Third-Party Apps
                              and Websites Because the Data Policy Was Not Incorporated into a
                              Binding Contract.
       590.    The Data Policy was never properly incorporated into a binding contract between the

users and Facebook. Users did not agree to the Data Policy when they signed up, and they did not agree


263
    Statement of Rights and Responsibilities, Facebook (Dec. 5, 2012),
https://www.facebook.com/legal/terms
[https://web.archive.org/web/20121205191915/https://www.facebook.com/legal/terms].
264
    Id.
265
    E.g., Statement of Rights and Responsibilities, Facebook (June 18, 2010),
http://www.facebook.com/terms
[https://web.archive.org/web/20100618224059/http://www.facebook.com/terms.php].

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to the Data Policy merely because they agreed to the SRR.

                               (1)     Users did not agree to the Data Policy at sign-up.
       591.    Because the sign-up process changed throughout the Class Period, the reason that

Plaintiffs did not agree to the Data Policy at sign up changed slightly depending on when Plaintiffs first

signed up.

       592.    March 2009 to February 2012. In March 2009, Facebook began to omit any reference to

the Statement of Rights and Responsibilities or the Privacy Policy on its initial sign-up page.266 This

initial screen required the user to fill in fields for their name, email, password, sex, and birthday:




266
   See Chris Glavan, Facebook –Create new account, YouTube (Mar. 5, 2011)
https://www.youtube.com/watch?v=PL8MdQcU9cE; see also Facebook (Mar. 24, 2009),
http://www.facebook.com [https://web.archive.org/web/20090324054710/http://www.facebook.com/];

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       593.    Only after users had filled in these six fields of information and affirmatively clicked

“Sign Up” were they routed to the following page, which was a pop-up screen that asked users to sign

up again after they had already done so, under the guise of a security check:




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       594.    This screen required users to engage in a “Security Check.” This check required users to

type out the displayed words in a text box (a “CAPTCHA” test). The text on the security screen was

distorted such that users would be distracted by and forced to concentrate on the security image.

       595.    Deceptively, on this same screen and in very small font (likely eight-point in contrast to




much larger font above), Facebook placed the following statement below the second sign on screen:

“By clicking Sign Up, you are indicating that you have read and agree to the Terms of Use [hyperlink]

and Privacy Policy [hyperlink].”267 Because users had already submitted their own personal information

and affirmatively agreed to sign up, they could have easily mistaken or not seen this statement.
       596.    From March 2009 to February 2012, then, users did not agree to the Data Policy as it was

not reasonably prominent because (1) the relevant text was small and (2) Facebook affirmatively

directed their attention away from that text by placing large, distorted text elsewhere on the page and

requiring users to concentrate solely on that text.

       597.    February 2012 to April 2018. After February 2012, Facebook changed its sign-up


267
   Chris Glavan, Facebook –Create new account, YouTube (Mar. 5, 2011)
https://www.youtube.com/watch?v=PL8MdQcU9cE.


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process to state: “By clicking Sign Up, you agree to our Terms [hyperlinked] and that you have read our

Data Use Policy [hyperlinked], including our Cookie Use [hyperlinked].”268 Notably—and in contrast

to Facebook’s past language—this statement does not require agreement to the Data Policy. Rather, it

states merely that the user has read the Policy.

                                (2)    Users did not agree to the Data Policy by agreeing to the SRR.
          598.   The SRR contained a “Privacy” section. This section was a mere three sentences that

“encourage[d],” but in no way required, a user to read or consent to the Data Policy.

          599.   This “Privacy” section of the SRR read as follows:

          Your privacy is very important to us. We designed our Privacy Policy [or Data Use Policy]
          [hyperlinked] to make important disclosures about how you can use Facebook to share with
          others and how we collect and can use your content and information. We encourage you to read
          the Privacy Policy [or Data Use Policy], and to use it to help make informed decisions.269
          600.   The SRR did not contain the full text of the Data Policy, did not require users to review

the Data Policy, and did not require any form of affirmative acknowledgement of or consent to the Data

Policy.

          601.   The language that the SRR used to refer to the Data Policy simply did not contain any

indication that the Data Policy was intended to be a legally binding contract between the user and

Facebook.

          602.   At the bottom of the SRR, the Data Policy was hyperlinked in a long list of documents

that Facebook casually suggested users “may also want to review.” Facebook explained in this list that

the “Privacy Policy is designed to help you understand how [they] collect and use information”—in

other words, Facebook presented the information to users as a help page, not an agreement.270

268
    When the “Data Use Policy” was renamed the “Data Policy,” this text began to reference the “Data
Policy.”
269
    See, e.g., Statement of Rights and Responsibilities, Facebook (Aug. 28, 2009),
www.facebook.com/terms.php [http://web.archive.org/web/20090918000730/facebook.com/terms.php];
Statement of Rights and Responsibilities, Facebook (June 8, 2012),
http://www.facebook.com/legal/terms
[http://web.archive.org/web/20120712173816/https://www.facebook.com/legal/terms].
270
    Id.; Statement of Rights and Responsibilities, Facebook (June 18, 2010),
http://www.facebook.com/terms.php?ref=pf
[https://web.archive.org/web/20100618213653/http://www.facebook.com/terms.php?ref=pf].

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       603.    Contrast the way that the SRR used to refer to the Data Policy with what it now says:

                        (ii)   The Data Policy Did Not Create Implied Consent Because It Was Not
                               Reasonably Prominent or Accessible.




       604.    On its home page, Facebook did not prominently display the Data Policy or a hyperlink

to the Data Policy. Moreover, as discussed below, even if users had somehow noticed the hyperlink to

the Data Policy during the sign-up process or otherwise, Facebook at times made it extremely difficult to

read the Data Policy.

       605.    Facebook provided a hyperlink to the Data Policy near the bottom of its home screen.

This hyperlink read in small print, “Privacy.”

       606.    Before September 2011, if a user happened to see and then click on this hyperlink, she

would be routed to one webpage that contained the entire Policy.




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       607.    Beginning by at least September 2011, if users were to click on “Privacy,” they would be

routed to a page that listed subheadings of the “Data Use Policy.” For example:271




       608.    From September 2011 to June 2012, even if users clicked a subheading on this webpage,

they still would not be able to see the contents of the Data Use Policy. Instead, clicking those

subheadings routed users to yet another webpage containing yet more subheadings. Users would then

need to read and click on the subheadings or click “expand all” to actually read the content of the

relevant subsection of the Data Use Policy. For example, if users decided they wanted to read more

about “Sharing with other websites and applications,” they would be routed to a screen that required

271
   Data Use Policy, Facebook (Sept. 22, 2011), http://www.facebook.com/about/privacy/your-info-on-
other [https://web.archive.org/web/20110922195234/http://www.facebook.com/about/privacy/].


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users to go through even more subheadings:272




272
    Sharing with other websites and applications, Facebook (Jan. 12, 2012),
http://www.facebook.com/about/privacy/your-info-on-other
[https://web.archive.org/web/20120112084445/http://www.facebook.com/about/privacy/your-info-on-
other].

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       609.    Thus, from September 2011 to June 2012, if a user wanted to read the actual contents of

the Data Policy, the user would have had to read several subheading descriptions and to click at least

three different hyperlinks before seeing any content. And, if the user wanted to read the full Data

Policy, the user would need to click back and forth between multiple webpages. It would take a user at

least eighteen separate clicks of the mouse to read the entire Data Policy.

       610.    Even after June 2012, Facebook still required users to click on one of the six separate

subheadings of the Data Policy.273 But even with this change, from June 2012 to January 2015, a user

would need to click back and forth at least twelve times in order to read the full contents of the Data

Policy contained within six separate subheadings.
       611.    Starting in January 2015, Facebook again changed the Data Use Policy so that all content

was displayed on one webpage.

       2.      Nothing Outside the SRR and Data Policy Created Consent Either—to the
               Contrary, Statements That Facebook Made Lulled Users into Believing Their
               Privacy Was Protected.
       612.    Just as neither the SRR nor the Data Policy created the consent Facebook has claimed, so

nothing outside the documents created the necessary consent either.

       613.    Merely by way of example, no contemporaneous notice was given each time Facebook

permitted Apps, websites, or Business Partners to access users’ content and information. And when one

user allowed an App to access his or her Friends’ data, Facebook did not give contemporaneous notice

to those Friends, let alone allow those Friends to opt out of the sharing.
       614.    Even now, Facebook has failed to give its users the full picture of what it did with their

data. It still has not informed users which Apps and other third parties have accessed their content and

information. They still have not informed users that their content and information was used for

psychographic marketing.




273
    Other websites and applications, Facebook (Dec. 9, 2012),
https://www.facebook.com/about/privacy/your-info-on-other
[https://web.archive.org/web/20121209131947/https://www.facebook.com/about/privacy/your-info-on-
other].

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       615.    Moreover, the statements that Facebook made and actions it took outside the SRR and

Data Policy affirmatively misled users into expecting that when they used the Privacy Controls to limit

the audience for their content, those Privacy Controls truly did limit that content to the designated

audience.

       616.    Indeed, the extensive Privacy Controls themselves—particularly those Controls that

controlled the audience for individual posts—gave reasonable users the misimpression that they could

use them to control sharing with others. Indeed, because Facebook, for much of the Class Period,

allowed users to designate a limited audience for each individual post, Facebook could easily have

permitted that designation also to limit sharing with third-party Apps, websites, and Business Partners. It
chose not to do so.

       617.    Furthermore, for much of the Class Period, users had to actively sign up in order to

access Facebook. This fact—the fact that Facebook, for much of the Class Period, was a subscriber-only

site—also reinforced users’ reasonable expectation of privacy for content whose audience they limited.

       618.    Finally, throughout the Class Period, Mark Zuckerberg issued repeated reassurances that

Facebook was committed to protecting its users’ privacy and to giving them understandable and

accessible tools to limit the sharing of their data. Far from creating consent, these reassurances helped to

deceive users about the misconduct complained of here.

F.     Facebook’s Sharing User Content and Information with Third Parties Without Users’
       Consent Violates the 2012 Federal Trade Commission Consent Decree
        619. The FTC’s Consent Decree required Facebook to change certain disclosures and practices
because, among other things, Facebook was misleading consumers about its treatment of users’ content

and information. The subject matter of the Consent Decree bears directly on the practices challenged by

this Complaint. Thus, while this action is not brought to enforce the Consent Decree, the FTC’s

previous findings and the agreements Facebook reached with them bear on what reasonable consumers

expected from Facebook.

        620. In December 2009, the nonprofit organization Electronic Privacy Information Center
(“EPIC”), a public interest research center based in Washington, D.C., filed a complaint and request for



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 investigation, injunction, and other relief against Facebook before the Federal Trade Commission

 (“FTC”).274

          621. EPIC’s complaint alleged that the “Facebook Platform transfer[red] Facebook users’

 personal data to application developers without users’ knowledge or consent.”275

          622. The FTC investigated EPIC’s claims. Thereafter, the FTC issued its Complaint on

 November 29, 2011,276 listing a number of instances in which Facebook made promises that it did not

 keep:

             •   In December 2009, Facebook changed its website so certain information that users may

                 have designated as non-public, including their Friends List, was made public. Facebook
                 didn’t warn users about this change or get their approval in advance;

             •   Facebook represented that third-party Apps that users installed would have access only

                 to user information that they needed to operate. In fact, the Apps could access nearly all

                 of users’ personal data—data the Apps didn't need to operate;

             •   Facebook told users they could restrict sharing of data to limited audiences—for

                 example, with Friends. In fact, selecting Friends did not prevent their information from

                 being shared with third-party applications their Friends used;

             •   Facebook claimed it audited and monitored the security practices of Apps participating

                 in its “Verified Apps program,” but the company did not do so;

             •   Facebook shared users’ personal details with advertisers even though they promised not
                 to do so; and

             •   Facebook claimed that it complied with the U.S.-EU Safe Harbor Framework that

                 governs data transfer between the U.S. and the European Union, but failed to do so.277

274
    EPIC Complaint, Request for Investigation, Injunction, and Other Relief, In re Facebook, Inc.
(F.T.C. Dec. 17, 2009), https://www.epic.org/privacy/inrefacebook/EPIC-FacebookComplaint.pdf.
275
    Id. ¶ 54.
276
    FTC Complaint, supra note 75.
277
    Facebook Settles FTC Charges That It Deceived Consumers by Failing to Keep Privacy Promises,
F.T.C. (Nov. 29, 2011), https://www.ftc.gov/news-events/press-releases/2011/11/facebook-settles-ftc-
charges-it-deceived-consumers-failing-keep.


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        623. On November 29, 2011, the FTC announced that Facebook had agreed to settle FTC

 charges that Facebook had “deceived consumers by telling them they could keep their information on

 Facebook private, and then repeatedly allowing it to be shared and made public.”278 On July 27, 2012,

 the FTC finalized and issued its Consent Decree, which ordered, in part, that Facebook:

       [S]hall not misrepresent in any manner, expressly or by implication, the extent to which it
       maintains the privacy or security of covered information, including, but not limited to:

       A.       its collection or disclosure of any covered information;

       B.     the extent to which a consumer can control the privacy of any covered
       information maintained by [Facebook] and the steps a consumer must take to implement
       such controls;

       C.     the extent to which [Facebook] makes or has made covered information
       accessible to third parties;

       D.      the steps [Facebook] takes or has taken to verify the privacy or security
       protections that any third party provides . . . .279

        624. The Consent Decree further ordered, in part, that:

       [P]rior to any sharing of a user’s nonpublic user information by [Facebook] with any
       third party, which materially exceeds the restrictions imposed by a user’s privacy
       setting(s), [Facebook] shall:

       A.      clearly and prominently disclose to the user, separate and apart from any “privacy
       policy,” “data use policy,” “statement of rights and responsibilities” page, or other similar
       document: (1) the categories of nonpublic user information that will be disclosed to such
       third parties, (2) the identity or specific categories of such third parties, and (3) that such
       sharing exceeds the restrictions imposed by the privacy setting(s) in effect for the user;
       and

       B.       obtain the user’s affirmative express consent.280

        625. Facebook violated the Consent Decree by failure to cure the very conduct that was the

 subject of the FTC Complaint:

            •   The FTC Complaint alleged: “Facebook has represented, expressly or by implication,


278
    Id.
279
    FTC Consent Decree, supra note 6, at 3-4.
280
    Id. at 4.

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               that, through their Profile Privacy Settings, users can restrict access to their content and

               information to specific groups, such as [Friends]. In truth and in fact, in many instances,

               users could not restrict access to their profile information to specific groups, such as

               [Friends] through their Profile Privacy Settings. Instead, such information could be

               accessed by [Apps] that their Friends used,” including Business Partners, Whitelisted

               Apps, and advertisers.281 Further, after Facebook discontinued Graph API v1.0, there

               was no way to disable or to control sharing with Whitelisted Apps, including

               advertisers.282

           •   The FTC Complaint alleged: “Facebook has represented, expressly or by implication,
               that Facebook does not provide advertisers with information about its users.”283 But in

               truth and in fact, as described in the FTC Complaint, Facebook has provided advertisers

               with information about its users.284

        626. Facebook also violated the Consent Decree by failing to perform actions required by the

 Consent Decree, including:

           •   Facebook has continued to “misrepresent in any manner, expressly or by implication, the

               extent to which it maintains the privacy or security of covered information,” by putting a

               user’s application-related privacy settings on a page completely different from all other

               privacy settings.285

           •   Facebook shared nonpublic user information with third parties, including Apps,
               Whitelisted Apps, and Business Partners, so as to “materially exceed[] the restrictions

               imposed by a user’s privacy setting(s)”—but it failed to “clearly and prominently

               disclose” details regarding this sharing with users.286


281
    FTC Complaint, supra note 75, ¶¶ 17-18.
282
    Id. ¶ 18.
283
    Id. ¶ 41.
284
    Id. ¶ 42.
285
    FTC Consent Decree, supra note 6, at 3; see also FTC Complaint, supra note 75, ¶¶ 17-18.
286
    FTC Consent Decree, supra note 6, at 4.


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           •   Facebook failed to make any such disclosure separate and apart from its Privacy Policy,

               Data Use Policy, or Statement of Rights and Responsibilities.287

           •   Facebook failed to “obtain the user’s affirmative express consent” before sharing

               nonpublic user information with third parties including Apps, Whitelisted Apps,

               Business Partners, and advertisers; instead, Facebook’s default setting was that users’

               personal information could be shared with third parties via the users’ Friends.288

               Likewise, Facebook obtained no consent from its users for the sharing of their content

               and information with Whitelisted Apps and Business Partners, including advertisers,

               because there were no Privacy Controls or App Settings that controlled such sharing.
        627. Because of these and other apparent violations of the Consent Decree, the FTC reopened

 its investigation of Facebook, as confirmed by the FTC in March 2018.289 As detailed by the New York

 Times, at issue in the FTC’s reopened investigation is whether Facebook violated the Consent Decree

 through conduct such as the following:

           •   Facebook shared user data with more than 150 Business Partners without users’ consent

               and despite users’ privacy settings;

           •   Microsoft’s Bing was allowed to see the names of virtually all Facebook users’ Friends

               without users’ consent;

           •   Netflix, Spotify, and the Royal Bank of Canada were given access to private messages

               of Facebook users, allowing them to read, write, and delete users’ private messages and
               to see all participants on a thread;

           •   Amazon was allowed to obtain users’ names and contact info through their Friends;

           •   Yahoo was allowed to view streams of Friends’ posts as recently as summer 2018;

           •   Facebook allowed Apple to access to the contact numbers and calendar entries of people



287
    Id.
288
    Id.
289
    Statement by the Acting Director of FTC’s Bureau of Consumer Protection Regarding Reported
Concerns About Facebook Privacy Practices, F.T.C. (Mar. 26, 2018), https://www.ftc.gov/news-
events/press-releases/2018/03/statement-acting-director-ftcs-bureau-consumer-protection.

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                who had changed their account settings to disable all sharing, and empowered Apple to

                hide from Facebook users all indicators that its devices were asking for data;

            •   Russian search giant Yandex, which has been accused of funneling data to the Kremlin,

                had access to Facebook’s unique user IDs as recently as 2017, even after Facebook had

                stopped sharing this information with many other applications, citing privacy risks.290

        628. Roger McNamee, an early investor in Facebook, has also weighed in, stating: “I don’t

 believe it is legitimate to enter into data-sharing partnerships where there is not prior informed consent

 from the user.”291

        629. Subsequently, it has been reported that Facebook and the FTC are negotiating a “record-
 setting” fine of approximately $2 billion against Facebook for violating the Consent Decree.292

        630. Moreover, the DCMS Committee considered whether Facebook violated the Consent

 Decree through its subsequent conduct, including that revealed by the Cambridge Analytica Scandal

 and other revelations regarding Business Partners. In its February 14, 2019 report, the DCMS

 Committee found that, after entering into the 2012 Consent Decree, Facebook continued “to override its

 users’ privacy settings in order to transfer data to some App developers” and “to charge high prices in

 advertising to some developers, for the exchange of that data”—and, for this reason, “[i]t seems clear

 that Facebook was, at the very least, in violation of its [FTC] settlement.”293

        631. Moreover, Facebook executive Richard Allan, Vice President of Policy Solutions at

 Facebook, acknowledged to the DCMS Committee that Facebook continued the same conduct at issue
 in the FTC Complaint and Consent Decree for at least two years after Facebook entered into the

 Consent Decree. In particular, the DCMS Report states that, “[w]hen Richard Allan was asked at what

 point Facebook had made such changes to its own systems, to prevent developers from receiving

290
    Dance, et al, As Facebook Raised a Privacy Wall, supra note 158.
291
    Id.
292
    Tony Romm &Elizabeth Dwoskin, U.S. Regulators Have Met to Discuss Imposing a Record-Setting
Fine Against Facebook for Privacy Violations, Wash. Post (Jan. 18, 2019),
https://www.washingtonpost.com/technology/2019/01/18/us-regulators-have-met-discuss-imposing-
record-setting-fine-against-facebook-some-its-privacy-violations/?utm_term=.177c44fd0618.
293
    DCMS Report, supra note 28, ¶ 135.


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 information (which resulted in circumventing Facebook users’ own privacy settings), he replied that the

 change had happened in 2014,” referring “to the change from Version 1 of Facebook’s Application

 Programming Interface (API) to its more restrictive Version 2.”294

        632. In fact, although Facebook announced Graph API v2.0 in 2014, Apps were still allowed

 to access users’ content and information through Graph API v1.0 until 2015. Accordingly, Allan’s

 testimony to the DCMS Committee stands as an admission by Facebook that it violated the Consent

 Decree for approximately three years—and even longer for Whitelisted Apps and Business Partners,

 which maintained access to the content and information of App users’ Friends for years after Facebook

 made the transition to Graph API v2.0.
        633. Moreover, “[i]n reply to a question as to whether CEO Mark Zuckerberg knew that

 Facebook continued to allow developers access to that information, after the agreement, Richard Allan

 replied that Mr. Zuckerberg and ‘all of us’ knew that the platform continued to allow access to

 information.”295 In this regard, the DCMS Report accused Facebook of deceit:

       The fact that Facebook continued to allow this access after the Consent Decree is not new
       information; the new information is the admission by Richard Allan that the CEO and
       senior management— “all of us”—knew that Facebook was continuing to allow the
       practice to occur, despite the public statements about its change of policy. That, people
       might well contest, constituted deceit and we would agree with them.296

        634. Further, Allan argued “that, while Facebook continued to allow the same data access—

 highlighted in the first count of the FTC’s complaint and of which the CEO, Mark Zuckerberg, was

 also aware—that was acceptable due to the fact that Facebook had supposedly put ‘controls’ in place
 that constituted consent and permission.”297 In this regard, Allan testified that “[w]e were confident that

 the controls we implemented constituted consent and permission—others would contest that, but we

 believed we had controls in place that did that and that covered us for that period up to 2014.”298 Thus,


294
    Id. ¶ 68.
295
    Id. ¶ 69 (emphasis added).
296
    Id. ¶ 75 (emphasis added).
297
    Id. ¶ 71.
298
    Id. ¶ 68 (emphasis added).


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 Facebook acknowledged the need to obtain affirmative express consent from users and “admitted to

 [the DCMS Committee] that people might indeed take issue with Facebook’s position.”299

         635. Similarly, Allan’s statement that the only way that Facebook purportedly obtained

 affirmative express consent from users was through “controls” stands as a tacit admission that

 Facebook never obtained affirmative express consent from users. In this regard, Allan “did not specify

 what controls had been put in place by Facebook, but they did not prevent app developers, who were

 not authorised by a user, from accessing data that the user had specified should not to be shared.”300

 Hence, Facebook’s apparent position is that it was already obtaining the affirmative express consent of

 users when the FTC issued its initial complaint. This is unsustainable, as Allan admits: “others would
 contest that.”301

         636. If it had not been for the Cambridge Analytica Scandal, Facebook’s violation of the

 Consent Decree may never have come to light. This is so because “the consent decree’s enforcement

 provision gave Facebook a ‘get out of jail free’ card,” in that “[t]he FTC allowed Facebook to both pick

 and pay the third-party auditor whose certification of compliance with the consent decree would be

 required.”302 For this reason, “Facebook did not have to worry about compliance,” and “received

 passing grades every time, even as it failed to comply with the spirit of the decree.”303

         637. As a result, “requests [by former Facebook privacy manager Sandy Parakilas] for

 engineering resources to enforce the decree were denied with an exhortation to ‘figure it out.’”304

 Consequently, “[i]n the run-up to Facebook’s May 2012 IPO, . . . [a] series of privacy issues emerged
 that related to Facebook Platform, specifically to the tool that enabled third-party Apps to harvest data

 from users’ friends.”305 According to Parakilas, “Facebook’s lack of commitment to user data privacy

 created issues of disclosure and legal liability that could and should have been addressed before the

299
    Id. ¶ 75.
300
    Id. ¶ 74 (emphasis added).
301
    Id. ¶ 68.
302
    McNamee, Zucked: Waking up to the Facebook Catastrophe 189 (2019).
303
    Id.
304
    Id.
305
    Id. at 190.


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 initial public offering.”306 Consequently, [r]ecognizing that Facebook did not intend to enforce the

 spirit of the FTC consent decree—and would blame him if ever there was bad press about it—Sandy

 quit his job.”307

G.      Facebook Has Faced Numerous Regulatory and Governmental Agency Investigations for
        Disregarding the Privacy of Its Users.
        638.      On October 24, 2018, the United Kingdom’s Information Commissioner’s Office

(“ICO”), an independent body set up to uphold information rights, issued the maximum monetary

penalty of £500,000 to Facebook for its transfer of users’ information with consent.308 In the notice, the

ICO set forth the facts underlying its penalty decision, including that Facebook did not obtain informed
consent from users and failed to take adequate steps, such as auditing Apps, to prevent the improper use

of users’ data.

        639.      In its monetary penalty notice, the ICO found that, “to the extent that such processing of

personal data was purportedly based on consent, any such consent was invalid and ineffective, since it

was not freely given, specific, or informed.”309 Similarly, the ICO found that “[i]t was unfair for the

Facebook Companies to rely on a Facebook user’s privacy settings as enabling apps installed by the

user’s Facebook friends to collect extensive personal data from the user’s account,” and Facebook

“ought instead to have ensured that, before access to such personal data took place, the Facebook user:

was informed that the app wished to access such personal data; was told what data was sought, and how

it would be used; and was given the opportunity to give or withhold their consent for such access.”310

Further, Facebook “failed to provide adequate information to Facebook users that this could occur, and
as to the steps that they needed to take to prevent this,” and “[i]ndividuals would not reasonably have

expected their personal data to be collected in this way merely because of a choice made by other

306
    Id.
307
    Id.
308
    Supervisory Powers of the Information Commissioner, Monetary Penalty Notice, Information
Commissioner’s Office (Oct. 24, 2018), https://ico.org.uk/media/action-weve-taken/mpns/2260051/r-
facebook-mpn-20181024.pdf.
309
    Id. at 15.
310
    Id. at 16.


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individuals to use a particular app.”311 Finally, the ICO found that Facebook “took no steps, or no

adequate steps, to guard against such unauthorised or unlawful processing.”312

           640. Regarding this fine, the Information Commissioner, Elizabeth Denham, stated that “[w]e

 fined Facebook because it allowed applications and application developers to harvest the personal

 information of its customers who had not given their informed consent,” such as “friends, and friends

 of friends,” and “then Facebook failed to keep the information safe.”313 Further, the Commissioner said

 that the fact that the ICO “found their business practices and the way applications interact with data on

 the platform to have contravened data protection law” is “a big statement and a big finding.”314

 However, as to rulings imposed by international regulators including the federal privacy commissioner
 in Canada or the ICO, the Commissioner believes that Facebook does not view these rulings “as

 anything more than advice.”315 Based on the evidence given by Facebook executive Richard Allan, the

 Commissioner “thought ‘that unless there is a legal order compelling a change in their business model

 and their practice, they are not going to do it.’”316 The Commissioner also stated, “[c]ompanies are

 responsible for proactively protecting personal information,” and “Facebook broke data protection law,

 and it is disingenuous for Facebook to compare that to email forwarding, because that is not what it is

 about; it is about the release of users’ profile information without their knowledge and consent.”317

          641.     On October 25, 2018, members of the European Parliament adopted a resolution calling

for EU bodies to carry out full investigation of Facebook following the Cambridge Analytica Scandal.318

Members of Parliament stated Facebook breached the trust of EU citizens and violated EU laws.


311
      Id.
312
      Id. at 18.
314
    DCMS Report, supra note 28, ¶ 58.
315
    Id.
316
    Id.
317
    Id., ¶ 57 (emphasis added).
318
    Facebook-Cambridge Analytica: MEPs demand action to protect citizens’ privacy, European
Parliament, (October 25, 2018), http://www.europarl.europa.eu/news/en/press-
room/20181018IPR16525/facebook-cambridge-analytica-meps-demand-action-to-protect-citizens-
privacy.


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Members further recommended that Facebook make changes to its platform to comply with EU data

protection law.

       642.       On December 7, 2018, the Italian Competition Authority (“AGCM”) issued two fines

totaling $11.4 million against Facebook.319 The AGCM found that Facebook misled users into signing

up without fully informing them of the ways that their content and information would be used for

commercial purposes. The AGCM further criticized Facebook for pre-selecting users’ settings to allow

for the sharing of their data to third-party Apps and websites and then discouraging consumers from

changing their settings by telling them that doing so risked “significant limitations” on the usability of

the Facebook Platform and third-party Apps.320
       643.       Lawmakers from nine countries, led by the United Kingdom, have convened to

investigate Facebook’s role in privacy, including lawmakers from Argentina, Belgium, Brazil, Canada,

France, Ireland, Latvia and Singapore.321

       644.       On December 19, 2018, Washington D.C.’s attorney general issued a complaint against

Facebook for its “lax oversight and misleading privacy settings.” The complaint alleges that322:

       First, Facebook misrepresented the extent to which it protects its consumers’ personal
       data, requires third-party developers to respect its consumers’ personal data, and how
       consumers’ agreements with third-party applications control how those applications use
       their data. Second, Facebook failed to adequately disclose to Facebook consumers that
       their data can be accessed without their knowledge or affirmative consent by third-party
       applications downloaded by their Facebook friends. Third, Facebook failed to disclose to
       affected consumers when their data was improperly harvested and used by third-party
       applications and others in violation of Facebook’s policies, such as in the Kogan and

319
    IANS, Italy fines Facebook 10 million euros for misleading users, Financial Express (Dec. 8, 2018,
10:47am), https://www.financialexpress.com/world-news/italy-fines-facebook-10-million-euros-for-
misleading-users/1407281/.
320
    Id.; Alex Hern, Italian regulator fines Facebook £8.9m for misleading users, The Guardian (Dec. 7,
2018), https://www.theguardian.com/technology/2018/dec/07/italian-regulator-fines-facebook-89m-for-
misleading-users.
321
    Natasha Lomas, ‘The problem is Facebook,’ lawmakers from nine countries tell Zuckerberg’s
accountability stand-in, TechCrunch (Nov. 27, 2018), https://techcrunch.com/2018/11/27/the-problem-
is-facebook-lawmakers-from-nine-countries-tell-zuckerbergs-accountability-stand-in/.
322
    Complaint for Violations of the Consumer Protection Procedures Act, D.C. v. Facebook, Inc., No.
2018 CA 008715 B (D.C. Super. Ct., Dec. 19, 2018) http://oag.dc.gov/sites/default/files/2018-
12/Facebook-Complaint.pdf.


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       Cambridge Analytica example. Fourth, compounding these misrepresentations and
       disclosure failures, Facebook’s privacy settings are ambiguous, confusing, and difficult to
       understand. Finally, Facebook failed to disclose that it granted certain companies, many
       of whom were mobile device makers, special permissions that enabled those companies
       to access consumer data and override consumer privacy settings.

       645.     In addition, by April 2018, thirty-seven state attorneys general had opened investigations

into Facebook’s mishandling of user content and information, including related privacy-violation claims.

In January 2019, it was reported that the several of these states had joined their investigations

together.323

        646. Even before the Cambridge Analytica Scandal, numerous legal actions questioned

 Facebook’s commitment to its users’ privacy.

        647. In 2012, for example, Facebook faced a class action lawsuit from users for sharing users’

 “likes” of advertisers without compensation or allowing them to opt out. Facebook settled this case for

 $20 million.

        648. On May 14, 2015, a class action lawsuit was filed against Facebook alleging that

 Facebook’s photo scanning technology violates users’ privacy rights.

        649. In June 2015, the Belgium Privacy Commission filed a lawsuit against Facebook,

 alleging that Facebook broke the privacy law of Belgium and the European Union laws by tracking

 people on third-party sites without first obtaining their consent. In February 2018, a Belgian court

 ordered Facebook to stop this practice or face daily fines.324
        650. In 2016, Germany’s Consumer Federation announced it would fine Facebook €100,000

 for failing to comply with a previous court order requiring Facebook to make clear the extent to which

 users’ intellectual property “could be used by Facebook and licensed to third parties.”

        651. On May 16, 2017, the Dutch and French Data Protection Authorities (“DPA”) announced

323
    Erik Larson, et. al, Facebook Privacy Lapses Art the Target of More Probes in the U.S., Bloomberg
(Jan. 31, 2019), https://www.bloomberg.com/news/articles/2019-01-31/facebook-privacy-lapses-said-to-
be-target-of-more-probes-in-u-s.
324
    Samuel Gibbs, Facebook ordered to stop collecting user data by Belgian court, The Guardian (Feb.
16, 2018), https://www.theguardian.com/technology/2018/feb/16/facebook-ordered-stop-collecting-user-
data-fines-belgian-court.


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 that Facebook had not provided users sufficient control over how their information was being used. The

 French DPA fined Facebook €150,000 for failure to stop tracking non-users’ web activity without their

 consent and transferring personal information to the United States.325 The French DPA stated: “the

 cookie banner and the mention of information collected ‘on and outside Facebook’ do not allow users

 to clearly understand that their personal data are systematically collected as soon as they navigate on a

 third-party website that includes a social plug in.”326

        652. On May 18, 2017, the European Union’s antitrust commission fined Facebook $122

 million for misleading regulators about combining data from the messaging service App WhatsApp.

        653. In September 2017, the Spanish data protection authority (the AEPD) fined Facebook
 €1.2 million ($1.44 million) for its collection of data on “people’s ideologies and religious beliefs, sex

 and personal tastes” without users consent and for not deleting information that was not relevant.

        654. On February 14, 2019, the U.K. House of Common’s DCMS Committee issued its

 Disinformation and ‘Fake News’: Final Report, which represents “the accumulation of many months of

 collaboration with other countries, organisations, parliamentarians and individuals from around the

 world,” for which the DCMS Committee “held 23 oral evidence sessions, received over 170 written

 submissions, heard evidence from 73 witnesses, asking over 4,350 questions at these hearings, and had

 many exchanges of public and private correspondence with individuals and organisations.”327 The

 DCMS Committee also convened, for the purposes of preparing its report, “an ‘International Grand

 Committee’ in November 2018, inviting parliamentarians from nine countries: Argentina, Belgium,
 Brazil, Canada, France, Ireland, Latvia, Singapore and the UK.”328

        655. The DCMS Report directly considered and includes findings regarding the conduct that

 came to light in the Cambridge Analytica Scandal. The DCMS Committee “argues that, had Facebook

 abided by the terms of an agreement struck with US regulators in 2011 to limit developers’ access to

325
    Common Statement by the Contact Group of the Data Protection Authorities of the Netherlands,
France, Spain, Hamburg and Belgium, CNIL (May 16, 2017), https://www.cnil.fr/fr/node/23602.
326
    Id.
327
    DCMS Report, supra note 28, ¶ 6.
328
    Id. ¶ 1.


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 user data, the scandal would not have occurred,” concluding that “[t]he Cambridge Analytica scandal

 was facilitated by Facebook’s policies.”329 Further, “Zuckerberg is also personally criticised by the

 committee in scathing terms, with his claim that Facebook has never sold user data dismissed by the

 report as ‘simply untrue.’”330 Moreover, the DCMS Report “highlights the link between friends’ data

 and the financial value of the developers’ relationship with Facebook,” and states that the Cambridge

 Analytica Scandal has not meaningfully impacted Facebook’s approach to data security: “Facebook

 continues to choose profit over data security, taking risks in order to prioritise their aim of making

 money from user data,” and “[i]t seems clear to us that Facebook acts only when serious breaches

 become public.”331
        656.    The DCMS Report directly accuses Facebook of “intentionally and knowingly

 violat[ing] both data privacy and anti-competition laws.”332 In this regard, the DCMS Report branded

 Facebook as a “digital gangster[]” that consider “to be ahead of and beyond the law.”333 Likewise, by

 his refusal to appear before the DCMS Committee, “Zuckerberg has shown contempt towards both the

 UK Parliament and the ‘International Grand Committee’, involving members from nine legislatures

 from around the world.”334 In conclusion, the DCMS Report states that companies including Facebook

 “must not be allowed to expand exponentially, without constraint or proper regulatory oversight,” and

 that “only governments and the law are powerful enough to contain them.”335

        657. Based on the extensive evidence considered by the DCMS Committee, the DCMS Report

 includes numerous findings and statements regarding and directly relevant to Facebook’s conduct
 resulting in the Cambridge Analytica Scandal, including:

            a. “[T]he advertising profile that Facebook builds up about users cannot be accessed,

329
    David Pegg, Facebook labelled ‘digital gangsters’ by report on fake news (Feb. 17, 2019, 7:01pm),
https://www.theguardian.com/technology/2019/feb/18/facebook-fake-news-investigation-report-
regulation-privacy-law-dcms.
330
    Id.
331
    Id.
332
    DCMS Report, supra note 28 ¶ 136.
333
    Id. ¶ 139.
334
    Id. ¶ 29.
335
    Id. 5.


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                   controlled or deleted by those users. It is difficult to reconcile this fact with the assertion

                   that users own all ‘the content’ they upload”;336

            b. “The Cambridge Analytica scandal was faciliated [sic] by Facebook’s policies. If it had

                   fully complied with the FTC settlement, it would not have happened. . . . Elizabeth

                   Denham, the Information Commissioner, told us: ‘I am very disappointed that Facebook,

                   being such an innovative company, could not have put more focus, attention and

                   resources into protecting people’s data.’ We are equally disappointed”;337

            c. The fact that Apps including Whitelisted Apps and Business Partners “were able to

                   circumvent users’ privacy of platform settings and access friends’ information, even
                   when the user disabled the Platform,” is “an example of Facebook’s business model

                   driving privacy violations”;338

            d. Documents obtained by the DCMS Committee, which had originally been filed under

                   seal in the context of ongoing litigation in the Superior Court of California, County of

                   San Mateo, reveal that “increasing revenues from major app developers was one of the

                   key drivers behind the policy changes [including the shift from Graph API v1.0 to v2.0]

                   made by Facebook. The idea of linking access to friends’ data to the financial value of

                   the developers’ relationship with Facebook was a recurring feature of the documents”;339

            e. These documents also “demonstrate the interlinkages between the value of access to

                   friends’ data to advertising spending, and Facebook’s preferential whitelisting process.”
                   In this regard, “it is clear that spending substantial sums with Facebook, as a condition

                   of maintaining preferential access to personal data, was part and parcel of the company’s

                   strategy of platform development as it embraced the mobile advertising world”;340

            f. These documents include emails from Zuckerberg, including one in which he “discusses



336
    Id. ¶ 41.
337
    Id.¶ 76.
338
    Id.¶ 83.
339
    Id. ¶ 87.
340
    Id.¶¶ 95-96.

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                the concept of reciprocity and data value, and also refers to ‘pulling non-App friends out

                of friends.get,’ thereby prioritising developer: . . . access to data from users who had not

                granted data permission to the developer: access to app friends.” In this email,

                Zuckerberg stated: “We also need to figure out how we’re going to charge for it [access

                to app friends]. I want to make sure this is explicitly tied to pulling non-app friends out

                of friends.get [allowing access to information about app friends]. . . . What I’m

                assuming we’ll do here is have a few basic thresholds of API usage and once you pass a

                threshold you either need to pay us some fixed amount to get to the next threshold or

                you get rate limited at the lower threshold. . . . I think this finds the right balance
                between ubiquity, reciprocity and profit.” On November 19, 2012, Sandberg replied to

                this email, expressing her agreement with this approach, stating, “I like full reciprocity

                and this is the heart of why”;341

            g. The concept of “reciprocity,” to which Zuckerberg and Sandberg refer in the email

                exchange above, “highlights the outlook and the business model of Facebook.

                ‘Reciprocity’ agreements with certain Apps enabled Facebook to gain as much

                information as possible, by requiring Apps that used data from Facebook to allow their

                users to share of their data back to Facebook (with scant regard to users’ privacy)”;342

            h. Another email by Zuckerberg, dated on or around January 24, 2013, demonstrates that

                Facebook denied access to friends data for anticompetitive reasons, “targeting []
                Twitter’s Vine app, a direct competitor to Instagram, by shutting down its use of

                Facebook’s Friends API.” In response to an email advising him of the launch of Vine,

                and Facebook’s plan to “shut down their friends API access today,” as well as

                Facebook’s preparation of “reactive PR,” Zuckerberg responded “Yup, go for it.”343

                Ultimately Twitter shut down its Vine App “in part due to the fact that they could not


341
    Id.¶ 105.
342
    Id.¶ 106.
343
    Id.¶ 116 (emphasis in original).


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                grow their user base”;344

            i. These documents also “reveal[] the fact that Facebook’s profit comes before anything

                else,” and that “Facebook continues to choose profit over data security, taking risks in

                order to prioritise their aim of making money from user data.” Further, “Facebook has

                continually hidden behind obfuscation,” and “[w]hen they are exposed, Facebook ‘is

                always sorry, they are always on a journey,’ as Charlie Angus, MP (Vice-Chair of the

                Canadian Standing Committee on Access to Information, Privacy and Ethics, and

                member of the ‘International Grand Committee’) described them”;345

            j. These documents “indicate[] that Facebook was willing to override its users’ privacy
                settings in order to transfer data to some app developers, to charge high prices in

                advertising to some developers, for the exchange of that data.” Further, from these

                documents “it is evident that Facebook intentionally and knowingly violated both data

                privacy and anti-competition laws,” and “was, at the very least, in violation of its

                Federal Trade Commission settlement”;346 and

            k. “In portraying itself as a free service, Facebook gives only half the story.”347 Ashkan

                Soltani, former Chief Technologist to the FTC, stated that, in fact, Facebook involves a

                transaction involving value provided to Facebook by its users: “it is an exchange of

                personal information that is given to the platform, mined, and then resold to or reused by

                third-party developers to develop Apps, or resold to advertisers to advertise with.”348 In
                this regard, the DCMS Report stated that “[w]e consider that data transfer for value is

                Facebook’s business model and that Mark Zuckerberg’s statement that ‘we’ve never

                sold anyone’s data’ is simply untrue.”349



344
    Id.¶ 117.
345
    Id.¶ 125.
346
    Id. ¶¶ 135-36.
347
    Id. at ¶ 128.
348
    Id.
349
    Id. ¶ 134.

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H.         In the Wake of the Cambridge Analytica Scandal, Facebook Has Acknowledged That It
           Breached Users’ Trust.
           658. On March 21, 2018, Facebook issued a statement acknowledging that it had breached

 users’ trust: “What happened with Cambridge Analytica was a breach of Facebook’s trust. More

 importantly, it was a breach of the trust people place in Facebook to protect their data when they share

 it.”350

           659. Days later, Facebook admitted that its current disclosures and privacy settings were

 confusing and ineffective. On March 28, 2018, Facebook issued a press release stating that it would

 take steps to making their privacy controls easier to find. Facebook stated its purpose in changing these

 controls was to “put people more in control of their privacy.”351

           660. On April 4, 2018, Facebook announced that it would update its documents to “better spell

 out what data we collect and how we use it.”352 Facebook’s statement is an implicit admission that its

 documents were confusing to users. Facebook also announced a series of changes to its third-party

 APIs. Mark Zuckerberg commented on the changes being made to Facebook’s APIs stating: “The basic

 idea here is that you should be able to sign into apps and share your public information easily, but

 anything that might also share other people’s information . . . should be more restricted.”353 This

 statement acknowledges the need to better protect the information from third parties accessing users’

 information through users’ Friends.




350
    Cracking Down on Platform Abuse, Facebook Newsroom (Mar. 21, 2018),
https://newsroom.fb.com/news/2018/03/cracking-down-on-platform-abuse/.
351
    Erin Egan, It’s Time to Make Our Privacy Tools Easier to Find, Facebook Newsroom (Mar. 28,
2018), https://newsroom.fb.com/news/2018/03/privacy-shortcuts/.
352
    Erin Egan, We’re Making Our Terms and Data Policy Clearer, Without New Rights to Use your Data
on Facebook, Facebook Newsroom (Apr. 4, 2018), https://newsroom.fb.com/news/2018/04/terms-and-
data-policy/.
353
    Hard Questions: Q&A With Mark Zuckerberg on Protecting People’s Information, Facebook
Newsroom (Apr. 4, 2018), https://newsroom.fb.com/news/2018/04/hard-questions-protecting-peoples-
information/.

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        661. Facebook has also acknowledged its duty to protect users’ information. On April 9, 2018,




 Facebook placed one of the following three messages at the top of users’ News Feed:354



        662. The blue link allowed users to view what Apps they used and what information they

 shared with Apps. In each message, Facebook stated that it “understand[s] the importance of keeping

 [users’] data safe.” This statement is an acknowledgment of its duty to users.
        663. The DCMS Report analyzed comments made by Facebook’s Richard Allan, wherein

 Allan acknowledged Facebook’s inadequate disclosures:355

               Richard Allan also admitted to us that people might indeed take issue with Facebook’s
               position: “we were confident that the controls we implemented constituted consent and
               permission—others would contest that”. He seemed to justify Facebook’s continued
               allowance of data access by app developers, by stating that the users had given their

354
    Mike Schroepfer, An Update on Our Plans to Restrict Data Access on Facebook, Facebook
Newsroom (Apr. 4, 2018), https://newsroom.fb.com/news/2018/04/restricting-data-access/.
355
    DCMS Report, supra note 28, ¶ 75.

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                consent to this data access. The fact that Facebook continued to allow this access after
                the Consent Decree is not new information; the new information is the admission by
                Richard Allan that the CEO and senior management— “all of us”—knew that
                Facebook was continuing to allow the practice to occur, despite the public statements
                about its change of policy. That, people might well contest, constituted deceit and we
                would agree with them. (Emphasis added)
          664. Facebook’s statements as well as the changes it made to strengthen privacy controls and

 restrict third-party’s access to Friends’ information in the wake of the Cambridge Analytica Scandal are

 an acknowledgment that Facebook breached its duty to protect users’ information.

I.       Facebook’s CEO Authorized Decisions That Gave Rise to Privacy Violations

         1.     Statements by Facebook’s CEO Give Rise to a Duty to Disclose and Admit to Injury
                from Lack of Disclosure.
          665. Defendant Mark Zuckerberg exerts immense personal control over the direction and

 decisions of the Company. When Facebook staged its initial public offering six years ago, it

 implemented a dual-class share structure that allows Zuckerberg to personally control a majority of the

 voting stock even though other investors own the majority of the financial value of the Company. In

 this regard, former Facebook employee and insider Tavis McGinn “realized that even on the inside,

 [he] was not going to be able to change the way that the company does business,” because “Facebook is

 Mark, and Mark is Facebook.”356 Likewise, McGinn stated, “Mark has 60 percent voting rights for

 Facebook. So you have one individual, 33 years old, who has basically full control of the experience of

 2 billion people around the world. That’s unprecedented. Even the president of the United States has

 checks and balances. At Facebook, it’s really this one person.”
          666. Zuckerberg has promised users over and over again that it cares about privacy and that it

 would protect their content and information. In an op-ed in The Washington Post in May 2010,

 Zuckerberg outlined the “principles under which Facebook operates” respecting privacy and users’

 content and information. “You have control over how your information is shared,” he wrote. “We do

 not share your personal information with people or services you don’t want. We do not give advertisers

 access to your personal information. We do not and never will sell any of your information to

356
      McNamee, supra note 302, at 168.


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 anyone.”357

        667. Zuckerberg also created the illusion of security for personal content shared by Plaintiffs.

 Creating “Zuckerberg’s Law,” Zuckerberg built a user base and platform that was designed to

 encourage users to share an endless stream of content and information: “I would expect that next year,

 people will share twice as much information as they share this year, and next year, they will be sharing

 twice as much as they did the year before,” he said. “That means that people are using Facebook, and

 the applications and the ecosystem, more and more.”358

        668. Zuckerberg created this false sense of security by stressing that, while Facebook was built

 on sharing, it “encouraged” privacy. On June 2, 2010, Zuckerberg stated at a f8 conference:

        Privacy is very important to us. I think there are some misperceptions. People use
        Facebook to share and to stay connected. You don’t start off on Facebook being connected
        to your friends, you’ve got to be able to find them. So having some information available
        broadly is good for that. Now, there have been misperceptions that we're trying to make
        all information open, but that’s false. We encourage people to keep their most private
        information private.359

 Facebook did not disclose that, in fact, its default settings were precisely the opposite of what

 Zuckerberg described. A trove of content and information that was the most private and intimate to

 Plaintiffs—such as photographs, videos, “likes,” location information, and “status updates”—were by

 default set to be disclosed to App Developers through their Friends. Facebook also failed to tell users

 that the content and information shared with their Friends would be accessed by Business Partners and

 Whitelisted Apps.

        669. Zuckerberg also made control of content and information by Plaintiffs a foundational

 pledge. Following the FTC’s investigation, he posted on his Facebook page on November 29, 2011,

357
    Mark Zuckerberg, From Facebook, answering privacy concerns with new settings, The Wash. Post
(May 24, 2010), http://www.washingtonpost.com/wp-dyn/content/article/
2010/05/23/AR2010052303828.html.
358
    Saul Hansell, Zuckerberg’s Law of Information Sharing, N.Y. Times (Nov. 6, 2008, 7:03pm),
https://bits.blogs.nytimes.com/2008/11/06/zuckerbergs-law-of-information-sharing/.
359
    Chad Catacchio, Zuckerberg at D8: ‘we recommend privacy settings, we did not change any
settings’, TNW (June 2, 2010), https://thenextweb.com/socialmedia/2010/06/03/
zuckerberg-at-d8-we-recommend-privacy-settings-we-did-not-change-any-settings/.


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        I founded Facebook on the idea that people want to share and connect with people in their
        lives, but to do this everyone needs complete control over who they share with at all
        times. This idea has been the core of Facebook since day one. When I built the first version
        of Facebook, almost nobody I knew wanted a public page on the internet. That seemed
        scary. But as long as they could make their page private, they felt safe sharing with their
        friends online. Control was key. With Facebook, for the first time, people had the tools
        they needed to do this. That’s how Facebook became the world’s biggest community
        online. We made it easy for people to feel comfortable sharing things about their real
        lives.360
        670. In the same post, Zuckerberg doubled down on his promise of privacy and security of

 content and information:

        [G]iving you tools to control who can see your information and then making sure only
        those people you intend can see it. . . . As a matter of fact, privacy is so deeply embedded
        in all of the development we do that every day tens of thousands of servers worth of
        computational resources are consumed checking to make sure that on any webpage we
        serve, that you have access to see each of the sometimes hundreds or even thousands of
        individual pieces of information that come together to form a Facebook page. . . . We do
        privacy access checks literally tens of billions of times each day to ensure we’re enforcing
        that only the people you want see your content. These privacy principles are written very
        deeply into our code.361
 In reality, however, Facebook did not give Plaintiffs the “tools” they needed to prevent their

 information from being shared to App Developers, Business Partners, Whitelisted Apps, advertisers,

 and other third parties.

        671. After a report of court-ordered U.S. government surveillance requests through Facebook

 surfaced in 2014 relating to the National Security Agency’s “Prism” effort,362 Zuckerberg reiterated

 Facebook’s commitment to securing content and information, even though he was aware that Facebook
 had refused to perform audits as recommend by its executives with oversight responsibilities over App

 Developers:



360
    Mark Zuckerberg, Our Commitment to the Facebook Community, Facebook (Nov. 29, 2011),
https://www.facebook.com/notes/facebook/our-commitment-to-the-facebook-
community/10150378701937131/.
361
    Id.
362
    Glenn Greenwald and Ewen MacAskill, NSA Prism program taps in to user data of Apple, Google
and others, The Guardian (June 7, 2013, 3:23pm), https://www.theguardian.com/world/2013/jun/06/us-
tech-giants-nsa-data.


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        To keep the internet strong, we need to keep it secure. That’s why at Facebook we spend
        a lot of our energy making our services and the whole internet safer and more secure. We
        encrypt communications, we use secure protocols for traffic, we encourage people to use
        multiple factors for authentication and we go out of our way to help fix issues we find in
        other people’s services. . . . Unfortunately, it seems like it will take a very long time for
        true full reform. So it’s up to us—all of us—to build the internet we want. Together, we
        can build a space that is greater and a more important part of the world than anything we
        have today, but is also safe and secure.363

        672. Zuckerberg began 2018 by admitting that Facebook had failed to protect Plaintiffs’

 content and information:

        The world feels anxious and divided, and Facebook has a lot of work to do—whether it’s
        protecting our community from abuse and hate, defending against interference by nation
        states, or making sure that time spent on Facebook is time well spent. My personal
        challenge for 2018 is to focus on fixing these important issues. We won’t prevent all
        mistakes or abuse, but we currently make too many errors enforcing our policies and
        preventing misuse of our tools.364

        673. When the Cambridge Analytica Scandal broke in March 2018, Zuckerberg admitted that

 this revelation demonstrated that Facebook had failed to secure Plaintiffs’ content and information:

 “This was clearly a mistake. We have a basic responsibility to protect people’s data, and if we can’t do

 that then we don’t deserve to have the opportunity to serve people.”365

       674.    Zuckerberg also issued a statement on March 21, 2018 acknowledging that the

Cambridge Analytica Scandal is a “breach of trust between Facebook and the people who share their

data with us and expect us to protect it.”366 He announced that due to Facebook’s past errors, it was

“going to review thousands of apps” and that it would be “an intensive process, but this is important.”


363
    Mark Zuckerberg, Facebook (Mar. 13, 2014), https://www.facebook.com/
zuck/posts/10101301165605491.
364
    Mark Zuckerberg, Facebook (Jan. 4, 2018), https://www.facebook.com/zuck/
posts/10104380170714571.
365
    Danielle Wiener-Bronner, Mark Zuckerberg has regrets: ‘I’m really sorry that this happened’, CNN
(Mar. 21, 2018, 10:17pm), http://money.cnn.com/2018/03/21/technology/mark-zuckerberg-
apology/index.html; Mark Zuckerberg in his own words: The CNN interview, CNN (Mar. 21, 2018,
11:35pm), http://money.cnn.com/2018/03/21/technology/mark-zuckerberg-cnn-interview-transcript/.
366
    Mark Zuckerberg, Facebook (Mar. 21, 2018),
https://www.facebook.com/zuck/posts/10104712037900071.


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Zuckerberg conceded, “[T]his is something that in retrospect we clearly should have done, upfront, with

Cambridge Analytica. We should not have trusted the certification that they gave us. And we’re not

gonna make that mistake again. I mean this is our responsibility to our community, is to make sure that

we secure the data that they’re sharing with us.”367

        675. In a Q&A with reporters in April 2018 regarding the Cambridge Analytica Scandal,

 Zuckerberg stated that it is an “idealistic and optimistic company” but that “it’s clear now that we

 didn’t do enough.”368 Zuckerberg further stated:

       We didn’t focus enough on preventing abuse and thinking through how people could use
       these tools to do harm as well. That goes for fake news, foreign interference in elections,
       hate speech, in addition to developers and data privacy. We didn’t take a broad enough
       view of what our responsibility is, and that was a huge mistake. It was my mistake.
        676. In response to a question regarding the company did not audit the use of Graph API from

 the 2010 to 2015 period, Zuckerberg stated:369

       [I]n retrospect, I think we clearly should have been doing more all along. But just to speak
       to how we were thinking about it at the time, as just a matter of explanation, I’m not trying
       to defend this now. . . . I think today, given what we know, not just about developers, but
       across all of our tools, and across what our place in society is, it’s such a big service that’s
       so central in peoples’ lives. I think we need to take a broader view of our responsibility.
       We’re not just building tools, but we need to take full responsibility for the outcome and
       how people use those tools as well. That’s at least why we didn’t do it at the time, but
       knowing what I know today, clearly we should have done more. And we will going
       forward.
        677. In his April 2018 testimony before Congress, Zuckerberg publicly claimed responsibility

 for Plaintiffs’ privacy on the Facebook platform. “We didn’t take a broad enough view of our
 responsibility, and that was a big mistake,” Zuckerberg admitted. “It was my mistake, and I’m sorry. I

 started Facebook, I run it, and I’m responsible for what happens here.” Zuckerberg’s statements


367
    Seth Fiegerman, Mark Zuckerberg tells CNN he is 'happy to' testify before Congress, CNN (Mar. 21,
2018, 9:03 PM ET) (emphasis added), https://money.cnn.com/2018/03/21/technology/mark-zuckerberg-
cnn-interview/index.html?iid=EL.
368
    Hard Questions: Q&A With Mark Zuckerberg on Protecting People’s Information, Facebook
Newsroom (Apr. 4, 2018), https://newsroom.fb.com/news/2018/04/hard-questions-protecting-peoples-
information/.
369
    Id.


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 conceded that Facebook had failed to fulfill its promise that Facebook users owned and controlled their

 content and information: “It’s not enough to just give people control over their information, we need to

 make sure that the developers they share it with protect their information too.”370

       678.    In an end-of-year Facebook post on his own profile, Zuckerberg disclosed that in 2018,

one of his “personal challenges” was “addressing some of the most important issues facing our

community [including] making sure people have control of their information.” Acknowledging

Facebook’s past failure to take any steps in this direction, Zuckerberg explained, “[W]e changed our

developer platform to reduce the amount of information apps can access. . . . We reduced some of the

third-party information we use in our ads systems.”371
        679. Zuckerberg’s statements before and in the wake of the Cambridge Analytica Scandal

 demonstrate that Facebook had failed to secure Plaintiffs’ content and information. They also gave rise

 to numerous duties by Facebook.

        680. On May 27, 2010, Zuckerberg alleged publicly that Facebook required App Developers

 to respect users’ Privacy Settings:

       There’s this false rumor that’s been going around which says that we’re sharing private
       information with applications and it’s just not true. The way it works, is . . . if you choose
       to share some information with everyone on the site, that means that any person can go
       look up that information and any application can go look up that information as well. . . .
       But applications have to ask for permission for anything that you’ve set to be private.372

 These statements gave rise to a duty to inform Plaintiffs about the full extent to which App Developers

 and other third parties including Business Partners and Whitelisted Apps were able to access their
 personal content notwithstanding privacy settings, and to disclose the risk that Facebook would be

 unable to secure content and information that was shared with third parties.

370
    Facebook CEO Mark Zuckerberg Hearing on Data Privacy and Protection, C-SPAN (Apr. 10,
2018), https://www.c-span.org/video/?443543-1/facebook-ceo-mark-zuckerberg-testifies-data-protection
(complete opening statement in Senate Hearing).
371
    Mark Zuckerberg, Facebook (Dec. 28, 2018),
https://www.facebook.com/zuck/posts/10105865715850211.
372
    Mark Memmot, Zuckerberg: Sharing Is What Facebook Is About, NPR All Things Considered (May
27, 2010, 3:42pm), https://www.npr.org/sections/alltechconsidered/2010/05/27/
127210855/facebook-zuckerberg-privacy.

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        681. Zuckerberg went on, making statements that gave rise to an additional duty to disclose

 that Facebook allowed advertisers and marketers to target Plaintiffs by combining their content and

 information with other data:

       Advertisers never get access to your information. We never sell anyone’s information and
       we have no plans to ever do that in the future. Now, in order to run a service like this that
       serves more than 400 million users, it does cost money . . . so we do have to make money
       and the way we do that is through . . . advertising. Advertisers come to us and they say
       what they want to advertise and we show advertisements to people who we think are
       going to be most interested. . . . But at no part in that process is any of your information
       shared with advertisers.373

J.     Facebook’s CEO Drove Initiatives to Erode Privacy and Monetize Access to Content and
       Information.
        682. Under Zuckerberg, Facebook’s guiding principle was “Move fast and break things.

 Unless you are breaking stuff, you are not moving fast enough.”374 This principle was executed through

 a “growth at any cost” corporate culture. In this regard, early Facebook investor and former Zuckerberg

 advisor Roger McNamee describes Facebook’s focus on “growth hacking,” the goal of which “is to

 generate more revenue and profits, and at Facebook those metrics blocked out all other considerations.

 In the world of growth hacking, users are a metric, not people. It is unlikely that civic responsibility

 ever came up in Facebook’s internal conversations about growth hacking.”375

        683. Zuckerberg’s trusted fellow Facebook executive, Andrew Bosworth, articulated this

 vision by saying that the sharing of data

       can be bad if they make it negative. Maybe it costs a life by exposing someone to bullies.
       Maybe someone dies in a terrorist attack coordinated on our tools.

       And still we connect people.

       The ugly truth is that we believe in connecting people so deeply that anything that allows
       us to connect more people more often is *de facto* good. It is perhaps the only area
       where the metrics do tell the true story as far as we are concerned.




373
    Id (emphasis added).
374
    Zoe Henry, Mark Zuckerberg's 10 Best Quotes Ever, Inc., https://www.inc.com/zoe-henry/mark-
zuckerberg-move-fast-and-break-things.html (last visited Feb. 22, 2019)
375
    McNamee, supra note 302, at 76.

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       That isn’t something we are doing for ourselves. Or for our stock price (ha!). It is literally
       just what we do. We connect people. Period.

       That’s why all the work we do in growth is justified.

        684. Post-Cambridge Analytica Scandal, after Bosworth’s comments were published,

 Zuckerberg tried to walk them back, stating, “We’ve never believed the ends justify the means,” but the

 culture of recklessness that Zuckerberg instilled was undeniable.376

        685. Zuckerberg has taken responsibility for Facebook’s privacy policy. In April 2018,

 Zuckerberg stated “the first line of our Terms of Service says that you control and own the information

 and content that you put on Facebook. . . . [Y]ou own [your data] in the sense that you chose to put it
 there, you could take it down anytime, and you completely control the terms under which it’s used.”377

 This statement was false at the time that it was made.

        686. That was not the first time that Zuckerberg misled Facebook users about its privacy

 policy. In May 2010, after reporters found a privacy loophole allowing advertisers to access user

 identification, Zuckerberg promised: “We will add privacy controls that are much simpler to use. We

 will also give you an easy way to turn off all third-party services.”378

        687. In 2011, after Facebook settled the FTC investigation, Zuckerberg stated, “I’m the first to

 admit that we’ve made a bunch of mistakes. . . . Facebook has always been committed to being

 transparent about the information you have stored with us.”379

376
    Ryan Mac, Growth At Any Cost: Top Facebook Executive Defended Data Collection In 2016 Memo
— And Warned That Facebook Could Get People Killed, Buzzfeed (March 29, 2018),
https://www.buzzfeednews.com/article/ryanmac/growth-at-any-cost-top-facebook-executive-defended-
data.
377
    Transcript of Mark Zuckerberg’s Senate hearing, The Washington Post (Apr. 10, 2018)
https://www.washingtonpost.com/news/the-switch/wp/2018/04/10/transcript-of-mark-zuckerbergs-
senate-hearing/?utm_term=.eca9688c6274.
378
    Geoffrey A. Fowler and Chiqui Esteban, 14 Years of Zuckerberg Saying Sorry,
Not Sorry, The Washington Post (Apr. 9, 2018),
https://www.washingtonpost.com/graphics/2018/business/facebook-
zuckerbergapologies/?utm_term=.db1e361d79fd.
379
    Mark Zuckerberg, Our Commitment to the Facebook Community, Facebook (Nov. 19, 2011),
https://www.facebook.com/notes/facebook/our-commitment-to-the-
facebookcommunity/10150378701937131/.


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         688. Following the Cambridge Analytica Scandal, Zuckerberg again misled Facebook users

 into believing that their privacy controls had efficacy, stating, “[T]o prevent abusive apps, we

 announced that we were changing the entire platform to dramatically limit the data apps could access.

 Most importantly, apps like Kogan’s could no longer ask for data about a person’s friends unless their

 friends had also authorized the app.”380 This statement, made in March of 2018, neglected to inform

 Plaintiffs of Facebook’s Business Partners and Whitelisted Apps, which were immune to privacy

 settings.

         689. Zuckerberg is responsible for the direction of Facebook’s strategy with respect to

 granting access to Apps and monetizing Facebook’s platform.
         690. Zuckerberg directed Facebook’s program to generate revenue from Whitelisted Apps in

 exchange for access to Plaintiffs’ content and information.

         691. On October 7, 2012, Zuckerberg wrote an email outlining his goals for monetizing

 content and information by granting Whitelisted Apps access in exchange for revenue generation:

        I’ve been thinking about platform business model a lot this weekend. . . . if we make it so
        devs can generate revenue for us in different ways, then it makes it more acceptable for
        us to charge them quite a bit more for using platform.

        The basic idea is that any other revenue you generate for us earns you a credit towards
        whatever fees you owe us for using pla[t]form. For most developers this would probably
        cover cost completely. So instead of every paying us directly, they’d just use our
        payments or ads products. A basic model could be:

             •   Login with Facebook is always free

             •   Pushing content to Facebook is always free

             •   Reading anything, including friends, costs a lot of money. Perhaps on the order of
                 $0.10/user each year.

        For the money that you owe, you can cover it in any of the following ways:

             •   Buys ads from us in neko or another system


380
   Mark Zuckerberg, Facebook (Mar. 21, 2018),
https://mobile.facebook.com/story.php?story_fbid=10157217558586729&id=20531316728&__tn__=-
R.

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           •   Run our ads in your app or website (canvas apps already do this)

           •   Use our payments

           •   Sell your items in our Karma store.

           •   Or if the revenue we get from those doesn’t add up to more that the fees you owe
               us, then you just pay us the fee directly.381

        692. In this context, it is evident that “Facebook had not protected user data privacy because

 sharing data broadly was much better for its business. Third-party applications increased usage of

 Facebook—time on site—a key driver of revenue and profits. The more time a user spends on

 Facebook, the more ads he or she will see and the more valuable that user will be. From Facebook’s

 perspective, anything that increases usage is good.”382

        693. Zuckerberg also pushed to erode the privacy features of WhatsApp, an encrypted

 communication App acquired by Facebook, seeking to expose users to additional targeted ads, which

 resulted in the departure of WhatsApp’s founder.383

                  V.      PLAINTIFFS SUFFERED INJURY AND DAMAGES AS
                         A DIRECT RESULT OF FACEBOOK’S CONDUCT
        694. Facebook impermissibly collected and curated Plaintiffs’ content and information and

 then sold access to thousands of third parties without Plaintiffs’ knowledge or consent. Facebook’s acts

 enabled data brokers and others to de-anonymize users’ content and information and individually link it

 to Plaintiffs, targeting them with invasive and unwanted content. As a result, Plaintiffs have suffered

 injuries and will suffer ongoing injuries that fall into two principal categories: invasions of their privacy

 and economic injury.

A.     Plaintiffs Suffered Invasions of Their Privacy.
        695. Facebook invaded Plaintiffs’ privacy by disseminating or causing the dissemination of


381
    Note by Damian Collins MP, Chair of the DCMS Committee: Summary of Key Issues from the
Six4Three files, supra note 171.
382
    McNamee, supra note 302, at 192.
383
    Aaron Mak, Another WhatsApp Founder Is Leaving Facebook—Reportedly Over How It Treats User
Data, Slate (Apr. 30, 2018) https://slate.com/technology/2018/04/disagreements-with-facebook-over-
privacy-drive-whatsapps-founder-to-leave-the-company.html.

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 content and information that Plaintiffs reasonably believed was private. Plaintiffs intended those

 communications for limited audiences, primarily Friends. The content included photographs with

 geolocation data and time stamps, videos users had uploaded, accessed, or liked, also with geolocation

 data and time stamps, Plaintiffs’ religious and political beliefs, their relationships, posts, and the pages

 they had liked. From this information, the thousands of third parties to whom access was granted, were

 able to draw inferences about Plaintiffs relating to their health, financial wherewithal and other critical

 issues.

           696. As explained below, Plaintiffs suffered and are suffering ongoing egregious invasions of

 privacy as result of Facebook’s conduct. For example, a user of a dating App like Tinder may have
 wished to keep information relating to that site private. But Facebook gave that information to

 thousands of third parties, which could include potential employers or others who may view such use

 with judgement. Other examples are even more invasive. An App for brassiere company Brayola

 allowed people to scroll through photos of cleavage and give it a thumbs up or down. Users whose

 Friends unwittingly passed on even innocuous seeming photos to them and then downloaded Brayola

 gave their Friends’ photos to the App. The App Hot or Not, which was one of the Whitelisted Apps,

 allows users to rate the attractiveness of photos it has collected.384 Similarly, the App Girls Around Me

 pulled data from Friends to tell App Users who was in the physical vicinity. These are just a few

 examples of unwanted, invasive and harmful uses of the content and information Facebook published

 to its Apps.
           697.   As a result, Plaintiffs experienced, and continue to experience, invasions of privacy and

 a loss of control of their content and information that endanger their financial, medical and emotional

 well-being, now and for the rest of their lives.

       1.         Facebook Has Subjected Its Users to Highly Offensive, Harmful, and Invasive
                  Forms of Psychographic Marketing.
           698. In addition to the privacy intrusions described above, Plaintiffs were harmed by

 psychographic marketing. Psychographic marketing targets Plaintiffs individually and attempts to

384
   Note by Damian Collins MP, Chair of the DCMS Committee: Summary of Key Issues from the
Six4Three files, supra note 171.

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 manipulate them emotionally. Using the content and information that Facebook improperly disclosed to

 Apps, including Whitelisted Apps and Business Partners, third parties including Cambridge Analytica

 directly targeted specific Facebook users including Plaintiffs with advertisements that would be highly

 offensive to a reasonable person. Plaintiffs are and have been personally targeted with polarizing

 content intended to provoke them.

        699. The Cambridge Analytica Scandal provides a specific example of how users are targeted,

 although it is not the only entity to be targeting Facebook users in this way. Cambridge Analytica

 “harvest[ed] the Facebook profiles of millions of people in the U.S., and to use their private and

 personal content and information to create sophisticated psychological and political profiles. And then
 target[ed] them with political ads designed to work on their particular psychological makeup.”385

 “Christopher Wylie, the former [Cambridge Analytica] employee who recently came forward to detail

 how the company improperly acquired personal data from fifty million Facebook users, has said that

 the company used that data to create a ‘psychological warfare mindfuck tool.’”386

        700. Cambridge Analytica developed detailed voting profiles for U.S. and U.K. voters and

 used this information to develop psychographic models to direct messages to U.S. voters. Specifically,

 Cambridge Analytica used the survey responses provided by users of the This Is Your Digital Life App,

 in conjunction with the Personal Information of App users and their Friends that was obtained from

 Facebook, to “effectively take the Facebook likes of its subjects and work backwards, filling in the rest

 of the columns in the spreadsheet to arrive at guesses as to their personalities, political affiliations and
 more.”387 Then, this data was used in combination with other data sets, including voter data and

 consumer data, to identify millions of individual Facebook users and predict their political affiliations



385
    Carole Cadwalladr, ‘I Made Steve Bannon’s Psychological Warfare Tool’: Meet the Data War
Whistleblower, The Guardian (Mar. 18, 2018), https://www.theguardian.com/news/2018/mar/17/data-
war-whistleblower-christopher-wylie-faceook-nix-bannon-trump.
386
    Sue Halpern, Cambridge Analytica and the Perils of Psychographics, The New Yorker (Mar. 30,
2018), https://www.newyorker.com/news/news-desk/cambridge-analytica-and-the-perils-of-
psychographics.
387
    Cadwalladr, ‘I made Steve Bannon’s psychological warfare tool’, supra note 385.


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 and personality types.388 In turn, this enabled Cambridge Analytica to craft and deliver highly

 targeted—and highly offensive—advertisements intended to manipulate the votes of Facebook users,

 such as by encouraging some users to vote or by suppressing other users’ voting intentions.389

          701. Alexander Nix stated that together with voter profiles, Cambridge Analytica used

 Plaintiffs’ content and information to “micro target” individual voters, running “4,000 different

 advertising campaigns—about 1.4 billion impressions.”390 Much of this was on Facebook. In his

 recently published book Zucked, early Facebook investor and former Zuckerberg mentor Roger

 McNamee specifically identifies microtargeting as a threat to democracy: in combination with the

 “persuasive technologies” of platforms such as Facebook, “microtargeting becomes another tool for
 dividing us” and “transforms the public square of politics into the psychological mugging of every

 voter.”391

          702. According to David Carroll, Professor at the Parsons School of Design in New York

 City:

         [Cambridge Analytica] claim to have figured out how to project our voting behavior based on
         our consumer behavior. So it’s important for citizens to be able to understand this because it
         would affect our ability to understand how we’re being targeted by campaigns and how the
         messages that we’re seeing on Facebook and television are being directed at us to manipulate us.
         I think it is a matter of the relationship between privacy and democracy.392
          703. The information provided by Facebook also helped Cambridge Analytica physically

 target people in the privacy of their homes. A report by Switzerland’s Das Magazin revealed that

 “Trump canvassers were provided with an App allowing them to identify the political views and
 personality type of a given house, and the outline conversation scripts that would work with the


388
    Id.
389
    Id.
390
    Statement of Claimant ¶ 20(h), Carroll v. Cambridge Analytica Ltd. [2018] EWHC (QB) (Eng.).
391
    McNamee, supra note 302, 238.
392
    Brent Bambury, Data Mining Firm Behind Trump Election Built Psychological Profiles of Nearly
Every American Voter, CBC Radio (Mar. 20, 2018), https://www.cbc.ca/radio/day6/episode-359-harvey-
weinstein-a-stock-market-for-sneakers-trump-s-data-mining-the-curious-incident-more-1.4348278/data-
mining-firm-behind-trump-election-built-psychological-profiles-of-nearly-every-american-voter-
1.4348283.


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 inhabitants.”393

        704. Plaintiffs have suffered egregious invasions of privacy as a result of this marketing.

 These messages and advertisements would be highly offensive to a reasonable person.

        705. The Cambridge Analytica Scandal also shows how the aggregation and ultimate

 deanonymization of users’ content and information, enables users’ content and information to be

 weaponized against them in incredibly personal ways. Cambridge Analytica sought to “exploit[]

 essentially mental vulnerabilities in certain types of people in the context of making them vote in a

 particular way.”394 For instance, “a neurotic, extroverted and agreeable Democrat could be targeted

 with a radically different message than an emotionally stable, introverted, intellectual one, each
 designed to suppress their voting intention—even if the same messages, swapped around, would have

 the opposite effect.”395

        706. The aggregated stolen data was used to deliver discriminatory and highly offensive

 advertisements to users, including Plaintiffs. For example, Cambridge Analytica sought to target

 African American voters with the goal of suppressing their votes: “Facebook posts were targeted at

 some black voters reminding them of Hillary Clinton’s 1990s description of black youths as ‘super

 predators,’ in the hope it would deter them from voting.”396 Likewise, “[o]ne message used to boost

 rightwing turnout attacked same-sex marriage,” which “was targeting conscientious people. It was a

 picture of a dictionary and it said ‘Look up marriage and get back to me.’ For someone who is

 conscientious, it is a compelling message: a dictionary is a source of order, and a conscientious person

393
    Adam Lusher, Cambridge Analytica: Who Are They, and Did They Really Help Trump Win the White
House?, Independent (Mar. 21, 2018), https://www.independent.co.uk/news/uk/home-news/cambridge-
analytica-alexander-nix-christopher-wylie-trump-brexit-election-who-data-white-house-a8267591.html.
394
    Redazione, Exclusive Interview with Christopher Wylie, the Cambridge Analytica Whistleblower,
Vogue (May 9, 2018), https://www.vogue.it/en/news/daily-news/2018/05/09/interview-with-christopher-
wylie-cambridge-analytica/.
395
    Alex Hern, Cambridge Analytica: How Did It Turn Clicks into Votes?, Guardian (May 6, 2018),
https://www.theguardian.com/news/2018/may/06/cambridge-analytica-how-turn-clicks-into-votes-
christopher-wylie (emphasis added).
396
    Olivia Solon, Cambridge Analytica Whistleblower Says Bannon Wanted to Suppress Voters,
Guardian (May 16, 2018), https://www.theguardian.com/uk-news/2018/may/16/steve-bannon-
cambridge-analytica-whistleblower-suppress-voters-testimony.


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 is more deferential to structure.”397

         707. Likewise, Facebook’s advertising platform has been used to target users based on

 protected characteristics. For example, on July 24, 2018, the Washington State Office of Attorney

 General announced that Facebook signed a legally binding agreement to make changes to its

 “advertising platform by removing the ability of third-party advertisers to exclude ethnic and religious

 minorities, immigrants, LGBTQ individuals and other protected groups from seeing their ads.”398

 Similarly, on August 13, 2018, the Department of Housing and Urban Development (“HUD”) filed a

 complaint against Facebook, stating that “Facebook unlawfully discriminates by enabling advertisers to

 restrict which Facebook users receive housing-related ads based on race, color, religion, sex, familial
 status, national origin and disability.”399

         708. Moreover, and perhaps most disturbingly, Facebook’s platform—including Facebook’s

 Custom Audiences feature—has been used by foreign nationals on behalf of the Russian Federation to

 compromise the integrity of a U.S. Presidential election and to polarize and destabilize the American

 public, threatening U.S. democracy and national security.

         709. First, Facebook revealed that its platform was used to deliver advertisements by Russian

 actors to approximately 10 million Facebook users in the United States in conjunction with the 2016

 elections.400 These advertisements “touch[ed] on topics from LGBT matters to race issues to

 immigration to gun rights,” which mirror the subjects of advertisements placed or tested by Cambridge

 Analytica.401 Shortly thereafter, in detailed disclosures to Congress, Facebook revealed that “Russian


397
    Hern, Cambridge Analytica, supra note 395.
398
    AG Ferguson Investigation Leads to Facebook Making Nationwide Changes to Prohibit
Discriminatory Advertisements on its Platform, Wash. State Office of the Attorney Gen. (July 24, 2018),
https://www.atg.wa.gov/news/news-releases/ag-ferguson-investigation-leads-facebook-making-
nationwide-changes-prohibit.
399
    Housing Discrimination Complaint, Assistant Sec’y for Fair Hous. & Equal Opportunity v.
Facebook, Inc. (Aug. 13, 2018), https://www.hud.gov/sites/dfiles/PIH/documents/HUD_01-18-
0323_Complaint.pdf.
400
    Elliot Schrage, Hard Questions: Russian Ads Delivered to Congress, Facebook Newsroom (Oct. 2,
2017), https://newsroom.fb.com/news/2017/10/hard-questions-russian-ads-delivered-to-congress/.
401
    Id.; see also Cadwalladr, ‘I made Steve Bannon’s psychological warfare tool’, supra note 385.


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 agents intending to sow discord among American citizens disseminated inflammatory posts that

 reached 126 million users on Facebook.”402 According to The New York Times, these revelations—

 published the day before Facebook was set to testify before Congress—go “far beyond” what

 companies including Facebook “have revealed in the past and underline the breadth of the Kremlin’s

 efforts to lever open divisions in the United States using American technology platforms, especially

 Facebook.”403

        710. In Zucked, Roger McNamee puts a fine point on the significance of this disclosure:

       Having denied any role in the Russian interference campaign for eight months, only to
       concede that an internal investigation had uncovered one hundred thousand dollars’
       worth of Russian advertising purchases in rubles, this revelation came as a bombshell.
       The user number represents more than one-third of the US population, but that grossly
       understates its impact. The Russians did not reach a random set of 126 million people on
       Facebook. Their efforts were highly targeted. On the one hand they had targeted people
       likely to vote for Trump with motivating messages. On the other, they identified
       subpopulations of likely Democratic voters who might be discouraged from voting. The
       fact that four million people who voted for Obama in 2012 did not vote for Clinton in
       2016 may reflect to some degree the effectiveness of the Russian interference. . . . In an
       election where only 137 million people voted, a campaign that targeted 126 million
       eligible votes almost certainly had an impact.404

        711. Thus, “Cambridge Analytica and the Trump campaign had exploited Facebook, just as

 the Russians had,” and—in light of the fact that “Cambridge Analytica had been the Trump campaign’s

 primary advisor for digital operations and that Facebook had embedded three employees in the Trump

 campaign to support that effort”—“there could be little doubt that Facebook had willingly engaged with
 Kogan, Cambridge Analytica, and the Trump campaign.” In short, “[i]t was entirely possible that

 Facebook employees had played a direct role in the success of Trump’s digital strategy on

 Facebook.”405

        712. Facebook’s invasions of user privacy—not only its unlawful disclosure of user content


402
    Mike Isaac & Daisuke Wakabayashi, Russian Influence Reached 126 Million Through Facebook
Alone, N.Y. Times (Oct. 30, 2017), https://www.nytimes.com/2017/10/30/technology/facebook-google-
russia.html.
403
    Id.
404
    McNamee, supra note 302, 130-31.
405
    McNamee, supra note 302, 187.

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 and information, but also its enabling and allowing bad actors such as Cambridge Analytica to directly

 target users with highly offensive advertisements designed to prey on users’ psychology in order to

 manipulate and suppress their voting intentions—as well as Facebook’s concomitant reckless and

 willful disregard of a clear and present threat to U.S. election integrity and national security in its

 relentless pursuit of revenue and growth, represents one of the most highly offensive instances of

 conduct by a U.S. corporation in history, and certainly constitutes an egregious violation of social

 norms.

           713. Whistleblower and former Cambridge Analytica Director of Research, Christopher

 Wylie, described Cambridge Analytica’s targeted political advertising as “‘worse than bullying,’”
 because “‘people don’t necessarily know it’s being done to them. At least bullying respects the agency

 of people because they know. So it’s worse, because if you do not respect the agency of people,

 anything that you’re doing after that point is not conducive to a democracy. And fundamentally,

 information warfare is not conducive to democracy.’”406

           714. Similarly, Wylie asserted users perceived advertisements placed in a Facebook user’s

 News Feed with less scrutiny than traditional political advertisements:

          [B]ecause nobody knows that’s happening—the opposition doesn’t know that’s
          happening. If it’s also presented to you as a news item, you as the voter don’t know
          there’s an agenda behind it. If you don’t know who the messenger is, what the agenda is,
          and you don’t see the other side of something, and you keep seeing pieces of information
          that aren’t true or are highly suggestive, and you start making decisions or changing your
          perception of something—that’s deception. That information creates an imbalance of
          power; you haven’t been given to opportunity to see the other side, or to even know why
          it is that you’re seeing that.407

          715.    As such, Plaintiffs are being targeted with political messaging that they did not authorize

 and the messaging is not being identified as such.

           716.   Moreover, the fact that users are not told who is targeting them hinders Plaintiffs’ ability

 to protect themselves. Wylie explained the power of one-way anonymity in spreading disinformation:



406
      Cadwalladr, ‘I made Steve Bannon’s psychological warfare tool’, supra note 385.
407
      Redazione, supra note 394.

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       The way it works is that you set up blogs and news sites—things that don’t look like
       campaign material—and you find people who would be most amenable to this particular
       conspiracy theory, unfact, “alternative fact”. You let them start going down the rabbit
       hole of clicking things. The idea is that you start showing them the same material from all
       these different kinds of sources, so they feel like they see it everywhere, but they don’t
       see it on the news, on CNN or the BBC. They then question why the “establishment”
       doesn’t want them to know something.408

 This manipulation was enabled by the aggregation of the users’ content and information that Facebook

 collected and gave to Kogan over a period of years.

        717. Cambridge Analytica is not the only App to have engaged in such invasive behavior.

 AggregateIQ and 400 other Apps have been suspended by Facebook for engaging in similar activity.
 Likewise, Facebook’s continued to publish user content and information to 5200 Whitelisted Apps even

 after the FTC Consent Decree.

        718. The harm is ongoing. On August 22, 2018, Facebook confirmed that it continues to allow

 advertisers to target Facebook users with advertisements based on data obtained from data brokers,

 stating that it is allowable for “data providers and agencies [to] create, upload and then share certain

 Custom Audiences on behalf of advertisers,” and therefore Facebook is “clarifying [its] terms to make

 it clear that advertisers can do this—they can independently work with partners off our platform to

 create Custom Audiences, as long as they have the necessary rights and permissions to do so.”409

 Allowing users’ content and information to be used in these intrusive ways violates Facebook’s

 promise not to give advertisers’ the content and information of users.

        719. Facebook users, including Plaintiffs, were not aware of and did not consent to receiving

 advertisements targeted directly to them through Facebook’s Custom Audiences feature.

        720. On July 2, 2018, Facebook for the first time started requiring advertisers who wish to

 target specific Facebook users with advertisements to accept responsibility for obtaining permissions



408
    Id.
409
    Introducing New Requirements for Custom Audience Targeting, Facebook Business (June 13, 2018),
https://www.facebook.com/business/news/introducing-new-requirements-for-custom-audience-targeting
(last updated Aug. 22, 2018).


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 from such users.410 TechCrunch notes, “Facebook is trusting advertisers to tell the truth about consent

 for targeting . . . despite them having a massive financial incentive to bend or break those rules,” and,

 although this new requirement “will give Facebook more plausible deniability in the event of a scandal,

 and it might deter misuse,” the fact remains that “Facebook is stopping short of doing anything to

 actually prevent non-consensual ad targeting.”411 Moreover, despite the Cambridge Analytica Scandal,

 Facebook still does not require that users provide affirmative consent before advertiser are allowed to

 directly target users with advertisements through Facebook’s Custom Audiences feature.

        721. Plaintiffs also face greater economic and privacy-related harms due to the aggregation of

 their content and information. There is a fast-growing market for consumer data of this kind. Data is
 aggregated and analyzed for a host of functions, including to create “consumer scores” which predict

 people’s propensity to become ill or pay off debt. Or, as the World Privacy Forum notes in a lengthy

 report, major health insurers are looking to collect data about individuals, such as whether “a couple

 bought hiking boots” or “a woman did a lot of online shopping,” in order to “figure out how much to

 charge people [for healthcare].”412 As such, the collection and dissemination of users’ content and

 information could have a direct effect on something as impactful as how much people pay out-of-

 pocket for healthcare, resulting in economic harm.

        722. Finally, the harm is irreparable. Because of Facebook’s failure to limit the dissemination

 of users’ information to reputable companies, the information is not recoverable. As CEO Zuckerberg

 recently admitted to Congress he “‘can’t really say’” if the Cambridge Analytica is in the hands of




410
    Reuters, Facebook Releases New Privacy Safeguards on How Advertisers Handle Data, NBC News
(June 13, 2018), https://www.nbcnews.com/tech/social-media/facebook-releases-new-privacy-
safeguards-how-advertisers-handle-data-n882781?cid=sm_npd_nn_fb_ma.
411
    John Constine, Facebook Demands Advertisers Have Consent for Email/Phone Targeting,
TechCrunch (June 13, 2018), https://techcrunch.com/2018/06/13/facebook-custom-audiences-consent/.
412
    Pam Dixon and Robert Gellman, The Scoring of America: How Secret Consumer Scores Threaten
Your Privacy and Your Future, World Privacy Forum (Apr. 2, 2014)
http://www.worldprivacyforum.org/wp-
content/uploads/2014/04/WPF_Scoring_of_America_April2014_fs.pdf.


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 Russian operatives.413 Moreover, Christopher Wylie testified that even if user data wasn’t explicitly

 given to the Russians, “‘the scale of the data and the location of the data was made known’ in a way

 that would have made it relatively easy for an operative to access.”414 Wylie added that users’ content

 and information could be used to create an algorithm to target Facebook users with profiles similar to

 those that were obtained by Cambridge Analytica.415

        723. Also troubling are Facebook’s partnerships with Huawei, now accused by the State

 Department of money laundering, bank fraud, and stealing trade secrets. Similarly, Facebook partners

 with Yandex, Russia’s largest search engine, with a “syndication feed that gathers information about

 updates on its Pages and profiles.”416 The New York Times reported that Yandex had access to unique
 user IDs.417 User IDs enable deanonymization because you can use it to look up a person’s name.

        724. Plaintiffs deserve clear disclosures about how Facebook has and is partnering with third

 parties and what content and information it has and is sharing with them.

B.     Plaintiffs Suffered Economic Injury.
        725. Plaintiffs suffered economic injuries which include, but are not limited to, (i) loss of

 benefits in their Facebook experience; (ii) heightened risk of identity theft and fraud; (iii) out-of-pocket

 costs; and (iv) loss of control over, property which has marketable value.

        726. Loss of benefits. When Plaintiffs became Facebook users, they gained access to

 Facebook’s social networking platform in exchange for sharing certain content and information with

 Facebook, conditioned upon their consent to such sharing. While Plaintiffs largely knew that Facebook
 would generate revenue by selling advertising which would be directed to them, it was a material term


413
    Jessica Guynn, Mark Zuckerberg Is Willing to Testify to Congress, Isn’t Sure If the Russians Have
Your Data. and He’s Sorry, USA Today (Mar. 21, 2018),
https://www.usatoday.com/story/tech/news/2018/03/21/mark-zuckerberg-willing-testify-congress-not-
sure-if-russians-have-your-data-and-hes-sorry/448084002/.
414
    Anna Edgerton, Facebook User Data May Have Gone to Russia, Whistle-Blower Says, Bloomberg
(May 16, 2018), https://www.bloomberg.com/news/articles/2018-05-16/facebook-user-data-may-have-
gone-to-russia-whistle-blower-says.
415
    Id.
416
    Yandex and Facebook Strike a Deal, Facebook Newsroom (Oct. 29, 2010),
https://newsroom.fb.com/news/2010/10/yandex-and-facebook-strike-a-deal/.
417
    Dance, et al, As Facebook Raised a Privacy Wall, supra note 158.

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to the bargain that Plaintiffs were promised control over deciding what content was shared as well as

how and with whom it would be disclosed.

       727. Facebook did not honor the terms of this bargain. Although Facebook told Plaintiffs they

owned their own content, in practice Facebook acted as if it did. When Facebook, without notice to

Plaintiffs, shared their content and information with third parties that Plaintiffs had not chosen to share,

Facebook received benefits—revenues associated with increased user activity and sale of additional

data generated by this increase in activity—and transferred costs and harms to Plaintiffs—loss of

privacy and control over their valuable content and information.

       728. As Facebook expanded the scope of access to Plaintiffs’ content and information beyond
that to which Plaintiffs had agreed, users were denied the benefit of a Facebook experience where they

defined the terms of their content sharing. Thus, through Facebook’s actions and inactions, Plaintiffs

have lost benefits. In order to preserve their privacy, users were presented with the choice of: (i)

reducing their participation on Facebook by limiting the content and information they provide about

themselves, (ii) accepting less privacy than that which they were promised; or (iii) ceasing their

participation in Facebook altogether. Each of these options resulted in lost past value for Plaintiffs.

       729. Moreover, Plaintiffs are also harmed prospectively. Plaintiffs’ only options now are: (i)

reducing or ending their participation on Facebook by limiting the content and information they provide

about themselves; or (ii) knowingly accepting less privacy than that which they were promised. Each of

these options deprives Plaintiffs of the remaining benefits of the original bargain.
       730. Further, Plaintiffs were denied the benefit of this information and therefore the ability to

mitigate harms they incurred as a result of Facebook’s impermissible disclosure and publishing of their

content and information.

       731. Risk of identity theft and fraud. Plaintiffs’ content and information is aggregated and

pooled with other data collected by data brokers, including Facebook, to create digital dossiers or

profiles. Through “linking” of data from these various sources, users’ content and information can be

de-anonymized. The disclosure of identifying information such as names of pets, grandparents,
mother’s maiden name, etc. greatly heightens the risk of identity theft and fraud to Plaintiffs because


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such information is often used as “challenge questions” by financial and other institutions seeking to

confirm identities.

       732. Facebook further harmed Plaintiffs when it failed to notify them that their content and

information could be or had been misappropriated via the Cambridge Analytica Scandal and/or by

partnerships with other third parties. As just one example, following the first revelations of Cambridge

Analytica’s psychographic profiling in 2015, Facebook failed to take steps to confirm that Cambridge

Analytica, and any other entities which had unauthorized possession of users’ content and information,

had properly deleted users’ content and information.

       733. Indeed, additional revelations of Facebook’s failures to keep users’ content and
information safe continue unabated, including additional data breaches and other improper sharing.

Facebook’s choice to forego the costs of notification, deletion and other protective action transferred

and imposed upon Plaintiffs further costs from the misappropriation. Without the benefit of notification

and the ability to prevent future harm, Facebook caused Plaintiffs to bear the full burden of the risk of

identity theft and fraud, as well as the ongoing imposition of targeted communications, that would be

highly offensive to a reasonable person, by third parties in possession of users’ content and

information.

       734. The economic risks to Plaintiffs that they must mitigate are real and tangible. The risks of

identity theft and fraud are long term and injure users in a multiplicity of ways including:

compromising their financial accounts, marring their credit ratings and history, preventing their ability
to get loans, risking fraudulent tax filings, the inclusion of misinformation in their medical record

leading to improper and dangerous medical treatment and/or incurring additional costs due to

diminishment or loss of insurance coverage, diminishment or loss of employment opportunities, and

many other potential hardships. Plaintiffs have already suffered diminished security in their personal

affairs and face an expanded and imminent risk of economic harm from identity theft and fraud.

       735. For example, Plaintiffs Steven Akins, Samuel Armstrong, Jason Ariciu, Anthony Bell,

Bridgett Burk, Terry Fischer, Shelly Forman, Tabielle Holsinger, Tyler King, William Lloyd, Jordan
O’Hara, Kimberly Robertson, Cheryl Senko, Tonya Smith, and Charnae Tutt have already experienced


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additional security risks such as phishing attempts, increased phone solicitations, incidents of fraud or

misuse, efforts by hackers trying to access or log in to their Facebook accounts, Friend requests from

trolls or cloned or imposter accounts, and other interference with their Facebook accounts. Plaintiffs

Dustin Short and Tonya Smith have been notified that their content and information is available on the

dark web.

       736. That Plaintiffs may not yet be aware that harm has occurred increases rather than

diminishes their risk because they do not know they are at risk and cannot take specific action to

prevent a known harm. As such, the remaining Plaintiffs also face security risks and are subjected to a

heightened risk of such predatory conduct due to Facebook’s failure to secure their personal content,
including the sale of their content and information on the dark web and illicit databases. Where

Plaintiffs’ content and information is available on the dark web, this imposes further uncompensated

costs on those individuals. The dark web permits criminals further access to users’ content and

information that could potentially allow more serious identity theft or fraud involving an individual’s

other accounts.

       737. Out-of-pocket costs. Facebook knew that users’ content and information was being

collected and aggregated in ways that put Plaintiffs at heightened risk of identity theft and fraud, and

failed to properly inform users of those risks, such that Plaintiffs could reasonably mitigate those

potential harms. Rather, Facebook has placed the burden of mitigating the risk of identity theft and

fraud on Plaintiffs. Following the Cambridge Analytica Scandal, Facebook offered no support to users
who were concerned about the collection of their content and information. In fact, Facebook is still

unable to confirm who has possession of Plaintiffs’ content and information.

       738. As a result, Plaintiffs have paid for credit monitoring and have spent time and money to

protect themselves from the imminent threat of identity theft and fraud. For example, Plaintiff Dustin

Short paid for credit monitoring and to remove inquiries from his credit report in the wake of the

revelations about the Cambridge Analytica Scandal. Likewise, Plaintiffs Anthony Bell paid for credit

monitoring services. Plaintiffs Forman, Herman, Holsinger, King, O’Hara, Senko, Smith, and Tutt use
credit and bank account monitoring services from multiple providers. Plaintiff Fischer has frozen her


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credit and requested fraud alerts from various credit monitoring agencies.

        739. These actions were reasonable in light of the scope of content and information Facebook

collected, as well as the ability of third parties, with which Facebook impermissibly shared users’

content and information, allowing users’ Facebook content and information to be pooled with other

data sources and linked to specific Facebook users. As a result, Plaintiffs have incurred out-of-pocket

costs as a result of Facebook’s harmful conduct, including purchasing credit monitoring or other forms

of identity theft protection services.

        740. This transfer of costs from Facebook to users and benefits from users to Facebook was

deliberate. Facebook engineered APIs that enabled third parties to access users’ content and
information without adhering to users’ privacy settings. Moreover, once this data was in the hands of

the third parties, Facebook took no steps to prevent its use in ways that were contrary to users’

reasonable expectations of privacy.

        741. In failing to mitigate, Facebook avoided costs it should have incurred as a result of its

own actions—both out of pocket and loss of user engagement—and transferred those costs to Plaintiffs;

warning users would have chilled user engagement as well as potential new users from joining

Facebook. It would also have brought scrutiny on the Company, in the form of transaction costs such as

regulatory fines, shareholder concerns, possible executive turnover, and a decline in share price. Some

of these costs have, of course, materialized. Facebook and Zuckerberg were thus not only able to evade

or defer these costs but to continue to accrue value for the Company and to further benefit from the
delay due to the time value of money. Facebook, as of yet, still has not publicly disclosed the third

parties, including App Developers, which received access to users’ content and information.

        742. Thus, Facebook has transferred all of the costs imposed by the unauthorized disclosure

and publication of users’ content and information onto Plaintiffs. Facebook increased mitigation costs

by failing to notify users that their content and information had been disclosed and to alert them at the

earliest time possible so that users could take steps to protect their identities. In addition, Facebook

increased mitigation costs by engaging in acts that furthered both the dissemination of user information
and its aggregation, as well as by its failure to audit third parties who received user information to


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 secure it. For example, Facebook failed to demand and enforce compliance with its policies by its own

 App Developers, including that user content and information not be sold and that it be deleted if

 improperly obtained. In failing to mitigate, Facebook avoided costs it would have incurred, both out of

 pocket and loss of user engagement, and transferred those costs to Plaintiffs.

        743. Loss of control and value. Users also suffered diminished loss of use of their own

 content and information, property which has value to them.

        744. Facebook cannot dispute that users’ content and information is property, and Facebook

 has repeatedly conceded that users own it: “[y]ou own all of the content and information you post on

 Facebook, and you can control how it is shared through your privacy and application settings.”418
 Moreover, the DCMS Report noted that Zuckerberg’s testimony to Congress that users should have

 complete control over their data and that users own all the content they upload and can delete it at will

 was disingenuous and inaccurate: “the advertising profile that Facebook builds up about users cannot

 be accessed, controlled or deleted by those users. It is difficult to reconcile this fact with the assertion

 that users own all ‘the content’ they upload.”419

        745. Users’ content and information also has value. First, there is transactional value to user

 content and information. Indeed, Facebook traded use of its own platform to users in exchange for their

 content and information. Similarly, Facebook traded access to users’ content and information with App

 Developers. Mr. Soltani of the FTC refers to this as “data reciprocity.”420 In exchange for giving App

 Developers access to users’ content and information, App Developers increase user engagement
 whereby Facebook increases its audience and users generate more content and information—both

 resulting in greater revenue for Facebook. Facebook engages in an extensive transactional market of

 data reciprocity with its Business Partners, as set forth above.


418
    Statement of Rights and Responsibilities, Facebook (June 8, 2012), www. facebook.com/legal/terms,
[https://web.archive.org/web/20121205191915/https://www.facebook.com/legal/terms]; Promises,
promises: Facebook's history with privacy, Phys.Org (Mar. 30, 2018), https://phys.org/news/2018-03-
facebook-history-privacy.html.
419
    DCMS Report, supra note 28, ¶ 41 (emphasis added).
420
    Id. ¶ 103.


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        746. Second, there is economic value to user content and information that can be measured in

 dollars. Facebook calculates average revenue per user premised upon the content that users share; the

 current reported average revenue per user was $34 in 2018.421 Indeed, the entire foundation of

 Facebook’s financial success is collecting users’ content and information and making it available to

 those who wish to advertise to them. There is a legitimate business model, involving disclosure and true

 consent, through which user content can be collected and sold. Data brokers exist because of the high

 value of such information. Advertisers, App Developer, and other third parties pay Facebook billions of

 dollars because of the access Facebook provides to users’ content and information, but Facebook does

 not disclose its conduct or obtain true consent.
        747. There also can be no legitimate dispute that there is a market for users’ content and

 information. One study by content marketing agency Fractl has found that an individual’s online

 identity, including hacked financial accounts, can be sold for $1200 on the dark web.422 Facebook

 logins can be sold for approximately $5.20 each. These rates are assumed to be discounted because they

 do not operate in competitive markets, but rather, in an illegal marketplace. If a criminal can sell other

 users’ content, surely users can sell their own. Moreover, it was recently revealed that Facebook paid

 certain underage users for their content and information, evidence once again that user content has

 value.423 In short, there is economic value to users’ data that is greater than zero. The exact number will

 be a matter for experts to determine.

        748. Users were harmed when Facebook took their property. Furthermore, users are harmed
 because Facebook has taken that property and exerted exclusive control over it. The fact that Facebook

 will not give users access to their own dossiers and the content and information Facebook has already

 collected prevents users from selling it. Because Facebook is selling users’ content and information,


421
    Facebook Q4 2018 Results, Facebook (Jan. 30, 2019),
https://s21.q4cdn.com/399680738/files/doc_financials/2018/Q4/Q4-2018-Earnings-Presentation.pdf.
422
    Maria LaMagna, The sad truth about how much your Facebook data is worth on the dark web,
MarketWatch (June 6, 2018), https://www.marketwatch.com/story/spooked-by-the-facebook-privacy-
violations-this-is-how-much-your-personal-data-is-worth-on-the-dark-web-2018-03-20.
423
    Josh Constine, Facebook pays teens to install VPN that spies on them, TechCrunch (Jan. 29, 2019),
https://techcrunch.com/2019/01/29/facebook-project-atlas/.

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 users cannot. Finally, the first sale of users’ content and information diminishes the value of the

 information, because there is a first seller advantage.

      VI.      PLAINTIFFS COULD NOT HAVE DISCOVERED THEIR CLAIMS UNTIL 2018
            749. Facebook has consistently denied that it is careless about user content and information.

            750. Christopher Wylie testified to the U.K. Parliament that in or around July 2014,

 Facebook’s engineers may have assisted Cambridge Analytica with its harvesting of the personal data

 of millions of Facebook users. Wylie testified that, according to Alexander Kogan, when the size of the

 transfer caused Facebook’s platform to throttle the App—thereby effectively disabling the transfer of

 data—Cambridge Analytica reached out to Facebook for assistance.424 Facebook “would have known
 from that moment about the project, because [Kogan would have] had a conversation with Facebook’s

 engineers.”425

            751. Even if the Guardian’s December 2015 article regarding Cambridge Analytica’s use of

 information about Facebook users had obliged Plaintiffs to conduct further investigation to determine

 whether they were among the Facebook users whose content and information was disclosed without

 permission, Plaintiffs would not have been able to uncover the facts underlying their claims.

            752. That is because the relevant facts were in the possession of Facebook and Cambridge

 Analytica, and both refused to disclose them. In the wake of the December 2015 Guardian article,

 Facebook investigated Cambridge Analytica, but never publicly released the results of its investigation

 and until 2018 did not confirm that Plaintiffs’ content and information had been disclosed without their
 permission.

            753. Indeed, Facebook actively concealed the facts.

            754. In June 2016, it secured from Kogan and GSR a non-disclosure agreement about their

 collection of data, obliging them not to disclose the manner in which they obtained and used Plaintiffs’



424
    U.K. House of Commons, Digital, Culture, Media and Sport Comm., Testimony of Christopher
Wylie (Mar. 27, 2018), at Q1336,
http://data.parliament.uk/writtenevidence/committeeevidence.svc/evidencedocument/digital-culture-
media-and-sport-committee/fake-news/oral/81022.pdf.
425
    Id.

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 content and information. In exchange, Facebook waived and released any and all claims against Kogan

 or GSR concerning the data.

        755. Moreover, when Simon Milner, Facebook’s Policy Director for the United Kingdom, the

 Middle East, and Africa, testified to the U.K. Parliament on February 8, 2018, he denied that

 Cambridge Analytica or any of its associated companies had “Facebook user data,” and that, in any

 case, Facebook had “no insight on” how Cambridge Analytica may have gathered data from users on

 Facebook.426

        756. Then, in a February 23, 2018 letter, Cambridge Analytica CEO Alexander Nix falsely

 told Parliament that “Cambridge Analytica does not gather such data,”427 and Facebook did not correct
 or clarify Nix’s false statement.

        757. Four days later on February 27, 2018, Nix testified before Parliament. When asked

 whether any of Cambridge Analytica’s data came from Facebook, Nix replied, “We do not work with

 Facebook data and we do not have Facebook data.”428 Nix also claimed that Cambridge Analytica “did

 not use any personality modelling or ‘psychographics’ in the election, and that it has no access to

 Facebook likes.”429 Once again, Facebook did not correct or clarify these false statements.

        758. Only in March 2018, with the publication of articles by The Guardian and The New York

 Times did it become clear that Plaintiffs should inquire into whether they had been injured by

 Facebook’s misconduct. Thereafter, Facebook informed Facebook users that their content and


426
    U.K. House of Commons, Digital, Culture, Media and Sport Committee, Testimony of Juniper
Downs, et al. (Feb. 8, 2018), at Q447-449,
http://data.parliament.uk/writtenevidence/committeeevidence.svc/evidencedocument/digital-culture-
media-and-sport-committee/disinformation-and-fake-news/oral/78195.pdf.
427
    Alexander Nix, Letter from Alexander Nix, Chief Executive, Cambridge Analytica to Damian
Collins, Chair of the Committee (Feb. 23, 2018),
http://data.parliament.uk/writtenevidence/committeeevidence.svc/evidencedocument/digital-culture-
media-and-sport-committee/fake-news/written/79053.pdf.
428
    U.K. House of Commons, Digital, Culture, Media and Sport Committee, Testimony of Alexander
Nix (June 6, 2018), at Q3288,
http://data.parliament.uk/writtenevidence/committeeevidence.svc/evidencedocument/digital-culture-
media-and-sport-committee/fake-news/oral/84838.html.
429
    Letter from Alexander Nix, supra note 427.


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 information had been released to Cambridge Analytica.

                                        VII.    CHOICE OF LAW
        759. Facebook’s Terms of Service (formerly known as the “Statement of Rights and

 Responsibilities”) contain (and have always contained) a forum selection provision that mandates the

 resolution of any claim—arising either out of the Terms of Service or a person’s use of Facebook—

 exclusively in the U.S. District Court for the Northern District of California and provides that users

 submit to the personal jurisdiction of those courts to litigate those claims.

        760. In addition, the Terms of Service contain (and have contained since at least April 26,

 2011) a California choice-of-law provision.430 The provision ensures that California law applies to “any
 claim that might arise between” a user and Facebook.431

        761. This Court has consistently enforced the California choice of law provision.

                               VIII. CLASS ACTION ALLEGATIONS
       762.     Plaintiffs incorporate by reference all the allegations of this Complaint as though fully set

forth herein.

       763.     Plaintiffs bring this action on behalf of themselves and all others similarly situated

pursuant to Rule 23(b)(2) and 23(b)(3) of the Federal Rules of Civil Procedure.

       764.     Plaintiffs seek to represent the following Classes:

                A.     The Class, which is defined as all Facebook users in the United States and in the

       United Kingdom whose content and information, generated when they were eighteen years of
       age or older, was collected by Facebook and published and/or disclosed to third parties without

       their authorization or consent from January 1, 2007 to the present. The Class contains the

       following Subclasses:

                       i.      The Alabama Subclass, which is defined as all members of the Class

430
    See, e.g., Statement of Rights and Responsibilities, Facebook (Apr. 26, 2011)
http://www.facebook.com/legal/terms
[https://web.archive.org/web/20120529141325/http://www.facebook.com/legal/terms] (“The laws of the
State of California will govern this Statement, as well as any claim that might arise between you and us,
without regard to conflict of law provisions).
431
    Id.

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             who resided in Alabama at the time the content and information they generated was

             collected by Facebook and published and/or disclosed to third parties without their

             authorization or consent.

                    ii.       The Arizona Subclass, which is defined as all members of the Class who

             resided in Arizona at the time the content and information they generated was collected

             by Facebook and published and/or disclosed to third parties without their authorization or

             consent.

                    iii.      The Colorado Subclass, which is defined as all members of the Class

             who resided in Colorado at the time the content and information they generated was
             collected by Facebook and published and/or disclosed to third parties without their

             authorization or consent.

                    iv.       The Delaware Subclass, which is defined as all members of the Class

             who resided in Delaware at the time the content and information they generated was

             collected by Facebook and published and/or disclosed to third parties without their

             authorization or consent.

                    v.        The Florida Subclass, which is defined as all members of the Class who

             resided in Florida at the time the content and information they generated was collected by

             Facebook and published and/or disclosed to third parties without their authorization or

             consent.
                    vi.       The Georgia Subclass, which is defined as all members of the Class who

             resided in Georgia at the time the content and information they generated was collected

             by Facebook and published and/or disclosed to third parties without their authorization or

             consent.

                    vii.      The Idaho Subclass, which is defined as all members of the Class who

             resided in Idaho at the time the content and information they generated was collected by

             Facebook and published and/or disclosed to third parties without their authorization or
             consent.


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                    viii.     The Illinois Subclass, which is defined as all members of the Class who

             resided in Illinois at the time the content and information they generated was collected by

             Facebook and published and/or disclosed to third parties without their authorization or

             consent.

                    ix.       The Indiana Subclass, which is defined as all members of the Class who

             resided in Indiana at the time the content and information they generated was collected by

             Facebook and published and/or disclosed to third parties without their authorization or

             consent.

                    x.        The Iowa Subclass, which is defined as all members of the Class who
             resided in Iowa at the time the content and information they generated was collected by

             Facebook and published and/or disclosed to third parties without their authorization or

             consent.

                    xi.       The Kansas Subclass, which is defined as all members of the Class who

             resided in Kansas at the time the content and information they generated was collected by

             Facebook and published and/or disclosed to third parties without their authorization or

             consent.

                    xii.      The Maryland Subclass, which is defined as all members of the Class

             who resided in Maryland at the time the content and information they generated was

             collected by Facebook and published and/or disclosed to third parties without their
             authorization or consent.

                    xiii.     The Michigan Subclass, which is defined as all members of the Class

             who resided in Michigan at the time the content and information they generated was

             collected by Facebook and published and/or disclosed to third parties without their

             authorization or consent.

                    xiv.      The Missouri Subclass, which is defined as all members of the Class who

             resided in Missouri at the time the content and information they generated was collected
             by Facebook and published and/or disclosed to third parties without their authorization or


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             consent.

                    xv.       The New Jersey Subclass, which is defined as all members of the Class

             who resided in New Jersey at the time the content and information they generated was

             collected by Facebook and published and/or disclosed to third parties without their

             authorization or consent.

                    xvi.      The New York Subclass, which is defined as all members of the Class

             who resided in New York at the time that the content and information they generated was

             collected by Facebook and published and/or disclosed to third parties without their

             authorization or consent.
                    xvii.     The Ohio Subclass, which is defined as all members of the Class who

             resided in Ohio at the time the content and information they generated was collected by

             Facebook and published and/or disclosed to third parties without their authorization or

             consent.

                    xviii. The Oklahoma Subclass, which is defined as all members of the Class

             who resided in Oklahoma at the time the content and information they generated was

             collected by Facebook and published and/or disclosed to third parties without their

             authorization or consent.

                    xix.      The Pennsylvania Subclass, which is defined as all members of the Class

             who resided in Pennsylvania at the time the content and information they generated was
             collected by Facebook and published and/or disclosed to third parties without their

             authorization or consent.

                    xx.       The Tennessee Subclass, which is defined as all members of the Class

             who resided in Tennessee at the time the content and information they generated was

             collected by Facebook and published and/or disclosed to third parties without their

             authorization or consent.

                    xxi.      The Texas Subclass, which is defined as all members of the Class who
             resided in Texas at the time the content and information they generated was collected by


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               Facebook and published and/or disclosed to third parties without their authorization or

               consent.

                       xxii.   The Virginia Subclass, which is defined as all members of the Class who

               resided in Virginia at the time the content and information they generated was collected

               by Facebook and published and/or disclosed to third parties without their authorization or

               consent.

                       xxiii. The Washington Subclass, which is defined as all members of the Class

               who resided in Washington at the time that the content and information they generated

               was collected by Facebook and published and/or disclosed to third parties without their
               authorization or consent.

                       xxiv. The West Virginia Subclass, which is defined as all members of the

               Class who resided in West Virginia at the time that the content and information they

               generated was collected by Facebook and published and/or disclosed to third parties

               without their authorization or consent.

                       xxv.    The Wisconsin Subclass, which is defined as all members of the Class

               who resided in Wisconsin at the time the content and information they generated was

               collected by Facebook and published and/or disclosed to third parties without their

               authorization or consent.

               B.      The Minor Class, which is defined as all Facebook users in the United States and
       in the United Kingdom whose content and information, generated when they were less than

       eighteen years, was collected by Facebook and published and/or disclosed to third parties

       without their authorization or consent from January 1, 2007 to the present.

       765.    As used in this Complaint, “Class Period” refers to the period January 1, 2007 to the

present.

       766.    Excluded from the Classes are Defendants, their current employees, coconspirators,

officers, directors, legal representatives, heirs, successors and wholly or partly owned subsidiaries or
affiliated companies; the undersigned counsel for Plaintiffs and their employees; and the judge and court


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staff to whom this case is assigned. Plaintiffs reserve the right to amend the definitions of the Classes if

discovery or further investigation reveals that the Classes should be expanded or otherwise modified.

       767.    The Classes satisfy the prerequisites of Federal Rule of Civil Procedure 23(a) and the

requirements of Rule 23(b)(3).

       768.    Numerosity and Ascertainability: Plaintiffs do not know the exact size of the Classes or

the identities of the Class Members,432 since such information is the exclusive control of Defendants.

Nevertheless, the Class encompasses millions of individuals, and the Minor Class encompasses—at the

least—thousands of individuals, dispersed throughout the United States and the United Kingdom. Each

of the Subclasses also contains at least thousands, and almost certainly more, individuals. The number of
members in each of the Classes is so numerous that joinder of all members in any of the Classes is

impracticable. The names, addresses, and phone numbers of Class Members are identifiable through

documents maintained by Defendants.

       769.    Commonality and Predominance: The action involves common questions of law and

fact, which predominate over any question solely affecting individual Class Members. These common

questions for Class Members’ priority claims include:
          i.       Whether Facebook gave Plaintiffs and Class Members effective notice of its program
                   to collect their content and information;
         ii.       Whether Defendants obtained authorization or consent from Plaintiffs and Class
                   Members to collect their content and information;
        iii.       Whether Defendants improperly collected Plaintiffs’ and Class Members’ content and
                   information;
         iv.       Whether Facebook represented that Plaintiffs’ and Class Members’ content and
                   information would be protected from disclosure absent their consent;
         v.        Whether Facebook owes any duty to Plaintiffs and Class Members with respect to
                   maintaining, securing, or deleting their content and information;
         vi.       To what degree Facebook has the right to use content and information pertaining to
                   Plaintiffs and Class Members;
        vii.       Whether Facebook owed a legal duty to Plaintiffs and Class Members to exercise due
                   care in collecting, storing, safeguarding, and/or obtaining their content and
                   information;

432
   Here and elsewhere in the complaint, the term “Class Members” refers collectively to Members of all
Classes.

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      viii.      Whether Facebook breached a legal duty to Plaintiffs and Class Members to exercise
                 due care in collecting, storing, safeguarding, and/or obtaining their content and
                 information;
        ix.      Whether the egregious breach of privacy and trust alleged in the Complaint was
                 foreseeable by Facebook;
        x.       Whether Facebook intentionally exposed Plaintiffs’ and Class Members’ content and
                 information to Cambridge Analytica;
        xi.      Whether Defendants violated the Stored Communications Act;
       xii.      Whether Defendants violated Plaintiffs’ and Class Members’ privacy rights;
      xiii.      Whether Facebook’s conduct was an unlawful or unfair business practice under Cal.
                 Bus. & Prof. Code §§ 17200 et seq. (West 2018);
      xiv.       Whether Facebook is a “video tape service provider” under 18 U.S.C. § 2710;
       xv.       Whether Facebook is a provider of electronic communication service to the public
                 pursuant to 18 U.S.C. §§ 2702(a)(1) and 2510(15);
      xvi.       Whether Facebook maintains a facility through which an electronic communication
                 service is provided, pursuant to 18 U.S.C. § 2701(a);
      xvii.      Whether Facebook is a provider of a remote computing service to the public, pursuant
                 to 18 U.S.C. §§ 2702(a)(2) and 2711(2);
     xviii.      Whether “Facebook content,” a term defined below, constitutes electronic
                 communications under 18 U.S.C.§ 2510(12);
      xix.       Whether Plaintiffs and Class Members are “users” or “subscribers” of Facebook’s
                 remote computing service, as the term “user” is defined and/or used in 18 U.S.C. §
                 2510(5) and (13);
       xx.       Whether Plaintiffs and Class Members are “aggrieved person[s]” as that term is
                 defined in 18 U.S.C. § 2510(11);
      xxi.       Whether Plaintiffs’ and the Class Members’ use of Facebook’s messaging systems
                 and transfers of content and information to Facebook constitute electronic
                 communications, pursuant to 18 U.S.C. § 2501(12);
      xxii.      Whether Plaintiffs’ and Class Members’ electronic communications were in
                 electronic storage, pursuant to 18 U.S.C. § 2501(17);
     xxiii.      Whether Facebook knowingly divulged the contents of Plaintiffs and the Class
                 Members’ electronic communications while they were in electronic storage to
                 unauthorized parties in violation of 18 U.S.C. § 2702(a)(1);
     xxiv.       Whether Facebook knowingly divulged the contents of Plaintiffs’ and Class
                 Members’ electronic communications that were carried or maintained on Facebook’s
                 remote computing service to unauthorized parties in violation of 18 U.S.C. §
                 2702(a)(2);
      xxv.       Whether Plaintiffs and Class Members have suffered an injury as a result of
                 Facebook’s violations of the Stored Communications Act;

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     xxvi.       Whether Facebook profited from its acts that violate the Stored Communications Act;
     xxvii.      Whether Facebook’s violation of the Stored Communications Act was committed
                 willfully and intentionally;
    xxviii.      Whether Plaintiffs and Class Members are “consumers” as that term is defined in 18
                 U.S.C. § 2710;
     xxix.       Whether Plaintiffs’ and Class Members’ data that Facebook possessed contained
                 “personally identifiable information” as that term is defined in 18 U.S.C. § 2710;
      xxx.       Whether Facebook knowingly allowed third parties access to Plaintiffs’ and Class
                 Members’ personally identifiable information in violation of the Video Privacy
                 Protection Act;
     xxxi.       Whether Plaintiffs and the other Class Members are “aggrieved person[s]” as that
                 term is defined by 18 U.S.C. § 2710;
     xxxii.      Whether Facebook suppressed facts which it was bound to disclose to Plaintiffs and
                 Class Members about the privacy of their user content and information;
    xxxiii.      Whether Facebook gave information of facts that were likely to mislead Plaintiffs and
                 Class Members about the privacy of their user content and information;
    xxxiv.       Whether Facebook failed to disclose known risks that third-party App Developers
                 would sell or disperse Plaintiffs’ and Class Members’ user content and information
                 without their consent;
     xxxv.       Whether Facebook violated the terms of an October 2012 FTC settlement by
                 continuing to allow App Developers access to Plaintiffs and Class Members’ user
                 content and information without their consent;
    xxxvi.       Whether Facebook failed to audit whether and how Plaintiffs’ and Class Members’
                 user content and information was provided to third parties;
   xxxvii.       Whether Facebook failed to disclose to Plaintiffs and Class Members the risks that
                 each faced from the disclosure of their user content and information;
   xxxviii.      Whether Facebook failed to inform Plaintiffs and Class Members that their user
                 content and information was insecure once it was shared with App Developers or
                 other third parties;
    xxxix.       Whether Facebook knew that Plaintiffs’ and Class Members’ user content and
                 information was not secure;
        xl.      Whether Facebook ignored warnings that audits were necessary to secure Plaintiffs’
                 and Class Members’ user content and information;
       xli.      Whether Facebook intentionally failed to secure Plaintiffs’ and Class Members’
                 information and content;
      xlii.      Whether Facebook had a duty to inform Plaintiffs and Class Members that Facebook
                 had become aware that it had failed to secure Plaintiffs’ and Class Members’ user
                 content and information;



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      xliii.     Whether Facebook intentionally concealed that Plaintiffs’ and Class Members’ user
                 content and information was insecure;
      xliv.      Whether Facebook failed to disclose to Plaintiffs and Class Members that it had not
                 secured their user content and information;
       xlv.      Whether Facebook failed to disclose to Plaintiffs and Class Members the risks that
                 each faced from Facebook’s failure to secure user content and information;
      xlvi.      Whether Facebook intended to deceive Plaintiffs and Class Members about the
                 security of their user content and information;
     xlvii.      Whether Plaintiffs and Class Members were damaged as a result of Facebook’s
                 deceit;
    xlviii.      Whether Facebook misled Plaintiffs and Class Members to believe that Facebook was
                 protecting users’ privacy;
      xlix.      Whether Facebook failed to disclose to or deceived Plaintiffs and Class Members that
                 Facebook was sharing their users’ content and information with third parties;
          l.     Whether Facebook failed to disclose that, notwithstanding privacy settings that
                 purported to provide Plaintiffs and Class Members with control over their user
                 content and information, Facebook allowed third parties to harvest and store
                 Plaintiffs’ and Class Members’ personal information;
         li.     Whether Facebook had a duty to provide accurate information to Plaintiffs and Class
                 Members about how their user content and information was disclosed to third parties;
        lii.     Whether Facebook encouraged Plaintiffs and Class Members to share content and
                 information by assuring them that Facebook would respect their choices concerning
                 privacy;
       liii.     Whether Facebook intentionally concealed how it disclosed Plaintiffs’ and Class
                 Members’ user content and information and whether it did so to create a false sense
                 of security and privacy for Plaintiffs and Class Members;
       liv.      Whether Facebook intentionally concealed how it disclosed Plaintiffs’ and Class
                 Members’ user content and information in order to increase its revenues;
        lv.      Whether Plaintiffs and Class Members were damaged because their user content and
                 information were disclosed to third party device makers and other Business Partners
                 without their consent;
       lvi.      Whether Facebook failed to disclose to Plaintiffs and Class Members how their user
                 content and information was being collected, shared and aggregated to develop digital
                 profiles or dossiers of each user;
      lvii.      Whether Facebook had a duty to disclose the full extent to which it allowed Plaintiffs
                 and Class Members to be targeted by advertisers and marketers;
      lviii.     Whether Facebook knew that advertisers and marketers were targeting Plaintiffs and
                 Class Members with messages based upon Facebook-derived content and
                 information;


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       lix.      Whether Facebook failed to disclose to Plaintiffs and Class Members that advertisers
                 were combining data from data brokers with Facebook-derived content and
                 information to target them with advertisements and psychographic marketing, as well
                 as building digital dossiers of users;
        lx.      Whether Facebook intended to deceive Plaintiffs and Class Members about their
                 vulnerability to targeted advertisements;
       lxi.      Whether Facebook has been unjustly enriched by virtue of its deceit concerning user
                 content and information disclosure and aggregation for advertisers;
      lxii.      Whether Facebook must disgorge its profits made from the use of Plaintiffs’ and
                 Class Members’ content and information;
      lxiii.     Whether Plaintiffs and Class Members had a reasonable expectation that their user
                 content and information they entrusted to Facebook would be protected and secured
                 against access by unauthorized parties and would not be disclosed to or obtained by
                 unauthorized parties, or disclosed or obtained for any improper purpose;
      lxiv.      Whether Facebook intentionally intruded upon the private affairs and concerns of
                 Plaintiffs and Class Members;
       lxv.      Whether Facebook intrusions upon the private affairs and concerns of Plaintiffs and
                 Class Members were substantial, and would be highly offensive to a reasonable
                 person;
      lxvi.      Whether Plaintiffs and Class Members did not consent to Facebook’s intrusions upon
                 their private affairs and concerns;
     lxvii.      Whether Plaintiffs and Class Members suffered actual and concrete injury as a result
                 of Facebook’s intrusions upon Plaintiffs’ and Class Members’ private affairs and
                 concerns;
    lxviii.      Whether Plaintiffs and Class Members are entitled to relief for their injuries that
                 resulted from Facebook’s intrusion upon Plaintiffs’ and Class Members’ private
                 affairs and concerns;
      lxix.      Whether Facebook published private content and information of Plaintiffs and Class
                 Members to unauthorized parties and failed to take reasonable steps to prevent further
                 dissemination of this content and information;
       lxx.      Whether Facebook’s publication of Plaintiffs’ and Class Members’ user content and
                 information would be highly offensive to a reasonable person;
      lxxi.      Whether Plaintiffs’ and Class Members’ content and information was private and not
                 of legitimate public concern or substantially connected to a matter of legitimate
                 public concern;
     lxxii.      Whether Plaintiffs and Class Members suffered injury as a result of Facebook’s
                 publication of Plaintiffs’ and Class Members’ content and information;
    lxxiii.      Whether Facebook and Plaintiffs and Class Members mutually assented to, and
                 therefore were bound by the version of Facebook’s Statement of Rights and
                 Responsibilities or later, the Terms of Service, (collectively, the “Contracts”) that was


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                 operative at the time each of the Plaintiffs or a member of the Classes joined
                 Facebook;
     lxxiv.      Whether the Contracts required Facebook to protect the content and information of its
                 users, including Plaintiffs and Class Members;
     lxxv.       Whether the Contracts failed to form or obtain consent to share Plaintiffs’ and Class
                 Members’ user content and information with advertisers and other third parties and/or
                 failed to disclose that such information would be shared if users’ Friends entered into
                 an agreement which permitted third parties to collect their Friends’ information;
     lxxvi.      Whether Facebook made it unreasonably difficult for Plaintiffs and Class Members to
                 access the provisions of the Privacy and Data Use Policies, and particularly the
                 provision of the Privacy and Data Use Policies disclosing Friend-of-user sharing;
    lxxvii.      Whether Facebook made it unreasonably difficult for Plaintiffs and Class Members to
                 understand which privacy settings governed how third-party applications and
                 advertisers could access users’ content and information via Friend-of user sharing;
   lxxviii.      Whether Facebook failed to adequately explain to Plaintiffs and Class Members that a
                 user’s “Privacy Settings” were ineffective in controlling whether users’ content and
                 information was shared via Friend-of-user sharing;
     lxxix.      Whether, contrary to the Contracts, Facebook knowingly allowed Doe Defendants to
                 sell the content and information regarding Plaintiffs and Class Members that they had
                 collected via applications that used the Facebook platform;
     lxxx.       Whether Plaintiffs’ and Class Members’ content and information has value;
     lxxxi.      Whether Facebook breached the Contracts;
    lxxxii.      Whether Facebook owed a duty to Plaintiffs and Class Members to exercise
                 reasonable care in the obtaining, using, and protecting of their content and
                 information, arising from the sensitivity of their content and information and the
                 expectation that their content and information was not going to be shared with third
                 parties without their consent;
   lxxxiii.      Whether Facebook owed a duty to timely disclose to Plaintiffs and Class Members
                 that Facebook had allowed their content and information to be accessed by third
                 parties;
   lxxxiv.       Whether Facebook knew that the content and information of Plaintiffs and Class
                 Members had value;
    lxxxv.       Whether Facebook failed to take reasonable steps to prevent harm to Plaintiffs from
                 known threats to the security to Plaintiffs’ and Class Members’ user content and
                 information;
   lxxxvi.       Whether Facebook breached the duties of care it owed to Plaintiffs and Class
                 Members;
   lxxxvii.      Whether Plaintiffs and Class Members were foreseeable victims of Facebook’s
                 breach of its duties;



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  lxxxviii.      Whether, as a result of Facebook’s negligent failure to safeguard Plaintiffs’ and Class
                 Members’ content and information, Plaintiffs and Class Members have suffered
                 injuries;
   lxxxix.       Whether the injuries to Plaintiffs and Class Members were proximate, reasonably
                 foreseeable results of Facebook’s breaches of its duties of care;
       xc.       Whether it is reasonable for Plaintiffs and Class Members to obtain identity
                 protection and/or credit monitoring services in light of Facebook’s breach of its duties
                 of care;
       xci.      Whether public policy would void any purported waiver of liability to which
                 Facebook may claim;
      xcii.      Whether Facebook’s conduct constitutes gross negligence;
     xciii.      Whether Plaintiffs and Class Members have a privacy right to their user content and
                 information under Art. I, Sec. 1 of the California Constitution;
     xciv.       Whether Facebook violated Plaintiffs’ and Class Members’ constitutionally-protected
                 right to privacy;
      xcv.       Whether Facebook violated the common law prohibition on the use of a person’s
                 name or likeness to its own advantage;
     xcvi.       Whether Facebook failed to obtain consent from Plaintiffs and Class Members to use
                 their likenesses;
     xcvii.      Whether Plaintiffs and Class Members received no compensation in return for
                 Facebook’s use of their likenesses;
    xcviii.      Whether Plaintiffs and Class Members were harmed by Facebook’s improper use of
                 their likenesses;
     xcix.       Whether Facebook knowingly obtained benefits from Plaintiffs and Class Members
                 under circumstances such that it would be inequitable and unjust for Facebook to
                 retain them;
         c.      Whether Facebook is a “person” as defined by Ala. Code § 8-19-3(5);
        ci.      Whether Facebook’s products and services are “goods” and “services” as defined by
                 Ala. Code § 8-19-3(3), (7);
       cii.      Whether Facebook advertised, offered, or sold goods or services in Alabama and
                 engaged in trade or commerce directly or indirectly affecting the people of Alabama
                 as defined by Ala. Code § 8-19-3(8);
      ciii.      Whether Facebook engaged in unconscionable, false, misleading or deceptive
                 practices in connection with its business, commerce and trade practices in violation of
                 Ala. Code § 8-19-5(27);
       civ.      Whether Facebook acted intentionally, knowingly, and maliciously to violate
                 Alabama’s Deceptive Trade Practices Act, and recklessly disregarded the Alabama
                 Plaintiff’s and the Alabama Subclass members’ rights;
       cv.       Whether Facebook is a “person” as defined by Colo. Rev. Stat. Ann. § 6-1-102(6);

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       cvi.      Whether the Colorado Plaintiff and Colorado Subclass members, as well as the
                 general public, are actual or potential consumers of the services offered by Facebook
                 to actual consumers;
      cvii.      Whether Facebook engaged in deceptive trade practices in the course of its business,
                 in violation of Colo. Rev. Stat. Ann. § 6-1-105(1)(u);
     cviii.      Whether Facebook engaged in deceptive trade practices in the course of its business,
                 in violation of Colo. Rev. Stat. Ann. § 6-1-105(3) by engaging unfair trade practices
                 actionable at common law or under other statutes of Colorado;
       cix.      Whether Facebook intended to mislead the Colorado Plaintiff and the Colorado
                 Subclass members and induce them to rely on its misrepresentations and omissions;
       cx.       Whether Facebook acted fraudulently, willfully, knowingly, or intentionally to violate
                 Colorado’s Consumer Protection Act, and with recklessly disregarded the Colorado
                 Plaintiff’s and the Colorado Subclass members’ rights;
       cxi.      Whether Facebook is a “person” as defined by 815 Ill. Comp. Stat. Ann. § 505/1(c);
      cxii.      Whether the Illinois Plaintiffs and the Illinois Subclass members are “consumer[s]” as
                 defined by 815 Ill. Comp. Stat. Ann. § 505/1(e);
     cxiii.      Whether Facebook’s conduct as described herein was in the conduct of “trade” or
                 “commerce” as defined by 815 Ill. Comp. Stat. Ann. § 505/1(f);
     cxiv.       Whether Facebook’s deceptive, unfair, and unlawful trade acts or practices, in
                 violation of 815 Ill. Comp. Stat. Ann. § 505/2;
      cxv.       Whether Facebook acted intentionally, knowingly, and maliciously to violate
                 Illinois’s Consumer Fraud and Deceptive Business Practices Act, and recklessly
                 disregarded the Illinois Plaintiffs and the Illinois Subclass members’ rights;
     cxvi.       Whether Facebook is a “person” as defined by Iowa Code Ann. § 714H.2(7);
     cxvii.      Whether the Iowa Plaintiff and the Iowa Subclass members are “consumer[s]” as
                 defined by Iowa Code § 714H.2(3);
    cxviii.      Whether Facebook’s conduct described herein related to or was in connection with
                 the “sale” or “advertisement” of “merchandise” as defined by Iowa Code Ann. §
                 714H.2(2), (6), (8);
     cxix.       Whether Facebook engaged in unfair, deceptive, and unconscionable trade practices,
                 in violation of the Iowa Private Right of Action for Consumer Frauds Act, as
                 described throughout and herein;
      cxx.       Whether Facebook acted intentionally, knowingly, and maliciously to violate Iowa’s
                 Private Right of Action for Consumer Frauds Act, and recklessly disregarded the
                 Iowa Plaintiff and the Iowa Subclass members’ rights;
     cxxi.       Whether the Kansas Plaintiff and the Kansas Subclass members are “consumer[s]” as
                 defined by Kan. Stat. Ann. § 50-624(b);
     cxxii.      Whether the acts and practices described herein are “consumer transaction[s],” as
                 defined by Kan. Stat. Ann. § 50-624(c);


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    cxxiii.      Whether Facebook is a “supplier” as defined by Kan. Stat. Ann. § 50-624(l);
    cxxiv.       Whether Facebook advertised, offered, or sold goods or services in Kansas and
                 engaged in trade or commerce directly or indirectly affecting the people of Kansas;
     cxxv.       Whether the Kansas Plaintiff and the Kansas Subclass members had unequal
                 bargaining power with respect to their use of Facebook’s services because of
                 Facebook’s omissions and misrepresentations;
    cxxvi.       Whether Facebook acted intentionally, knowingly, and maliciously to violate
                 Kansas’s Consumer Protection Act, and recklessly disregarded the Kansas Plaintiff
                 and the Kansas Subclass members’ rights;
    cxxvii.      Whether Facebook, the Michigan Plaintiff, and Michigan Subclass members are
                 “person[s]” as defined by Mich. Comp. Laws Ann. § 445.902(1)(d);
   cxxviii.      Whether Facebook advertised, offered, or sold goods or services in Michigan and
                 engaged in trade or commerce directly or indirectly affecting the people of Michigan,
                 as defined by Mich. Comp. Laws Ann. § 445.902(1)(g);
    cxxix.       Whether Facebook engaged in unfair, unconscionable, and deceptive practices in the
                 conduct of trade and commerce, in violation of Mich. Comp. Laws Ann. §
                 445.903(1);
     cxxx.       Whether Facebook engaged in deceptive acts or practices in the conduct of its
                 business, trade, and commerce or furnishing of goods or services, in violation of N.Y.
                 Gen. Bus. Law § 349, as described herein;
    cxxxi.       Whether Facebook acted intentionally, knowingly, and maliciously to violate New
                 York’s General Business Law, and recklessly disregarded the New York Plaintiff’s
                 and the New York Subclass members’ rights;
    cxxxii.      Whether Facebook is a “[p]erson,” as defined by Wash. Rev. Code Ann. §
                 19.86.010(1);
   cxxxiii.      Whether Facebook advertised, offered, or sold goods or services in Washington and
                 engaged in trade or commerce directly or indirectly affecting the people of
                 Washington, as defined by Wash. Rev. Code Ann. § 19.86.010(2);
   cxxxiv.       Whether Facebook engaged in unfair or deceptive acts or practices in the conduct of
                 trade or commerce, in violation of Wash. Rev. Code Ann. § 19.86.020, as described
                 herein;
    cxxxv.       Whether Facebook acted intentionally, knowingly, and maliciously to violate
                 Washington’s Consumer Protection Act, and recklessly disregarded the Washington
                 Plaintiff’s and Washington Subclass members’ rights;
   cxxxvi.       Whether the West Virginia Subclass members are “[c]onsumer[s],” as defined by W.
                 Va. Code Ann. § 46A-6-102(2);
  cxxxvii.       Whether Facebook engaged in “consumer transaction[s],” as defined by W. Va. Code
                 Ann. § 46A-6-102(2);




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  cxxxviii.       Whether Facebook advertised, offered, or sold goods or services in West Virginia and
                  engaged in trade or commerce directly or indirectly affecting the people of West
                  Virginia, as defined by W. Va. Code Ann. § 46A-6-102(6);
   cxxxix.        Whether Facebook’s unfair and deceptive acts and practices violated W. Va. Code
                  Ann. § 46A-6-102(7);
       cxl.       Whether Facebook’s unfair and deceptive acts and practices were unreasonable when
                  weighed against the need to develop or preserve business, and were injurious to the
                  public interest, under W. Va. Code Ann. § 46A-6-101;
      cxli.       Whether Facebook’s acts and practices were “[u]nfair” under W. Va. Code Ann. §
                  46A-6-104 because they caused or were likely to cause substantial injury to
                  consumers which was not reasonably avoidable by consumers themselves and not
                  outweighed by countervailing benefits to consumers or to competition;
     cxlii.       Whether Facebook’s acts and practices were “deceptive” under W. Va. Code Ann. §
                  46A-6-104;
     cxliii.      Whether Facebook’s omissions were legally presumed to be equivalent to active
                  misrepresentations because Facebook intentionally prevented the West Virginia
                  Subclass members from discovering the truth regarding Facebook’s use, sale,
                  disclosure and abuse of private user data;
     cxliv.       Whether Facebook acted intentionally, knowingly, and maliciously to violate West
                  Virginia’s Consumer Credit and Protection Act, and recklessly disregarded the West
                  Virginia Subclass members’ rights;
      cxlv.       Whether Facebook’s deceptive trade practices significantly impact the public;
     cxlvi.       Whether Facebook’s representations and omissions were material because they were
                  likely to deceive reasonable consumers;
    cxlvii.       Whether Facebook intended that the Alabama, Colorado, Illinois, Iowa, Kansas,
                  Michigan, New York, Washington, and the various Subclass members would rely on
                  its misrepresentations, omissions, and other unlawful conduct;
   cxlviii.       Whether, as a direct and proximate result of Facebook’s unfair and deceptive acts and
                  practices, Alabama, Colorado, Illinois, Iowa, Kansas, Michigan, New York,
                  Washington, and the various Subclass members have suffered and will continue to
                  suffer injury, ascertainable losses of money or property, and monetary and non-
                  monetary damages;
     cxlix.       Whether the Alabama, Colorado, Illinois, Iowa, Kansas, Michigan, New York,
                  Washington, and the various Subclass members have suffered injuries in fact and lost
                  money or property due to Facebook’s business acts or practices;
         cl.      Whether Plaintiffs and the Classes are entitled to equitable relief, including, but not
                  limited to, injunctive relief, restitution, and disgorgement; and
        cli.      Whether Plaintiffs and the Classes are entitled to actual, statutory, or other forms of
                  damages, and other monetary relief.

       770.    Defendants engaged in a common course of conduct giving rise to the legal rights sought

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to be enforced by this action and similar or identical questions of statutory and common law, as well as

similar or identical injuries, are involved. Individual questions, if any, pale in comparison to the

numerous common questions that predominate in this action.

       771.    Typicality: Plaintiffs’ claims are typical of the other Class Members’ claims because all

Class Members were comparably injured through Defendants’ substantially uniform misconduct as

described above. The Plaintiffs representing the Classes are advancing the same claims and legal

theories on behalf of themselves and all other members of the Classes that they represent, and there are

no defenses that are unique to Plaintiffs. The claims of Plaintiffs and Class Members arise from the same

operative facts and are based on the same legal theories.
       772.    Adequacy: Plaintiffs are adequate Class representatives because their interests do not

conflict with the interests of the other members of the Classes they seek to represent; Plaintiffs have

retained counsel competent and experienced in complex class action litigation, and Plaintiffs intend to

prosecute this action vigorously. The Classes’ interest will be fairly and adequately protected by

Plaintiffs and their counsel.

       773.    Superiority: A class action is superior to any other available means for the fair and

efficient adjudication of this controversy, and no unusual difficulties are likely to be encountered in the

management of this class action. The damages and other detriment suffered by Plaintiffs and the other

class members are relatively small compared to the burden and expense that would be required to

individually litigate their claims against Defendants, so it would be virtually impossible for the Class
Members to individually seek redress for Defendants’ wrongful conduct. Even if Class Members could

afford individual litigation, the court system could not. Individualized litigation creates a potential for

inconsistent or contradictory judgments, and increases the delay and expense to all parties and the court

system. By contrast, the class action device presents far fewer management difficulties, and provides the

benefits of single adjudication, economy of scale, and comprehensive supervision by a single court.

       774.    Class certification under Rule 23(b)(2) is also warranted for purposes of injunctive and

declaratory relief because Defendants have acted or refused to act on grounds generally applicable to the
Classes, so that final injunctive and declaratory relief are appropriate with respect to each Class as a


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whole.

                                      IX.     CAUSES OF ACTION
         775.   Pursuant to 28 U.S.C. § 1407(a), this Complaint consolidates claims of all plaintiffs in

this multidistrict litigation and proposes priority briefing for certain claims. In the event that Defendants

seek to challenge claims asserted herein via motion pursuant to Rule 12, Plaintiffs propose that twelve of

the claims asserted herein be briefed in priority. Those claims are set forth herein as Part A.

A.       Prioritized Claims



                   (Against Prioritized Defendants Facebook and Doe Defendants;
                                 Non-Prioritized Defendant Kogan)
                             On Behalf of All Plaintiffs and All Classes
         776.   Plaintiffs incorporate by reference all allegations of this complaint as though fully set

forth herein.

         777.   The Stored Communications Act (“SCA”) allows a private right of action against anyone

who “(1) intentionally accesses without authorization a facility through which an electronic

communication service is provided; or (2) intentionally exceeds an authorization to access that facility;

and thereby obtains, alters, or prevents authorized access to a wire or electronic communication while it

is in electronic storage in such system.” See 18 U.S.C. § 2701(a); see also 18 U.S.C. § 2707(a) (cause of

action).

         778.   The Electronic Communications Privacy Act, 18 U.S.C. §§ 2510, et seq., defines an
“electronic communication” as “any transfer of signs, signals, writing, images, sounds, data, or

intelligence of any nature transmitted in whole or in part by a wire, radio, electromagnetic,

photoelectronic or photooptical system that affects interstate or foreign commerce.” 18 U.S.C.

§ 2510(12). The SCA incorporates this definition of “electronic communication.”

         779.   To create the information transferred to Facebook such as all posts, private messages, and

similar communication (collectively “Facebook content”), Facebook users transmit writing, images, or

other data via the Internet from their computers or mobile devices to Facebook’s servers. This Facebook
content, therefore, constitutes electronic communications for purposes of the SCA.


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       780.    The SCA distinguishes between two types of electronic storage. The first is defined as

“any temporary, intermediate storage of a wire or electronic communication incidental to the electronic

transmission thereof.” 18 U.S.C. § 2510(l7)(A). The second type is defined as “any storage of such

communication by an electronic communication for purposes of backup protection of such

communication.” 18 U.S.C. § 2510(17)(B). Because Facebook saves and archives Facebook content

indefinitely, Facebook content is stored in electronic storage for purposes of the SCA.

       781.    Facebook allows users to select privacy settings for their Facebook content. Access can

be limited to a user’s Facebook Friends, to particular groups or individuals, or to just the particular

Facebook user. When users make Facebook content inaccessible to the general public, the information is
considered private for purposes of the SCA.

       782.    As set forth herein, Plaintiffs did not authorize Defendants to share their content and

information with third party Apps, including Whitelisted Apps, or with Facebook’s Business Partners

such as device makers in violation of users’ personal privacy settings.

       783.    Plaintiffs are subscribers or customers of Facebook’s remote computing service, pursuant

to 18 U.S.C. § 2702(a)(2). By virtue of Facebook’s conduct in providing the ability to send or receive

wire or electronic communications, Facebook is an electronic communication service within the

meaning of the SCA. Plaintiffs are users of Facebook’s electronic communication service, pursuant to

18 U.S.C. § 2510(13).

       784.    Plaintiffs are subscribers and persons aggrieved by violations of the SCA, pursuant to 18
U.S.C. §§ 2707(a) and 2510(11).

       785.    By virtue of Defendants’ conduct in providing computer storage and processing services

by means of an electronic communications system, Facebook is a remote computer service within the

meaning of the SCA.

       786.    Facebook is a provider of an electronic communication service to the public, pursuant to

18 U.S.C. §§ 2702(a)(1) and 2510(15).

       787.    Facebook maintains a facility through which an electronic communication service is
provided, pursuant to 18 U.S.C. § 2701(a).


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       788.     Facebook is a provider of a remote computing service to the public, pursuant to 18 U.S.C.

§§ 2702(a)(2) and 2711(2).

       789.     Facebook and Doe Defendants are persons within the meaning of the SCA, pursuant to

18 U.S.C. § 2510(6).

       790.     Facebook and Doe Defendants are persons or entities within the meaning of the SCA,

pursuant to 18 U.S.C. § 2707(a).

       791.     Plaintiffs’ use of Facebook’s messaging systems and transfers of content and information

to Facebook constitute electronic communications, pursuant to 18 U.S.C. § 2501(12).

       792.     Plaintiffs’ electronic communications were in electronic storage, pursuant to 18 U.S.C. §
2501(17).

       793.     Doe Defendants and Non-Prioritized Defendant Kogan violated the SCA by intentionally

accessing without authorization or exceeding an authorization to access Facebook’s facility through

which an electronic communication service is provided, thereby obtaining access to Plaintiffs’ electronic

communications while they were in electronic storage, pursuant to 18 U.S.C. § 2701(a).

       794.     Facebook violated the SCA by knowingly divulging the contents, including content and

information, of Plaintiffs’ electronic communications while they were in electronic storage to

unauthorized parties, including but not limited to Defendant Kogan, Cambridge Analytica, Doe

Defendants, and Facebook’s Business Partners and Apps, including Whitelisted Apps, pursuant to 18

U.S.C. § 2702(a)(1).
       795.     Facebook violated the SCA by knowingly divulging the contents, including content and

information, of Plaintiffs’ electronic communications that were carried or maintained on Facebook’s

remote computing service to unauthorized parties, including but not limited to Defendant Kogan,

Cambridge Analytica, Doe Defendants, Apps and Facebook’s Business Partners, pursuant to 18 U.S.C.

§ 2702(a)(2).

       796.     As detailed herein, the contents of Plaintiffs’ electronic communications that Facebook

divulged to unauthorized parties were non-public, and Plaintiffs reasonably believed that the contents of
these communications would be protected against publication to unauthorized parties. In particular, the


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contents of many of Plaintiffs’ electronic communications through Facebook, including photos and

videos, were configured to be non-public either at the time of posting or through Facebook’s Privacy

Settings. But that content was delivered by Facebook to third parties without identifying privacy

metadata so that those limitations could not have been honored by third parties.

       797.    Similarly, the contents, of Plaintiffs’ electronic communications through Facebook

Messenger and/or Facebook instant messaging were non-public due to the inherently private and non-

public nature of instant messaging communication platforms.

       798.    Facebook knowingly divulged the contents of Plaintiffs’ electronic communications both

directly to unauthorized parties including Defendant Kogan and Business Partners as well as indirectly
to unauthorized parties including Cambridge Analytica and data brokers. The subsequent disclosure of

user information by Apps and Business Partners to additional unauthorized parties was reasonably

foreseeable, and Facebook knew or should have known about this subsequent disclosure. Facebook also

failed to effectively audit, limit, or control Apps or Business Partners accessing user information so as to

prevent the subsequent disclosure of user information. Further, Facebook directly profited from the

subsequent disclosure of user information, through advertisements placed by unauthorized parties that

received user information from Apps or Business Partners, including Cambridge Analytica.

       799.    As detailed herein, Plaintiffs were not aware of and did not consent to the disclosure of

the contents, including content and information, of their electronic communications to unauthorized

parties, including Apps used by their Facebook Friends such as the This Is Your Digital Life App and
Facebook’s Business Partners.

       800.    Users of Apps, including the This Is Your Digital Life App, and Apps generally, were not

aware of and did not consent to the disclosure of the contents, including content and information, of the

electronic communications of their Friends or the Friends of their Friends to unauthorized parties,

including Cambridge Analytica, Business Partners, other advertisers, and data brokers. In particular,

these App users did not consent to the disclosure of the contents, including content and information, of

the electronic communications of their Friends or the Friends of their Friends beyond the App—either




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with respect to the disclosure of this information by the App or App Developer to unauthorized parties

or with respect to the use of this information for purposes beyond limited use by the App itself.

        801.     As a result of Defendants’ violations of the SCA, Plaintiffs have suffered injury,

including but not limited to the invasion of Plaintiffs’ privacy rights.

        802.     Defendants profited through their violations of the SCA, and Plaintiffs suffered actual

damages, as detailed herein, as a result of these violations, pursuant to 18 U.S.C. § 2707(c).

        803.     Plaintiffs are entitled to actual damages, disgorgement of profits made by Defendants as a

result of their violations of the SCA, and statutory damages, in an amount not less than $1,000 per

Plaintiff.
        804.     Plaintiffs are also entitled to preliminary and other equitable or declaratory relief as may

be appropriate, as well as reasonable attorneys’ fees and litigation costs, pursuant to 18 U.S.C. §

2707(b).

        805.     Defendants’ violations of the SCA were committed willfully and intentionally, and

therefore Plaintiffs also seek punitive damages pursuant to 18 U.S.C. § 2707(c).


                    (Against Prioritized Defendants Facebook and Doe Defendants;
                                  Non-Prioritized Defendant Kogan)
                              On Behalf of All Plaintiffs and All Classes
         806. Plaintiffs incorporate by reference all allegations of this complaint as though fully set

 forth herein.

        807.     Plaintiffs assert this Claim individually and on behalf of the Class and Minor Class (for
purposes of this Claim, “Plaintiffs”).

        808.     The VPPA provides that “a video tape service provider who knowingly discloses, to any

person, personally identifiable information concerning any consumer shall be liable to the aggrieved

person for the relief provided in subsection (d).” 18 U.S. Code § 2710 (b)(1). Facebook violated this

statute by knowingly disclosing personally identifiable information to third parties—including Apps

used by Facebook Friends of Plaintiffs such as the This Is Your Digital Life App, Business Partners,
Whitelisted Apps, and advertisers—without informed, written consent and in violation of Plaintiffs’



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privacy settings.

       809.    Facebook is a “video tape service provider” under 18 U.S.C. § 2710 because it “engaged

in the business, in or affecting interstate or foreign commerce, of rental, sale, or delivery of prerecorded

video cassette tapes or similar audio-visual materials.” See 18 U.S.C. § 2710(a)(4). In this regard,

Facebook is engaged in the business of delivering video content and services to its users, including

Plaintiffs, and Facebook regularly delivers and displays a variety of video content to its users. Likewise,

Facebook is substantially involved in the conveyance of video content to consumers and is significantly

tailored to serve that purpose. As detailed above, Facebook also enters into agreements with content

providers in order to enable its users, including Plaintiffs, to access such content through Facebook.
       810.    Throughout the Class Period, Facebook delivered prerecorded video and visual materials

to Facebook’s subscribers, including Plaintiffs, by making those materials electronically available to

Plaintiffs on Facebook’s platform. For example, Facebook selects and delivers video content to

Plaintiffs through its News Feed service and by making it available on Plaintiffs’ pages.

       811.    Facebook maintains depositories around the country that cache videos and visual

materials for the purpose of delivering them to Plaintiffs and Facebook users so that Plaintiffs can obtain

and view them. The visual materials include but are not limited to videos made available to subscribers

through Facebook’s agreements with content providers such as Netflix and Hulu but also content

available on Facebook Pages, YouTube and other websites. The materials include television programs,

movies and other prerecorded visual content.
       812.    Plaintiffs are “consumers” under 18 U.S.C. § 2710(a)(1) because they are “subscriber[s]

of goods or services” from Facebook. Plaintiffs are registered Facebook users who use the website

through interaction with it. Specifically, Plaintiffs were required to provide personally identifiable

information to Facebook in order to sign up, become registered users, receive Facebook User IDs,

establish user profiles and engage in Facebook’s communities, including using and contributing to

Facebook’s video streaming content and services.

       813.    Facebook itself uses the word “subscribe” to include users who participate on Facebook
but who do not pay fees. By signing up for accounts with Facebook, becoming registered users,


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receiving Facebook User IDs, establishing user profiles, providing Facebook with personal content and

information, and spending time and attention using and contributing to Facebook’s video streaming

services, Plaintiffs entered into transactions with Facebook to obtain access to Facebook’s content and

services and for the purpose of subscribing to Facebook’s video streaming content and services.

       814.    The VPPA defines “personally identifiable information” to “include[] information which

identifies a person as having requested or obtained specific video materials or services from a video tape

service provider.” 18 U.S.C. § 2710(a)(1)(3). Facebook “knowingly disclose[d]” to persons—including

Apps used by Facebook Friends of Plaintiffs such as the This Is Your Digital Life App, Business

Partners, Whitelisted Apps, and advertisers – users’ personally identifiable information. Facebook’s
unlawful disclosures of personally identifiable information were made through Facebook’s APIs,

including but not limited to the following Extended Profile Properties: friends_actions_video,

friends_likes, friends_photo_video_tags, and friends_status, as well as the following Extended

Permissions: read_mailbox and read_page_mailboxes.

       815.    Plaintiffs’ content and information included “personally identifiable information”

because the content Facebook gave to third parties identified Plaintiffs as having “requested or obtained

specific video materials or services.” Specifically, Plaintiffs’ content and information included Facebook

user IDs, names, addresses as well as information about Plaintiffs’ downloads, views, and comments

relating to the videos that Facebook delivered was published by Facebook to App Developers. Plaintiffs’

content and information also included posts of videos, other video-related posts, Likes of videos, Page
Likes for videos, tags in videos, video-related actions such as commenting on videos and sharing videos

delivered by Facebook to News Feed and on users’ Timelines, and messages containing videos all

revealed that users had requested or obtained video content.

       816.    Facebook’s unlawful disclosure of personally identifiable information concerning

Plaintiffs was not incident to the “ordinary course of business” of delivering the visual content as that

term is defined by the VPPA. See 18 U.S.C. § 2710(a)(2). The disclosure of users’ personally

identifiable information to third parties not involved in the transactions as alleged herein was not
necessary in order for Facebook to deliver those prerecorded visual materials to Plaintiffs.


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       817.    The VPPA also provides that a video tape service provider may nonetheless disclose

personally identifiable information concerning a consumer as long as that person has provided

“informed written consent…in a form distinct and separate from any form setting forth other legal or

financial obligations of the consumer.” 18 U.S. Code § 2710(b)(2)(A)(i).

       818.    Facebook failed to obtain the “informed, written consent” of Plaintiffs “in a form distinct

and separate from any form setting forth other legal or financial obligations of the consumer” and “at the

election of the consumer,” either “given at the time the disclosure is sought” or “given in advance for a

set period of time, not to exceed 2 years or until consent is withdrawn by the consumer, whichever is

sooner.” See 18 U.S.C. § 2710(b)(2)(B)(i)-(ii).
       819.    Facebook did not provide Plaintiffs with “an opportunity, in a clear and conspicuous

manner, for the consumer[s] to withdraw on a case-by case basis or to withdraw from ongoing

disclosures, at the consumer’s election.” See 18 U.S.C. § 2710(b)(2)(B)(iii).

       820.    The VPPA also requires that persons subject to the section “destroy personally

identifiable information as soon as practicable, but no later than one year from the date the information

is no longer necessary for the purpose for which it was collected.” See 18 U.S.C. § 2710(e). Upon

information and belief, Facebook maintains rather than destroying users’ personally identifiable

information under this statute, despite that it is no longer necessary for purposes of delivering the

prerecorded visual materials.

       821.    Plaintiffs are “aggrieved person[s]” under the VPPA by Facebook’s disclosure of their
personally identifiable information under 18 U.S.C. § 2710(b)(1), as alleged herein. Therefore, Plaintiffs

may bring an action under § 2710(c) against Facebook.

       822.    Plaintiffs may be awarded actual damages, but not less than liquidated damages in an

amount of $2,500 per Plaintiff, punitive damages, attorneys’ fees and costs, and such other preliminary

and equitable relief as the court determines to be appropriate.




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                    (Against Prioritized Defendant Facebook and Doe Defendants)
                              On Behalf of All Plaintiffs and All Classes
        823.    Plaintiffs incorporate by reference all allegations of this complaint as though fully set

forth herein.

        824.    Under California law, a plaintiff may assert a claim for deceit by concealment based on

“[t]he suppression of a fact, by one who is bound to disclose it, or who gives information of other facts

which are likely to mislead for want of communication of that fact.” Cal. Civ. Code § 1710(3).

        825.    These following actions are “deceit” under Cal. Civil Code § 1710 because Facebook

suppressed facts that they were duty-bound to disclose, especially given Facebook’s assertions about

protecting the privacy of Plaintiffs. Facebook has committed deceit by concealment in three distinct

ways.

        826.    First, Facebook did not disclose known risks that third party App Developers would sell

or disperse user content and information.

        827.    Facebook received multiple warnings that Plaintiffs’ content and information was at risk.

           (1) In 2012, Sandy Parakilas, former Facebook operations manager, warned Facebook’s

                executives about the risks of App Developers gaining access to users’ personal

                information without their consent on Facebook’s platform. Yet, Facebook ignored

                Parakilas’s warnings.
           (2) In October 2012, Facebook reached a settlement with the FTC agreeing to clearly and

                prominently disclose its sharing of information with third parties; yet, Facebook

                continued to let App Developers access users’ information without their consent.

           (3) As late as 2017, Alex Stamos, Facebook’s former Chief of Security, warned Facebook

                executives about security risks on the platform. In an internal meeting held in 2017,

                Stamos warned of “intentional decisions to give access to data and systems to engineers

                to make them 'move fast' but that creates other issues for us.”

           (4) In 2017, Stamos states that he provided a written report concerning the circumstances
                leading to Cambridge Analytica obtaining users’ personal information. Facebook edited

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               and published a whitewashed version of this report concealing any wrongdoing.

       828.    Facebook did not audit what happened to content and information that was provided to

third parties because it knew it would find abuse. Facebook did not disclose to Plaintiffs the risks that

they faced from these warnings, and did not inform Plaintiffs that their content and information was

insecure once it was shared with App Developers or other third parties.

       829.    Facebook knew that Plaintiffs’ content and information was not secure. Facebook ignored

the warnings above that audits were necessary to secure Plaintiffs’ and Class Members’ content and

information because Defendants did not know what third parties were doing with it after it left

Facebook’s servers.
       830.    Defendants intentionally failed to secure Plaintiffs’ information and content because they

wanted to encourage third-party App Developers and other Business Partners to exploit that information

and content. Defendants knew that appropriate security measures—such as audits—would discourage

third parties. Defendants did not engage in such audits or conduct other reasonable efforts to protect

Plaintiffs’ content and information.

       831.    Defendants had a duty to inform Plaintiffs that Defendants had become aware that they

had failed to secure their content and information. Facebook knew in 2015 that it had failed to secure

Plaintiffs’ content and information, including by making it available to Facebook’s Business Partners,

including but not limited to device makers, mobile carriers, software makers, security firms and chip

designers.
       832.    Defendants intentionally concealed that Plaintiffs’ information and content was insecure

because they wanted Plaintiffs to continue to generate content for their Business Partners. Defendants

failed to disclose the risks Plaintiffs faced with the intention to deceive them about the security of their

content and information.

       833.    Defendants failed to disclose to Plaintiffs that it had failed to secure content and

information for dozens of other third-party Apps, even after it became aware of abuse in 2015 with the

Cambridge Analytica Scandal, and conducted no investigation of the extent to which it had failed to do
so until March of 2018.


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         834.    Had Plaintiffs been aware that Defendants had failed to implement adequate security

measures, they would not have shared their information and content with Facebook to the extent that

they did, if at all.

         835.    Plaintiffs were damaged because, as a result of Defendants’ deceit, their content and

information have been disclosed to third parties without their consent. Plaintiffs were also damaged

because, as a result of Defendants’ deceit, their privacy was invaded. Plaintiffs are at heightened risk of

identity theft, phishing schemes, and other malicious attacks. Due to Defendants’ deceit, Plaintiffs’

information and content were compromised, and may be available on the dark web or in the hands of

foreign nationals. Plaintiffs are therefore entitled to “any damage” that they have suffered under Civil
Code Section 1709.

         836.    Second, Defendants have committed deceit by failing to meaningfully disclose to

Plaintiffs how Facebook allows other third parties—including but not limited to App Developers,

“whitelisted” Apps, device makers, mobile carriers, software makers, and others—to obtain their

personal information notwithstanding their privacy settings. With respect to “whitelisted” Apps,

Facebook failed to disclose that Facebook would provide the Apps with users’ content and information

as long as the Whitelisted Apps provided Facebook with revenues that were based on how many users’

content and information they accessed. Facebook failed to disclose that these users and their Friends

could not control “whitelisted” Apps’ access with their privacy settings.

         837.    Facebook allowed “whitelisted” Apps to continue to receive content and information
from users and their Friends notwithstanding users’ privacy settings.

         838.    Facebook stripped privacy settings from photos and videos that had been designated

private, in violation of its own privacy policies. As a result, those Apps could not honor users’ privacy

settings.

         839.    In addition, “Apps were able to circumvent users’ privacy of platform settings and access

friends’ information, even when the user disabled the Platform.”433

         840.    Defendants misled users to believe that they were protecting users’ privacy and failed to

433
      DCMS Report, supra note 28.

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disclose that they were sharing users’ content and information with third parties.

       841.    Defendants did not disclose that, notwithstanding privacy settings that purported to

provide Plaintiffs with control over their content and information, Facebook allowed third -parties to

harvest and store personal information.

       842.    Defendants had a duty to provide accurate information to Plaintiffs about how their

content and information were disclosed to third parties by Facebook. Defendants knew that Plaintiffs

shared personal and sometimes intimate details about their lives, personalities, and identities.

Defendants encouraged Plaintiffs to share content and information by assuring them that Facebook

would respect their choices concerning privacy.
       843.    Defendants intentionally concealed and omitted material information regarding how

Facebook disclosed Plaintiffs’ content and information in an effort to create a false sense of security and

privacy for Plaintiffs. Defendants did this because they wanted Plaintiffs to provide more detailed

content and information, whose value would be increased by that additional detail. Third parties would

thereby pay a higher price for access to that content and information, increasing Facebook’s revenue.

       844.    Had Plaintiffs been aware of the full extent of how Facebook collected and used their

content and information, they would not have shared their content and information on their devices on

the Facebook platform to the same degree that they did, if at all.

       845.    Plaintiffs were damaged because their content and information were disclosed to third-

party device makers and other Business Partners without their consent. As a result of the disclosures of
Plaintiffs’ content and information to these third parties, Plaintiff could not take remedial measures to

protect themselves from identity theft, scams, phishing, unwanted political targeting, even surveillance

and other forms of harassment. Moreover, Plaintiffs would have behaved differently and shared less

content and information had these acts been disclosed. Facebook deliberately withheld notice because it

did not want to discourage user sharing and engagement on its platform.

       846.    Third, Defendants failed to disclose to Plaintiffs how their content and information was

being collected, shared and aggregated to develop digital profiles or dossiers of each user. Those
dossiers, comprised of Facebook user content and information was combined with other sources to de-


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anonymize this data such that Facebook users could be individually targeted.

        847.     Defendants had a duty to disclose the full extent to which it allowed Plaintiffs to be

targeted by advertisers and marketers because it promised in its Contracts that it would not share users’

content and information with advertisers without their consent. Defendants’ duty also arose from its

affirmative representations that (1) Plaintiffs could control their content and information, and (2) third

parties could not access personal data absent users’ consent.

        848.     Defendants knew that advertisers were targeting Plaintiffs with messages based upon

Facebook-derived content and information, combined with content and information derived from other

data brokers. Facebook was the vehicle to target Plaintiffs by drawing upon the vast amounts of content
information collected by Facebook and “matched” with additional information collected about them by

data brokers.

        849.     Defendants knew that psychographic marketing and other targeted advertising was very

lucrative, and that advertisers paid a premium to combine content and information with data from data

brokers.

        850.     Defendants did not disclose to Plaintiffs that advertisers were combining data from data

brokers with Facebook-derived content and information to target them with advertisements and

psychographic marketing, as well as building digital dossiers of users.

        851.     Defendants intended to deceive Plaintiffs about their vulnerability to targeted

advertisements. Defendants intended to deceive Plaintiffs about the degree to which sharing their
information and content on Facebook directly led to targeted messaging.

        852.     Had Plaintiffs known the extent to which Defendants shared their content and

information with third parties, and how it was aggregated and made available to advertisers and political

operatives, among others, Plaintiffs would have not shared their information and content on Facebook to

the extent that they did, if it all.

        853.     Plaintiffs suffered injury as a direct result of Defendants’ deceit. Plaintiffs conferred a

benefit on Defendants. Their information and content were used and aggregated by advertisers and other
third parties without their consent, and for nefarious—among other—uses, and Facebook received


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substantial advertising revenues as a benefit. Had Plaintiffs known the extent and degree to which their

content and information was provided to third parties, they would have required compensation for this

use of their content and information.

       854.     Plaintiffs suffered economic injury as a result of Facebook’s fraud. Plaintiffs have an

economic interest in their content and information, which has value outside of the Facebook platform.

Facebook’s Business Partners, including Whitelisted Apps, would have

       855.     Facebook’s CEO knew that it was worth at least $0.10 for each App to view a user’s

profile, and Facebook orchestrated its “whitelisting” to require Apps to pay to Facebook revenues that

were equivalent to the number of users and their Friends that each App had.
       856.     As a result, Defendants have been unjustly enriched by its deceit, and Plaintiffs and Class

Members are entitled to restitution. “Restitution is a remedy that may be awarded to prevent unjust

enrichment when the defendant has obtained some benefit from the plaintiff through fraud, duress,

conversion or similar misconduct.” McBride v. Boughton, 123 Cal.App.4th 379, 387–388 (2004).

       857.     For all types of fraudulent omissions complained of here, Plaintiffs s seek disgorgement

of Facebook’s profits that were made with the use of Plaintiffs’ content and information. Disgorgement

is appropriate because Defendants profited from Plaintiffs’ content and information wrongfully obtained

by generating revenues from App Developers and advertisers. Disgorgement is necessary in order to

deter future unauthorized use of Plaintiffs’ content and information. Disgorgement is also necessary to

the extent that the value of Plaintiffs’ content and information cannot be assessed by ordinary tort
damages. Public policy supports the use of disgorgement here to disincentivize the type of deception that

Facebook used in exploiting Plaintiffs’ content and information.


                    (Against Prioritized Defendant Facebook and Doe Defendants;
                          Non-Prioritized Defendants Bannon and Kogan)
                              On Behalf of All Plaintiffs and All Classes
        858. Plaintiffs incorporate by reference all allegations of this complaint as though fully set

forth herein.




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           859.   Plaintiffs assert this Claim individually and on behalf of the Class and Minor Class (for

purposes of this Claim, “Plaintiffs”) under California law.

           860.   Plaintiffs have shared private content and information, including private messages,

personal information, location information, Timeline and Wall posts, and Likes, with a non-public

audience such as Friends Only on Facebook or through Facebook Messenger and/or Facebook Chat.

This information included personal family photographs, personal family videos, as well as personal

perspectives regarding politics, religion, relationships, work, and family that Plaintiffs wanted to remain

private and non-public.

           861.   Plaintiffs reasonably expected that the content and information that they shared on
Facebook or through Facebook Messenger and/or Facebook Chat would be protected and secured

against access by unauthorized parties and would not be disclosed to or obtained by unauthorized

parties, or disclosed or obtained for any improper purpose.

           862.   Defendants intentionally intruded upon the private affairs and concerns of Plaintiffs by

improperly accessing and obtaining Plaintiffs’ content and information and using it for improper

purposes, including by targeting Plaintiffs with advertisements that would be highly offensive to a

reasonable person, constituting an egregious breach of social norms and/or enabling the targeting of

Plaintiffs with such advertisements, as detailed herein.

           863.   Facebook intentionally intruded upon the private affairs and concerns of Plaintiffs, by

making Plaintiffs’ content and information available to unauthorized parties, including but not limited to
Apps used by Facebook Friends of Plaintiffs such as the This Is Your Digital Life App, Business

Partners, Whitelisted Apps, and advertisers, by disclosing this information to such unauthorized parties,

and by failing to adequately protect and secure this information against access by such unauthorized

parties.

           864.   Defendants’ intrusions upon the private affairs and concerns of Plaintiffs were

substantial, and would be highly offensive to a reasonable person, constituting an egregious breach of

social norms, as is evidenced by the intense public outcry and numerous, international governmental
investigations in response to Defendants’ invasions of Plaintiffs’ privacy rights. Not only did Defendants


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intrude upon a vast array of content and information regarding Plaintiffs, they did so in contravention of

Plaintiffs’ express designation of such content and information as non-public.

       865.    Facebook’s conduct is especially offensive and egregious, in that Facebook

misrepresented its practices and policies regarding data sharing to Plaintiffs, and omitted material

information concerning Plaintiffs’ ability to control access to their content and information through

privacy settings. In this regard, Facebook not only committed privacy violations, but also affirmatively

misled Plaintiffs into believing that they could control who accessed their content and information, that

it would not give their personal content and information to advertisers, and that Facebook would respect

and safeguard their choices regarding privacy. Facebook also omitted to tell Plaintiffs that they could not
control who accessed their content and information (with respect to Business Partners and Whitelisted

Apps), that it would allow advertisers to access, obtain, and de-anonymize their content and information,

and that Facebook would not respect their choices regarding privacy. Moreover, Facebook intruded

upon the private affairs and concerns of Plaintiffs for its own commercial benefit—to increase its growth

and to attract and obtain advertising revenue.

       866.    Plaintiffs did not consent to Defendants’ intrusions upon their private affairs and

concerns.

       867.    Plaintiffs suffered actual and concrete injury as a result of Defendants’ intrusions upon

Plaintiffs’ private affairs and concerns.

       868.    Plaintiffs and the Class seek appropriate relief for that injury, including but not limited to
damages that will reasonably compensate Plaintiffs for the harm to their privacy interests, risk of future

invasions of privacy, and the mental and emotional distress caused by Defendants’ invasions of privacy,

as well as disgorgement of profits made by Defendants as a result of their intrusions upon Plaintiffs’

private affairs and/ concerns.


                    (Against Prioritized Defendant Facebook and Doe Defendants;
                          Non-Prioritized Defendants Bannon and Kogan)
                              On Behalf of All Plaintiffs and All Classes
        869. Plaintiffs incorporate by reference all allegations of this complaint as though fully set



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forth herein.

       870.     Plaintiffs assert this Claim individually and on behalf of the Class and Minor Class (for

purposes of this Claim, “Plaintiffs”) under California law.

       871.     Plaintiffs have shared private content and information, including private messages,

personal information, location information, Timeline and Wall posts, and Likes, with a non-public

audience such as Friends Only on Facebook or through Facebook Messenger and/or Facebook Chat.

This information included personal family photographs, personal family videos, as well as personal

perspectives regarding politics, religion, relationships, work, and family that Plaintiffs wanted to remain

private and non-public.
       872.     As detailed herein, Plaintiffs’ content and information that Facebook publicly disclosed

was non-public, and Plaintiffs reasonably believed that this content and information would be protected

against publication to unauthorized parties. In particular, Plaintiffs’ content and information was

configured to be non-public either at the time of posting or through Facebook’s Privacy Settings, and

Plaintiffs’ content and information communicated through Facebook Messenger and/or Facebook Chat

was non-public, on account of the inherently private and non-public nature of instant messaging

communication platforms.

       873.     Plaintiffs reasonably expected that the content and information that they shared on

Facebook or through Facebook Messenger and/or Facebook Chat would be protected and secured

against access by unauthorized parties and would not be disclosed to or obtained by unauthorized
parties, or disclosed or obtained for any improper purpose.

       874.     As detailed herein, Facebook intentionally violated the privacy interests of Plaintiffs by

publishing Plaintiffs’ content and information to unauthorized parties, including but not limited to Apps

used by Facebook Friends of Plaintiffs such as the This Is Your Digital Life App, Business Partners,

Whitelisted Apps, and advertisers, and by failing to take reasonable steps to prevent further publication

of this content and information.

       875.     Facebook publicly disclosed Plaintiffs’ content and information both directly to
unauthorized parties including Defendant Kogan and Business Partners as well as indirectly to


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unauthorized parties including Cambridge Analytica and data brokers. The subsequent disclosure of user

information by Apps and Business Partners to additional unauthorized parties was reasonably

foreseeable, and Facebook knew or should have known about this subsequent disclosure. Facebook also

failed to effectively audit, limit, or control Apps or Business Partners accessing user information so as to

prevent the subsequent disclosure of user information. Further, Facebook directly profited from the

subsequent disclosure of user information, through advertisements placed by unauthorized parties that

received user information from Apps or Business Partners, including Cambridge Analytica.

       876.    Facebook’s publication of Plaintiffs’ content and information resulted in widespread

disclosure of this information, constituting communication to the public in general. In particular,
Facebook published Plaintiffs’ content and information to approximately 53 or more Business Partners,

approximately 5,200 or more Whitelisted Apps, and approximately 40,000 or more Apps used by

Facebook Friends of Plaintiffs, including advertisers.

       877.    Facebook’s publication of Plaintiffs’ content and information would be highly offensive

to a reasonable person, as is evidenced by the intense public outcry and numerous, international

governmental investigations in response to Facebook’s invasion of Plaintiffs’ privacy rights, and

decreased participation on the Facebook platform. Not only did Defendants publish a vast array of

highly sensitive content and information regarding Plaintiffs, they did so in contravention of Plaintiffs’

express designation of such content and information as non-public. In this regard, Facebook knew or

acted with reckless disregard of the fact that a reasonable person would consider Facebook’s publication
of Plaintiffs’ content and information to be highly offensive.

       878.    Facebook’s conduct is especially offensive and egregious, in that Facebook

misrepresented its practices and policies regarding data sharing to Plaintiffs, and omitted material

information concerning Plaintiffs’ ability to control access to their content and information through

privacy settings. In this regard, Facebook not only committed privacy violations, but also affirmatively

misled Plaintiffs into believing that they could control who accessed their content and information, that

it would not give their personal content and information to advertisers, and that Facebook would respect
and safeguard their choices regarding privacy. Facebook also omitted to tell Plaintiffs that they could not


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control who accessed their content and information (with respect to Business Partners and Whitelisted

Apps), that it would allow advertisers to access, obtain, and de-anonymize their content and information,

and that Facebook would not respect their choices regarding privacy. Moreover, Facebook publicly

disclosed Plaintiffs’ content and information for its own commercial benefit—to increase its growth and

to attract and obtain advertising revenue.

       879.     Plaintiffs’ did not consent to Defendants’ public disclosure of their highly sensitive

content and information.

       880.     Plaintiffs’ content and information was private and not of legitimate public concern or

substantially connected to a matter of legitimate public concern.
       881.     Plaintiffs suffered actual and concrete injury as a result of Defendants’ publication of

Plaintiffs’ content and information. Plaintiffs seek appropriate relief, including but not limited to

damages that will reasonably compensate Plaintiffs for the public disclosure of their highly sensitive

content and information and the mental and emotional distress caused by Defendants’ invasions of

privacy, as well as disgorgement of profits made by Facebook as a result of its publication of Plaintiffs’

content and information.


                               (Against Prioritized Defendant Facebook)
                               On Behalf of All Plaintiffs and All Classes
       882.     Plaintiffs incorporate by reference all allegations of this complaint as though fully set

forth herein.
       883.     At all relevant times, Facebook and Plaintiffs mutually assented to, and therefore were

bound by the version of Facebook’s Statement of Rights and Responsibilities or later, the Terms of

Service, (collectively, the “Contracts”) that was operative at the time each of the Plaintiffs joined

Facebook.

       884.     Throughout the Class Period, Facebook affirmatively stated that Facebook would “not

share your content and information with advertisers without your consent.” None of the Contracts

informed and obtained users’ meaningful and lawfully-obtained consent to share their content and
information with advertisers and other third parties, or disclosed that such information would be shared


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if users’ Friends entered into an agreement which permitted third parties to collect their Friends’

information.

       885.    Thus, per the provision above, the Contracts did not authorize Facebook to share

Plaintiffs’ content and information with Facebook’s Business Partners, including but not limited to

mobile carriers, software makers, security firms, chip designers or device makers.

       886.    Further, per the provision above, the Contracts also did not authorize Facebook to make

the content and information that users shared with Friends available to third party App Developers, or to

sell such information to other third parties like Cambridge Analytica. The Contracts did provide that the

user’s content and information would be shared with a third-party application if the user himself or
herself permitted an application to have access and agreed to its terms (“user sharing”). The Contracts

did not provide that a user’s content and information would be shared with a third-party application if a

Friend of the user used such an application (“friend-of-user sharing”). At the very least, friend-of-user

sharing fell outside the scope of the sharing allowed by the Contracts.

       887.    During the Class Period, Facebook failed to honor its promise to respect users’ privacy

settings. This was especially true with respect to “whitelisted” Apps, which received content and

information notwithstanding users’ privacy settings.

       888.    Additionally, Facebook breached the Contracts by stripping metadata and other

information from photographs and videos that were accessed by an App. In doing so, Facebook

breached its obligation to honor users’ privacy settings.
       889.    GSR made an application available to Facebook users via Graph API v1.0. It used Graph

API v1.0 to collect sensitive information regarding Plaintiffs—information that personally identified, or

could easily be used to personally identify, Plaintiffs.

       890.    Facebook was informed that GSR then sold this information to Cambridge Analytica,

which used the information to craft and target advertising on Facebook’s platform to Plaintiffs. This was

prohibited by the Contracts.

       891.    Upon information and belief, during the Class Period, certain Doe Defendants made
applications available to Facebook users to collect sensitive information regarding Plaintiffs and the


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Class. Upon information and belief, certain Doe Defendants also sold users’ content and information to

advertisers, thus causing a violation of the Contracts.

       892.     Contrary to the Contracts, Facebook knowingly allowed Doe Defendants who made their

applications available through Graph API v1.0 to sell the content and information regarding Plaintiffs

and the Class that they had collected via applications that used the Facebook platform.

       893.     The Contracts required Facebook to protect the content and information of its users. The

Contracts affirm that users’ content and information would not be shared with advertisers and other third

parties without their affirmative consent. Likewise, these same terms of service informed users that their

privacy setting would control who had access to their content and information, but this was untrue.
Facebook did not disclose that users were required to affirmatively “opt out” of sharing their content and

information with third parties in the Contracts.

       894.     As set forth herein, Plaintiffs’ content and information is of considerable value as

demonstrated by Facebook’s calculation of the Average Revenue Per User that it calculates. There is an

active market for the content and information generated by Facebook users, both individually and

especially in the aggregate. Facebook generates billions of dollars in revenues through targeted

advertising delivered to third parties, curated through the collection and aggregation of Facebook’s user

data. There is also an active black market for user content and information. The remedy for the breach of

the Contracts is what Facebook gained through their breach.

       895.     The value of the content and information accumulated by Facebook about a user
increases with the amount of content and information Facebook collects. Thus, over time, Facebook’s

benefit of the bargain has multiplied dramatically.

       896.     As a result of the breach, Plaintiffs have been harmed and have suffered damages by

losing the value of their content and information.


                    (Against Prioritized Defendant Facebook and Doe Defendants)
                                On Behalf of All Plaintiffs and Classes
       897.     Plaintiffs incorporate by reference all allegations of this complaint as though fully set
forth herein.


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       898.    Plaintiffs bring this claim on behalf of themselves and the Nationwide Class.

       899.    Defendants owed a duty to Plaintiffs and the Class to exercise reasonable care in the

obtaining, using, and protecting of their content and information, arising from the sensitivity of their

content and information and the expectation that their content and information was not going to be

shared with third parties without their consent. This duty included Facebook ensuring that no App

Developers, device makers or other third parties, including Kogan, GSR and Cambridge Analytica, were

improperly collecting, storing, obtaining and/or selling Plaintiffs’ content and information.

       900.    Plaintiffs’ willingness to entrust Defendants with their content and information was

predicated on the understanding that Facebook would take appropriate measures to protect it. Facebook
had a special relationship with Plaintiffs as a result of being entrusted with their content and

information, which provided an independent duty of care.

       901.    Facebook knew that the content and information of Plaintiffs had value. Indeed,

Facebook has earned billions of dollars from selling targeted advertising on its platform based on users’

content and information as demonstrated by Facebook’s calculation of the Average Revenue Per User.

There is an active market for the content and information generated by Facebook users, both

individually and especially in the aggregate. Facebook generates its billions of dollars in revenues

through targeted advertising delivered to third parties, curated through the collection and aggregation of

Facebook’s users’ content and information. There is also an active black market for user content and

information.
       902.    Facebook received multiple warnings that Plaintiffs’ content and information was at risk.

           (1) In 2012, Sandy Parakilas, former Facebook operations manager, warned Facebook’s

               executives about the risks of App Developers gaining access to users’ personal

               information without their consent on Facebook’s platform. Yet, Facebook ignored

               Parakilas’s warnings.

           (2) In October 2012, Facebook reached a settlement with the FTC agreeing to clearly and

               prominently disclose its sharing of information with third parties; yet, Facebook
               continued to let App Developers access users’ information without their consent.


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              (3) As late as 2017, Alex Stamos, Facebook’s former Chief of Security, warned Facebook

                 executives about security risks on the platform. In an internal meeting held in 2017,

                 Stamos warned of “intentional decisions to give access to data and systems to engineers

                 to make them 'move fast' but that creates other issues for us.”

              (4) In 2017, Stamos states that he provided a written report concerning the circumstances

                 leading to Cambridge Analytica obtaining users’ personal information. Facebook edited

                 and published a whitewashed version of this report concealing any wrongdoing.

              (5) As reported by the NY Times, in 2016 Facebook exempted its Business Partner

                 relationships, including some “whitelisted” Apps, from ongoing privacy reviews.434
              (6) Facebook knew, or was negligent in not knowing, that “whitelisted” Apps accessed users’

                 content and information beyond the scope of the purpose for which they had been

                 authorized, and continued to have access to content and information even after the

                 purpose for which they had been given access had expired.

          903.   Despite these warnings, Facebook failed to take reasonable steps to prevent harm to

Plaintiffs:

              (1) According to Sandy Parakilas, Facebook was not conducting regular audits of App

                 Developers using Facebook’s platform in 2012.

              (2) On April 30, 2014, Facebook announced a new “anonymous login” feature that would

                 have allowed users to use an App without sharing any personal information. Yet,
                 Facebook never implemented this feature.

              (3) On April 30, 2014, Facebook also announced a new “controlled login” feature to allow

                 users to choose what information they shared with App Developers before logging in.

                 Yet, Facebook did not implement this feature until May 2015.

              (4) As early as December 11, 2015, Facebook received notice that App Developer Aleksandr

                 Kogan had shared users’ personal information with Cambridge Analytica; yet, Facebook

                 waited until April 2018, more than three years later, to notify users that their personal

434
      Dance, et al, As Facebook Raised a Privacy Wall, supra note 158.

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               information had been improperly shared.

           (5) Facebook’s failed to monitor Whitelisted Apps’ access to content and information, and

               where third parties were granted access to support a specific function and that function

               was discontinued (such as Royal Bank of Canada, Netflix, and Yahoo!), Facebook failed

               to cut off access.

       904.    Facebook owed a duty to timely disclose to Plaintiffs that Facebook had allowed their

content and information to be accessed by GSR, Cambridge Analytica and the Doe Defendants.

Plaintiffs had a reasonable expectation that Facebook would information them of the improper

disclosure of their content and information.
       905.    Facebook breached its duties by, among other things: (a) failing to ensure that App

Developers, “whitelisted” Apps, device makers and other third parties were not improperly collecting,

storing, obtaining and/or selling Plaintiffs’ content and information without users’ informed consent;

and (b) failing to provide adequate and timely notice that Plaintiff’s content and information had been

improperly obtained by Cambridge Analytica and Doe Defendants.

       906.    But for Facebook’s breach of its duties, including its duty to use reasonable care to

protect and secure Plaintiffs’ content and information, Plaintiffs’ content and information would not

have been disclosed without their consent to third parties, which resulted in further misuse of Plaintiffs’

content and information.

       907.    Plaintiffs were foreseeable victims of Facebook’s breach of its duties. Facebook knew or
should have known that allowing third parties to access Plaintiffs’ and Class Members’ content and

information would cause damage to Plaintiffs.

       908.    As a result of Facebook’s negligent failure to safeguard Plaintiffs’ content and

information, Plaintiffs have suffered injury, which includes but is not limited to impermissible

disclosure of their content and information, both directly and indirectly by Facebook, and exposure to a

heightened, imminent risk of misuse, fraud, identity theft, voter fraud, medical fraud, and financial and

other harms.
       909.    The content and information shared with third parties allows this content and information


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to be aggregated with other data to identify and target Plaintiffs. It is reasonable for Plaintiffs to obtain

identity protection or credit monitoring services in light of the foregoing. Plaintiffs seek to recover the

cost of these services from Facebook.

       910.    The injury to Plaintiff was a proximate, reasonably foreseeable result of Facebook’s

breaches of its aforementioned duties.

       911.    As a proximate result of Facebook’s negligence in failing to take due care to monitor the

use of user content and information by third parties like mobile device makers, carriers, software

makers, security firms, chip designers, GSR and Doe Defendants, Plaintiffs suffered damages in an

amount to be proved at trial.
       912.    Public policy voids any purported waiver of liability to which Facebook may claim

Plaintiffs assented:

               A.      The contract(s) between Facebook and Plaintiffs concern a business of a type

       generally thought suitable for public regulation; indeed, Facebook is subject to public regulation.

               B.      Due to Facebook’s ubiquity and importance in the daily lives of Americans, it

       performs a service of great importance to the public. Using Facebook is often a matter of

       practical necessity for the many persons who use Facebook to coordinate daily activities,

       network, engage in political and cultural discourse, and pursue interests and hobbies. To do these

       things, Facebook users must share their personal information with their Friends.

               C.      Facebook holds itself out as a free provider of its services to aged 13 or above.
               D.      Because of the network effect and the importance of Facebook’s services,

       Facebook possesses a decisive advantage of bargaining strength against any member of the

       public that seeks to use its services.

               E.      Any purported waiver of liability occurs in a standardized adhesion contract that

       users must accept or reject in toto.

               F.      Facebook is ultimately in total control of its platform and services. The

       confidentiality of Plaintiffs’ personal information, therefore, is under Facebook’s control and
       subject to its carelessness.


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                G.      Facebook violated its privacy policies by allowing “whitelisted” Apps and

        Business Partners to access content and information notwithstanding users’ privacy settings.

        913.    In addition, any purported waiver of liability is unconscionable.

        914.    Facebook’s conduct also constitutes gross negligence due to its extreme departure from

ordinary standards of care, and its knowledge that it had failed to secure the content and information of

Plaintiffs.



                     (Against Prioritized Defendant Facebook and Doe Defendants;
                           Non-Prioritized Defendants Bannon and Kogan)
                                 On Behalf of All Plaintiffs and Classes
        915.    Plaintiffs incorporate by reference all allegations of this complaint as though fully set

forth herein.

        916.    Plaintiffs bring this claim on behalf of themselves and the Nationwide Class.

        917.    Defendants’ conduct as alleged herein constitutes unfair, unlawful, or fraudulent business

acts or practices as proscribed by California’s Unfair Competition Law, Cal. Bus. & Prof. Code § 17200,

et seq. (“UCL”).

        918.    As alleged above, Facebook violated Plaintiffs’ privacy by allowing their personal

content to be exploited in ways that Plaintiffs could not have been anticipated. Plaintiffs interests were

also violated through Defendants’ deceptive acts. Had Plaintiffs known the extent to which Facebook

allowed their personal content to be collected, aggregated, pooled, and transferred for commercial
purposes to companies such as Cambridge Analytica, Plaintiffs would not have shared their content and

information on Facebook to the same extent they did, if at all. Facebook allowed App Developers,

device makers and other third parties to harvest users’ Friends content and information on a large scale,

with no effective notice to Plaintiffs, and without any opportunity for Plaintiffs to become reasonably

informed about Facebook’s default privacy settings allowing App Developers, device makers and other

third parties to harvest users’ Friends content and information or the risks that large-scale disclosure of

their content and information would present. Facebook made assurances to Plaintiffs about respecting
their privacy, and being able to own and control their content and information. Given these affirmative


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statements, Facebook had a duty to disclose the nature and extent of the uses of users’ content and

information that Facebook allowed “whitelisted” Apps, App Developers, device makers, and other third

parties to make.

         919.   Defendants’ conduct is “unfair.” California has a strong public policy to protect

privacy interests, including in protecting the content and information shared by Plaintiff. Defendants

violated this public policy by exploiting Plaintiffs’ content and information without informed consent.

         920.   Defendants’ conduct also violated the interests protected by the Video Privacy Protection

Act, 18 U.S.C. § 2710; the Stored Communications Act, 18 U.S.C. § 2701 et seq.; Cal. Civ. Code §§

1709, 1710 and Article 1, § 1 of the California Constitution. To establish liability under the unfair prong,
Plaintiffs need not establish that these statutes were actually violated, although the claims pleaded herein

do so.

         921.   Facebook did not reasonably inform Plaintiffs of the uses of their content and

information, and invaded Plaintiffs’ privacy by subjecting their content and information to large-scale

disclosure without knowledge or meaningful consent. Facebook’s conduct included stripping Plaintiffs’

privacy metadata from their photos and videos, and allowing “whitelisted” Apps and Business Partners

to access Plaintiffs’ content and information notwithstanding their privacy settings. Facebook created a

false sense of privacy, defeating Plaintiffs reasonable expectations of privacy.

         922.   Plaintiffs could not have anticipated this degree of intrusion into their privacy, which

included exposure to psychographic marketing. Defendants’ conduct did not create a benefit that
outweighs these strong public policy interests. Defendants’ conducts narrowly benefitted Facebook and

its Business Partners at the expense of the privacy of millions of people. Additionally, the effects of

Facebook’s conduct were comparable to or substantially the same as the conduct forbidden by the

California Constitution and the common law’s prohibitions against invasion of privacy, in that

Facebook’s conduct invaded fundamental privacy interests.

         923.   Defendants’ conduct is “unlawful.” Defendants’ conduct violates the Video Privacy

Protection Act, 18 U.S.C. § 2710; the Stored Communications Act, 18 U.S.C. § 2701 et seq.; Cal. Civ.
Code §§ 1709, 1710; and Article 1, § 1 of the California Constitution.


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        924.   Facebook’s conduct violated the spirit and letter of these laws, which protect privacy

interests and prohibit misleading and deceptive practices. The content and information that Facebook

allowed third parties to harvest exposed Plaintiffs to an increased risk of identity theft, voter fraud, tax

return fraud, and allowed third parties to link their identities to other data in order to de-anonymize

them.

        925.   Defendants’ conduct is fraudulent. As alleged above, Defendants misled Plaintiffs

concerning the use of their content and information affirmatively and through material omissions, and

the privacy protection Facebook provided their content and information. Defendants did not

meaningfully disclose that Plaintiffs’ content and information could be obtained by “whitelisted” Apps,
device makers and other Business Partners, notwithstanding Plaintiffs’ privacy settings. Defendants did

not disclose that privacy designations for photographs and videos were disregarded when received by

Apps. Defendants did not disclose that Facebook’s default privacy settings allowed third party Apps to

obtain their content and information, and obfuscated how Plaintiffs could have protected their content

and information from disclosure to third parties. Defendants omitted material information about how

Plaintiffs’ personal content was harvested, stored, searched, used and sold.

        926.   Plaintiffs have suffered injury in fact and lost money or property due to Defendants’

business acts or practices. Plaintiffs’ content and information has tangible value.

        927.   Restitution under the UCL is designed to return the plaintiff to the status quo ex ante.

        928.   Facebook told users that they owned their content and information. Additionally, because
Facebook directly leveraged access to Plaintiffs’ content and information in order to obtain revenues

from “whitelisted” Apps and other Business Partners, Plaintiffs have a property interest in Facebook’s

profits. Facebook took users’ property without compensation.

        929.   Facebook calculates an ARPU based on a user’s specific circumstances and that a market

exists for the content and information Plaintiffs generate.

        930.   There is value in Plaintiffs’ content and information that Facebook disseminated to

Business Partners and “whitelisted” Apps. Plaintiffs lost the opportunity to receive value from these
third parties in exchange for their personal information.


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       931.     Facebook’s CEO knew that it was worth at least $0.10 for each App to view a user’s

profile, and Facebook orchestrated its “whitelisting” to require Apps to pay to Facebook revenues that

were equivalent to the number of users and their Friends that each App had.

       932.    Plaintiffs’ content and information is in the possession of third parties who have used and

will use it for their own advantage, including financial advantage, or have sold it or will sell it for value,

making it clear that Plaintiffs’ content and information has tangible value.

       933.    Plaintiffs are at increased risk of identity theft due to Facebook’s practices concerning

sharing users’ content and information with third parties. Plaintiffs may be subjected to voter fraud,

identity theft, medical fraud, and other harms. The content and information shared with third parties
allows this content and information to be aggregated with other data to identify and target Plaintiffs. It is

reasonable for Plaintiffs and Class Members to obtain identity protection or credit monitoring services in

light of the foregoing. Plaintiffs seek to recover the cost of these services from Facebook.

       934.    Defendants invaded Plaintiffs’ privacy by failing to inform Plaintiffs and Class Members

that Facebook was sharing their content and information with its Business Partners, including but not

limited to App Developers, mobile carriers, software makers, security firms, device makers and chip

designers.

       935.    Defendants further failed to inform Plaintiffs about the nature of the App Developers’

business, or the purposes for which App Developers were obtaining their content and information.

Facebook did not disclosure the nature or the extent of the exploitation of Plaintiffs’ content and
information. Facebook invaded Plaintiffs’ privacy by subjecting them to psychographic marketing that

exploited intimate aspects of their identity, including emotional and psychological manipulation.

       936.    Plaintiffs’ content and information was exploited without informed consent. Accordingly,

Plaintiffs are entitled to part of Facebook’s profits that were generated by their content and information

without informed consent.

       937.    Plaintiffs seek an order to enjoin Defendants from such unlawful, unfair, and fraudulent

business acts or practices, and to restore to Plaintiffs their interest in money or property that may have
been acquired by Defendants by means of unfair competition.


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        938.     Section 17203 of the UCL authorizes a court to issue injunctive relief “as may be

necessary to prevent the use or employment by any person of any practice which constitutes unfair

competition.” Plaintiffs also seek the following injunctive relief: (1) an “opt in” rather than “opt out”

default for sharing personal content in all of Facebook’s user settings; (2) disclosure of the purposes of

which Plaintiffs’ personal content is used by Facebook, data brokers, device makers, mobile carriers,

software makers, security firms, App Developers, advertisers and other third parties with whom

Facebook has shared users’ content and information without their consent; (3) destruction of all personal

content obtained by Defendants and all such third parties where such content is within Defendants’

control or possession; (4) a complete audit and accounting of the uses of Plaintiffs’ content and
information by App Developers, device makers, and other Business Partners ; (5) a permanent injunction

preventing such sharing of content and information with these third parties without Facebook users’

informed consent and affirmative authorization; and (6) a permanent ban on targeting Plaintiffs with

advertisements or marketing materials based on information from data brokers.


                     (Against Prioritized Defendant Facebook and Doe Defendants;
                           Non-Prioritized Defendants Bannon and Kogan)
                               On Behalf of All Plaintiffs and All Classes
         939. Plaintiffs incorporate by reference all allegations of this complaint as though fully set

 forth herein.

        940.     Plaintiffs assert this Claim individually and on behalf of the Class and Minor Class (for

purposes of this Claim, “Plaintiffs”) under California law.
        941.     The California Constitution expressly provides for a right to privacy: “All people are by

nature free and independent and have inalienable rights. Among these are enjoying and defending life

and liberty, acquiring, possessing, and protecting property, and pursuing and obtaining safety, happiness,

and privacy.” Cal. Const., art. I, § 1

        942.     Plaintiffs have shared private content and information, including personal information,

location information, posts, and Likes, with a non-public audience such as Friends Only on Facebook or
through Facebook Messenger and/or Facebook Chat. This information included personal family



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photographs, personal family videos, as well as personal perspectives regarding politics, religion,

relationships, work, and family that Plaintiffs wanted to remain private and non-public.

           943.   Plaintiffs reasonably expected that the content and information that they shared on

Facebook or through Facebook Messenger and/or Facebook Chat would be protected and secured

against access by unauthorized parties and would not be disclosed to or obtained by unauthorized

parties, or disclosed or obtained for any improper purpose.

           944.   Plaintiffs have a privacy interest in preventing the unauthorized disclosure and misuse of

their content and information and in conducting their personal activities without intrusion or

interference, including the right to not to have their content and information accessed, obtained, and
misused by third parties, including Apps used by Facebook Friends of Plaintiffs such as the This Is Your

Digital Life App, Business Partners, Integration Partners / Whitelisted Apps, and advertisers, either for

the benefit of such parties, or at the expense of their own interests.

           945.   Defendants intentionally violated the privacy interests of Plaintiffs by improperly

accessing and obtaining Plaintiffs’ content and information and using it for improper purposes, including

by targeting Plaintiffs with advertisements that would be highly offensive to a reasonable person,

constituting an egregious breach of social norms and/or enabling the targeting of Plaintiffs with such

advertisements, as detailed herein.

           946.   Facebook intentionally violated the privacy interests of Plaintiffs, by making Plaintiffs’

content and information available to unauthorized parties, including but not limited to Apps used by
Facebook Friends of Plaintiffs such as the This Is Your Digital Life App, Business Partners, Integration

Partners / Whitelisted Apps, and advertisers, by disclosing this information to such unauthorized parties,

and by failing to adequately protect and secure this information against access by such unauthorized

parties.

           947.   Defendants’ violations of Plaintiffs’ privacy interests were substantial, and would be

highly offensive to a reasonable person, constituting an egregious breach of social norms, as is

evidenced by the intense public outcry and numerous, international governmental investigations in
response to Defendants’ invasions of Plaintiffs’ privacy rights. Not only did Defendants intrude upon


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and disclose a vast array of content and information regarding Plaintiffs, they did so in contravention of

Plaintiffs’ express designation of such content and information as non-public.

         948.   Facebook’s conduct is especially offensive and egregious, in that Facebook

misrepresented its practices and policies regarding data sharing to Plaintiffs, and omitted material

information concerning Plaintiffs’ ability to control access to their content and information through

privacy settings. In this regard, Facebook not only committed privacy violations, but also affirmatively

misled Plaintiffs into believing that they could control who accessed their content and information, that

it would not give their personal content and information to advertisers, and that Facebook would respect

and safeguard their choices regarding privacy. Facebook also omitted to tell Plaintiffs that they could not
control who accessed their content and information (with respect to Business Partners and Whitelisted

Apps), that it would allow advertisers to access, obtain, and de-anonymize their content and information,

and that Facebook would not respect their choices regarding privacy. Moreover, Facebook violated the

privacy interests of Plaintiffs for its own commercial benefit—to increase its growth and to attract and

obtain advertising revenue.

         949.   In this regard, Facebook was aware that Plaintiffs were vulnerable to having their content

and information accessed, obtained, and misused, and Facebook intended for these privacy violations to

occur without Plaintiffs’ knowledge or consent. Had Plaintiffs known the manner and extent to which

Facebook allowed their content and information to be obtained and misused by unauthorized parties,

Plaintiffs would not have shared their content and information on Facebook to the same extent they did,
if at all.

         950.   Plaintiffs did not consent to Defendants’ violations of their privacy interests.

         951.   Plaintiffs suffered actual and concrete injury as a result of Defendants’ violations of their

privacy interests.

         952.   Plaintiffs and the Class seek appropriate relief for these injuries, including but not limited

to damages that will reasonably compensate Plaintiffs for the harm to their privacy interests, risk of

future invasions of privacy, and the mental and emotional distress caused by Defendants’ invasions of
privacy, as well as disgorgement of profits made by Defendants as a result of their privacy violations.


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                    (Against Prioritized Defendant Facebook and Doe Defendants;
                          Non-Prioritized Defendants Bannon and Kogan)
                                On Behalf of All Plaintiffs and Classes
        953. Plaintiffs incorporate by reference all allegations of this complaint as though fully set

forth herein.

       954.     Plaintiffs assert this Claim individually and on behalf of the Class and Minor Class (for

purposes of this Claim, “Plaintiffs”) under California law.

       955.     California common law prohibits the use of a person’s name or likeness for the

defendant’s advantage, commercial or otherwise, without first obtaining that person’s consent.

       956.     Facebook violated this section by using and publishing Plaintiffs’ names and likenesses

for its advantage by allowing third parties, including but not limited to Apps used by Facebook Friends

of Plaintiffs such as the This Is Your Digital Life App, Business Partners, Integration Partners /

Whitelisted Apps, and advertisers, to access, obtain, and use Plaintiffs’ likenesses—including names,

Likes, personal photographs, and personal videos—without first obtaining their consent.

       957.     On information and belief, providing access to the likenesses of Plaintiffs was integral to

Facebook’s relationships with third parties, including but not limited to Apps used by Facebook Friends

of Plaintiffs such as the This Is Your Digital Life App, Business Partners, Integration Partners /

Whitelisted Apps, and advertisers. Facebook’s appropriation and provision of access to the likenesses of

Plaintiffs was to Facebook’s advantage, resulting in growth and advertising revenue that would not have
resulted without Facebook’s provision of access to this information. In this regard, the value of the

services Facebook offered to App Developers was derived in substantial part from the provision of such

access. Facebook thus misappropriated, gained a commercial advantage from, and capitalized on the

economic value generated through the provision of access to the likenesses of Plaintiffs.

       958.     For example, Facebook profited from advertising purchased by Cambridge Analytica,

after Facebook allowed Cambridge Analytica to obtain Plaintiffs’ personal information through the This

Is Your Digital Life App. Similarly, Facebook gained a commercial advantage when it entered into

contractual agreements with Business Partners and Whitelisted Apps that allowed these partners and
Apps to obtain users’ information, including their names and likenesses, and were not subject to users’

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privacy settings. Facebook shared this information with Business Partners and Whitelisted Apps in order

to obtain growth and advertising revenues. In this regard, granting Apps, Whitelisted Apps, and

Business Partners access to Plaintiffs’ content and information enabled Facebook to promote and expand

its platform, including across devices, service providers, and other platforms. Such relationships resulted

in an exponential rate of growth and significant commercial benefit to Facebook, as evidenced by the

drastic increase in Facebook’s revenues as well as its average revenue per user over the Class Period.

       959.     Prior to using and providing access to Plaintiffs’ likenesses, Facebook never obtained

consent from Plaintiffs. In this regard, Facebook misrepresented and omitted material information

concerning Plaintiffs’ ability to control access to their content and information through privacy settings.
Facebook misrepresented and failed to inform Plaintiffs that they could not control who accessed their

content and information, that Facebook would allow advertisers to access, obtain, de-anonymize, share

their content and information, and use and misuse this content and information for uses beyond the App,

and that Facebook would not respect their choices regarding privacy. Moreover, Facebook intruded

upon the private affairs and concerns of Plaintiffs for its own commercial benefit—to increase its growth

and to attract and obtain advertising revenue.

       960.     Plaintiffs did not receive any compensation in return for Facebook’s use of or provision

of access to their likenesses.

       961.     Plaintiffs were harmed by Facebook’s improper use of or provision of access to their

likenesses.
       962.     Plaintiffs seek actual damages suffered, plus any profits attributable to Facebook’s use of

or provision of access to their likenesses not calculated in actual damages. Plaintiffs also seek punitive

damages, costs, and reasonable attorney’s fees as allowed under this statute.


                                      (Against Defendant Facebook)
       963.     Plaintiffs incorporate by reference all allegations of this complaint as though fully set

forth herein.




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       964.    Under California law, there is in every contract or agreement an implied promise of good

faith and fair dealing. Such a duty is read into contracts and functions as a supplement to the express

contractual covenants, in order to prevent a transgressing party from engaging in conduct which (while

not technically transgressing the express covenants) frustrates the other party’s rights to the benefit of

the contract. Thus, any claim on the part of Facebook that technically it was permitted to allow the

collection and transmittal of Plaintiffs’ data, must be read in the context of, and give way to, those users’

rights to the benefit of the contract, including the terms strictly delimiting such activity.

       965.    Facebook entered into a Statement of Rights and Responsibilities with Plaintiffs.

       966.    A covenant of good faith and fair dealing attaches to Facebook’s Statement of Rights and
Responsibilities.

       967.    In its Statements of Rights and Responsibilities, Facebook promised Plaintiffs that “We

do not give your content or information to advertisers without your consent.”

       968.    Facebook also promised “[y]our privacy is very important to us,” and that Plaintiffs could

control their content and information because they “own all of the content and information [they] post

on Facebook, and [they] can control how it is shared through your privacy and application settings.”

       969.    Plaintiffs did all they were required to do under these contractual provisions.

       970.    Under the terms of the Statement of Rights and Responsibilities, Plaintiffs were entitled

to receive the benefits promised to them by Facebook, including that Facebook would protect the

privacy of their user content and information, would not disclose user content and information to third
parties without the user’s consent, and would keep user content and information secure.

       971.    Facebook was uniquely able to control the rights of its users, including Plaintiffs,

concerning their privacy, ownership and control of their content and information, and whether their

content and information would be provided to advertisers, device makers, and/or third parties without

consent.

       972.    Facebook surreptitiously took measures to frustrate and undercut Plaintiffs’ contractual

rights concerning their privacy, ownership and control over their content and information, and whether
their content and information would be provided to advertisers without consent. By doing so, Facebook


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deprived Plaintiffs of the benefits under their contracts with Facebook, including the Statements of

Rights and Responsibilities.

       973.    Facebook allowed “whitelisted” Apps to access their content and information, and that of

their Friends, without regard to their privacy settings.

       974.    Facebook stripped privacy settings from photos and videos that had been designated

private, in violation of its own privacy policies.

       975.    Facebook entered into business relationships with App Developers, device makers, big

companies such as Amazon and Qualcomm, and other third parties that allowed Plaintiffs’ content and

information to be transmitted without the user’s consent.
       976.    By disclosing, publishing, and providing Facebook users’ content and information to

advertisers without informing Plaintiffs, Facebook breached the covenant of good faith and fair dealing.

Facebook allowed its users to be targeted by advertisements, including psychographic marketing,

without seeking consent of Plaintiffs, and did not allow Plaintiffs to make informed decisions about

sharing their content and information on Facebook’s platform. This unfairly interfered with Plaintiffs’

rights under the Statement of Responsibilities to have their user content and information kept secure and

private and not disclosed to third parties without the theirs consent.

       977.    Additionally, by failing to secure Plaintiffs’ content and information, and by taking

measures to ensure that Plaintiffs’ privacy settings and reasonable expectations of privacy were not

recognized or honored, including by disclosing and publishing user content and information through
Facebook’s API streams sent to App Developers, device makers, and other third parties, Facebook

deprived Plaintiffs of the benefits of their agreements.

       978.    Plaintiffs were damaged by Facebook’s breaches of its duty of good faith and fair

dealing. Plaintiffs did not receive the benefit of the bargain for which they contracted. Plaintiffs suffered

invasions of privacy and were directly targeted by advertisers without their consent, including by

Cambridge Analytica. Plaintiffs content and information was released, disclosed, and published, and

they are at risk of identity theft. In this regard, Facebook failed to secure Plaintiffs’ content and
information and shifted the burden of doing so from Facebook to Plaintiffs.


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                    (Against Prioritized Defendants Facebook and Doe Defendants)
                              On Behalf of All Plaintiffs and All Classes
       979.    Plaintiffs reallege and incorporate by reference all allegations of this complaint as though

fully set forth herein. This claim is pleaded in the alternative to the claims for breach of contract.

       980.    Because no adequate legal remedy is available under any applicable contract, Plaintiffs

bring this count in quasi contract on behalf of themselves in order to pursue restitution based on

Facebook’s unjust enrichment, including by way of Defendants’ retention of profits that should have

been expended to protect the data of Plaintiffs per its published privacy agreements and policies.

       981.    As alleged herein, Defendants have unjustly received and retained monetary benefits

from Plaintiffs—i.e., by way of its use of, and profiting from, their data under unjust circumstances,

such that inequity has resulted.

       982.    By engaging in the conduct described in this complaint, Defendants knowingly obtained

benefits from Plaintiffs as alleged herein under circumstances such that it would be inequitable and

unjust for Facebook to retain them.

       983.    More specifically, by engaging in the acts and failures to act described in this complaint,

Defendants have been knowingly enriched by revenues they received from “whitelisted” Apps in

exchange for continued access to Plaintiffs’ content and information. Facebook received revenues that

were directly proportional to the number of users whose content and information was obtained by

“whitelisted” Apps. Facebook itself estimated that the value of one App viewing one user’s profile was
$0.10, and aimed to capture revenues from “whitelisted” Apps that reflected the extent to which the

“whitelisted” Apps accessed content and information.

       984.    Facebook failed to obtain consent from Plaintiffs for the use of their content and

information to “whitelisted” Apps, and other Business Partners. Indeed, Facebook falsely informed

Plaintiffs and class members that they could control access to content and information through their

privacy settings.

       985.    Also, Facebook has been enriched unjustly by the use of Plaintiffs’ content and
information, and has profited greatly as a result, even though it did not protect this data as it had


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promised. Indeed, Defendants’ failure to protect this content and information fueled Defendants’

enrichment. Encouraging Plaintiffs to share their content and information allowed Defendants to collect

more such information and aggregate it, to target them more precisely.

       986.       By engaging in the conduct described in this complaint, Defendants have knowingly

obtained benefits from or by way of Plaintiffs, including by way of the use of their personal information

in the course of its business, including their lucrative data broker business, under circumstances such

that it would be inequitable and unjust for it to retain them.

       987.       Thus, Defendants will be unjustly enriched if it is permitted to retain the benefits derived

from the unauthorized and impermissible gathering and sharing of Plaintiffs data.
       988.       Plaintiffs are therefore entitled to a restitutionary award in an amount to be determined at

trial, or the imposition of a constructive trust upon the monies derived by Facebook by means of the

above-described actions, or both as the circumstances may merit to provide complete relief to Plaintiffs,

whether the sums of monies are those: (a) the proportional revenues that Facebook generated by

providing access to Plaintiffs’ content and information from “whitelisted” Apps; or (b) the money it has

collected from advertisers and others that corresponds to the user data that is the subject of this lawsuit;

or (c) other sums as it may be just and equitable to return to them.

B.     Priority Consumer Protection Act Claims Alleged in the Alternative



                                   (Against Facebook) (In the Alternative)
       989.       Plaintiff Tonya Smith individually and on behalf of the Alabama Subclass, (“Plaintiffs,”

for purposes of this Claim), incorporate by reference all allegations of this complaint as though fully set

forth herein.

       990.       Facebook is a “person” as defined by Ala. Code § 8-19-3(5).

       991.       Facebook’s products and services are “goods” and “services” as defined by Ala. Code §

8-19-3(3), (7).

       992.       Facebook advertised, offered, or sold goods or services in Alabama and engaged in trade
or commerce directly or indirectly affecting the people of Alabama as defined by Ala. Code § 8-19-3(8).


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         993.   The Alabama Deceptive Trade Practices Act, Ala. Code §§ 8-19-1 et seq., prohibits

unfair, deceptive, false, and unconscionable trade practices.

         994.   Facebook engaged in unconscionable, false, misleading or deceptive practices in

connection with its business, commerce and trade practices in violation of Ala. Code § 8-19-5(27).

         995.   Facebook’s representations and omissions were material because they were likely to

deceive reasonable consumers.

         996.   Facebook intended Plaintiffs to rely on its misrepresentations, omissions, and other

unlawful conduct.

         997.   Had Facebook disclosed to Plaintiffs that it misrepresented and omitted material
information about the nature of the privacy of user data, users’ ability to control how their data was

used, and access of user data to third parties, and was otherwise engaged in deceptive, common business

practices, Facebook would have been unable to continue in business and it would have been forced to

disclose the defects in its privacy protection. Instead, Facebook represented that its services were

protecting user privacy and that users could control the use of the private data. Plaintiffs acted

reasonably in relying on Facebook’s misrepresentations and omissions, the truth of which they could not

have discovered.

         998.   Facebook acted intentionally, knowingly, and maliciously to violate Alabama’s

Deceptive Trade Practices Act, and recklessly disregarded Plaintiffs’ rights.

         999.   As a direct and proximate result of Facebook’s unfair and deceptive acts and practices,
Plaintiffs have suffered and will continue to suffer injury, ascertainable losses of money or property, and

monetary and non-monetary damages.

         1000. Plaintiffs have suffered injuries in fact and lost money or property due to Defendant’

business acts or practices. Plaintiffs’ personal content has tangible value. Their personal content is in the

possession of third parties who have used and will use it for their own advantage, including financial

advantage, or was and is being sold for value, making it clear that the personal content has tangible

value.
         1001. Plaintiffs are at increased risk of identity theft due to Facebook’s practices concerning


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sharing data with third parties. Plaintiffs may be subjected to voter fraud, identity theft, medical fraud,

and other harms. The personal content shared with third parties allows personal content to be aggregated

with other data to identify and target Plaintiffs. It is reasonable for Plaintiffs to obtain identity protection

or credit monitoring services in light of the foregoing. Plaintiffs seek to recover the cost of these services

from Facebook.

        1002. Facebook invaded Plaintiffs’ privacy by failing to keep them informed about the nature

of the App Developers’ business, or the purposes for which App Developers were obtaining their

personal content. Facebook did not disclose the nature or the extent of the exploitation of Plaintiffs’

personal content. Facebook invaded Plaintiffs’ privacy by subjecting them to psychographic marketing
that exploited intimate aspects of their identity, including emotional and psychological manipulation.

        1003. Plaintiffs’ personal content was exploited without informed consent. Accordingly,

Plaintiffs are entitled to part of Facebook’s profits that were generated by their personal content without

informed consent.

        1004. Written demand for relief has been provided as required under Ala. Code § 8-19-10(e).

        1005. Plaintiffs seek all monetary and non-monetary relief allowed by law, including the

greater of (a) actual damages or (b) statutory damages of $100; treble damages; injunctive relief;

attorneys’ fees, costs, and any other relief that is just and proper.



                    (Against Prioritized Defendant Facebook) (In the Alternative)
        1006. Plaintiff Shelly Forman, individually and on behalf of the Colorado Subclass

(“Plaintiffs,” for purposes of this Claim), incorporate by reference all allegations of this complaint as

though fully set forth herein.

        1007. Facebook is a “person” as defined by Colo. Rev. Stat. Ann. § 6-1-102(6).

        1008. Facebook provides goods and/or services.

        1009. Plaintiffs, as well as the general public, are actual or potential consumers of the services

offered by Facebook to actual consumers.
        1010. Facebook engaged in deceptive trade practices in the course of its business, in violation


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of Colo. Rev. Stat. Ann. § 6-1-105(1)(u) by failing to disclose material information concerning its

services, including its improper use and lack of protection for private user data, which was known at the

time of an advertisement or sale and the failure to disclosure this information was intended to induce

Plaintiffs to use Facebook’s services.

        1011. Facebook also engaged in deceptive trade practices in the course of its business, in

violation of Colo. Rev. Stat. Ann. § 6-1-105(3) by engaging unfair trade practices actionable at common

law or under other statutes of Colorado.

        1012. Facebook’s representations and omissions were material because they were likely to

deceive reasonable consumers to believe their user data could be and was kept private.
        1013. Facebook intended to mislead Plaintiffs and induce them to rely on its misrepresentations

and omissions.

        1014. Had Facebook disclosed to Plaintiffs that it misrepresented and omitted material

information about the nature of the privacy of user data, users’ ability to control how their data was

used, and access of user data to third parties, and was otherwise engaged in deceptive, common business

practices, Facebook would have been unable to continue in business and it would have been forced to

disclose the defects in its privacy protection. Instead, Facebook represented that its services were

protecting user privacy and that users could control the use of the private data. Plaintiffs acted

reasonably in relying on Facebook’s misrepresentations and omissions, the truth of which they could not

have discovered.
        1015. Facebook acted fraudulently, willfully, knowingly, or intentionally to violate Colorado’s

Consumer Protection Act, and with recklessly disregarded Plaintiffs’ rights.

        1016. As a direct and proximate result of Facebook’s deceptive trade practices, Plaintiffs

suffered injuries to their legally protected interests.

        1017. Plaintiffs have suffered injuries in fact and lost money or property due to Defendant’s

business acts or practices. Plaintiffs personal content has tangible value. Their personal content is in the

possession of third parties who have used and will use it for their own advantage, including financial
advantage, or was and is being sold for value, making it clear that the personal content has tangible


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value.

         1018. Plaintiffs are at increased risk of identity theft due to Facebook’s practices concerning

sharing data with third parties. Plaintiffs may be subjected to voter fraud, identity theft, medical fraud,

and other harms. The personal content shared with third parties allows personal content to be aggregated

with other data to identify and target Plaintiffs. It is reasonable for Plaintiffs to obtain identity protection

or credit monitoring services in light of the foregoing. Plaintiffs seek to recover the cost of these services

from Facebook.

         1019. Facebook invaded Plaintiffs privacy by failing to keep them informed about the nature of

the App Developers’ business, or the purposes for which App Developers were obtaining their personal
content. Facebook did not disclose the nature or the extent of the exploitation of Plaintiffs personal

content. Facebook invaded Plaintiffs privacy by subjecting them to psychographic marketing that

exploited intimate aspects of their identity, including emotional and psychological manipulation.

         1020. Plaintiffs personal content was exploited without informed consent. Accordingly,

Plaintiffs are entitled to part of Facebook’s profits that were generated by their personal content without

informed consent.

         1021. Facebook’s deceptive trade practices significantly impact the public, because Facebook’s

user platform is used throughout the world, with hundreds of thousands of users who are Colorado

residents and consumers.

         1022. Plaintiffs seek all monetary and non-monetary relief allowed by law, including the
greater of: (a) actual damages, or (b) $500, or (c) three times actual damages (for Facebook’s bad faith

conduct); injunctive relief; and reasonable attorneys’ fees and costs.




                     (Against Prioritized Defendant Facebook) (In the Alternative)
         1023. Plaintiff Kimberly Robertson, individually and on behalf of the Illinois Subclass

(“Plaintiffs,” for purposes of this Claim), incorporates by reference all allegations of this complaint as
though fully set forth herein.



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         1024. Facebook is a “person” as defined by 815 Ill. Comp. Stat. Ann. § 505/1(c).

         1025. Plaintiffs are “consumer[s]” as defined by 815 Ill. Comp. Stat. Ann. § 505/1(e).

         1026. Facebook’s conduct as described herein was in the conduct of “trade” or “commerce” as

defined by 815 Ill. Comp. Stat. Ann. § 505/1(f).

         1027. Facebook’s deceptive, unfair, and unlawful trade acts or practices, in violation of 815 Ill.

Comp. Stat. Ann. § 505/2.

         1028. Facebook’s representations and omissions concerning the use of and privacy of user data

were material because they were likely to deceive reasonable consumers to believe their user data could

be and was kept private.
         1029. Facebook intended to mislead Plaintiffs and induce them to rely on its misrepresentations

and omissions. Plaintiffs and the Illinois Subclass reasonably relied on Facebook’s representations about

the security of their private data.

         1030. The above unfair and deceptive practices and acts by Facebook were immoral, unethical,

oppressive, and unscrupulous. These acts caused substantial injury that these consumers could not

reasonably avoid; this substantial injury outweighed any benefit to consumers or to competition.

         1031. Facebook acted intentionally, knowingly, and maliciously to violate Illinois’s Consumer

Fraud and Deceptive Business Practices Act, and recklessly disregarded Plaintiffs’ rights.

         1032. As a direct and proximate result of Facebook’s unfair and deceptive acts and practices,

Plaintiffs have suffered and will continue to suffer injury, ascertainable losses of money or property, and
monetary and non-monetary damages, including from not receiving the benefit of their bargain in using

Facebook’s services.

         1033. Plaintiffs have suffered injuries in fact and lost money or property due to Defendant’s

business acts or practices. Plaintiffs’ personal content has tangible value. Their personal content is in the

possession of third parties who have used and will use it for their own advantage, including financial

advantage, or was and is being sold for value, making it clear that the personal content has tangible

value.
         1034. Plaintiffs are at increased risk of identity theft due to Facebook’s practices concerning


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sharing data with third parties. Plaintiffs may be subjected to voter fraud, identity theft, medical fraud,

and other harms. The personal content shared with third parties allows personal content to be aggregated

with other data to identify and target Plaintiffs. It is reasonable for Plaintiffs to obtain identity protection

or credit monitoring services in light of the foregoing. Plaintiffs seek to recover the cost of these services

from Facebook.

        1035. Facebook invaded Plaintiffs’ privacy by failing to keep them informed about the nature

of the App Developers’ business, or the purposes for which App Developers were obtaining their

personal content. Facebook did not disclose the nature or the extent of the exploitation of Plaintiffs’

personal content. Facebook invaded Plaintiffs’ privacy by subjecting them to psychographic marketing
that exploited intimate aspects of their identity, including emotional and psychological manipulation.

        1036. Plaintiffs’ personal content was exploited without informed consent. Accordingly,

Plaintiffs are entitled to part of Facebook’s profits that were generated by their personal content without

informed consent.

        1037. Plaintiffs seek all monetary and non-monetary relief allowed by law, including damages,

restitution, punitive damages, injunctive relief, and reasonable attorneys’ fees and costs.



                    (Against Prioritized Defendant Facebook) (In the Alternative)
        1038. On behalf of the Iowa Subclass (“Plaintiffs,” for purposes of this Claim), Plaintiffs

incorporate by reference all allegations of this complaint as though fully set forth herein.
        1039. Facebook is a “person” as defined by Iowa Code Ann. § 714H.2(7).

        1040. Plaintiffs are “consumer[s]” as defined by Iowa Code § 714H.2(3).

        1041. Facebook’s conduct described herein related to or was in connection with the “sale” or

“advertisement” of “merchandise” as defined by Iowa Code Ann. § 714H.2(2), (6), (8).

        1042. Facebook engaged in unfair, deceptive, and unconscionable trade practices, in violation

of the Iowa Private Right of Action for Consumer Frauds Act, as described throughout and herein.

        1043. Facebook’s representations and omissions were material because they were likely to
deceive reasonable consumers to believe their user data could be and was kept private.


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         1044. Facebook intended to mislead Plaintiffs and induce them to rely on its misrepresentations

and omissions.

         1045. Facebook acted intentionally, knowingly, and maliciously to violate Iowa’s Private Right

of Action for Consumer Frauds Act, and recklessly disregarded Plaintiffs’ rights.

         1046. As a direct and proximate result of Facebook’s unfair and deceptive acts and practices,

Plaintiffs have suffered and will continue to suffer injury, ascertainable losses of money or property, and

monetary and non-monetary damages, including from not receiving the benefit of their bargain in using

Facebook’s services.

         1047. Plaintiffs have suffered injuries in fact and lost money or property due to Defendant’s
business acts or practices. Plaintiffs’ personal content has tangible value. Their personal content is in the

possession of third parties who have used and will use it for their own advantage, including financial

advantage, or was and is being sold for value, making it clear that the personal content has tangible

value.

         1048. Plaintiffs are at increased risk of identity theft due to Facebook’s practices concerning

sharing data with third parties. Plaintiffs may be subjected to voter fraud, identity theft, medical fraud,

and other harms. The personal content shared with third parties allows personal content to be aggregated

with other data to identify and target Plaintiffs. It is reasonable for Plaintiffs to obtain identity protection

or credit monitoring services in light of the foregoing. Plaintiffs seek to recover the cost of these services

from Facebook.
         1049. Facebook invaded Plaintiffs’ privacy by failing to keep them informed about the nature

of the App Developers’ business, or the purposes for which App Developers were obtaining their

personal content. Facebook did not disclose the nature or the extent of the exploitation of Plaintiffs’

personal content. Facebook invaded Plaintiffs’ privacy by subjecting them to psychographic marketing

that exploited intimate aspects of their identity, including emotional and psychological manipulation.

         1050. Plaintiffs’ personal content was exploited without informed consent. Accordingly,

Plaintiffs are entitled to part of Facebook’s profits that were generated by their personal content without
informed consent.


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       1051. Plaintiff has provided notice to the Iowa Attorney General and has received the Attorney

General’s approval pursuant to Iowa Code Ann. § 714H.7.

       1052. Plaintiffs seek all monetary and non-monetary relief allowed by law, including injunctive

relief, damages, punitive damages, and reasonable attorneys’ fees and costs.



                    (Against Prioritized Defendant Facebook) (In the Alternative)
       1053. Plaintiff Dustin Short, individually and on behalf of the Kansas Subclass (“Plaintiffs,” for

purposes of this Claim), incorporate by reference all allegations of this complaint as though fully set

forth herein.
       1054. Kan. Stat. Ann. §§ 50-623 et seq. is to be liberally construed to protect consumers from

suppliers who commit deceptive and unconscionable practices.

       1055. Plaintiffs are “consumer[s]” as defined by Kan. Stat. Ann. § 50-624(b).

       1056. The acts and practices described herein are “consumer transaction[s],” as defined by Kan.

Stat. Ann. § 50-624(c).

       1057. Facebook is a “supplier” as defined by Kan. Stat. Ann. § 50-624(l).

       1058. Facebook advertised, offered, or sold goods or services in Kansas and engaged in trade or

commerce directly or indirectly affecting the people of Kansas.

       1059. Facebook’s representations and omissions were material because they were likely to

deceive reasonable consumers to believe their user data could be and was kept private.
       1060. Facebook intended to mislead Plaintiffs and induce them to rely on its misrepresentations

and omissions.

       1061. Had Facebook disclosed to Plaintiffs that it misrepresented and omitted material

information about the nature of the privacy of user data, users’ ability to control how their data was

used, and access of user data to third parties, and was otherwise engaged in deceptive, common business

practices, Facebook would have been unable to continue in business and it would have been forced to

disclose the defects in its privacy protection. Instead, Facebook represented that its services were
protecting user privacy and that users could control the use of the private data. Plaintiffs acted


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reasonably in relying on Facebook’s misrepresentations and omissions, the truth of which they could not

have discovered.

         1062. Facebook also engaged in unconscionable acts and practices in connection with a

consumer transaction, in violation of Kan. Stat. Ann. § 50-627, including: knowingly taking advantage

of the inability of Plaintiffs to reasonably protect their privacy interests, due to their lack of knowledge

(see id. § 50-627(b)(1)); and requiring Plaintiffs to enter into a consumer transaction on terms that

Facebook knew were substantially one-sided in favor of Facebook particularly as concerned users’

private data (see id. § 50-627(b)(5)).

         1063. Plaintiffs had unequal bargaining power with respect to their use of Facebook’s services
because of Facebook’s omissions and misrepresentations.

         1064. The above unfair, deceptive, and unconscionable practices and acts by Facebook were

immoral, unethical, oppressive, and unscrupulous. These acts caused substantial injury to Plaintiffs that

they could not reasonably avoid; this substantial injury outweighed any benefits to consumers or to

competition.

         1065. Facebook acted intentionally, knowingly, and maliciously to violate Kansas’s Consumer

Protection Act, and recklessly disregarded Plaintiffs’ rights.

         1066. As a direct and proximate result of Facebook’s unfair, deceptive, and unconscionable

trade practices, Plaintiffs have suffered and will continue to suffer injury, ascertainable losses of money

or property, and monetary and non-monetary damages, including from not receiving the benefit of their
bargain in using Facebook’s services.

         1067. Plaintiffs have suffered injuries in fact and lost money or property due to Defendant’s

business acts or practices. Plaintiffs’ personal content has tangible value. Their personal content is in the

possession of third parties who have used and will use it for their own advantage, including financial

advantage, or was and is being sold for value, making it clear that the personal content has tangible

value.

         1068. Plaintiffs are at increased risk of identity theft due to Facebook’s practices concerning
sharing data with third parties. Plaintiffs may be subjected to voter fraud, identity theft, medical fraud,


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and other harms. The personal content shared with third parties allows personal content to be aggregated

with other data to identify and target Plaintiffs. It is reasonable for Plaintiffs to obtain identity protection

or credit monitoring services in light of the foregoing. Plaintiffs seek to recover the cost of these services

from Facebook.

        1069. Facebook invaded Plaintiffs’ privacy by failing to keep them informed about the nature

of the App Developers’ business, or the purposes for which App Developers were obtaining their

personal content. Facebook did not disclose the nature or the extent of the exploitation of Plaintiffs’

personal content. Facebook invaded Plaintiffs’ privacy by subjecting them to psychographic marketing

that exploited intimate aspects of their identity, including emotional and psychological manipulation.
        1070. Plaintiffs’ personal content was exploited without informed consent. Accordingly,

Plaintiffs are entitled to part of Facebook’s profits that were generated by their personal content without

informed consent.

        1071. Plaintiffs seek all monetary and non-monetary relief allowed by law, including civil

penalties or actual damages (whichever is greater), under Kan. Stat. Ann. §§ 50-634, 50-636; injunctive

relief; and reasonable attorneys’ fees and costs.



                      (Against Prioritized Defendant Facebook) (In the Alternative)
        1072. On behalf of the Michigan Subclass (“Plaintiffs,” for purposes of this Claim), Plaintiffs

incorporate by reference all allegations of this complaint as though fully set forth herein.
        1073. Facebook and Plaintiffs are “person[s]” as defined by Mich. Comp. Laws Ann. §

445.902(1)(d).

        1074. Facebook advertised, offered, or sold goods or services in Michigan and engaged in trade

or commerce directly or indirectly affecting the people of Michigan, as defined by Mich. Comp. Laws

Ann. § 445.902(1)(g).

        1075. Facebook engaged in unfair, unconscionable, and deceptive practices in the conduct of

trade and commerce, in violation of Mich. Comp. Laws Ann. § 445.903(1), including:
                 a.     “Making a representation of fact or statement of fact material to the transaction


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                        such that a person reasonably believes the represented or suggested state of affairs

                        to be other than it actually is.” Id. § 445.903(1)(bb); and

                 b.     “Failing to reveal facts that are material to the transaction in light of

                        representations of fact made in a positive manner.” Id. § 445.903(1)(cc).

         1076. Facebook’s representations and omissions were material because they were likely to

deceive reasonable consumers to believe their user data could be and was kept private.

         1077. Facebook intended to mislead Plaintiffs and induce them to rely on its misrepresentations

and omissions.

         1078. Facebook acted intentionally, knowingly, and maliciously to violate Michigan’s
Consumer Protection Act, and recklessly disregarded Plaintiffs’ rights.

         1079. As a direct and proximate result of Facebook’s unfair, deceptive, and unconscionable

trade practices, Plaintiffs have suffered and will continue to suffer injury, ascertainable losses of money

or property, and monetary and non-monetary damages, including from not receiving the benefit of their

bargain in using Facebook’s services.

         1080. Plaintiffs have suffered injuries in fact and lost money or property due to Defendant’s

business acts or practices. Plaintiffs personal content has tangible value. Their personal content is in the

possession of third parties who have used and will use it for their own advantage, including financial

advantage, or was and is being sold for value, making it clear that the personal content has tangible

value.
         1081. Plaintiffs are at increased risk of identity theft due to Facebook’s practices concerning

sharing data with third parties. Plaintiffs may be subjected to voter fraud, identity theft, medical fraud,

and other harms. The personal content shared with third parties allows personal content to be aggregated

with other data to identify and target Plaintiffs. It is reasonable for Plaintiffs to obtain identity protection

or credit monitoring services in light of the foregoing. Plaintiffs seek to recover the cost of these services

from Facebook.

         1082. Facebook invaded Plaintiffs’ privacy by failing to keep them informed about the nature
of the App Developers’ business, or the purposes for which App Developers were obtaining their


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personal content. Facebook did not disclose the nature or the extent of the exploitation of Plaintiffs’

personal content. Facebook invaded Plaintiffs’ privacy by subjecting them to psychographic marketing

that exploited intimate aspects of their identity, including emotional and psychological manipulation.

          1083. Plaintiffs’ personal content was exploited without informed consent. Accordingly,

Plaintiffs are entitled to part of Facebook’s profits that were generated by their personal content without

informed consent.

          1084. Plaintiffs seek all monetary and non-monetary relief allowed by law, including the

greater of actual damages or $250, injunctive relief, and any other relief that is just and proper.



                     (Against Prioritized Defendant Facebook) (In the Alternative)
          1085. Plaintiff William Lloyd, individually and on behalf of the New York Subclass

(“Plaintiffs,” for purposes of this Claim), incorporate by reference all allegations of this complaint as

though fully set forth herein.

          1086. Facebook engaged in deceptive acts or practices in the conduct of its business, trade, and

commerce or furnishing of goods or services, in violation of N.Y. Gen. Bus. Law § 349, as described

herein.

          1087. Facebook’s representations and omissions were material because they were likely to

deceive reasonable consumers to believe their user data could be and was kept private.

          1088. Facebook acted intentionally, knowingly, and maliciously to violate New York’s General
Business Law, and recklessly disregarded Plaintiffs’ rights.

          1089. As a direct and proximate result of Facebook’s unfair, deceptive, and unconscionable

trade practices, Plaintiffs have suffered and will continue to suffer injury, ascertainable losses of money

or property, and monetary and non-monetary damages, including from not receiving the benefit of their

bargain in using Facebook’s services and keeping their data private.

          1090. Facebook’s deceptive and unlawful acts and practices complained of herein affected the

public interest and consumers at large, including the millions of New Yorkers who use Facebook’s
services.


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         1091. The above deceptive and unlawful practices and acts by Facebook caused substantial

injury to Plaintiffs that they could not reasonably avoid.

         1092. As a direct and proximate result of Facebook’s unfair and deceptive acts and practices,

Plaintiffs have suffered and will continue to suffer injury, ascertainable losses of money or property, and

monetary and non-monetary damages, including from not receiving the benefit of their bargain in using

Facebook’s services.

         1093. Plaintiffs have suffered injuries in fact and lost money or property due to Defendant’s

business acts or practices. Plaintiffs’ personal content has tangible value. Their personal content is in the

possession of third parties who have used and will use it for their own advantage, including financial
advantage, or was and is being sold for value, making it clear that the personal content has tangible

value.

         1094. Plaintiffs are at increased risk of identity theft due to Facebook’s practices concerning

sharing data with third parties. Plaintiffs may be subjected to voter fraud, identity theft, medical fraud,

and other harms. The personal content shared with third parties allows personal content to be aggregated

with other data to identify and target Plaintiffs. It is reasonable for Plaintiffs to obtain identity protection

or credit monitoring services in light of the foregoing. Plaintiffs seek to recover the cost of these services

from Facebook.

         1095. Facebook invaded Plaintiffs’ privacy by failing to keep them informed about the nature

of the App Developers’ business, or the purposes for which App Developers were obtaining their
personal content. Facebook did not disclose the nature or the extent of the exploitation of Plaintiffs’

personal content. Facebook invaded Plaintiffs’ privacy by subjecting them to psychographic marketing

that exploited intimate aspects of their identity, including emotional and psychological manipulation.

         1096. Plaintiffs’ personal content was exploited without informed consent. Accordingly,

Plaintiffs are entitled to part of Facebook’s profits that were generated by their personal content without

informed consent.

         1097. Plaintiffs seek all monetary and non-monetary relief allowed by law, including actual
damages or statutory damages of $50 (whichever is greater), treble damages, injunctive relief, and


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attorney’s fees and costs.



                    (Against Prioritized Defendant Facebook) (In the Alternative)
       1098. Plaintiffs Terry Fischer, individually and on behalf of the Washington Subclass

(“Plaintiffs,” for purposes of this Claim), incorporate by reference all allegations of this complaint as

though fully set forth herein.

       1099. Facebook is a “[p]erson,” as defined by Wash. Rev. Code Ann. § 19.86.010(1).

       1100. Facebook advertised, offered, or sold goods or services in Washington and engaged in

trade or commerce directly or indirectly affecting the people of Washington, as defined by Wash. Rev.
Code Ann. § 19.86.010(2).

       1101. Facebook engaged in unfair or deceptive acts or practices in the conduct of trade or

commerce, in violation of Wash. Rev. Code Ann. § 19.86.020, as described herein.

       1102. Facebook’s representations and omissions were material because they were likely to

deceive reasonable consumers to believe their user data could be and was kept private.

       1103. Facebook acted intentionally, knowingly, and maliciously to violate Washington’s

Consumer Protection Act, and recklessly disregarded Plaintiffs’ rights. Facebook’s knowledge of the

improper protection and use of private user data, and release of private user data, put it on notice that the

services were not as it advertised.

       1104. Facebook’s conduct is injurious to the public interest because it violates Wash. Rev.
Code Ann. § 19.86.020, violates a statute that contains a specific legislation declaration of public

interest impact, and/or injured persons and had and has the capacity to injure persons. Further, its

conduct affected the public interest, including the at least hundreds of thousands of Washingtonians

affected by Facebook’s deceptive business practices.

       1105. As a direct and proximate result of Facebook’s unfair methods of competition and unfair

or deceptive acts or practices, Plaintiffs have suffered and will continue to suffer injury, ascertainable

losses of money or property, and monetary and non-monetary damages, including from not receiving the
benefit of their bargain in using Facebook’s services.


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         1106. Plaintiffs have suffered injuries in fact and lost money or property due to Defendant’s

business acts or practices. Plaintiffs’ personal content has tangible value. Their personal content is in the

possession of third parties who have used and will use it for their own advantage, including financial

advantage, or was and is being sold for value, making it clear that the personal content has tangible

value.

         1107. Plaintiffs are at increased risk of identity theft due to Facebook’s practices concerning

sharing data with third parties. Plaintiffs may be subjected to voter fraud, identity theft, medical fraud,

and other harms. The personal content shared with third parties allows personal content to be aggregated

with other data to identify and target Plaintiffs. It is reasonable for Plaintiffs to obtain identity protection
or credit monitoring services in light of the foregoing. Plaintiffs seek to recover the cost of these services

from Facebook.

         1108. Facebook invaded Plaintiffs’ privacy by failing to keep them informed about the nature

of the App Developers’ business, or the purposes for which App Developers were obtaining their

personal content. Facebook did not disclose the nature or the extent of the exploitation of Plaintiffs’

personal content. Facebook invaded Plaintiffs’ privacy by subjecting them to psychographic marketing

that exploited intimate aspects of their identity, including emotional and psychological manipulation.

         1109. Plaintiffs’ personal content was exploited without informed consent. Accordingly,

Plaintiffs are entitled to part of Facebook’s profits that were generated by their personal content without

informed consent.
         1110. Plaintiffs seek all monetary and non-monetary relief allowed by law, including actual

damages, treble damages, injunctive relief, civil penalties, and attorneys’ fees and costs.


                     (Against Prioritized Defendant Facebook) (In the Alternative)
                                 W. Va. Code ann. §§ 46A-6-101 et seq.
         1111. On behalf of the West Virginia Subclass (“Plaintiffs,” for purposes of this Claim),

Plaintiffs incorporate by reference all allegations of this complaint as though fully set forth herein.

         1112. Plaintiffs are “[c]onsumer[s],” as defined by W. Va. Code Ann. § 46A-6-102(2).
         1113. Facebook engaged in “consumer transaction[s],” as defined by W. Va. Code Ann. § 46A-


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6-102(2).

       1114. Facebook advertised, offered, or sold goods or services in West Virginia and engaged in

trade or commerce directly or indirectly affecting the people of West Virginia, as defined by W. Va.

Code Ann. § 46A-6-102(6).

       1115. Facebook has been on notice concerning its wrongful conduct as alleged herein by

Plaintiffs. However, sending pre-suit notice pursuant to W. Va. Code § 46A-6-106(c) is an exercise in

futility for Plaintiff, because, despite being on knowledge of the deceptive acts and practices complained

of herein in this lawsuit as of the date of the first-filed lawsuit in March 2018, Facebook has not cured

its unfair and deceptive acts and practices.
       1116. Facebook engaged in unfair and deceptive business acts and practices in the conduct of

trade or commerce, in violation of W. Va. Code Ann. § 46A-6-104, as described herein.

       1117. Facebook’s unfair and deceptive acts and practices also violated W. Va. Code Ann. §

46A-6-102(7), including:

               a.      “Engaging in any other conduct which similarly creates a likelihood of confusion

                       or of misunderstanding.” Id. § 46A-6-102(7)(L); and

               b.      “The act, use or employment by any person of any deception, fraud, false

                       pretense, false promise or misrepresentation, or the concealment, suppression or

                       omission of any material fact with intent that others rely upon such concealment,

                       suppression or omission, in connection with the sale or advertisement of any
                       goods or services, whether or not any person has in fact been misled, deceived or

                       damaged thereby.” Id. § 46A-6-102(7)(M).

       1118. Facebook’s unfair and deceptive acts and practices were unreasonable when weighed

against the need to develop or preserve business, and were injurious to the public interest, under W. Va.

Code Ann. § 46A-6-101.

       1119. Facebook’s acts and practices were additionally “[u]nfair” under W. Va. Code Ann. §

46A-6-104 because they caused or were likely to cause substantial injury to consumers which was not
reasonably avoidable by consumers themselves and not outweighed by countervailing benefits to


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consumers or to competition.

       1120. The injury to consumers from Facebook’s conduct was and is substantial because it was

non-trivial and non-speculative; and involved an ascertainable injury. The injury to consumers was

substantial not only because it inflicted harm on a significant and unprecedented number of consumers,

but also because it inflicted a significant amount of harm on each consumer.

       1121. Consumers could not have reasonably avoided injury because Facebook’s business acts

and practices unreasonably created or took advantage of an obstacle to the free exercise of consumer

decision-making. By withholding important information from consumers, Facebook created an

asymmetry of information between it and consumers that precluded consumers from taking action to
avoid or mitigate injury.

       1122. Facebook’s business practices had no countervailing benefit to consumers or to

competition.

       1123. Facebook’s acts and practices were additionally “deceptive” under W. Va. Code Ann. §

46A-6-104 because Facebook made representations or omissions of material facts that misled or were

likely to mislead reasonable consumers, including Plaintiffs.

       1124. Facebook intended to mislead Plaintiffs and induce them to rely on its misrepresentations

and omissions.

       1125. Facebook’s representations and omissions were material because they were likely to

deceive reasonable consumers to believe their user data could be and was kept private.
       1126. Had Facebook disclosed to Plaintiffs that it misrepresented and omitted material

information about the nature of the privacy of user data, users’ ability to control how their data was

used, and access of user data to third parties, and was otherwise engaged in deceptive, common business

practices, Facebook would have been unable to continue in business and it would have been forced to

disclose the defects in its privacy protection. Instead, Facebook represented that its services were

protecting user privacy and that users could control the use of the private data. Plaintiffs acted

reasonably in relying on Facebook’s misrepresentations and omissions, the truth of which they could not
have discovered.


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         1127. Facebook had a duty to disclose the above-described facts due to the circumstances of

this case. Facebook’s duty to disclose arose from its:

                a.      Possession of exclusive knowledge regarding the defects in its services;

                b.      Possession of exclusive knowledge regarding its services and inadequate

                        protection and abuse of user data;

                c.      Active concealment of the defects in its services and protection and abuse of user

                        data; and

                d.      Incomplete representations about its services and protection and abuse of user

                        data.
         1128. Facebook’s omissions were legally presumed to be equivalent to active

misrepresentations because Facebook intentionally prevented Plaintiffs from discovering the truth

regarding Facebook’s use, sale, disclosure and abuse of private user data.

         1129. Facebook acted intentionally, knowingly, and maliciously to violate West Virginia’s

Consumer Credit and Protection Act, and recklessly disregarded Plaintiffs’ rights.

         1130. As a direct and proximate result of Facebook’ unfair and deceptive acts or practices and

Plaintiffs’ purchase of goods or services, Plaintiffs have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including from not

receiving the benefit of their bargain in using Facebook’s services.

         1131. Plaintiffs have suffered injuries in fact and lost money or property due to Defendant’s
business acts or practices. Plaintiffs’ personal content has tangible value. Their personal content is in the

possession of third parties who have used and will use it for their own advantage, including financial

advantage, or was and is being sold for value, making it clear that the personal content has tangible

value.

         1132. Plaintiffs are at increased risk of identity theft due to Facebook’s practices concerning

sharing data with third parties. Plaintiffs may be subjected to voter fraud, identity theft, medical fraud,

and other harms. The personal content shared with third parties allows personal content to be aggregated
with other data to identify and target Plaintiffs. It is reasonable for Plaintiffs to obtain identity protection


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or credit monitoring services in light of the foregoing. Plaintiffs seek to recover the cost of these services

from Facebook.

          1133. Facebook invaded Plaintiffs’ privacy by failing to keep them informed about the nature

of the App Developers’ business, or the purposes for which App Developers were obtaining their

personal content. Facebook did not disclose the nature or the extent of the exploitation of Plaintiffs’

personal content. Facebook invaded Plaintiffs’ privacy by subjecting them to psychographic marketing

that exploited intimate aspects of their identity, including emotional and psychological manipulation.

          1134. Plaintiffs’ personal content was exploited without informed consent. Accordingly,

Plaintiffs are entitled to part of Facebook’s profits that were generated by their personal content without
informed consent.

          1135. Facebook’s violations present a continuing risk to Plaintiffs as well as to the general

public.

          1136. Plaintiffs seek all monetary and non-monetary relief allowed by law, including the

greater of actual damages or $200 per violation under W. Va. Code Ann. § 46A-6-106(a), restitution,

injunctive and other equitable relief, punitive damages, and reasonable attorneys’ fees and costs.

C.        Non-Prioritized Claims


     (Against Prioritized Defendant Facebook and Doe Defendants; Non-Prioritized Defendants
                   Kogan, Bannon, SCL Group, and GSR as “Co-Conspirators”)
          1137. Plaintiffs incorporate by reference all allegations of this complaint as though fully set
forth herein.

          1138. Plaintiffs assert this Claim individually and on behalf of the Class and Minor Class (for

purposes of this Claim, “Plaintiffs”).

          1139. Plaintiffs assert violations of 18 U.S.C. § 1962(C).

          1140. Upon information and belief, the Defendants associated with GSR, Cambridge-

Analytica-related-entities and other unnamed Co-Conspirator related entities, for the purpose of utilizing

illicitly obtained content and information (for purposes of this claim, “User Information”) for the
targeting of digital political propaganda (the “Digital Political Propaganda Enterprise”). The Defendants


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therefore constitute a RICO enterprise pursuant to 18 U.S.C. § 1961(4). In the alternative, these

individuals and entities constitute an enterprise because they associated together for the common

purpose of utilizing illicitly obtained personally identifiable information for the targeting of digital

political propaganda.

       1141. Upon information and belief, the Digital Political Propaganda Enterprise is an enterprise

engaged in, and whose activities affect, interstate commerce. This enterprise has been in operation since

at least 2014.

       1142. The association-in-fact Digital Political Propaganda Enterprise consisted of the following

structure: the Co-Conspirator Defendants—Aleksandr Kogan and Stephen K. Bannon—along with Non-
Defendant Co-Conspirators Cambridge Analytica and other related entities, and yet unknown third

parties involved in data mining and data analysis, operated an association-in-fact enterprise, which was

formed for the purpose of utilizing illicitly obtained User Information for the targeting of digital political

propaganda. Each of the Co-Conspirator Defendants was employed by or associated with, and

conducted or participated in the affairs of the Digital Political Propaganda Enterprise:

                 A.     Aleksandr Kogan participated in, operated and/or directed the Digital Political

       Propaganda Enterprise by, among other things: (i) creating a U.K. company called Global

       Science Research, Ltd. (“GSR”) which was part of a scheme to dupe users into providing their

       User Information, which was part of the broader scheme of illegally harvesting of data; (ii)

       through GSR, creating a Facebook App called “ThisIsYourDigitalLife” (“YDL”) which
       consisted of a personality quiz; (iii) utilizing Amazon Mechanical Turk’s (“MTurk”) program to

       recruit participants (known as “Turkers”) to complete the personality quiz; and (iv) utilizing the

       data gathered through the quiz to improperly harvest the data of millions of Facebook

       subscribers;

                 B.     Stephen K. Bannon participated in, operated and/or directed the Digital Political

       Propaganda Enterprise by, among other things: (i) founded Cambridge Analytica; (ii) obtained

       funding for the efforts of Cambridge Analytica; (iii) acted as a Vice-President of Cambridge
       Analytica and (iv) oversaw the efforts of Cambridge Analytica to collect troves of Facebook


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         data.

         1143. The actions of the Co-Conspirator Defendants were undertaken with fraud, malice, or

oppression, or with a willful and conscious disregard of the rights or safety of Plaintiffs and class

members. As such, Plaintiffs and each of the Class members are entitled to an award of exemplary and

punitive damages against each of the Co-Conspirator Defendants in an amount according to proof at

trial.

         1144. The Co-Conspirator Defendants worked together to accomplish their scheme or common

course of conduct. This enterprise has been in operation since at least 2014.

         1145. The racketeering activity committed by each of the members of the Digital Political
Propaganda Enterprise affected interstate commerce.

         1146. On information and belief, the Co-Conspirator Defendants agreed to and did conduct and

participate, directly and indirectly, in the conduct of the Digital Political Propaganda Enterprise’s affairs

in a pattern of racketeering activity targeted at intentionally defrauding Facebook users including,

without limitation, via nominal payments and numerous intentionally false representations averred

herein with the specific intent of inducing Facebook users to unwittingly share other users’ private User

Information.

         1147. Pursuant to and in furtherance of their corrupt scheme, the Co-Conspirator Defendants

did in fact induce Facebook users to share other Facebook users’ User Information via hundreds of

thousands of separate electronic monetary transfers.
         1148. The Co-Conspirator Defendants willfully and knowingly devised a scheme with artifice

to defraud Facebook users and to obtain, sell, and use personal User Information by false pretenses and

representations, including, but not limited to, the representation that the data would only be used for

academic purposes.

         1149. The payments made or directed by the Co-Conspirator Defendants or any other entity to

obtain Facebook data compromised in the Your Digital Life scandal were in furtherance of the

fraudulent scheme. On information and belief, those payments were made by wire transfer or other
electronic means through interstate or foreign commerce.


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       1150. The payments made from any of the Co-Conspirator Defendants or directed by any Co-

Conspirator to takers of the Your Digital Life quiz were in furtherance of the fraudulent scheme. On

information and belief, those payments were made by wire transfer or other electronic means through

interstate or foreign commerce.

       1151. The acts of wire fraud averred herein constitute a pattern of racketeering activity pursuant

to 18 U.S.C. § 1961(5).

       1152. The Co-Conspirator Defendants have directly and indirectly participated in the conduct

of the Conspiracy’s affairs through the pattern of racketeering and activity alleged herein, in violation of

18 U.S.C. § 1962(c). Facebook aided and abetted the Co-Conspirator Defendants by misleading its users
to believe that their data was safe, while permitting third-party Apps like GSR’s to access and use the

data of non-consenting users without their permission and knowledge, and the other Co-Conspirator

Defendants directly participated in the conspiracy by misleading quiz-takers that they were allowing Co-

Conspirator Defendants’ access to only their personal data for academic purposes, when in fact they

were allowing access to their Friends’ data, and by fraudulently obtaining the data, selling it in interstate

and foreign commerce, and using it to influence elections.

       1153. Plaintiffs and Class members were harmed by the Co-Conspirator Defendants’ conduct

because the private information they did not intend to become public or disclose to third parties was

acquired by companies who intended to and did use it illicitly for manipulating elections and other as yet

unknown purposes. Furthermore, the security breach put Plaintiffs and Class members in imminent and
real danger of having their identities stolen by anyone willing to pay these unscrupulous companies for

the data. In addition, Plaintiffs and class members spent time and money securing their personal

information and protecting their identities, by, for instance, purchasing identity theft protection.

       1154. As a direct and proximate result of the Co-Conspirator Defendants’ racketeering

activities and violations of 18 U.S.C. § 1962(c), Plaintiffs and the Class have been injured.

       1155. Plaintiffs demand judgment in their favor and against the Co-Conspirator Defendants

jointly and severally for compensatory, treble, and punitive damages with interest, the costs of suit and
attorneys’ fees, and other and further relief as this Court deems just and proper.


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        1156. Plaintiffs incorporate by reference all allegations of this complaint as though fully set

forth herein.

        1157. Plaintiffs assert this Claim individually and on behalf of the Class and Minor Class (for

purposes of this Claim, “Plaintiffs”) under California law.

        1158. Defendants’ actions constitute misappropriation.

        1159. Defendants used Plaintiffs’ content and information in violation of Facebook’s promises

to protect their privacy.

        1160. Plaintiffs and Class members did not consent to this use.

        1161. Defendants’ gained a commercial benefit by using Plaintiffs’ valuable personal and

private information when Defendant misappropriated, used, and/or sold for profit Plaintiffs’ content and

information.

        1162. Plaintiffs were harmed.

        1163. Defendants’ conduct was a substantial factor in causing Plaintiffs’ and Class members’

harm.

        1164. Accordingly, Plaintiffs are entitled to relief.


                               (Against Prioritized Defendant Facebook)
        1165. Plaintiffs incorporate by reference all allegations of this complaint as though fully set
forth herein.

        1166. Plaintiffs assert this Claim individually and on behalf of the Class and Minor Class (for

purposes of this Claim, “Plaintiffs”) under California law.

        1167. Plaintiffs are entitled to a measure of damages for common law fraud under the

California Civil Code for the fraud described herein.

        1168. Defendant Facebook stored the personal information of Plaintiffs in its electronic and

consumer information databases. Defendant falsely and knowingly represented to Plaintiffs that their
personal information would remain private, and that they could control who viewed their content and


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information through their privacy settings.

        1169. Defendant Facebook’s statements that it would maintain the privacy of Plaintiffs’ content

and information was false because Defendant knowingly and intentionally provided content and

information to Business Partners and Whitelisted Apps, even after representing to Plaintiffs that their

privacy settings could be used to control access to their content and information.

        1170. Plaintiffs suffered injury in fact and lost money or property as the proximate result of

Defendant’s fraudulent misrepresentation. In particular, the personal information of Plaintiffs and Class

members was taken and is in the hands of those who will and did use it for their own advantage, or was

and is being sold for value, making it clear that the stolen information has tangible value.
        1171. Plaintiffs justifiably relied on the representations Defendant Facebook made in its

publicly available privacy policy and elsewhere that it would not “share information we receive about

you with others unless we have: received your permission [and] given you notice.”

        1172. As described with specificity above, Defendant knew the falsity of its representations,

and they were made with the intent to deceive Plaintiffs into supplying Facebook with private

confidential personal information. Facebook’s representations regarding the maintenance of user

confidentiality and privacy were material to Plaintiffs’ decision to provide Facebook with the personal

information Facebook subsequently disclosed to Cambridge Analytica. Plaintiffs justifiably relied upon

the representations of Defendant.

        1173. Plaintiffs suffered harm as a proximate result of Defendant’s fraudulent acts.
        1174. As a result of Defendant’s fraudulent misrepresentations, Plaintiffs are entitled to general

damages, special damages in an amount according to proof, punitive damages, reasonable attorneys’

fees and costs, and any other relief that the Court deems proper or available for common law fraud, and

injunctive relief.


                               (Against Prioritized Defendant Facebook)
        1175. Plaintiffs incorporate by reference all allegations of this complaint as though fully set
forth herein.



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          1176. Plaintiffs assert this Claim individually and on behalf of the Class and Minor Class (for

purposes of this Claim, “Plaintiffs”) under California law.

          1177. As alleged herein, Defendant Facebook, through its agent and Chief Executive Officer,

Mark Zuckerberg, repeatedly assured Plaintiffs that their content and information could be controlled by

Plaintiffs through their privacy settings, and that Facebook never provided content and information to

advertisers.

          1178. At the time Defendant Facebook made these representations, Defendant knew or should

have known that these representations were false or made them without knowledge of their truth or

veracity.
          1179. At minimum, Defendant Facebook negligently misrepresented and/or negligently omitted

material facts concerning its commitment to privacy and the safety of user data.

          1180. The negligent misrepresentations and omissions made by Defendant, upon which

Plaintiffs reasonably and justifiably relied, were intended to induce reliance.


                                 (Against Prioritized Defendant Facebook)
          1181. Plaintiffs adopt and incorporate all the allegations of this complaint as if stated fully

herein.

          1182. Plaintiffs assert this Claim individually and on behalf of the Class and Minor Class (for

purposes of this Claim, “Plaintiffs”).

          1183. Defendant Facebook has repeatedly represented that Plaintiffs “own all of the content and
information [they] post on Facebook” and could “control” access to their content and information

through their “privacy settings.”

          1184. Defendant Facebook, intentionally and without consent, or exceeding any consent

previously obtained from users, provided Plaintiffs’ content and information to Business Partners,

including device makers, and Whitelisted Apps.

          1185. Defendant Facebook’s intentional and unauthorized, or exceeding any authorization
previously obtained, sharing of Plaintiffs’ property, including their content and information, interfered



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with Plaintiffs’ and Class members’ possessory interests in that property.

          1186. Defendant Facebook’s conduct caused Plaintiffs damage when Plaintiffs’ content and

information was provided to Business Partners, including device makers, and Whitelisted Apps.

Facebook unjustly profited from the sharing of Plaintiffs’ content and information, which deprived

Plaintiffs of any income or other form of compensation Facebook generated through its unauthorized (or

exceeding any authorization previously obtained) data-sharing partnerships.


  (Against Prioritized Defendant Facebook and Non-Prioritized Defendants Bannon and Kogan)
          1187. Plaintiffs adopt and incorporate all the allegations of this complaint as if stated fully
herein.

          1188. Plaintiffs assert this Claim individually and on behalf of the Class and Minor Class (for

purposes of this Claim, “Plaintiffs”) under California law.

          1189. Plaintiffs were the owners and possessors of their content and information. As the result

of Defendants’ wrongful conduct, Defendants have interfered with the Plaintiffs’ rights to possess and

control their content and information, to which they had a superior right of possession and control at the

time of conversion.

          1190. As a direct and proximate result of Defendants’ conduct, Plaintiffs suffered injury,

damage, loss or harm and therefore seek compensatory damages.

          1191. In converting Plaintiffs’ private information, Defendants have acted with malice,

oppression, and in conscious disregard of the Plaintiffs’ and Class members’ rights. Plaintiffs, therefore,
seek an award of punitive damages on behalf of the class.


                                 (Against Prioritized Defendant Facebook)
          1192. Plaintiffs adopt and incorporate all the allegations of this complaint as if stated fully

herein.

          1193. Plaintiffs assert this Claim individually and on behalf of the Class and Minor Class (for

purposes of this Claim, “Plaintiffs”) under California law.
          1194. “[T]o ensure that personal information about California residents is protected,” the


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California Legislature enacted California Customer Records Act. This statute states that any business

that “owns or licenses personal information about a California resident shall implement and maintain

reasonable security procedures and practices appropriate to the nature of the information, to protect the

personal information from unauthorized access, destruction, use, modification, or disclosure.” Civil

Code § 1798.81.5.

       1195. Facebook is a “business” within the meaning of Civil Code § 1798.80(a).

       1196. Plaintiffs are “individual[s]” within the meaning of the Civil Code § 1798.80(d). Pursuant

to Civil Code § 1798.80(e), the user information is “personal information,” which includes, but is not

limited to, an individual’s name, physical characteristics or description, address, telephone number,
education, employment, employment history, and medical information.

       1197. The breach of the personal user information of tens of millions of Facebook customers

constituted a “breach of the security system” of Facebook pursuant to Civil Code § 1798.82(g).

       1198. By failing to implement reasonable measures to protect its customers’ personal

information, Facebook violated Civil Code § 1798.81.5.

       1199. In addition, by failing to promptly notify all affected users that their personal information

had been acquired (or was reasonably believed to have been acquired) by unauthorized persons,

including by the Co-Conspirator Cambridge Analytica and Co-Conspirator Defendants, Facebook

violated Civil Code § 1798.82. Facebook’s failure to timely and adequately notify users of the breach

leaves Plaintiffs vulnerable to continued misuse of their personal information and prevents Class
members from taking adequate steps to protect their identities.

       1200. By violating Civil Code §§ 1798.81.5 and 1798.82, Facebook “may be enjoined”

pursuant to Civil Code § 1798.84(e).

       1201. Plaintiffs further request that the Court require Facebook to (1) identify and notify all

members of the Class who have not yet been informed of the breach; and (2) notify affected former and

current users and employees of any future data breaches by email within 24 hours of Facebook’s

discovery of a breach or possible breach and by mail within 72 hours.
       1202. As a result of Facebook’s violation of Civil Code §§ 1798.81.5 and 1798.82, Plaintiffs


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have and will incur economic damages relating to time and money spent remedying the breach,

including, but not limited to, monitoring their online presence to ensure that their identity has not been

stolen or coopted for an illicit purpose, any unauthorized charges made on financial accounts, lack of

access to funds while banks issue new cards, tax fraud, as well as the costs of credit monitoring and

purchasing credit reports.

       1203. Plaintiffs seek all remedies available under Civil Code § 1798.84, including, but not

limited to: (a) damages suffered by members of the Class; and (b) equitable relief.

       1204. Plaintiffs also seek reasonable attorneys’ fees and costs under applicable law including

California Code of Civil Procedure § 1021.5 and Federal Rule of Civil Procedure 23.


                               (Against Prioritized Defendant Facebook)
       1205. Plaintiffs incorporate by reference all allegations of this complaint as though fully set

forth herein.

       1206. Plaintiffs assert this Claim individually and on behalf of the Class and Minor Class (for

purposes of this Claim, “Plaintiffs”) under California law.

       1207. Plaintiffs allege against all Defendants violations of the California Invasion of Privacy

Act (“CIPA”), specifically California Penal Code § 637.7, for the unlawful acquisition of Plaintiffs’ and

Class members’ user information without their consent.

       1208. California Penal Code § 630 provides that “The Legislature hereby declares that advances

in science and technology have led to the development of new devices and techniques for the purpose of
eavesdropping upon private communications and that the invasion of privacy resulting from the

continual and increasing use of such devices and techniques has created a serious threat to the free

exercise of personal liberties and cannot be tolerated in a free and civilized society.”

       1209. Defendants’ acts in violation of the CIPA occurred in the State of California because

those acts resulted from business decisions, practices, and operating policies that Facebook developed,

implemented, and utilized in the State of California and which are unlawful and constitute criminal
conduct in the state of Facebook’s residence and principal business operations. Further, the data



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acquired from Facebook by Cambridge Analytica was housed on Facebook’s servers in California and

obtained therefrom. Facebook’s implementation of its business decisions, practices, and standard

ongoing policies that violate CIPA—and Cambridge Analytica’s availment of those business decisions,

practices, and standard ongoing policies—took place and continue to take place in the State of

California. Defendants profited and continue to profit in the State of California as a result of these

repeated and systemic violations of CIPA. Defendants’ unlawful conduct, which occurred in the State of

California, harmed and continues to harm Plaintiffs.

       1210. Among the data points harvested by Facebook and provided to the remaining Defendants

(as well as Business Partners, App Developers, and Whitelisted Apps) was Plaintiffs’ location.
       1211. CIPA expressly prohibits the use of “an electronic tracking device to determine the

location or movement of a person.” Cal. Pen. Code § 637.7(a).

       1212.    As defined under CIPA, “‘electronic tracking device’ means any device attached to a

vehicle or other movable thing that reveals its location or movement by the transmission of electronic

signals.” Id. § 637.7(d).

       1213. Facebook acquired—and Cambridge Analytica exfiltrated and used—Plaintiffs’ location

through, inter alia, location data associated with smartphones and other mobile devices running

Facebook.

       1214. Plaintiffs did not consent to said acquisition of location information by any Defendant.


                               (Against Prioritized Defendant Facebook)
       1215. Plaintiffs incorporate by reference all allegations of this complaint as though fully set

forth herein.

       1216. Plaintiffs assert this Claim individually and on behalf of the Class and Minor Class (for

purposes of this Claim, “Plaintiffs”) under California law.

       1217. Facebook is a “person” within the meaning of CLRA in that it is a corporation.

       1218. Plaintiffs are “consumers” within the meaning of CLRA in that they are individuals who
seek or acquire services for personal, family, or household purposes.



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        1219. CLRA § 1770(a)(5) prohibits “[r]epresenting that goods or services have sponsorship,

approval, characteristics, ingredients, uses, benefits, or quantities which they do not have or that a

person has a sponsorship, approval, status, affiliation, or connection which he or she does not have.”

        1220. CLRA § 1770(a)(14) prohibits “[r]epresenting that a transaction confers or involves

rights, remedies, or obligations that it does not have or involve, or that are prohibited by law.”

        1221. Defendant Facebook’s conduct as alleged herein violates CLRA’s ban of proscribed

practices at Cal. Civ. Code § 1770(a) subdivisions (5) and (14) in that, inter alia, Facebook

misrepresented its services by not disclosing that it provides content and information to Business

Partners, device makers, and Whitelisted Apps, when it tells Plaintiffs that they can “control” access
with their “privacy settings.” The privacy and control over personal property involved with Facebook’s

services were illusory. With respect to Whitelisted Apps, Facebook collected revenue for the continued

access to Plaintiffs’ content and information and did not disclose that it was doing so.

        1222. Plaintiffs and suffered injuries caused by Defendant’s misrepresentations and omissions

because: (a) Plaintiffs suffered an invasion of their privacy as a result of Facebook exposing their

content and information to Business Partners, device makers, and Whitelisted Apps, and (b) were

deprived of any income Facebook generated through its unauthorized use or sale of data.

        1223. Prior to the filing of this Complaint, a CLRA notice letter was sent to Defendant

Facebook which complies in all respects with California Civil Code § 1782(a).

        1224. Plaintiffs seek equitable relief for Facebook’s violation of CLRA, as permitted by statute.
This includes injunctive relief to enjoin the wrongful practices alleged herein, and to take corrective

action to remedy past conduct, including ending all data-sharing partnerships still in effect and having

Facebook direct all device makers, Business Partners, and Whitelisted Apps with Plaintiffs’ data stored

on their servers to delete that data.


                                (Against Prioritized Defendant Facebook)
        1225. Plaintiffs incorporate by reference all allegations of this complaint as though fully set
forth herein.



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       1226. Plaintiffs assert this Claim individually and on behalf of the Class and Minor Class (for

purposes of this Claim, “Plaintiffs”) under California law.

       1227. Facebook knowingly accessed and without permission used Plaintiffs’ content and

information in order to wrongfully control or obtain property or data in violation of California Penal

Code § 502(c)(1).

       1228. Facebook knowingly accessed and without permission took, copied, and/or used data

from Plaintiffs’ computers, computer systems and/or computer network in violation of California Penal

Code § 502(c)(2).

       1229. Facebook knowingly and without permission used or caused to be used Plaintiffs’
computer services in violation of California Penal Code § 502(c)(3).

       1230. Facebook knowingly and without permission accessed or caused to be accessed

Plaintiffs’ computers, computer systems, and/or computer network in violation of California Penal Code

§ 502(c)(7).

       1231. Plaintiffs suffered and continue to suffer damage as a result of Facebook’s violations of

the California Penal Code § 502 identified above.

       1232. Facebook’s conduct also caused irreparable and incalculable harm and injuries to

Plaintiffs in the form of invading their privacy, and, unless enjoined, will cause further irreparable and

incalculable injury, for which Plaintiffs have no adequate remedy at law.

       1233. Facebook willfully violated California Penal Code § 502 in disregard and derogation of
the rights of Plaintiffs, and Facebook’s actions as alleged above were carried out with oppression, fraud

and malice.

       1234. Pursuant to California Penal Code § 502(e), Plaintiffs are entitled to injunctive relief,

compensatory damages, punitive or exemplary damages, attorneys’ fees, costs and other equitable relief.




                               (Against Prioritized Defendant Facebook)
       1235. Plaintiffs Akins, Ariciu, Armstrong, Burk, Fischer, Forman, Holsinger, King, Short,


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Senko, Schinder, Smith, Tutt, and Wenz, individually and on behalf of the Alabama, Arizona, Colorado;

Florida; Georgia; Idaho; Indiana; Iowa; Kansas; Maryland; Michigan; Missouri; Ohio; Oklahoma;

Pennsylvania; Tennessee; Texas; Washington; West Virginia; and Wisconsin Sub Classes (for purposes

of this claim, “Plaintiffs”) incorporate by reference all allegations of this complaint as though fully set

forth herein.

       1236. The common law in these states prohibits the use of a person’s name or likeness for the

defendant’s advantage, commercial or otherwise, without first obtaining that person’s consent, or where

appropriate the consent of that person’s parent or legal guardian.

       1237. Facebook violated this section by allowing access to Plaintiffs’ likeness—including
names, like history, private messages, photographs, and video—as a service to third parties without

consent. On information and belief, access to the likeness of Plaintiffs was integral to the services

Facebook offered App Developers like Cambridge Analytica, as well as Business Partners and

Whitelisted Apps. Whitelisted Apps and other Business Partners would not have purchased services

from Facebook (including advertisements) without access to Plaintiffs’ content and information.

       1238. Prior to using the Plaintiffs’ likeness, Facebook never obtained consent.

       1239. Plaintiffs did not receive any compensation in return for this use

       1240. Plaintiffs were harmed by Facebook’s improper use.

       1241. Plaintiffs seek actual damages suffered, plus any profits attributable to Facebook’s use of

the unauthorized use not calculated in actual damages. Plaintiffs and class members also reserve the
right to punitive damages, costs, and reasonable attorney’s fees as allowed under this statute.



                               (Against Prioritized Defendant Facebook)
       1242. Plaintiff Smith, individually and on behalf of the Alabama Subclass (“Plaintiffs,” for

purposes of this Claim), incorporates by reference all allegations of this complaint as though fully set

forth herein.

       1243. Ala. Code § 6-5-772 prohibits the use of a person’s indicia of identity for the purposes of
advertising or selling or soliciting goods or services without that persons’ consent, or where appropriate


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the consent of that person’s parent or legal guardian.

        1244. Under Ala. Code § 6-5-771, indicia of identity include those attributes of a person that

serve to identify that person to an ordinary, reasonable viewer or listener and includes “name, signature,

photograph, image, likeness, voice” or similar attribute of that person.

        1245. Defendant violated this section by allowing access to Plaintiffs’ content and

information—including names, like history, private messages, photographs, and video—as a service to

third parties. On information and belief, the content and information of Plaintiffs was integral to the

services Facebook offered App Developers like Cambridge Analytica and Whitelisted Apps. Whitelisted

Apps would not have purchased services from Facebook (including advertisements) without access to
this content and information. Indeed, the value of the services Facebook offered to Whitelisted Apps

was derived from this content and information. Thus, Facebook directly benefited from this use of

Plaintiffs’ content and information.

        1246. Prior to using the Plaintiffs’ content and information, Defendant never obtained consent

from the Plaintiffs.

        1247. Defendant profited from the commercial use of the Plaintiffs’ content and information.

        1248. Plaintiffs did not receive any compensation in return for this use.

        1249. According to Ala. Code § 6-5-774, Plaintiffs seek the greater of $5,000 per incident or

the actual damages suffered, plus any profits attributable to Defendants’ use of the unauthorized use not

calculated in actual damages. Plaintiffs also reserve the right to injunctive relief, punitive damages,
costs, and reasonable attorney’s fees as allowed under this statute.



                               (Against Prioritized Defendant Facebook)
        1250. Plaintiffs Bridgett Burk, Tyler King, and Annie Wenz, individually and on behalf of the

Florida Subclass (“Plaintiffs,” for purposes of this Claim), incorporate by reference all allegations of this

complaint as though fully set forth herein.

        1251. Plaintiffs incorporate by reference all allegations of the preceding paragraphs as though
fully set forth herein.


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        1252. Fla. Code § 540.08 prohibits the use of a person’s name, portrait, photograph, or likeness

for commercial purposes without the express consent of that person, or where appropriate the consent of

that person’s parent or legal guardian.

        1253. Defendant Facebook violated this section by allowing access to Plaintiffs’ content and

information—including names, like history, private messages, photographs, and video—as a service to

third parties. On information and belief, the content and information of Plaintiffs was integral to the

services Facebook offered third party App Developers like Cambridge Analytica and Whitelisted Apps.

Whitelisted Apps would not have purchased services from Facebook (including advertisements) without

access to this content and information. Indeed, the value of the services Facebook offered to Whitelisted
Apps was derived from this content and information. Thus, Facebook directly benefited from this use of

Plaintiffs’ content and information.

        1254. Prior to using the Plaintiffs’ content and information, Defendant never obtained consent.

        1255. Defendant profited from the commercial use of the Plaintiffs’ likenesses.

        1256. Plaintiffs did not receive any compensation in return for this use.

        1257. According to Fla. Code § 540.08, Plaintiffs seek the greater of $1,000 per incident in

addition to any other remedies under common law, including actual damages, punitive damages, and

injunctive relief.



                                 (Against Prioritized Defendant Facebook)
        1258. Plaintiff Kimberly Robertson, individually and on behalf of the Illinois Subclass

(“Plaintiffs,” for purposes of this Claim), incorporates by reference all allegations of this complaint as

though fully set forth herein.

        1259. Ill. Comp. Stat. § 1075/5-30 prohibits the use of an individual’s likeness including their

name, signature, photograph, image, likeness, or voice for or in connection with a sale of a product or

services or for purposes of advertising or promoting services without written consent of that person, or

where appropriate the consent of that person’s parent or legal guardian.
        1260. Defendant Facebook violated this section by allowing access to Plaintiffs’ content and


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information—including names, like history, private messages, photographs, and video—as a service to

third parties. On information and belief, the content and information of Plaintiffs was integral to the

services Facebook offered third party App Developers like Cambridge Analytica and Whitelisted Apps.

Whitelisted Apps would not have purchased services from Facebook (including advertisements) without

access to this content and information. Indeed, the value of the services Facebook offered to Whitelisted

Apps was derived from this content and information. Thus, Facebook directly benefited from this use of

Plaintiffs’ content and information.

       1261. Prior to using the Plaintiffs’ content and information, Defendant never obtained consent

from the Plaintiffs.
       1262. Defendant profited from the commercial use of the Plaintiffs’ likenesses.

       1263. Plaintiffs did not receive any compensation in return for this use.

       1264. According to Ill. Comp. Stat. § 1075/40-60, Plaintiffs seek the greater of $1,000 per

incident or the actual damages suffered, plus any profits attributable to Defendants’ use of the

unauthorized use not calculated in actual damages. Plaintiffs also reserve the right to punitive damages,

costs, and reasonable attorney’s fees as allowed under this statute.



                                 (Against Prioritized Defendant Facebook)
       1265. Plaintiff Samuel Armstrong, individually and on behalf of the Indiana Subclass

(“Plaintiffs,” for purposes of this Claim), incorporate by reference all allegations of this complaint as
though fully set forth herein.

       1266. Ind. Code § 32-36-1-8 prohibits the use of a person’s name, voice, signature, photograph,

image, likeness, distinctive appearance, gesture, or mannerisms in connection with a product service or

commercial activity without that person’s consent, or where appropriate the consent of that person’s

parent or legal guardian.

       1267. Defendant Facebook violated this section by allowing access to Plaintiffs’ content and

information—including names, like history, private messages, photographs, and video—as a service to
third parties. On information and belief, Plaintiffs’ content and information was integral to the services


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Facebook offered third party App Developers like Cambridge Analytica and Whitelisted Apps.

Whitelisted Apps would not have purchased services from Facebook (including advertisements) without

access to this content and information. Indeed, the value of the services Facebook offered to Whitelisted

Apps was derived from this content and information. Thus, Facebook directly benefited from this use of

Plaintiffs’ content and information.

       1268. Prior to using the Plaintiffs’ content and information, Defendant never obtained consent.

       1269. Defendant profited from the commercial use of the Plaintiffs’ likenesses.

       1270. Plaintiffs did not receive any compensation in return for this use.

       1271. According to Ind. Code § 32-36-1-10 Plaintiffs seek the greater of $1,000 per incident or
the actual damages suffered, plus any profits attributable to Defendants’ use of the unauthorized use not

calculated in actual damages. Plaintiffs reserve the right to injunctive relief, punitive damages, costs, and

reasonable attorney’s fees as allowed under this statute.



                                 (Against Prioritized Defendant Facebook)
       1272. Plaintiff William Lloyd, individually and on behalf of the New York Subclass

(“Plaintiffs,” for purposes of this Claim), incorporate by reference all allegations of this complaint as

though fully set forth herein.

       1273. N.Y. Civ. Rights Law § 51 prohibits the use of a person’s name, portrait, picture, or voice

for advertising purposes or for the purposes of trade without first obtaining that person’s consent, or
where appropriate the consent of that person’s parent or legal guardian.

       1274. Defendant Facebook violated this section by allowing access to Plaintiffs’ content and

information—including names, like history, private messages, photographs, and video—as a service to

third parties. On information and belief, the content and information of Plaintiffs was integral to the

services Facebook offered third party App Developers like Cambridge Analytica and Whitelisted Apps.

Whitelisted Apps would not have purchased services from Facebook (including advertisements) without

access to this content and information. Indeed, the value of the services Facebook offered to Whitelisted
Apps was derived from this content and information. Thus, Facebook directly benefited from this use of


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Plaintiffs’ content and information.

       1275. Prior to using the Plaintiffs’ content and information, Defendant never obtained consent.

       1276. Defendant profited from the commercial use of Plaintiffs’ likenesses.

       1277. Plaintiffs did not receive any compensation in return for this use.

       1278. According to N.Y. Civ. Rights Law § 51, to Plaintiffs seek actual damages suffered, plus

any profits attributable to Defendants’ use of the unauthorized use not calculated in actual damages.

Plaintiffs also reserve the right to equitable relief, punitive damages, costs, and reasonable attorney’s

fees as allowed under this statute.



                               (Against Prioritized Defendant Facebook)
       1279. Plaintiff Cheryl Senko, individually and on behalf of the Ohio Subclass (“Plaintiffs,” for

purposes of this Claim), incorporate by reference all allegations of this complaint as though fully set

forth herein.

       1280. Ohio Code § 2741.02 prohibits the use of a person’s name, voice, signature, photograph,

image, likeness, or distinctive appearance in connection with a product, good or service with that

person’s written consent, or where appropriate the consent of that person’s parent or legal guardian.

       1281. Defendant Facebook violated this section by allowing access to Plaintiffs’ content and

information—including names, like history, private messages, photographs, and video—as a service to

third parties. On information and belief, Plaintiffs’ content and information was integral to the services
Facebook offered third party App Developers like Cambridge Analytica and Whitelisted Apps.

Whitelisted Apps would not have purchased services from Facebook (including advertisements) without

access to this content and information. Indeed, the value of the services Facebook offered to Whitelisted

Apps was derived from this content and information. Thus, Facebook directly benefited from this use of

Plaintiffs’ content and information.

       1282. Prior to using Plaintiffs’ content and information, Defendant never obtained consent.

       1283. Defendant profited from the commercial use of Plaintiffs’ likenesses.
       1284. Plaintiffs did not receive any compensation in return for this use.


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       1285. According to Ohio Code § 2741.07 (a), Plaintiffs seek the greater of $2,500 per incident

or the actual damages suffered, plus any profits attributable to Defendants’ use of the unauthorized use

not calculated in actual damages. Plaintiffs also reserve the right to punitive damages, costs, and

reasonable attorney’s fees as allowed under this statute.



                               (Against Prioritized Defendant Facebook)
       1286. On behalf of the Oklahoma Subclass (“Plaintiffs,” for purposes of this Claim), Plaintiffs

incorporate by reference all allegations of this complaint as though fully set forth herein.

       1287. Okl. St. § 1449 prohibits the use of a person’s name, voice, signature, photograph, or
likeness in connection with a product, good or service with that person’s written consent, or where

appropriate the consent of that person’s parent or legal guardian.

       1288. Defendant Facebook violated this section by allowing access to Plaintiffs’ content and

information —including names, like history, private messages, photographs, and video—as a service to

third parties. On information and belief, Plaintiffs’ content and information was integral to the services

Facebook offered third party App Developers like Cambridge Analytica and Whitelisted Apps.

Whitelisted Apps would not have purchased services from Facebook (including advertisements) without

access to this content and information. Indeed, the value of the services Facebook offered to Whitelisted

Apps was derived from this content and information. Thus, Facebook directly benefited from this use of

Plaintiffs’ content and information.
       1289. Prior to using Plaintiffs’ content and information, Defendant never obtained consent.

       1290. Defendant profited from the commercial use of Plaintiffs’ likenesses.

       1291. Plaintiffs did not receive any compensation in return for this use.

       1292. According to Okl. St. § 1449, Plaintiffs seek the actual damages suffered, including any

profits attributable to Defendants’ use of the unauthorized use. Plaintiffs also reserve the right to

punitive damages, costs, and reasonable attorney’s fees as allowed under this statute.


                               (Against Prioritized Defendant Facebook)


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        1293. On behalf of the Pennsylvania Subclass (“Plaintiffs,” for purposes of this Claim),

Plaintiffs incorporate by reference all allegations of this complaint as though fully set forth herein.

        1294. 42 Pa. Stat. § 8316 prohibits the use of a person’s name or likeness in connection the sale

of a product, goods or services without first obtaining that person’s written consent, or where

appropriate the consent of that person’s parent or legal guardian.

        1295. Defendant Facebook violated this section by allowing access to Plaintiffs’ content and

information —including names, like history, private messages, photographs, and video—as a service to

third parties. On information and belief, Plaintiffs’ content and information was integral to the services

Facebook offered third party App Developers like Cambridge Analytica and Whitelisted Apps.
Whitelisted Apps would not have purchased services from Facebook (including advertisements) without

access to this content and information. Indeed, the value of the services Facebook offered to Whitelisted

Apps was derived from this content and information. Thus, Facebook directly benefited from this use of

Plaintiffs’ content and information.

        1296. Prior to using Plaintiffs’ content and information, Defendant never obtained consent.

        1297. Defendant profited from the commercial use of Plaintiffs’ likenesses.

        1298. Plaintiffs did not receive any compensation in return for this use.

        1299. Under 42 Pa. Stat. § 8316.1, Plaintiffs seek actual damages plus any profits attributable to

Defendants’ use of the unauthorized use not calculated in actual damages. Plaintiffs also reserve the

right to injunctive relief as allowed under this statute.



                                (Against Prioritized Defendant Facebook)
        1300. Plaintiff Steve Akins, individually and on behalf of the Tennessee Subclass (“Plaintiffs,”

for purposes of this Claim), incorporates by reference all allegations of this complaint as though fully set

forth herein.

        1301. T. C. A. § 47-25-1105 prohibits the use of a person’s name, photograph, or likeness on or

in goods, merchandise, or products entered into commerce in that state without first obtaining that
person’s consent, or where appropriate the consent of that person’s parent or legal guardian.


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       1302. Defendant Facebook violated this section by allowing access to Plaintiffs’ content and

information —including names, like history, private messages, photographs, and video—as a service to

third parties. On information and belief, Plaintiffs’ content and information was integral to the services

Facebook offered third party App Developers like Cambridge Analytica and Whitelisted Apps.

Whitelisted Apps would not have purchased services from Facebook (including advertisements) without

access to this content and information. Indeed, the value of the services Facebook offered to Whitelisted

Apps was derived from this content and information. Thus, Facebook directly benefited from this use of

Plaintiffs’ content and information.

       1303. Prior to using Plaintiffs’ content and information, Defendant never obtained consent.
       1304. Defendant profited from the commercial use of Plaintiffs’ likenesses.

       1305. Plaintiffs did not receive any compensation in return for this use.

       1306. According to T. C. A. § 47-25-1105, Plaintiffs seek the greater of $5,000 per incident or

the actual damages suffered, plus any profits attributable to Defendants’ use of the unauthorized use not

calculated in actual damages. Plaintiffs also reserve the right to punitive damages, costs, reasonable

attorney’s fees, and injunctive relief as allowed under this statute.



                               (Against Prioritized Defendant Facebook)
       1307. On behalf of the Virginia Subclass (“Plaintiffs,” for purposes of this Claim), incorporates

by reference all allegations of this complaint as though fully set forth herein.
       1308. Va. Code § 8.01-40 prohibits the use of a person’s name, portrait or picture for

commercial purposes without first obtaining that person’s consent, or where appropriate the consent of

that person’s parent or legal guardian.

       1309. Defendant Facebook violated this section by allowing access to Plaintiffs’ content and

information—including names, like history, private messages, photographs, and video—as a service to

third parties. On information and belief, Plaintiffs’ content and information was integral to the services

Facebook offered third party App Developers like Cambridge Analytica and Whitelisted Apps.
Whitelisted Apps would not have purchased services from Facebook (including advertisements) without


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access to this content and information. Indeed, the value of the services Facebook offered to Whitelisted

Apps was derived from this content and information. Thus, Facebook directly benefited from this use of

Plaintiffs’ content and information.

        1310. Prior to using Plaintiffs’ content and information, Defendant never obtained consent.

        1311. Defendant profited from the commercial use of Plaintiffs’ likenesses.

        1312. Plaintiffs did not receive any compensation in return for this use.

        1313. According to Va. Code § 8.01-40, Plaintiffs seek actual damages suffered, plus any

profits attributable to Defendants’ use of the unauthorized use not calculated in actual damages.

Plaintiffs also reserve the right to punitive damages, costs, and reasonable attorney’s fees as allowed
under this statute.



                                 (Against Prioritized Defendant Facebook)
        1314. Plaintiff Terry Fischer, individually and on behalf of the Washington Subclass

(“Plaintiffs,” for purposes of this Claim), incorporate by reference all allegations of this complaint as

though fully set forth herein.

        1315. Wash. Code § 63.60.050 prohibits the use of a person’s name, voice, signature,

photograph, or likeness on or in goods, merchandise, or products entered into commerce in that state

without first obtaining that person’s consent, or where appropriate the consent of that person’s parent or

legal guardian.
        1316. Defendant Facebook violated this section by allowing access to Plaintiffs’ content and

information—including names, like history, private messages, photographs, and video—as a service to

third parties. On information and belief, Plaintiffs’ content and information was integral to the services

Facebook offered third party App Developers like Cambridge Analytica and Whitelisted Apps.

Whitelisted Apps would not have purchased services from Facebook (including advertisements) without

access to this content and information. Indeed, the value of the services Facebook offered to Whitelisted

Apps was derived from this content and information. Thus, Facebook directly benefited from this use of
Plaintiffs’ content and information.


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       1317. Prior to using Plaintiffs’ content and information, Defendant never obtained consent.

       1318. Defendant profited from the commercial use of Plaintiffs’ likenesses.

       1319. Plaintiffs did not receive any compensation in return for this use.

       1320. According to Wash. Code § 63.60.060 Plaintiffs seek the greater of $1,500 per incident or

the actual damages suffered, plus any profits attributable to Defendants’ use of the unauthorized use not

calculated in actual damages. Plaintiffs also reserve the right to costs, and reasonable attorney’s fees as

allowed under this statute.



                               (Against Prioritized Defendant Facebook)
       1321. On behalf of the Wisconsin Subclass (“Plaintiffs,” for purposes of this Claim), Plaintiffs

incorporate by reference all allegations of this complaint as though fully set forth herein.

       1322. Wis. Stat. § 995.50(b) prohibits the use of a name, portrait or picture for the purposes of

trade or advertising without first obtaining that person’s consent, or where appropriate the consent of

that person’s parent or legal guardian.

       1323. Defendant Facebook violated this section by allowing access to Plaintiffs’ content and

information —including names, like history, private messages, photographs, and video—as a service to

third parties. On information and belief, Plaintiffs’ content and information was integral to the services

Facebook offered third party App Developers like Cambridge Analytica and Whitelisted Apps.

Whitelisted Apps would not have purchased services from Facebook (including advertisements) without
access to this content and information. Indeed, the value of the services Facebook offered to Whitelisted

Apps was derived from this content and information. Thus, Facebook directly benefited from this use of

Plaintiffs’ content and information.

       1324. Prior to using Plaintiffs’ content and information, Defendant never obtained consent.

       1325. Defendant profited from the commercial use of Plaintiffs’ likenesses.

       1326. Plaintiffs did not receive any compensation in return for this use.

       1327. According to Wis. Stat. § 995.50, Plaintiffs seek actual damages, plus any profits
attributable to Defendants’ use of the unauthorized use not calculated in actual damages. Plaintiffs and


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Wisconsin Subclass members also reserve the right to costs, reasonable attorney’s fees, and injunctive

relief as allowed under this statute.



    (Against Prioritized Defendant Facebook; Non-Prioritized Defendants Bannon and Kogan)
                              On Behalf of All Plaintiffs and Classes
       1328. Plaintiffs incorporate by reference all allegations of this complaint as though fully set

forth herein.

       1329. Plaintiffs assert this Claim individually and on behalf of the Class and Minor Class (for

purposes of this Claim, “Plaintiffs”) under California law. California Civil Code § 3344 prohibits the
knowing use of a person’s name, voice, signature, photograph, or likeness for a commercial gain without

first obtaining that person’s consent, or where appropriate the consent of that person’s parent or legal

guardian.

       1330. Defendants violated this section by allowing access to Plaintiffs’ and Class Members’

content and information—including names, like history, private messages, photographs, and video—as a

service to third parties. On information and belief, the content and information of Plaintiffs and Class

Members was integral to the services Facebook offered App Developers like Cambridge Analytica and

Whitelisted Apps. Whitelisted Apps would not have purchased services from Facebook (including

advertisements) without access to this content and information. Indeed, the value of the services

Facebook offered to Whitelisted Apps was derived from this content and information. Thus, Facebook

directly benefited from this use of Plaintiffs’ content and information.
       1331. Facebooks’ API feeds are “products” for purposes of Civil Code Section 3344.

Additionally, Facebook used its API feeds to advertise for services Facebook offered, such as

advertisements and other means of obtaining revenue from Whitelisted Apps. Facebook effectively used

access to API feeds containing photographs and likenesses of Plaintiffs and Class Members to sell its

advertising services.

       1332. The likenesses exploited by Facebook through API feeds include photographs and videos.
Facebook offered these photographs and likenesses to third party App Developers and other Business



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Partners as part of the API service without regard to Plaintiffs’ privacy settings, or the privacy

designation attached to the photographs and videos. Facebook received substantial revenue from

publishing this content and information through its API feed in the form of advertising revenue.

Facebook linked the payment of advertisements with the continued access to API feeds that included

photographs and likenesses of Plaintiffs and Class Members.

       1333. Prior to using the Plaintiffs’ content and information, the Facebook never obtained

consent from the Plaintiffs.

       1334. Plaintiffs received no compensation for the use of their likeness.

       1335. Facebook had knowledge of the unauthorized uses of Plaintiffs’ and Class Members’
names, photographs, and likenesses.

       1336. Plaintiffs were harmed by Facebook’s improper use.

       1337. According to California Civil Code § 3344(a), Plaintiffs seek the greater of $750 per

incident or the actual damages suffered, plus any profits attributable to Facebook’s use of the

unauthorized use not calculated in actual damages. Plaintiffs also reserve the right to punitive damages,

costs, and reasonable attorney’s fees as allowed under this statute.



                               (Against Prioritized Defendant Facebook)
                                 On Behalf of All Plaintiffs and Classes
       1338. Plaintiffs incorporate by reference all allegations of this complaint as though fully set

forth herein.
       1339. Plaintiffs assert this Claim individually and on behalf of the Class and Minor Class (for

purposes of this Claim, “Plaintiffs”).

       1340. As individuals, Plaintiffs are consumers entitled to the protections of the FCRA. 15

U.S.C. § 1681a(c).

       1341. Facebook is a “person” as defined by 15 U.S.C. § 1681a(b).

       1342. Facebook is a CRA—a “consumer reporting agency” as defined in 15 U.S.C. §§ 1681a(f)
which is defined as “any person which, for monetary fees, dues, or on a cooperative nonprofit basis,



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regularly engages in whole or in part in the practice of assembling or evaluating consumer credit

information or other information on consumers for the purpose of furnishing consumer reports to third

parties . . . .” 15 U.S.C. § 1681a(f).

          1343. The compromised data was a “consumer report” under the FCRA as defined under 15

U.S.C. § 1681a(d)(1).

          1344. As a consumer reporting agency, Facebook may only furnish a consumer report under the

limited circumstances set forth in 15 U.S.C. § 1681b, “and no other.” 15 U.S.C. § 1681b(a). None of the

purposes listed under 15 U.S.C. § 1681b permit credit reporting agencies to furnish consumer reports to

unauthorized or unknown entities.
          1345. Facebook willfully and/or recklessly violated § 1681b and § 1681e(a) by providing

impermissible access to consumer reports and by failing to maintain reasonable procedures designed to

limit the furnishing of consumer reports to the purposes outlined under section 1681b of the FCRA.

          1346. As a CRA, Facebook is required to make clear, accurate, and complete disclosures as set

forth in 15 § U.S.C. 1681g.

          1347. Facebook failed to make clear, accurate, and complete disclosures, violating 15 U.S.C. §

1681g.

          1348. As a result of each and every willful violation of FCRA, Plaintiffs are entitled to: actual

damages, pursuant to 15 U.S.C. § 1681n(a)(1); statutory damages, pursuant to 15 U.S.C. § 1681n(a)(1);

punitive damages, as this Court may allow, pursuant to 15 U.S.C. § 1681n(a)(2); and reasonable
attorneys’ fees and costs pursuant to 15 U.S.C. § 1681n(a)(3).

          1349. As a result of each and every negligent non-compliance of the FCRA, Plaintiffs and Class

members are also entitled to actual damages, pursuant to 15 U.S.C. § 1681o(a)(1); and reasonable

attorney’s fees and costs pursuant to 15 U.S.C. § 1681o(a)(2) from Defendant.



           (Against Prioritized Defendant Facebook and Non-Prioritized Defendant Kogan)
          1350. Plaintiffs adopt and incorporate all the allegations of this complaint as if stated fully
herein.


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       1351. Plaintiffs assert this Claim on behalf of the Delaware Subclass.

       1352. By reason of the conduct alleged herein, Defendants violated Delaware’s Criminal Code

protecting persons from electronic surveillance and unlawful interception of communications.

       1353. According to Chapter 24 of the Title 11 of the Delaware Criminal Code, “Electronic

communication” includes “any transfer of signs, signals, writing, images, sounds, data or intelligence of

any electromagnetic, photoelectronic or photooptical system.” 11 Del. Code § 2401.

       1354. The messages, posts, images and countless other forms of communication on Facebook

user’s profiles are considered electronic communications.

       1355. The statute defines “Electronic communication system” as “any wire, oral,
electromagnetic, photooptical, or photoelectronic facilities for the transmission of wire, oral or

electronic communications and any computer facilities or related electronic equipment.” Id.

       1356. The servers Facebook uses to provide its electronic communication service which

facilitate user communication are considered an “electronic communication system”.

       1357. Delaware prohibits the intentional interception of any wire, oral or electronic

communication unless party to the communication or with prior consent by one of the parties to the

communication. 11 Del. Code § 2402(a).

       1358. Delaware also prohibits a person or entity providing an electronic communications

service to the public from knowingly divulging to any other person or entity the contents of a

communication while the communication is in electronic storage by that service. 11 Del. Code § 2422.
       1359. Facebook, a “person” and “electronic communication service” pursuant to Delaware

Criminal Code, unlawfully and intentionally divulged the contents of Plaintiffs’ communications.

       1360. Facebook intentionally divulged the contents of Plaintiffs’ stored electronic

communications by allowing Cambridge Analytica access to their electronic communications which also

contained sensitive personal information and identifiers putting Plaintiffs and Class members at risk of

being harmed.

       1361. Section 2409 of the Delaware Criminal Code authorizes a private right of action for
actual damages, punitive damages and reasonable attorneys’ fees and other litigation costs reasonably


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incurred to any person whose wire, oral or electronic communication is intercepted, disclosed or used in

violation of this code.

        1362. Plaintiffs have been harmed by Defendants’ misconduct and are entitled to actual

damages, punitive damages and reasonable attorneys’ fees and costs.



                                 (Against Prioritized Defendant Facebook)
        1363. Plaintiffs incorporate by reference the allegations in the preceding paragraphs as if fully

set forth herein.

        1364. Defendants and Plaintiffs are “persons” within the meaning of N.J. STAT. ANN. § 56:8-
1(d). Facebook engaged in “sales” of “merchandise” within the meaning of N.J. STAT. ANN. § 56:8-

1(c), (d).

        1365. The New Jersey Consumer Fraud Act (“New Jersey CFA”) makes unlawful “[t]he act,

use or employment by any person of any unconscionable commercial practice, deception, fraud, false

pretense, false promise, misrepresentation, or the knowing concealment, suppression or omission of any

material fact with the intent that others rely upon such concealment, suppression or omission, in

connection with the sale or advertisement of any merchandise or real estate, or with the subsequent

performance of such person as aforesaid, whether or not any person has in fact been misled, deceived or

damaged thereby...” N.J. STAT. ANN. § 56:8-2.

        1366. As set forth above, Facebook, while operating in New Jersey, engaged, in unconscionable
commercial practices, deception, misrepresentation, and the knowing concealment, suppression, and

omission of material facts with intent that others rely on such concealment, suppression, and omission,

in connection with the sale and advertisement of services, in violation of N.J. Stat. Ann. § 56:8-2. This

includes:

                  A.      Collecting, storing, and using vast quantities of highly sensitive personal

        information and which Facebook failed to adequately protect from unauthorized and/or criminal

        access;
                  B.      Failing to employ technology and systems to promptly detect unauthorized access


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        to the personal information with which they were entrusted;

                C.        Unreasonably delaying giving notice to consumers after it became aware of

        unauthorized access to the personal information;

                D.        Knowingly and fraudulently failing to provide accurate, timely information to

        consumers about the extent to which their personal information had been compromised; and

                E.        Making false and deceptive representations and communications concerning the

        purpose of and reasons for collecting highly sensitive personal information.

        1367. Facebook’s breach of its duties has directly and proximately caused Plaintiffs to suffer an

ascertainable loss of money and property, including the loss of their personal information and
foreseeably causing them to expend time and resources investigating the extent to which their personal

information has been compromised.

        1368. The above unlawful and deceptive acts and practices and acts by Facebook were

immoral, unethical, oppressive, and unscrupulous. These acts caused substantial injury to Plaintiffs that

they could not reasonably avoid. This substantial injury outweighed any benefits to consumers or to

competition.

        1369. Plaintiffs seek relief under N.J. Stat. Ann. § 56:8-19, including, but not limited to,

injunctive relief, other equitable actual damages (to be proven at trial), disgorgement of wrongfully

obtained profits, treble damages, and attorneys’ fees and costs.


                                 (Against Prioritized Defendant Facebook)
                                   On Behalf of All Plaintiffs and Classes
        1370. Plaintiffs reallege and incorporate by reference all allegations of this complaint as though

fully set forth herein.

        1371. Plaintiffs assert this Claim individually and on behalf of the Class and Minor Class (for

purposes of this Claim, “Plaintiffs”) under California law.

        1372. Facebook falsely and knowingly represented to Plaintiffs that their personal information

would remain private, and that they could control who viewed their content and information through
their privacy settings.


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          1373. Defendant Facebook’s statements that it would maintain the privacy of Plaintiffs’ content

and information was false because Defendant knowingly and intentionally provided content and

information to Business Partners and Whitelisted Apps, even after representing to Plaintiffs that their

privacy settings could be used to control access to their content and information.

          1374. Facebook’s representations were material to Plaintiffs’ decision to provide content and

information to Facebook.

          1375. Plaintiffs justifiably relied on the representations Facebook made concerning “control” of

content and information and the efficacy of Facebook’s “privacy settings” and acted in reliance on those

representations by using Facebook.
          1376. Facebook knew of the falsity of its representations, and its representations were made to

deceive Plaintiffs.

          1377. Facebook knew it did not have permission to allow Business Partners and Whitelisted

Apps to use Plaintiffs’ content and information.

          1378. Plaintiffs suffered injury-in-fact and lost property as a proximate result of Facebook’s

intentional misrepresentation.

          1379. As a direct and proximate result of Facebook’s intentional misrepresentation, Plaintiffs

suffered injuries, damages, losses or harm, including but not limited to annoyance, interference, concern,

lost time, the loss of personal property, and the need for the cost of effective credit and privacy security,

justifying an award of compensatory and punitive damages.

                                      X.     PRAYER FOR RELIEF
          1380. Plaintiffs, individually and on behalf of Class Members, request that the Court enter

judgment in their favor and against Defendants, as follows:

          1381. Certify the Classes and appoint Plaintiffs as Class Representatives;

          1382. Enter Judgment against Defendants on Plaintiffs’ and Class Members’ asserted causes of

action;

          1383. Award Plaintiffs and Class Members appropriate relief, including actual and statutory
damages, restitution, disgorgement, and punitive damages;


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        1384. Award equitable, injunctive, and declaratory relief as may be appropriate;

        1385. Award all costs, including experts’ fees and attorneys’ fees, as well as the costs of

prosecuting this action;

        1386. Award pre-judgment and post-judgment interest as prescribed by law; and

        1387. Grant additional legal and equitable relief as this Court may find just and proper.

                                  XI.   DEMAND FOR JURY TRIAL
        1388. Plaintiffs, on behalf of themselves and all others similarly situated, hereby demand a trial

by jury on all the issues so triable.


                                              Dated: August 4, 2020


                                              KELLER ROHRBACK L.L.P.

                                              By:    /s/ Derek W. Loeser
                                                     Derek W. Loeser

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               ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)
       I, Lesley E. Weaver, attest that concurrence in the filing of this document has been
obtained from the other signatory. I declare under penalty of perjury that the foregoing is true
and correct.


Dated: August 4, 2020                                /s/ Lesley E. Weaver
                                                     Lesley E. Weaver
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                                   CERTIFICATE OF SERVICE
          I, Lesley E. Weaver, hereby certify that on August 4, 2020, I electronically filed the
foregoing document with the Clerk of the United States District Court for the Northern District
of California using the CM/ECF system, which shall send electronic notification to all counsel of
record.


Dated: August 4, 2020                                   /s/ Lesley E. Weaver
                                                        Lesley E. Weaver
